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            1                    UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
            2           BEFORE THE HONORABLE MIRANDA DU, DISTRICT JUDGE
                                           ---o0o---
            3

            4    AMARIN PHARMA, INC., and          :
                 AMARIN PHARMACEUTICALS            :
            5    IRELAND LIMITED,                  :
                                                   :   No.   2:16-cv-02525-MMD-NJK
            6                    Plaintiffs,       :
                                                   :   January    15, 2020
            7             -vs-                     :
                                                   :   Reno, Nevada
            8    HIKMA PHARMACEUTICALS USA         :
                 INC., et al.,                     :   Volume 3
            9                                      :
                                 Defendants.       :
           10                                      :

           11

           12                        TRANSCRIPT OF BENCH TRIAL

           13   APPEARANCES:

           14   FOR THE PLAINTIFFS:            MEAGAN P. KEANE, CHRISTOPHER N.
                                               SIPES, MICHAEL KENNEDY, JEFFREY
           15                                  ELIKAN, JOSEPH KENNEDY, ELAINA M.
                                               WHITT, BARBARA KURYS, HAN PARK,
           16                                  DANIEL J. FARNOLY and ERIC R.
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                                               Washington, D.C.
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08:37:23   19   FOR DEFENDANT HIKMA:           CHARLES B. KLEIN and
                                               CLAIRE A. FUNDAKOWSKI,
           20                                  Attorneys at Law
                                               Washington, D.C.
           21

           22   Reported by:                   Kathyrn M. French, CCR #392, RPR
                                               Official Reporter
           23                                  U.S. District Court
                                               Reno, Nevada
           24

           25   (Appearances continue on next page.)
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            1   APPEARANCES CONTINUED:

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            3   FOR DEFENDANT HIKMA:         ALISON M. HEYDORN
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08:37:38   10   FOR DEFENDANT DR.            CONSTANCE S. HUTTNER and
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                                             Reno, Nevada
           14

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            1        RENO, NEVADA, WEDNESDAY, JANUARY 15, 2020, 8:34 A.M.

            2                                  ---o0o---

08:34:12    3

08:34:12    4                   THE COURT:   Good morning.    Please be seated.

08:34:14    5                   Counsel, are you ready to resume?

08:34:18    6                   MR. REIG-PLESSIS:    Yes, Your Honor.     Good

08:34:18    7   morning.

08:34:22    8                   Good morning, Dr. Sheinberg.

08:34:24    9                   THE WITNESS:    Good morning.

08:34:30   10                   REIG-PLESSIS:    Mr. Gross, could we pull up

08:34:34   11   DDX 1.15.

           12                   JONATHAN I. SHEINBERG, M.D.,
                      recalled as a witness on behalf of the Defendant,
           13          Previously sworn, testified further as follows:

08:34:21   14                      DIRECT EXAMINATION RESUMED

08:34:21   15   BY MR. REIG-PLESSIS:

08:34:37   16    Q   Dr. Sheinberg, on the screen right now is DDX 1.15, which

08:34:41   17   is a question and answer from the deposition of Amarin's

08:34:45   18   regulatory expert, Dr. Peck, in which Dr. Peck was asked, "And

08:34:49   19   is the indicated use of Vascepa limited to chronic use," to

08:34:54   20   which Dr. Peck replied, "No, I don't think so."

08:34:57   21               Dr. Sheinberg, were you in the courtroom when

08:35:02   22   Mr. Klein showed this testimony from Dr. Peck during opening

08:35:06   23   statements?

08:35:06   24    A   Yes, I was.

08:35:07   25    Q   And were you in the courtroom when Mr. Klein showed this
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08:35:10    1   testimony to Dr. Budoff during cross-examination yesterday?

08:35:13    2    A   Yes, sir, I was.

08:35:14    3    Q   And did you hear Dr. Budoff disagree with Dr. Peck's

08:35:18    4   testimony that's on DDX 1.15?

08:35:20    5    A   Yes, I did.

08:35:21    6    Q   Do you agree with Dr. Budoff or Dr. Peck on this point?

08:35:26    7    A   I agree with Dr. Peck.

08:35:28    8              As my testimony yesterday will indicate, this

08:35:33    9   medication does not need to be used in a chronic fashion.         It

08:35:37   10   does have short-term efficacy and usage.

08:35:42   11              In fact, some of the data that's already been

08:35:44   12   discussed supports that.     If we can refer to the MARINE trial,

08:35:49   13   there was -- if we all can think back and remember, and I

08:35:52   14   believe we can probably put up some of the demonstratives.

08:35:56   15              But in the MARINE trial, which was, according to

08:35:59   16   Dr. Budoff, designed to eliminate those individuals who would

08:36:02   17   have a short-term, reversible cause of hypertriglyceridemia

08:36:07   18   with the four to six-week washout phase, and then a two to

08:36:11   19   three-week triglyceride stabilization phase, we even, within

08:36:15   20   that trial, if you look at the placebo arm in individuals who

08:36:20   21   did not receive medication, there was still a 21 percent group

08:36:24   22   within that placebo arm who were able to reach triglycerides

08:36:27   23   below 500 simply with diet and exercise alone.

08:36:31   24              So my testimony yesterday and today supports the

08:36:34   25   fact that this can be a medication that is used not in the
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08:36:38    1   chronic setting.    In other words, we can use it in short,

08:36:41    2   intermittent dosing.

08:36:44    3                    MR. REIG-PLESSIS:   I just want to break down

08:36:46    4   what you said.

08:36:47    5                    Mr. Gross, could you pull up DX 1701, page 42,

08:36:53    6   please, and if we could go to the second to last paragraph

08:36:59    7   above the footnote starting with the objective of the MARINE

08:37:03    8   study.

08:37:03    9   BY MR. REIG-PLESSIS:

08:37:06   10    Q   And, Dr. Sheinberg, do you recognize this as the public

08:37:09   11   FDA medical review that we discussed yesterday?

08:37:12   12    A   Yes, I do.

08:37:13   13    Q   Dr. Sheinberg -- and actually --

08:37:16   14                    MS. KEANE:   Objection, Your Honor.    My

08:37:18   15   understanding is that this discussion of the specifics of the

08:37:20   16   MARINE study is outside the scope of Dr. Sheinberg's --

08:37:23   17                    THE COURT:   I'm sorry, I'm not able to hear you.

08:37:26   18                    MS. KEANE:   Yes, Your Honor.

08:37:26   19                    This discussion is outside the scope of

08:37:29   20   Dr. Sheinberg's expert report.

08:37:30   21                    MR. REIG-PLESSIS:   Your Honor, I disagree.

08:37:32   22                    Dr. Sheinberg discussed the design of the MARINE

08:37:35   23   study, including the four to six diet and exercise washout

08:37:41   24   period in paragraph 91 of his report.

08:37:44   25                    He also cited both the FDA medical review of
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08:37:48    1   this document and the MARINE clinical study report throughout

08:37:51    2   his rebuttal expert report, and, obviously, the design of this

08:37:55    3   study as well as this document was extensively testified to by

08:38:00    4   Dr. Budoff to whom Dr. Sheinberg is testifying in rebuttal.

08:38:04    5                  MS. KEANE:    Your Honor, I don't disagree that he

08:38:09    6   cited the medical review, but he did not discuss the specifics

08:38:15    7   with respect to the design of the MARINE study and how that

08:38:18    8   affected the ultimate results.      That's not within the scope of

08:38:22    9   this report.

08:38:23   10                  THE COURT:    Mr. Reig?

08:38:23   11                  MR. REIG-PLESSIS:     I would just say again,

08:38:25   12   paragraph 91 of Dr. Sheinberg's report specifically -- is

08:38:30   13   actually devoted entirely to the fact that there was a four to

08:38:33   14   six-week diet and lifestyle stabilization period before the

08:38:37   15   beginning of the 12-week period.      That's in his report.

08:38:39   16                  And then paragraph 125 actually discusses and

08:38:42   17   addresses in fact the very point that Dr. Peck testified to,

08:38:47   18   that that could be one possible consistent reading of the

08:38:51   19   phrase before initiating icosapent ethyl on the labeling.

08:38:55   20                  THE COURT:    I would like to see the report and

08:38:57   21   the reference paragraph.

08:39:06   22                  MR. REIG-PLESSIS:     Permission to approach?

08:39:08   23                  THE COURT:    Yes.   Am I looking at paragraph 91

08:39:16   24   and 125?

08:39:17   25                  MR. REIG-PLESSIS:     Yes, Your Honor.
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08:40:20    1                  THE COURT:    (Court reviews document.)

08:40:32    2                  MS. KEANE:    And, Your Honor, I'll note as you're

08:40:34    3   reviewing the report, there's no discussion of this 21 percent

08:40:38    4   number that Dr. Sheinberg is purporting to testify to.

08:40:45    5                  THE COURT:    Well, the report, beginning at

08:40:48    6   paragraph 89, Dr. Sheinberg discussed the clinical data and

08:40:56    7   the MARINE trial, so he does reference the details of the

08:41:01    8   trial.

08:41:04    9                  And then paragraph 125, he rebuts Dr. Budoff's

08:41:13   10   opinion about the 12-week period from the time that Vascepa is

08:41:18   11   prescribed to the follow-up visit.

08:41:20   12                  So at least reading the paragraphs I've just

08:41:23   13   read, it appears to me that Dr. Sheinberg did reference the

08:41:26   14   MARINE study, the details of the study, as well as what

08:41:29   15   supports his opinion in disagreeing with Dr. Budoff.

08:41:33   16                  So, is the objection still that the testimony

08:41:35   17   exceeds the scope of his expert report?

08:41:38   18                  MS. KEANE:    Yes, Your Honor.     I believe it does.

08:41:41   19   In particular, the passage that Mr. Reig is showing to

08:41:45   20   Dr. Sheinberg is not cited in any of the sections that counsel

08:41:48   21   has cited in particular in paragraph 125.

08:41:53   22                  I don't disagree that he included some

08:41:56   23   information about the design of the study, but no where did he

08:41:59   24   get into a discussion of the passage or the 21 percent -- the

08:42:04   25   21 percent number with respect to the placebo arm.
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08:42:07    1                    THE COURT:   And I'm going to overrule the

08:42:09    2   objection.    You can cross-examine him on that issue.

08:42:13    3                    MS. KEANE:   Okay.   Thank you, Your Honor.

08:42:14    4                    MR. REIG-PLESSIS:    Thank you, Your Honor.

08:42:16    5                    And, Mr. Gross, if we could just highlight the

08:42:19    6   sentence starting with "after a four- to six-week diet."

08:42:19    7   BY MR. REIG-PLESSIS:

08:42:25    8    Q   Dr. Sheinberg, how do patients become eligible for

08:42:29    9   inclusion in the 12-week MARINE study?

08:42:32   10    A   They were placed on a four- to six-week diet and

08:42:34   11   lifestyle stabilization phase and then a two-week -- what was

08:42:38   12   called the triglyceride qualifying period at which time all

08:42:42   13   patients who were ineligible for the study were weeded out

08:42:42   14   allowing the remaining patients to continue into the study.

08:42:47   15                And it was the thought by Dr. Budoff that this

08:42:52   16   period here, which would be from six to nine weeks prior to

08:42:56   17   the initiation the actual random -- the actual randomization

08:43:01   18   and utilization of medication was enough to remove the

08:43:05   19   individuals who had transient or short-term

08:43:10   20   hypertriglyceridemia.

08:43:11   21    Q   Now, were the patients who qualified for the MARINE study

08:43:14   22   after this four to six weeks of diet and exercise within the

08:43:18   23   scope of the MARINE indication for Vascepa?

08:43:20   24    A   Yes.

08:43:21   25                    MR. REIG-PLESSUS:    So, Mr. Gross, staying on
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08:43:23    1   DX 1701, can we pull up page 51, please, and zoom in on figure

08:43:33    2   8 but include the first paragraph below the figure, please.

08:43:33    3   BY MR. REIG-PLESSIS:

08:43:39    4    Q     And, Dr. Sheinberg, did all of the patients who qualified

08:43:41    5   for MARINE after four to six weeks of diet and exercise have

08:43:45    6   chronic genetic forms of severe hypertriglyceridemia that

08:43:48    7   require indefinite drug treatment?

08:43:51    8    A     So I want to make sure I understand your question.         So it

08:43:55    9   depends on who answers that question.       I can answer it this

08:43:58   10   way.

08:43:58   11               According to Dr. Budoff, this -- the people who

08:44:03   12   qualified for the study would have been in that -- in that

08:44:07   13   group.

08:44:07   14               But my interpretation by looking at this is that is

08:44:09   15   not the case.   There are people who were able to be enrolled

08:44:12   16   in the study who completed that wash-in period of diet and

08:44:17   17   stabilization and triglyceride stabilization who were

08:44:20   18   randomized to a placebo arm, in other words, they received no

08:44:24   19   medication, and in that placebo arm, 21 percent of those

08:44:28   20   individuals were able to get their triglycerides below

08:44:32   21   500 milligrams per deciliter by continuing to follow the

08:44:34   22   lifestyle modification plan that was set out in the initial

08:44:39   23   evaluation.

08:44:40   24    Q     So were there patients in MARINE who had reversible,

08:44:43   25   short-term forms of severe hypertriglyceridemia?
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08:44:46    1    A   Absolutely, it's shown right there in the placebo arm.

08:44:49    2    Q   And could those patients have benefitted from a short

08:44:53    3   course of Vascepa before diet and exercise took effect to

08:44:55    4   reduce their triglycerides below 500?

08:44:55    5    A   Absolutely.     And that's the major point that I mentioned

08:45:01    6   yesterday in which -- you know, in the trial here, which is a

08:45:05    7   big departure from what we do in the clinical setting.

08:45:10    8              In the clinical setting, if we see an individual

08:45:13    9   who's at risk for pancreatitis, which I think both sides have

08:45:16   10   agreed is a painful and life-threatening problem, we have

08:45:21   11   obligations as physicians to do everything we possibly can to

08:45:26   12   reverse that problem absolutely as quickly as we possibly can.

08:45:29   13              So we can wait -- in this case, this data is

08:45:35   14   generated at somewhere between 4 and 21 weeks, and this --

08:45:41   15   these individuals were able to get their triglycerides with

08:45:43   16   diet and exercise.

08:45:45   17              But if I have someone, you know, who has the risk

08:45:48   18   for pancreatitis, there's no way that I would want to wait 4

08:45:53   19   to 21 weeks to get that person down when we know that absolute

08:45:59   20   treatment with this medication, Vascepa, I see maximal

08:46:03   21   reduction of triglycerides within four weeks.

08:46:06   22              So if I have someone who is being treated to prevent

08:46:10   23   this life-threatening and incredibly painful process, and I do

08:46:15   24   a very conservative course, and I don't treat them, and that

08:46:20   25   person ends up getting pancreatitis, I have to answer to the
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08:46:23    1   patient, the patient's family, I have to answer to my peers,

08:46:27    2   potentially the liability component of that, it's bad

08:46:31    3   medicine.

08:46:31    4               I would treat this person aggressively with as much

08:46:36    5   medication as I could possibly use up-front to reduce that

08:46:39    6   risk, and then, as shown here, it's very reasonable to stop

08:46:43    7   that medication after a short-term.

08:46:46    8                    MR. REIG-PLESSIS:   So, Mr. Gross, could we pull

08:46:47    9   up DX 2256 and go to page 2.      Thank you, 2248 DX, and go to

08:47:32   10   the second page and zoom in on the dosage and administration

08:47:39   11   section, section 2, and could we highlight the second bullet,

08:47:49   12   please.

08:47:49   13   BY MR. REIG-PLESSIS:

08:47:58   14    Q   And, Dr. Sheinberg, do you recognize this as the dosage

08:48:01   15   and administration section of the Vascepa label that we

08:48:04   16   discussed yesterday?

08:48:05   17    A   Yes, I do.

08:48:06   18    Q   Now, based on the MARINE data we just reviewed, if a

08:48:10   19   patient engages in appropriate nutritional intake and physical

08:48:14   20   activity before receiving icosapent ethyl for four to six

08:48:18   21   weeks, will that necessarily resolve any reversible causes of

08:48:22   22   severe hypertriglyceridemia?

08:48:25   23    A   So I -- again, I want to make sure I answer your question

08:48:28   24   appropriately.

08:48:29   25               If patients engage in appropriate nutritional intake
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08:48:33    1   and physical activity before receiving Vascepa, should -- can

08:48:36    2   you repeat the question, please?

08:48:38    3    Q   Sure.    Sorry, I think I misstated it.

08:48:39    4                If a patient engages in appropriate nutritional

08:48:43    5   intake and physical activity for four to six weeks, will that

08:48:47    6   necessarily resolve any reversible causes of severe

08:48:51    7   hypertriglyceridemia?

08:48:52    8    A   Not necessarily.     Sometimes it takes longer than that.

08:48:56    9                We saw that if the patients in -- as we saw here in

08:48:57   10   the MARINE trial, there were certain patients who, despite an

08:49:05   11   initial four- to six-week period, were still not able to get

08:49:07   12   their triglycerides lower than 500.       It took them longer,

08:49:11   13   which was demonstrated throughout the duration of the study,

08:49:15   14   for them to get their triglycerides below 500.

08:49:18   15    Q   And if a patient engages in appropriate nutritional

08:49:21   16   intake and physical activity for four to six weeks and still

08:49:25   17   has triglyceride above 500, does that necessarily mean that

08:49:28   18   that patient has a chronic, long-term cause of severe

08:49:32   19   hypertriglyceridemia?

08:49:33   20    A   It does not.

08:49:34   21                    MR. REIG-PLESSIS:   So, Mr. Gross, can we go back

08:49:36   22   to DDX 4.43 which is where we left off yesterday.

08:49:36   23   BY MR. REIG-PLESSIS:

08:49:52   24    Q   And, Dr. Sheinberg, beyond the 12 weeks limitations that

08:49:58   25   we discussed this morning and extensively yesterday, did you
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08:50:03    1   also analyze another set of limitations in the asserted

08:50:07    2   claims?

08:50:07    3    A   Yes, I did.    The second limitation was a limitation

08:50:11    4   regarding specific lipid effects, in particular, a specific

08:50:17    5   percentage reduction in triglycerides, a neutral effect on LDL

08:50:23    6   cholesterol, and a reduction of apolipoprotein B.

08:50:26    7    Q   So turning to DDX 4.44, what are the patent claims that

08:50:31    8   apply to your opinions on the lipid effect limitations?

08:50:35    9    A   In regards to the minimum reduction in triglycerides, I

08:50:38   10   analyzed '715, patent claim 14, '560, patent claims 4 and 17,

08:50:47   11   '728, patent claims 1 and 16, '715, patent claim 14 --

08:50:53   12              I'm sorry.    The next page -- the next section,

08:50:56   13   rather, I'm sorry, as I'm reading down with no increase in LDL

08:51:00   14   cholesterol, and that is the '728, claims 1 and 16, '715,

08:51:06   15   patent claims 14, '677, patent claims 1 and eight, '652,

08:51:11   16   patent claim 1, '560, patent claims 4 and 17.

08:51:16   17              In regards to the reduction in apolipoprotein B, the

08:51:21   18   three claims listed are '715, patent claim 14, '677, patent

08:51:25   19   claim 8, and '929, patent claim 5.

08:51:28   20    Q   And just so the record is clear, what are the asserted

08:51:32   21   claims in which there is a minimum reduction in triglycerides

08:51:35   22   that's required?

08:51:36   23    A   For example, at least ten percent, 20 percent, or a

08:51:40   24   statistically significant triglyceride reduction.

08:51:43   25    Q   And what asserted claims does that apply to?
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08:51:47    1    A   '715, patent claim 14, and '560, patent claims 4 and 17.

08:51:55    2    Q   So turning now to DDX 4.45, there's snapshot on the

08:52:01    3   screen of DX 2256, page 1.      What are you showing on this

08:52:04    4   slide?

08:52:04    5    A   This is the indications and usage section from the

08:52:07    6   defendants' package insert.

08:52:09    7              The highlighted area, which we've actually seen this

08:52:12    8   before, this shows that icosapent ethyl is indicated as an

08:52:16    9   adjunct to diet to reduce triglyceride levels in adult

08:52:19   10   patients with severe hypertriglyceridemia.

08:52:24   11    Q   And does the indications and usage section encourage,

08:52:28   12   recommend, or promote administering defendants' products to

08:52:31   13   achieve the claimed lipid effects?

08:52:33   14    A   It does not.     It remains silent.    It does not give any

08:52:36   15   direction towards a minimum percent triglyceride reduction.

08:52:40   16   It makes no mention of an avoidance in the increase of LDL

08:52:43   17   cholesterol, and it makes no mention of a reduction in

08:52:46   18   apolipoprotein B.

08:52:47   19    Q   Now, are you aware of other drugs that are indicated to

08:52:51   20   control LDL-C and apo B levels?

08:52:54   21    A   Yes, sir, absolutely.

08:52:56   22    Q   So turning to DDX 4.46, there is a snapshot on the screen

08:53:01   23   of DX 1986, page 1.     Could you identify this document.

08:53:05   24    A   Yes, this is the package insert for Lipitor which is

08:53:10   25   atorvastatin.    It's an oral cholesterol medicine that's been
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08:53:15    1   around for quite some.     It's known as a HMG-CoA reductase

08:53:20    2   inhibitor otherwise -- sorry.

08:53:20    3                   THE COURT:   And would you also make sure -- I

08:53:22    4   know you're sitting pretty close, but I want to make sure we

08:53:26    5   all can hear you as well.

08:53:28    6                   THE WITNESS:    Yes, ma'am.

08:53:29    7                   So this is -- I'll start this slide again.

08:53:31    8                   This is a label or package insert for Lipitor

08:53:35    9   which is the branded tame of atorvastatin.        Atorvastatin is

08:53:41   10   best known as a statin or an HMG-CoA reductase medication

08:53:47   11   which is designed specifically to reduce -- if you go to the

08:53:52   12   bottom bullet, it's designed and indicated to reduce total

08:53:57   13   cholesterol, LDL cholesterol, which is bad cholesterol,

08:54:02   14   apolipoprotein B, as well as triglycerides.

08:54:06   15                   MR. REIG-PLESSIS:    Your Honor, we move the

08:54:07   16   admission of DX 1986 into evidence.

08:54:10   17                   MS. KEANE:   No objection.

08:54:11   18                   THE COURT:   DX 1986 is admitted.

08:54:11   19                           (Defendants' Exhibit 1986 received in
08:54:16                                 evidence.)
08:54:16   20   BY MR. REIG-PLESSIS:

08:54:17   21    Q   So turning to DDX 4.47, there's snapshot of DX 2256,

08:54:22   22   page 2, which is the dosage and administration section of

08:54:26   23   defendants' labels that we reviewed earlier.

08:54:29   24              Does this section mention anything about controlling

08:54:32   25   LDL-C or apo B levels?
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08:54:35    1    A   It does not.     The dosage and administration section

08:54:38    2   specifically gives instruction towards the indication, which

08:54:42    3   is assess lipid levels and identify other causes of high

08:54:48    4   triglyceride levels.

08:54:48    5    Q   Does the dosage and administration section mention

08:54:52    6   anything about reducing those high triglyceride levels by any

08:54:56    7   minimum percentage?

08:55:01    8    A   It does not.

08:55:03    9    Q   Turning to DDX 4.48, there's snapshot of DX 2256, pages 7

08:55:10   10   and 8 from the clinical study section of defendants' labels.

08:55:15   11              First of all, when you prescribe Vascepa, do you

08:55:18   12   expect that the effects described in this section in table 2

08:55:21   13   will necessarily occur in an individual patient?

08:55:24   14    A   No, I do not.     I understand that each patient responds as

08:55:27   15   an individual to everything that we do for that patient,

08:55:31   16   including medications, certain lifestyle interventions.

08:55:35   17              This tells me, this chart from the MARINE data tells

08:55:38   18   me what could happen.

08:55:41   19    Q   So do median data predict what will occur in a given

08:55:45   20   patient?

08:55:46   21    A   Median data do not predict.       Median data simply, in this

08:55:50   22   example, gives me the median data that would have occurred

08:55:54   23   during this study.

08:55:55   24              For example, there was a median triglyceride

08:55:57   25   reduction, if you look at the first line, of 33 percent.           If
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08:56:02    1   you go to the second line in which LDL is highlighted, you can

08:56:06    2   see there is a median reduction of two percent.

08:56:09    3              However, if you look through the confidence

08:56:13    4   interval, there are some individuals who actually had an

08:56:17    5   elevation of LDL.

08:56:19    6              If you go to down to the bottom line where it's

08:56:27    7   highlighted for apolipoprotein B, you can see that there was a

08:56:32    8   9 percent reduction for median.      However, you can look through

08:56:36    9   the confidence interval and see some individuals had a 3

08:56:40   10   percent reduction.

08:56:41   11              So the answer to your question, this database, this

08:56:44   12   table tells me what transpired during the study.         It tells me

08:56:50   13   what could happen.     It gives me some ranges of what could

08:56:53   14   happen, but it certainly does not tell me what to expect as I

08:56:57   15   treat an individual patient.

08:57:00   16    Q   Now, do you use Vascepa to reduce apo B levels?

08:57:06   17    A   I do not.    It is not indicated for apo B level reduction.

08:57:10   18   Also, if one were to use this medication specifically for

08:57:14   19   apo B reduction and ignore other medications which are

08:57:19   20   specifically indicated for apolipoprotein B reduction, I would

08:57:23   21   consider that a breach of the standard of care.

08:57:25   22    Q   And is the apo B reduction in this study cited here

08:57:31   23   clinically significant in your view?

08:57:32   24    A   Well, it's statistically significant in the mean, but it

08:57:37   25   is absolutely not clinically significant.
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08:57:39    1    Q   Now, did you hear Dr. Budoff compare the clinical study

08:57:45    2   section of the Vascepa label in defendants' products labels to

08:57:51    3   the corresponding section of the Lovaza label?

08:57:54    4    A   Yes, I did.

08:57:54    5    Q   Is there anything in defendants' labels that refers to

08:57:58    6   Lovaza or the Lovaza label?

08:58:00    7    A   There is nothing in the defendants' label that makes

08:58:03    8   reference to Lovaza.     In fact, in the defendants' label, in

08:58:10    9   section 6.1, it does specifically tell us that reading

08:58:16   10   physicians cannot realistically refer to a separate study and

08:58:22   11   use that separate study in comparison because the separate

08:58:27   12   studies are potentially using different patient populations,

08:58:31   13   the studies have different designs, and it is advised that we

08:58:34   14   do not look at different studies in a comparative form.

08:58:37   15    Q   So is there anything in the clinical study section of

08:58:41   16   defendants' products labels that encourages, recommends, or

08:58:45   17   promotes using defendants' products to achieve the claim lipid

08:58:49   18   effects?

08:58:50   19    A   Absolutely not, there's nothing to suggest that.

08:58:52   20    Q   And taking now defendants' labels as a whole, do the

08:58:56   21   labels encourage, recommend, or promote administering

08:58:59   22   defendants' products to achieve any minimum triglyceride

08:59:02   23   reduction?

08:59:03   24    A   No, sir, they do not.

08:59:04   25    Q   Do they encourage, recommend, or promote administering
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08:59:08    1   defendants' products to avoid raising LDL-C?

08:59:11    2    A   They do not.

08:59:12    3    Q   And do they encourage, recommend, or promote

08:59:16    4   administering defendants' products to reduce apo B?

08:59:20    5    A   No, they do not.

08:59:22    6    Q   What is the next limitation in the asserted claims that

08:59:25    7   you analyzed?

08:59:26    8    A   The next analysis that I did was regarding the concurrent

08:59:32    9   lipid-altering therapy limitation.

08:59:35   10    Q   So turning to DDX 4.51.      What are the asserted claims

08:59:40   11   that exclude concurrent lipid-altering therapy?

08:59:43   12    A   So in '728, patent claims 1 and 16, and '715, patent

08:59:50   13   claim 14, it's described as a method of reducing triglycerides

08:59:54   14   in a subject who does not receive concurrent lipid-altering

08:59:59   15   therapy.

08:59:59   16    Q   Are statins concurrent lipid-altering therapies?

09:00:03   17    A   Yes, sir, they are.     It's one of many.

09:00:05   18    Q   So are there lipid-altering therapies other than statins?

09:00:10   19    A   There are.    There is a medicine which is known as Zetia

09:00:15   20   or Ezetimibe that are cholesterol binding resins.         There are

09:00:18   21   all sorts of other medications.

09:00:20   22    Q   So turning to DDX 4.52, there's a snapshot of DX 2256,

09:00:26   23   page 1.    Does the indications and usage section of defendants'

09:00:31   24   products encourage, recommend, or promote excluding concurrent

09:00:36   25   lipid-altering therapy?
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09:00:37    1    A   It does not.    Again, the indication and usage section

09:00:42    2   simply tells us the target population for which this product

09:00:46    3   should be used, which is in adults with severe

09:00:51    4   hypertriglyceridemia as an adjunct to diet.

09:00:57    5    Q   And turning to DDX 4.53, with a snapshot of DX 2256,

09:01:05    6   page 2, does the dosage and administration section of

09:01:09    7   defendants' labels encourage, recommend, or promote excluding

09:01:14    8   concurrent lipid-altering therapy?

09:01:16    9    A   It absolutely does not.

09:01:25   10    Q   Turning to DDX 4.54, there's another snapshot from the

09:01:30   11   same exhibit, DX 2256, now at pages 6 and 7.

09:01:33   12              Are any concurrent lipid-altering therapies

09:01:36   13   described in defendants' labels?

09:01:38   14    A   Yes, sir, they are.

09:01:39   15              In the clinical pharmacology section under

09:01:48   16   subsection 12.3 which is the pharmacokinetic section, it

09:01:51   17   describes the use of atorvastatin in this population.         So

09:01:54   18   atorvastatin is Lipitor which we just described.         It's a drug

09:01:57   19   drug interaction study of 26 healthy adult subjects.

09:02:01   20              And what this tells me is in this small subset it

09:02:05   21   was actually tolerable and there was no significant drug drug

09:02:09   22   interactions with this altering -- with this concurrent

09:02:14   23   lipid-altering therapy.

09:02:16   24    Q   So does this statement in the clinical pharmacology

09:02:19   25   section encourage, recommend, or promote excluding concurrent
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09:02:23    1   lipid-altering therapy?

09:02:25    2    A   It does not.    In fact, by reading this I can comfortably

09:02:32    3   say that I know this medication can be used with atorvastatin

09:02:38    4   safely.

09:02:38    5    Q   So turning to DDX 4.55, which is page DX 2256, page 7, is

09:02:49    6   there any other statement in defendants' products labels that

09:02:53    7   describes any concurrent lipid-altering therapies?

09:02:53    8    A   Yes, in the clinical study section under severe

09:02:58    9   hypertriglyceridemia, which is subsection 14.2 in which the

09:03:01   10   MARINE trial is described, it goes on to describe, if you look

09:03:06   11   at the highlighted section, that 25 percent of patients were

09:03:10   12   on concomitant statin therapy during the course of the trial.

09:03:15   13    Q   And do defendants' labels indicate whether the remaining

09:03:19   14   75 percent of patients were on any lipid-altering therapies

09:03:24   15   other than a statin?

09:03:26   16    A   It does not.    It's completely silent in that regard.

09:03:29   17    Q   So taking defendants' labels as a whole, do the labels

09:03:33   18   encourage, recommend, or promote administering defendants'

09:03:36   19   products to a patient who does not receive concurrent

09:03:40   20   lipid-altering therapy?

09:03:42   21    A   No, they do not.

09:03:43   22    Q   Do the labels express any preference either way on

09:03:48   23   whether patients should receive such therapy?

09:03:48   24    A   The labels are completely silent in this regard, which

09:03:52   25   leaves this to the discretion of the prescribing physician.
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09:03:56    1    Q   So turning to DDX 4.57, could you summarize your opinions

09:04:01    2   that you've given over the course of yesterday's testimony and

09:04:05    3   this morning.

09:04:05    4    A   Yes, I can.

09:04:07    5                The summary essentially is that the defendants'

09:04:11    6   labels do not encourage, recommend, or promote the claim

09:04:15    7   limitation that require at least 12 weeks of drug treatment,

09:04:19    8   and that was seen in all ten claims that I described.

09:04:22    9                The claim limitations that require specific lipid

09:04:28   10   effects, which, as we described, was triglyceride reduction by

09:04:32   11   a specific percentage, a neutral effect in LDL cholesterol,

09:04:37   12   and a reduction in apolipoprotein B is in nine claims.

09:04:41   13                And it does not recommend, promote, or encourage the

09:04:44   14   limitations that require excluding concurrent lipid-altering

09:04:47   15   therapy, and that was in the last three claims that we just

09:04:51   16   described.

09:04:52   17                    MR. REIG-PLESSIS:   Thank you, Dr. Sheinberg.       I

09:04:54   18   have no further questions at this time.

09:05:07   19                    MS. KEANE:   Good morning, Your Honor.     May we

09:05:09   20   approach with a binder for Dr. Sheinberg?

09:05:13   21                    THE COURT:   Yes.

09:05:13   22                    MS. KEANE:   Thank you.

09:05:37   23                            CROSS-EXAMINATION

09:05:37   24   BY MS. KEANE:

09:05:38   25    Q   Good morning, Dr. Sheinberg.       I know we've met before at
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09:05:40    1   your deposition.    I'm Meagan Keane, and I will be asking you

09:05:45    2   some questions on behalf of the plaintiffs.

09:05:46    3    A   Good morning.

09:05:47    4    Q   Good morning.

09:05:48    5                I just want to start off with a housekeeping issue.

09:05:51    6   You discussed the Vascepa label as well as defendants' labels

09:05:54    7   during your direct testimony, and I just want to make clear

09:05:57    8   that for purposes of my questions we can -- if questions

09:06:00    9   pertain to one label, then they pertain equally to the other

09:06:05   10   labels as well.

09:06:06   11    A   Understood.

09:06:07   12    Q   Okay.    So first I want to ask you a few questions about

09:06:10   13   the analysis that you conducted in order to reach your

09:06:14   14   opinions in this case.

09:06:16   15                So to determine whether the labels, defendants'

09:06:20   16   labels in this case, will induce infringement, it was your

09:06:24   17   understanding that the label must contain a specific

09:06:26   18   instruction in order for the prescriber, this prescribing

09:06:31   19   label to recommend, encourage, or promote; is that correct?

09:06:34   20    A   Yes.

09:06:34   21    Q   Okay.    And you would agree with me that doctors who are

09:06:39   22   reading prescribing information, they go through years of

09:06:42   23   schooling and years of training.

09:06:43   24    A   Yes, that's correct.

09:06:44   25    Q   In medical school, internships, residencies, fellowships.
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09:06:49    1    A   Yes.

09:06:49    2    Q   And so when a physician is reading a label, they can't

09:06:53    3   eliminate all of that education and all that training.

09:06:56    4    A   Of course not.

09:06:57    5    Q   They use their background knowledge when reading

09:07:00    6   prescribing information.

09:07:01    7    A   Yes, I should hope so.

09:07:07    8    Q   And, now, my understanding as well is that your view is

09:07:10    9   that there are only a few sections of the labeling that can

09:07:14   10   actually instruct a physician on how to use a drug with

09:07:18   11   respect to the analysis in that case; is that right?

09:07:20   12    A   No, that's not correct.

09:07:21   13    Q   Okay.   And specifically, does the sections of the label

09:07:26   14   that, in your understanding, can instruct a physician with

09:07:29   15   respect to how to use a drug, are the indications and usage

09:07:33   16   section, the dosage and administration section, and the

09:07:36   17   contraindication section; is that correct?

09:07:38   18    A   Those are the most likely areas in which the instructions

09:07:43   19   would be found, but the label should be taken in its entirety.

09:07:48   20    Q   And with respect to -- with respect to your analysis,

09:07:53   21   those are the three -- those are the three sections in the

09:07:55   22   labeling that you understood to be able to instruct an

09:07:59   23   infringement with respect to an inducement analysis.

09:08:02   24    A   Most often I would say yes, but I would have to qualify

09:08:06   25   that by saying the rest of the label cannot be completely
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09:08:09    1   ignored at the same time.      It needs to be looked at in its

09:08:13    2   entirety.

09:08:14    3                   MS. KEANE:    Okay.   Mr. Brooks, if you could

09:08:16    4   play --

09:08:16    5   BY MS. KEANE:

09:08:17    6    Q    Actually, Dr. Sheinberg, you were deposed in this case,

09:08:20    7   correct?

09:08:20    8    A    Yes, I was.

09:08:20    9    Q    And you were under oath at the time?

09:08:22   10    A    Yes, I was.

09:08:23   11                   MS. KEANE:    Mr. Brooks, could we play 120, 16 to

09:08:26   12   21.

09:08:28   13                           (Video deposition playing.)

09:08:46   14   BY MS. KEANE:

09:08:57   15    Q    And, Dr. Sheinberg, your understanding --

09:08:58   16                   MR. REIG-PLESSIS:     Your Honor, I object.        That's

09:09:01   17   not proper impeachment.      The question was what sections can

09:09:05   18   instruct a physician.     I think that's consistent with his

09:09:12   19   testimony that those are sections that can instruct a

09:09:14   20   physician.

09:09:15   21                   THE COURT:    Ms. Keane?

09:09:16   22                   MS. KEANE:    Your Honor, I disagree with Dr. --

09:09:23   23   or Mr. Reig's characterization.       I think it is proper

09:09:26   24   impeachment testimony.     At the time of the question, it's

09:09:31   25   clear that Dr. Sheinberg was referring to only those three
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09:09:34    1   sections of the labeling.

09:09:35    2                   THE COURT:   Well, his -- I assume the point of

09:09:39    3   the impeachment was to point out that previously he identified

09:09:44    4   three areas that one look at to determine inducement.

09:09:51    5                   It's a close call.     I'm going to overrule the

09:09:53    6   objection.   The testimony is already in.       I'll give it

09:09:55    7   whatever weight I think it deserves.

09:09:58    8                   MS. KEANE:   Thank you, your Honor.

09:09:59    9   BY MS. KEANE:

09:10:00   10    Q   Dr. Sheinberg, your understanding of which sections of

09:10:02   11   the label can specifically instruct a physician, that opinion

09:10:06   12   is informed by an expert report submitted in this case by Mr.

09:10:09   13   Mathers; is that correct?

09:10:11   14    A   That was a contributory -- that contributed to it, yes.

09:10:16   15    Q   Okay.   And Mr. Mathers -- he submitted a report --

09:10:20   16   Mr. Mathers' purports to be regulatory expert in this case; is

09:10:25   17   that correct?

09:10:25   18    A   Yes.

09:10:25   19    Q   And you reviewed Mr. Mathers' report in preparing your

09:10:29   20   report in this case?

09:10:30   21    A   Yes.

09:10:30   22    Q   And in forming your opinions in this case?

09:10:32   23    A   Yes.

09:10:32   24    Q   And, in fact, you relied extensively on Mr. Mathers'

09:10:36   25   report throughout your report in this case?
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09:10:38    1    A   I wouldn't say extens -- yes, I relied on it.

09:10:42    2    Q   And, in fact, you cited Mr. Mathers' report 14 times in

09:10:46    3   your expert report?

09:10:48    4    A   I will take your word for that, yes.

09:10:49    5    Q   And you would agree with me you're not an expert on FDA

09:10:54    6   procedures?

09:10:54    7    A   No, ma'am, I am not.

09:10:56    8    Q   Okay.    And your understanding of the FDA's approval

09:10:59    9   process is minimal?

09:11:00   10    A   That is correct.

09:11:01   11    Q   And the minimal understanding that you do have, that's

09:11:03   12   based on Mr. Mathers' expert report?

09:11:06   13    A   I would imagine most of it would probably be based on

09:11:11   14   what I read in Mr. Mathers' report.

09:11:17   15    Q   Just to be clear, for purposes of your opinions in this

09:11:20   16   case, you did not review FDA guidance?

09:11:23   17    A   I did not.

09:11:24   18    Q   You did not review the U.S. Code of Federal Regulations?

09:11:27   19    A   No, ma'am.

09:11:28   20    Q   And even though you cited both FDA guidance and U.S. Code

09:11:34   21   of Federal Regulations in your expert report?

09:11:37   22    A   I would imagine I cited those on behalf of reading what I

09:11:40   23   read in Mr. Mathers' testimony or his report.

09:11:43   24    Q   Because you agree with me that you cited both of those

09:11:46   25   documents in your report?
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09:11:47    1    A   I'd have to have the document in front of me, but I have

09:11:50    2   no reason to not believe what you're saying.

09:11:52    3                    MS. KEANE:   Okay.   Mr. Brooks, if we could pull

09:11:56    4   up Mr. Sheinberg's -- or Dr. Sheinberg's report, it's DX 1697,

09:12:09    5   paragraph 64.

09:12:09    6   BY MS. KEANE:

09:12:21    7    Q   Okay.     And, Dr. Sheinberg, you see paragraph 64 from your

09:12:24    8   expert report?

09:12:25    9    A   Yes.

09:12:25   10    Q   And you agree with me that you cited in paragraph 64 the

09:12:30   11   CFR, which is the U.S. Code of Federal Regulations?

09:12:40   12    A   Yes.

09:12:45   13                    MS. KEANE:   Mr. Brooks, if we could turn to

09:12:47   14   paragraph 80.

09:12:47   15   BY MS. KEANE:

09:12:53   16    Q   And, Dr. Sheinberg, you see in paragraph 80 that you

09:12:56   17   cited FDA clinical studies guidance?

09:13:00   18    A   Yes.    Would you give me just a moment so I may read this?

09:13:03   19    Q   Sure.

09:13:04   20    A   (Witness reviews document.)

09:13:30   21                Yes, that is correct.

09:13:32   22    Q   Earlier during your direct testimony this morning you

09:13:37   23   discussed testimony from this case from Dr. Carl Peck.             Do you

09:13:41   24   recall that?

09:13:41   25    A   Yes, I do.
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09:13:43    1    Q   Do you have an understanding that Dr. Peck is a

09:13:45    2   regulatory expert?

09:13:46    3    A   I do.

09:13:47    4    Q   And as we discussed today, you're not a regulatory

09:13:49    5   expert.

09:13:50    6    A   No, ma'am, I am not.

09:13:51    7    Q   And I want to go back to your analysis in this case.

09:14:12    8                Is it your understanding with respect to the labels

09:14:15    9   in this case that some physicians could read the label and be

09:14:20   10   induced to infringe?

09:14:21   11    A   It is -- can you repeat -- please say that one more time

09:14:21   12   for me, please?

09:14:25   13    Q   Is it possible that some physicians could read the label,

09:14:28   14   the labels, and be induced to infringe?

09:14:32   15    A   I think anything is potentially possible.

09:14:38   16    Q   And so you would agree with me that in this case that's

09:14:42   17   possible?

09:14:42   18                    MR. REIG-PLESSIS:   Objection.    If the question

09:14:44   19   is if something is possible, I would object as calling for

09:14:49   20   speculation.

09:14:49   21                    THE COURT:   The objection is overruled.      The

09:14:50   22   question is already answered, she's just reiterating his

09:14:53   23   question.

09:14:56   24                    Would you repeat the question.

09:14:58   25   BY MS. KEANE:
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09:14:58    1    Q   Sure.   My question is just it's possible.

09:15:00    2    A   Yes, I think anything is possible.

09:15:06    3                   MS. KEANE:   Okay.   If we could turn to trial

09:15:12    4   Exhibit 1186, and if we could turn to the second page,

09:15:19    5   Mr. Brooks, and pull up the indications and usage section.         If

09:15:25    6   we could highlight the second indication.

09:15:25    7   BY MS. KEANE:

09:15:36    8    Q   And, Dr. Sheinberg, that indication is as an adjunct to

09:15:39    9   diet to reduce triglyceride levels in adult patients with

09:15:43   10   severe, greater than 500 milligrams per deciliter,

09:15:47   11   hypertriglyceridemia, do you see that?

09:15:48   12    A   Yes, I do.

09:15:49   13    Q   The indications and usage section in the prescribing

09:15:53   14   information is a section that instructs a clinician about when

09:15:55   15   to use a drug, correct?

09:15:57   16    A   Correct.

09:15:58   17    Q   Okay.   And so do you agree with me that this statement in

09:16:01   18   the indications and usage section encourages doctors to

09:16:05   19   administer Vascepa to patients to reduce triglyceride levels

09:16:09   20   in subjects having fasting baseline triglyceride levels of

09:16:13   21   500 milligrams per deciliter or higher?

09:16:15   22    A   As an adjunct to diet, yes.

09:16:18   23    Q   If we could turn to section 2.2 of the labeling, and

09:16:33   24   under the dosage and administration section, the first bullet

09:16:38   25   says the daily dose of Vascepa is 4 grams per day, do you see
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09:16:43    1   that?

09:16:43    2    A      Yes, I do.

09:16:43    3    Q      And the administration -- the dosage and administration

09:16:47    4   section is another section that could instruct physicians?

09:16:51    5    A      Yes.

09:16:51    6    Q      And you would agree that the statement in the dosage and

09:16:54    7   administration section instructs clinicians to administer 4

09:16:59    8   grams per day of Vascepa in patients with severe

09:17:02    9   hypertriglyceridemia?

09:17:02   10    A      Yes.

09:17:03   11    Q      And if we take a look at the last bullet point in that

09:17:08   12   section, advise patients to swallow Vascepa capsules whole, do

09:17:13   13   you see that?

09:17:13   14    A      Yes.

09:17:13   15    Q      You would agree with me that the dosage and

09:17:16   16   administration section instructs clinicians that the -- I'm

09:17:22   17   sorry, let me rephrase the question.

09:17:23   18                   You agree that the statement in the dosage and

09:17:27   19   administration section instructs clinicians to administer

09:17:30   20   Vascepa orally?

09:17:31   21    A      Yes.

09:17:34   22    Q      I just want to talk about a couple of your prescribing

09:17:41   23   practices.

09:17:42   24    A      Okay.

09:17:43   25                       MS. KEANE:   Mr. Brooks, we can take down the
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09:17:44    1   label.

09:17:44    2   BY MS. KEANE:

09:17:46    3    Q   So typically when lipids are measured it's after a

09:17:50    4   12-hour fast; is that right?

09:17:51    5    A   Typically, yes.

09:17:52    6    Q   And when you determine your patient's lipid levels, you

09:17:56    7   use an advanced lipid panel?

09:17:59    8    A   I do.

09:17:59    9    Q   An advanced lipid panel differs from a standard lipid

09:18:04   10   panel?

09:18:04   11    A   Yes, it does.

09:18:05   12    Q   The advanced lipid panel includes additional biomarkers

09:18:10   13   that are not in the standard lipid panel?

09:18:12   14    A   Correct.

09:18:12   15    Q   For example, apo B?

09:18:15   16    A   Yes.

09:18:15   17    Q   And apo B is a biomarker that you use in your clinical

09:18:20   18   practice.

09:18:20   19    A   Correct.

09:18:20   20    Q   And apo B is a biomarker that you consider very important

09:18:20   21   to your clinical practice.

09:18:24   22    A   Correct.

09:18:25   23    Q   So when you treat patients with severe

09:18:30   24   hypertriglyceridemia, you use a stepwise approach; is that

09:18:40   25   crept?
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09:18:40    1    A   When you say stepwise approach, can you be more specific?

09:18:44    2   It really varies from patient to patient.

09:18:47    3    Q   Okay.    It's -- what is your understanding of what a

09:18:49    4   stepwise approach is?

09:18:50    5    A   Well, my understanding is you do one step first and then

09:18:54    6   a second step and then a third step.

09:18:56    7                But when I treat patients, a stepwise approach, it's

09:19:00    8   not a -- when I treat patients, a stepwise approach implies

09:19:05    9   that every patient will receive the same steps in every single

09:19:10   10   order and that's not the case.

09:19:11   11    Q   So with respect to severe hypertriglyceridemia, there are

09:19:19   12   four -- four different drugs that are approved to treat severe

09:19:25   13   hypertriglyceridemia; is that right?

09:19:26   14    A   Yes.

09:19:28   15    Q   And one of those -- well, clinicians who are treating

09:19:32   16   patients with severe hypertriglyceridemia, they would be

09:19:35   17   familiar with those agents?

09:19:36   18    A   They should be.

09:19:37   19    Q   And one of those agents is niacin?

09:19:40   20    A   Yes.

09:19:40   21    Q   And you would agree with me that niacin is not a good

09:19:43   22   medication for anybody?

09:19:45   23    A   I would not agree with that statement.

09:19:47   24    Q   Would you agree with me that niacin is not a great

09:19:57   25   medication for anybody?
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09:20:00    1                   THE COURT:   I'm sorry, was that the same

09:20:01    2   question?

09:20:03    3                   MS. KEANE:   It's a slightly different question.

09:20:04    4                   THE COURT:   What's the question again?

09:20:05    5   BY MS. KEANE:

09:20:06    6    Q   Would agree with me that niacin is not a great medication

09:20:09    7   for anybody?

09:20:09    8    A   I would not use the absolute terms.        There are certain

09:20:14    9   people that niacin would still benefit from, although the

09:20:19   10   population is very limited at this point.

09:20:21   11    Q   Let's talk about fibrates.      Fibrates are -- in your

09:20:25   12   practice are a second-line therapy?

09:20:27   13    A   Again, it's really individually determined by the patient

09:20:30   14   and what's going on.     But frequently, yes, they are a second-

09:20:34   15   or third-line therapy.

09:20:36   16    Q   And to be specific, with respect to patients with severe

09:20:38   17   hypertriglyceridemia.

09:20:40   18    A   Correct.

09:20:44   19    Q   And one of the reasons that fibrates are not a first-line

09:20:51   20   therapy for you is because of the side effects and drug drug

09:20:54   21   interactions associated with fibrates?

09:20:56   22    A   Correct.

09:20:57   23    Q   And the drug drug interactions associated with fibrates

09:21:03   24   those are interactions in conjunction with statins?

09:21:06   25    A   Yes, ma'am.
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09:21:07    1    Q   And when administered together, fibrates and statins, you

09:21:11    2   will see myalgia, muscle pain, and GI upset?

09:21:16    3    A   Not -- you can.     It's not a 100 percent given that it

09:21:24    4   will happen, but there is a higher risk of that when those

09:21:27    5   medications are used together.

09:21:28    6    Q   Those are certainly recognized side effects of fibrates.

09:21:32    7    A   Yes, they are.

09:21:33    8    Q   And fibrates can also increase LDL-C.

09:21:36    9    A   Yes, they can.

09:21:37   10    Q   And now let's turn to your first-line therapy for

09:21:41   11   treating patients with severe hypertriglyceridemia.

09:21:43   12              And so your first-line therapy is an omega-3

09:21:48   13   pharmaceutical product.

09:21:51   14    A   So when -- did you say severe hypertriglyceridemia or

09:21:56   15   hypertriglyceridemia?

09:21:57   16    Q   For treating patients with severe hypertriglyceridemia

09:22:00   17   your first-line therapy is an omega-3 pharmaceutical product.

09:22:05   18    A   This is an example where the stepwise plan really doesn't

09:22:10   19   come into complete -- it doesn't come into complete play here

09:22:15   20   because it really is individually patient specific.

09:22:18   21              Oftentimes several medications may be prescribed at

09:22:21   22   the same time.    It really depends on the individual patient

09:22:24   23   and their clinical history.

09:22:25   24    Q   Certainly your primary therapy for -- drug therapy for

09:22:29   25   treating patients with severe hypertriglyceridemia are
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09:22:31    1   omega-3s?

09:22:34    2    A   It depends on the patient population.        I can give several

09:22:38    3   examples in which a single agent would not be appropriate in

09:22:41    4   that population and in which case a single agent would

09:22:44    5   potentially be appropriate.

09:22:45    6    Q   Is it true that you prefer Vascepa to Lovaza?

09:22:52    7    A   Yes, it is.

09:22:52    8    Q   In your practice you also regularly prescribe statins; is

09:22:56    9   that right?

09:22:56   10    A   Yes, I do.

09:22:57   11    Q   And prescription of statins is standard of care for

09:23:00   12   patients with cardiovascular risk?

09:23:03   13    A   Yes.

09:23:03   14    Q   And once statins -- once patients are on a statin, they

09:23:07   15   are potentially on a statin indefinitely.

09:23:10   16    A   Yes, I used a term like I mentioned earlier, it's

09:23:12   17   treatment, not a cure.

09:23:16   18    Q   And that's true even after patients -- those patients'

09:23:20   19   LDL-C goals drop below a goal level.

09:23:24   20    A   Correct.

09:23:25   21    Q   And that's because if a patient is taken off a statin,

09:23:29   22   the LDL-C levels will go back up.

09:23:32   23    A   Typically they do.

09:23:33   24    Q   And the LDL-C levels will go back up because there's

09:23:37   25   underlying genetic issues.
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09:23:39    1    A   Correct.

09:23:39    2    Q   Let's talk a little bit about your prescribing habits.

09:23:46    3                When you prescribe icosapent ethyl, you typically

09:23:50    4   prescribe it with refills as well, correct?

09:23:52    5    A   I do.

09:23:53    6    Q   And so one option is a prescription for three months with

09:24:00    7   three refills?

09:24:01    8    A   Yes.

09:24:02    9    Q   For a one year in total?

09:24:04   10    A   Yes.

09:24:04   11    Q   Or one month with three refills?

09:24:06   12    A   Yes.

09:24:07   13    Q   For four months in total.

09:24:09   14    A   Correct.

09:24:09   15    Q   And those are the typical types of -- I'm sorry, let me

09:24:14   16   rephrase the question.

09:24:15   17                Those are the typical durations that you use in

09:24:18   18   prescribing icosapent ethyl.

09:24:19   19    A   Yes, it is.

09:24:29   20    Q   One the things that we talked about -- well, when you

09:24:35   21   treat your patients, you have specific goals for your

09:24:38   22   patient's lipid levels; is that right?

09:24:40   23    A   Yes.

09:24:41   24    Q   And typically for patients who aren't meeting their

09:24:45   25   goals, you see them back at three to six-month intervals?
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09:24:49    1    A   So that's a rather broad statement.        I will see them back

09:24:53    2   in a varying amount of time, anywhere between two months, four

09:24:56    3   months, six months, depending on what type of intervention is

09:25:00    4   made, what their calendar and schedule look like, what my

09:25:04    5   calendar looks like, but it varies.

09:25:07    6    Q   Three -- would three to six months be typical?

09:25:11    7    A   Not necessarily.     I would say two, four or six months

09:25:15    8   would be typical.

09:25:16    9    Q   And then once your patients have reached goals, you

09:25:19   10   extend those visits out to once a year?

09:25:21   11    A   Yes, I do.

09:25:28   12    Q   And patients maintain those goals by maintaining their

09:25:36   13   current lifestyle and their current drug therapy.

09:25:39   14    A   Yes.

09:25:39   15    Q   So let's talk little bit about the labels in this case.

09:25:57   16                Would you agree with me that a prescribing physician

09:26:01   17   who is looking at defendants' labels to understand the amount

09:26:05   18   of time necessary to see the treatment effects for

09:26:08   19   administration of icosapent ethyl would look to the clinical

09:26:12   20   study section?

09:26:13   21    A   Can you repeat -- that question had so many different

09:26:17   22   components, would you mind rephrasing it for me, please?

09:26:20   23    Q   Okay.    Let me try the question again.      I'll ask it a

09:26:23   24   little bit slower.

09:26:25   25    A   Please.
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09:26:25    1    Q   A prescribing physician who is looking at the label to

09:26:30    2   understand the amount of time necessary to see the treatment

09:26:33    3   effects from administration of icosapent ethyl would look at

09:26:45    4   the clinical study section.

09:26:47    5    A   Yes, but they would look at the label in its entirety,

09:26:51    6   and the clinical study section would simply give them

09:26:52    7   information about the clinical study that was performed but

09:26:53    8   not necessarily the duration of therapy that would be used in

09:26:57    9   their individual patient population.

09:26:58   10    Q   And you recall one of the things we discussed in your

09:27:04   11   deposition, that an understanding of the clinical trials for a

09:27:07   12   medication is vital to using that medication.

09:27:11   13    A   Yes.

09:27:20   14                    MS. KEANE:   Mr. Brooks, if you could pull up

09:27:22   15   PDX 3-2.

09:27:22   16   BY MS. KEANE:

09:27:34   17    Q   And, Dr. Sheinberg, on the screen on plaintiff's or

09:27:40   18   PDX 3-2 is testimony from Mr. Mathers, do you see that?

09:27:44   19    A   Yes, I do.

09:27:45   20    Q   Again, this is the same Mr. Mathers who you relied on in

09:27:48   21   your expert report?

09:27:49   22    A   Yes.

09:27:49   23    Q   And Mr. Mathers was asked during his deposition,

09:27:54   24                   "So the goal of the clinical study section is

09:27:57   25        to facilitate a prescriber's understanding of how to
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09:28:01    1        use the drug safely and effectively, correct?"

09:28:04    2                   And he answered, "That's one of the goals,

09:28:06    3        yes."

09:28:06    4                   Do you see that?

09:28:06    5    A   Yes.

09:28:07    6    Q   Do you agree with that?

09:28:08    7    A   Yes, I do.

09:28:11    8                   MS. KEANE:   Okay.   Now, if we could --

09:28:18    9   Mr. Brooks, if we could go to Plaintiffs' Exhibit 1186 and

09:28:28   10   pull up section 14.2.

09:28:28   11   BY MS. KEANE:

09:28:31   12    Q   And Plaintiff's 1186, section 14.2, this is the clinical

09:28:36   13   study section of the Vascepa labeling?

09:28:40   14    A   Are you asking me -- yes.

09:28:41   15    Q   And the clinical study that's summarized there, that's

09:28:48   16   the MARINE study?

09:28:49   17    A   Correct.

09:28:49   18    Q   And in the clinical study section of the label, the

09:28:53   19   labeling only provides the effect of the drug after 12 weeks?

09:28:57   20    A   Correct.

09:28:57   21    Q   There's no data in the label for the effects at four

09:29:05   22   weeks.

09:29:05   23    A   Not in the label.

09:29:06   24    Q   And there's no data in the label with respect to the

09:29:09   25   effects at eight weeks.
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09:29:10    1    A   There is not.

09:29:11    2    Q   And this section that depicts the results or the effects

09:29:15    3   of the drug in 12 weeks, this information is vital to an

09:29:20    4   understanding of how to use the drug.

09:29:23    5    A   To quote Mr. Mathers, it certainly facilitates our

09:29:29    6   understanding.    It is important.

09:29:30    7               But, as you mentioned earlier, counselor, there

09:29:33    8   are -- we do look at these trials with three years of

09:29:38    9   residency, three years of cardiology fellowship, and multiple

09:29:43   10   years of practice behind us, and those experiences that we

09:29:45   11   have also shed light on how patients respond and how the dose

09:29:51   12   responses vary from individual to individual.

09:29:54   13    Q   If we take a look at table 2 in the labeling, in the --

09:30:02   14   with respect to triglyceride levels, the results shown here

09:30:05   15   are 25 percent -- or, I'm sorry, a 27 percent reduction in

09:30:10   16   triglycerides compared to baseline?

09:30:12   17    A   Correct.

09:30:12   18    Q   And a 27 percent reduction compared to baseline is

09:30:16   19   consistent with your experience using Vascepa.

09:30:18   20    A   That is correct.

09:30:19   21    Q   And if we could turn next to take a look at LDL-C.            And

09:30:30   22   the LDL-C section of the labeling does not report any increase

09:30:35   23   in LDL-C.

09:30:37   24    A   That is correct.

09:30:38   25    Q   And, in fact, if we take a look at the table below -- or,
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09:30:43    1   I'm sorry, the text below the table, there is a statement

09:30:51    2   there that says,

09:30:52    3                   "The reduction in TG observed with Vascepa

09:30:55    4        was not associated with elevations in LDL-C levels

09:30:59    5        relative to placebo."

09:31:01    6                    Do you see that?

09:31:02    7    A   Yes.

09:31:02    8    Q   And so prescribers looking at the labeling will

09:31:06    9   understand that the labeling is telling them that they can

09:31:08   10   administer Vascepa to their severe hypertriglyceridemic

09:31:12   11   patients so as to reduce triglycerides without raising LDL-C;

09:31:17   12   is that correct?

09:31:17   13    A   Again, the answer to your question is no, not

09:31:20   14   necessarily.    It will simply describe what was seen in this

09:31:24   15   trial, and it is my hope that individuals who read this would

09:31:27   16   read across the line and realize that there is -- even though

09:31:31   17   there was a reduction, some individuals had an actual increase

09:31:36   18   in their LDL-C.

09:31:37   19               So I would believe that a physician who reads this

09:31:41   20   would read the entire document and the entire line and

09:31:44   21   understand that was the response that was seen in the trial.

09:31:47   22   However, individual responses may vary.

09:31:50   23                    MS. KEANE:   Okay.   Mr. Brooks, could we pull up

09:31:54   24   PDX 3-3.

09:31:54   25   BY MS. KEANE:
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09:32:00    1    Q   Dr. Sheinberg, do you see PDX 3-3 includes testimony

09:32:05    2   again from Mr. Mathers?

09:32:07    3    A   Yes, I do.

09:32:08    4    Q   And do you see in PDX 3-3 Mr. Mathers was asked,

09:32:14    5                   "Some prescribers will understand the Vascepa

09:32:17    6        labeling to tell them that they can administer

09:32:20    7        Vascepa to their severely hypertriglyceridemic

09:32:22    8        patients so as to reduce the triglyceride levels

09:32:26    9        without raising LDL-C, correct?"

09:32:28   10                    And then he responded, "I think that's a

09:32:31   11        fair prediction."

09:32:32   12    A   I do see that.

09:32:34   13    Q   Okay.    And do you agree with Mr. Mathers?

09:32:41   14    A   Yes.    However, I cannot really speculate at what some

09:32:47   15   prescribers would do.     I can only speculate as to what I would

09:32:51   16   do and what some of the experienced colleagues I work with

09:32:54   17   would do.

09:32:55   18                But, yes, I'm sure some people would read this label

09:32:59   19   and presume one thing, and others would read the label and

09:33:02   20   presume something else.

09:33:11   21    Q   During your direct examination you relied on the -- one

09:33:19   22   of the things that you discuss was the MARINE clinical study

09:33:22   23   report; is that right?

09:33:23   24    A   Yes, that is.

09:33:24   25                    MS. KEANE:   If we could pull up DDX 4.26.
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09:33:24    1   BY MS. KEANE:

09:33:35    2    Q   And you noted that there's some data relating to LDL-C in

09:33:38    3   the MARINE clinical study report?

09:33:41    4    A   Correct.

09:33:41    5    Q   And you agree with me that that information is not in the

09:33:44    6   labeling.

09:33:45    7    A   That is not in the labeling.

09:33:46    8    Q   And that document is not even publically available.

09:33:49    9    A   That is correct.

09:33:50   10    Q   And that's information that you had access to solely for

09:33:54   11   purposes of your involvement in this case.

09:33:55   12    A   Correct.

09:33:56   13    Q   Dr. Sheinberg, I think you were asked by counsel this

09:34:09   14   morning whether or not the Lovaza -- Lovaza's effects on LDL-C

09:34:18   15   are referenced in -- in the labeling.       Do you recall that?

09:34:25   16    A   In whose labeling?

09:34:27   17    Q   In defendants' labeling.

09:34:29   18    A   Yes, I do recall that.

09:34:42   19                   MS. KEANE:     And if we could go to Plaintiffs'

09:34:57   20   Exhibit 289.

09:34:57   21   BY MS. KEANE:

09:35:01   22    Q   So Plaintiffs' Exhibit 289 is the medical review for

09:35:04   23   Vascepa.    Do you see that?

09:35:09   24    A   Yes, I do.

09:35:10   25    Q   And is this a document you're familiar with?
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09:35:12    1    A   Yes, it is.

09:35:13    2    Q   And the medical review reflects important background

09:35:18    3   information that a person of ordinary skill in the art would

09:35:21    4   understand and bring to bear when using defendants' ANDA

09:35:27    5   products as indicated?

09:35:29    6    A   Correct.

09:35:30    7    Q   And if we could turn to page 14 of the medical review.

09:35:41    8   If you see in section 2.4, section 2.4 of the labeling does

09:35:50    9   refer to Lovaza, correct -- I'm sorry, section 2.4 of the

09:35:53   10   medical review does refer to Lovaza, correct?

09:35:56   11    A   If you give me a moment to read, this I'll be able to

09:36:00   12   answer your question.

09:36:02   13                (Witness reviews document.)

09:36:14   14                That is correct.

09:36:15   15    Q   And section 2.4 of the medical review states,

09:36:18   16                   "With regard to the only other FDA approved

09:36:21   17        Omega 3 fatty acid product (Lovaza), there have been

09:36:27   18        four areas of potential safety concern."

09:36:29   19                    And the first one listed is increases in LDL-C.

09:36:32   20   Do you see that?

09:36:33   21    A   Yes.

09:36:33   22    Q   Okay.    So you would agree with me that that information

09:36:35   23   is important background information that a person of ordinary

09:36:39   24   skill in the art would understand and bring to bear when using

09:36:42   25   defendants' ANDA products as indicated?
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09:36:45    1    A   Yes.

09:36:45    2    Q   And you would agree with me that physicians would look to

09:36:56    3   the FDA medical review to understand defendants' labels?

09:37:00    4    A   Not necessarily.

09:37:03    5    Q   And for purposes of your analysis in the case, you

09:37:18    6   understand the medical review to contain important background

09:37:22    7   information that would inform physicians' understanding of

09:37:25    8   what to bring to bear to use the defendants' ANDA product in

09:37:29    9   the case.

09:37:29   10    A   Correct.

09:37:29   11    Q   So I just want to be clear on one thing.        To be clear,

09:37:41   12   you do not typically prescribe Vascepa for short-term

09:37:45   13   treatment.

09:37:45   14    A   No, I typically prescribe Vascepa long term.

09:37:49   15    Q   And, in your experience, that's consistent with other

09:37:53   16   physicians as well.

09:37:54   17    A   Yes, it is.

09:37:54   18    Q   Like Dr. Budoff.

09:37:57   19    A   Yes, it is.

09:37:57   20    Q   And when you treat patients with severe

09:38:00   21   hypertriglyceridemia, your goal is to both reduce and maintain

09:38:05   22   triglyceride levels; is that right?

09:38:07   23    A   That is correct.

09:38:09   24    Q   And that is standard practice.

09:38:11   25    A   Yes.
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09:38:12    1    Q   Another area where your practice is consistent with

09:38:18    2   Dr. Budoff's.

09:38:20    3    A   Correct, although I use Vascepa most often long-term, not

09:38:25    4   for its triglyceride-lowering effect but for the other

09:38:29    5   benefits that I have already mentioned.

09:38:31    6                So I think even though Dr. Budoff and I will use the

09:38:34    7   product for extended periods of time, the rationale between

09:38:39    8   the way I use it and the rationale between the way he uses it

09:38:42    9   is rather different.

09:38:43   10    Q   And, Dr. Sheinberg, that -- that's was -- for my

09:38:45   11   question, my question was really just that you would agree

09:38:48   12   that when you treat patients with severe hypertriglyceridemia

09:38:51   13   the goal is both to reduce and maintain triglyceride levels.

09:38:56   14    A   I thought that's how I answered the question, so not

09:39:00   15   necessarily.    I do not use the medication to maintain

09:39:03   16   triglyceride levels.     I use the medication for the other

09:39:07   17   beneficial effects seen on the inflammatory markers and the

09:39:11   18   lipid parameters like I had mentioned.

09:39:13   19    Q   Okay.     So let me just be clear.    My question is not with

09:39:16   20   respect to a particular medication.

09:39:18   21    A   Right.

09:39:18   22    Q   My question for you is just simply in medical practice

09:39:21   23   the goal for triglyceride reduction with patients -- in

09:39:23   24   patients with severe hypertriglyceridemia is to both reduce

09:39:27   25   triglycerides and maintain that reduction.
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09:39:31    1    A   Correct.

09:39:31    2    Q   And that reduction and maintenance, that's consistent

09:39:35    3   with what other physicians would do.

09:39:37    4    A   Correct.

09:39:39    5    Q   And in order for patients to maintain those triglyceride

09:39:43    6   reductions, patients need to continue with therapy.

09:39:47    7    A   By therapy, can you be more specific so I can answer your

09:39:52    8   question appropriately?

09:39:53    9    Q   Well, the patients need to continue with the therapy that

09:39:58   10   they've engaged in with their physician to keep the

09:40:01   11   triglyceride reductions maintained.

09:40:03   12    A   If by therapy you mean lifestyle modifications as well,

09:40:07   13   then, yes, I agree with that statement.

09:40:09   14    Q   And they have to do that because the underlying

09:40:13   15   mechanisms for severe hypertriglyceridemia are chronic.

09:40:18   16    A   That's not true.

09:40:20   17    Q   And so when -- you would agree with me that when therapy

09:40:25   18   is removed from patients with severe hypertriglyceridemia,

09:40:28   19   they -- the triglycerides will potentially increase again.

09:40:32   20    A   So, again, in order to answer your question the best way

09:40:38   21   I can, I need have a better definition of how you're

09:40:41   22   describing the word therapy.

09:40:43   23              As I hear your question, therapy may mean lifestyle

09:40:46   24   modifications, and, if so, if the lifestyle modifications

09:40:49   25   which are the underlying problem are, in one hand, fixed, and
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09:40:53    1   then they revert back to the pretreatment way, then, yes, I

09:40:57    2   think the problem will recur.

09:40:59    3    Q   If we could turn to -- well, Dr. Sheinberg one of the

09:41:11    4   documents that you referred to during your direct examination

09:41:13    5   was the ATP III.

09:41:15    6    A   Yes.

09:41:16    7    Q   And that is, I believe, DX 1876.

09:41:21    8                Would you agree with me that the ATP III also

09:41:25    9   reflects important background information that a POSA would

09:41:31   10   understand and bring to bear in using Vascepa or defendants'

09:41:37   11   ANDA products for their indicated use of reducing

09:41:37   12   triglycerides in patients with triglycerides of at least 500

09:41:39   13   milligrams per deciliter?

09:41:41   14    A   Yes.

09:42:00   15                    MS. KEANE:   If we could take a look at DDX 4.10.

09:42:00   16   BY MS. KEANE:

09:42:09   17    Q   Okay.    Dr. Sheinberg, on DDX 4.10, you have a call-out on

09:42:17   18   this slide from ATP III?

09:42:20   19    A   Yes.

09:42:20   20    Q   ATP III is quite a lengthy document; is that right?

09:42:24   21    A   It is.

09:42:25   22    Q   Okay.    And so on this slide you pulled out one sentence

09:42:28   23   from ATP III.

09:42:29   24    A   Correct.

09:42:30   25    Q   And then if -- and then in your testimony you moved to
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09:42:34    1   DDX 4.11.

09:42:38    2                   MS. KEANE:   So, Mr. Brooks, can we pull that up?

09:42:38    3   BY MS. KEANE:

09:42:40    4    Q   Which is the Amarin website.

09:42:41    5    A   Correct.

09:42:41    6    Q   And you used the Amarin website in your discussion of

09:42:47    7   what you believe are the causes of severe

09:42:49    8   hypertriglyceridemia?

09:42:50    9    A   Yes.

09:42:51   10                   MS. KEANE:   Okay.   Well, let's take a look back

09:42:53   11   at the ATP III.    Okay.   Now, the -- if we could turn to

09:43:04   12   page 99, Mr. Brooks.

09:43:04   13   BY MS. KEANE:

09:43:10   14    Q   And the call-out from your slide is on page 99 in a

09:43:15   15   section titled Atherogenic Dyslipidemia, do you see that?

09:43:25   16    A   Yes.

09:43:25   17    Q   Okay.   And why don't we take -- if we could take a look

09:43:27   18   at the ATP III to see if the ATP III actually has a discussion

09:43:31   19   about the causes -- or a discussion about severe

09:43:34   20   hypertriglyceridemia.

09:43:35   21                   MS. KEANE:   So we're going to turn to page 177.

09:43:43   22                   And you see on the left-hand side on page 177,

09:43:50   23   there is a heading there -- actually, Mr. Brooks, if we could

09:43:55   24   go back to the heading of Causes of Elevated Triglyceride.

09:43:55   25   BY MS. KEANE:
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09:44:03    1    Q      Starting on page 177 there is a discussion of the causes

09:44:05    2   of elevated triglycerides, do you see that?

09:44:11    3    A      Yes.

09:44:13    4    Q      Okay.   And then if you turn, if we take a look at

09:44:15    5   page 178, and within that section there is a discussion with

09:44:22    6   respect to the causes of very high triglycerides.         Do you see

09:44:25    7   that?

09:44:25    8    A      Yes.

09:44:29    9    Q      Okay.   And so in the ATP III, when discussing the causes

09:44:37   10   of severe hypertriglyceridemia, the statement in ATP III is

09:44:42   11   that,

09:44:43   12                    "When serum triglycerides exceed

09:44:45   13           500 milligrams per deciliter, chylomicrons usually

09:44:50   14           begin to appear in fasting plasma."

09:44:52   15                     Do you see that?

09:44:52   16    A      Yes.

09:44:53   17    Q      And the ATP III, a couple sentences later, goes on to

09:44:57   18   state,

09:44:57   19                    "Most frequently reported are genetic defects

09:45:01   20           in lipoprotein lipase or apo C-2."

09:45:10   21                     Do you see that?

09:45:11   22    A      I do.

09:45:15   23                     MS. KEANE:   If we could turn to DDX 4.16.

09:45:15   24

09:45:15   25   BY MS. KEANE:
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09:45:30    1    Q   Dr. Sheinberg, on direct examination you also talked

09:45:32    2   about the Karalis article; is that right?

09:45:36    3    A   Yes.

09:45:36    4    Q   And, again, on slide 4-16, the slide focuses on one of

09:45:42    5   the quotes from Karalis that you discussed?

09:45:44    6    A   Correct.

09:45:44    7    Q   Okay.    And, again, this is a snippet from a much longer

09:45:49    8   passage in Karalis.

09:45:54    9    A   Yes.

09:45:57   10                    MS. KEANE:   And, Mr. Brooks, if we could pull up

09:46:01   11   Karalis, it's PX 288.     If we could go to page 10 of the

09:46:11   12   exhibit.    If we go to the column starting with "Patients,"

09:46:17   13   it's the right-hand column.

09:46:17   14   BY MS. KEANE:

09:46:21   15    Q   Okay.    And you see that the quote from your slide is in

09:46:24   16   the middle of this passage, do you see that?

09:46:27   17    A   If you give my just a moment.

09:46:29   18    Q   Sure.

09:46:29   19    A   (Witness reviews document.)

09:46:34   20                Yes, I do.

09:46:35   21    Q   Okay.    And if we take a look at the full passage, the

09:46:50   22   paragraph in that right-hand column that starts with,

09:46:53   23                   "Patients with very high TG levels may be at

09:46:56   24        an increased CV risk even though their TG levels are

09:47:00   25        lowered to a level at which they are no longer at
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09:47:03    1        risk for pancreatitis."

09:47:04    2                   Do you see that?

09:47:05    3    A   Yes, I do.

09:47:06    4    Q   And it goes on to say that,

09:47:08    5                  "If an individual with very high TGs falls

09:47:11    6        into one of these patient groups, once the TGs are

09:47:14    7        lowered, consideration should be given to adding a

09:47:17    8        statin to their TG lowering therapy."        Correct?

09:47:20    9    A   Yes.

09:47:20   10    Q   And Karalis is recognizing in this section that some

09:47:30   11   patients will need an addition of a statin on top of their TG

09:47:35   12   lowering therapy.

09:47:36   13    A   That's correct.     We know that when triglycerides are

09:47:39   14   exceedingly high, the number one risk is pancreatitis because

09:47:42   15   of the way the triglycerides are carried.

09:47:44   16               As the triglycerides are reduced, the carrying

09:47:48   17   molecule really transitions from chylomicrons to VLDL, so the

09:47:53   18   risk of pancreatitis drops, but the cardiovascular risk

09:47:59   19   remains present if not increases.

09:47:59   20    Q   And further down if we go to the section that you

09:48:02   21   highlighted, it says that,

09:48:03   22                  "If the TG levels fall to a normal or

09:48:05   23        borderline level with lifestyle changes in

09:48:05   24        combination with lipid-lowering therapy,

09:48:11   25        consideration may be given to discontinuing the
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09:48:13    1        nonstatin, TG-lowering medication."

09:48:15    2                    Do you see that?

09:48:18    3    A   Yes, I do.

09:48:19    4    Q   And when -- well, I think you discussed in your testimony

09:48:23    5   earlier that triglyceride levels are categorized by various

09:48:27    6   different ranges.

09:48:28    7    A   Correct.

09:48:28    8    Q   For example, severe hypertriglyceridemia is

09:48:31    9   500 milligrams per deciliter or above?

09:48:33   10    A   Well, the definition that we've been using throughout

09:48:36   11   this trial is that it has recently been updated, but, yes,

09:48:40   12   that's the definition we have been using.

09:48:42   13    Q   And likewise there's a recognition in the literature that

09:48:46   14   normal triglycerides are triglyceride levels of 150 milligrams

09:48:51   15   per deciliter?

09:48:52   16    A   Or less.

09:48:52   17    Q   Or less.

09:48:53   18    A   Yes.

09:48:53   19    Q   Okay.   And the literature recognizes that borderline

09:48:56   20   triglycerides are typically 150 milligrams per deciliter to

09:49:00   21   199 milligrams per deciliter.

09:49:02   22    A   Yes.

09:49:02   23    Q   So in this passage in Karalis, when it discusses the

09:49:07   24   option to consider stopping TG-lowering medication, that is

09:49:11   25   only for patients who have a baseline -- whose baseline level
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09:49:16    1   in triglycerides has decreased from over 500 to 200 or 150.

09:49:21    2    A   Not necessarily.     The reference that I interpret here is

09:49:27    3   that once the risk of pancreatitis is resolved, the acute risk

09:49:32    4   of pancreatitis is resolved, triglyceride levels can continue

09:49:37    5   to be lowered through lifestyle modification, and therefore

09:49:41    6   that triglyceride-lowering medication can be stopped.

09:49:44    7               Again, it's differentiation -- it's differentiating

09:49:47    8   itself from the nonstatin group, not from the statin

09:49:51    9   medicines, because the statin medications continue to cause

09:49:58   10   continued cardiovascular risk reduction.

09:50:00   11               So my reading of this is simply telling me that if

09:50:04   12   lifestyle modifications are continued, the risk of

09:50:08   13   cardiovascular complications can be minimized with the

09:50:11   14   continuation of statins, but the triglyceride-lowering

09:50:16   15   medications can potentially safely be stopped.

09:50:20   16    Q   So the Karalis article, you would agree, is a reference

09:50:23   17   that is consistent with how physicians generally practice?

09:50:27   18    A   Yes.

09:50:28   19    Q   It's a reference that you relied on in both your report

09:50:32   20   and your testimony.

09:50:32   21    A   Yes.

09:50:33   22    Q   So let's take a look at that -- the statement that you

09:50:37   23   highlighted in your slides.

09:50:40   24               It says,

09:50:41   25                  "Consideration may be given to discontinuing
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09:50:44    1        the nonstatin TG-lowering medication only after

09:50:47    2        triglyceride levels have fallen to normal or

09:50:51    3        borderline normal levels," correct?

09:50:53    4    A   Correct.

09:50:55    5                   MS. KEANE:   And then if we could scroll down,

09:50:58    6   Mr. Brooks.

09:50:58    7   BY MS. KEANE:

09:50:58    8    Q   The passage goes on to say, "The triglyceride levels will

09:51:03    9   need to be monitored clearly for any rise in TG levels."

09:51:06   10    A   Correct?

09:51:07   11    Q   And that's consistent with your practice as well?

09:51:10   12    A   Correct.

09:51:21   13                   MS. KEANE:   And let's turn to -- I think it's

09:51:27   14   Plaintiffs' Exhibit 289, the medical review.

09:51:27   15   BY MS. KEANE:

09:51:35   16    Q   And, again, Dr. Sheinberg, we've discussed the medical

09:51:38   17   review a few times today.      This is a document that you've

09:51:42   18   relied on for purposes of your testimony?

09:51:44   19    A   Yes.

09:51:44   20    Q   And it reflects important background information that

09:51:51   21   physicians would bring to bear in analyzing defendants'

09:51:55   22   labels -- I'm sorry, in reviewing defendants' labels.

09:51:58   23    A   Physicians being standard positions in the field?

09:52:03   24    Q   Do you agree that -- is it your position that the medical

09:52:07   25   review -- well, let me back up.
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09:52:10    1                So your testimony is that the medical review

09:52:16    2   contains important background information that a person of

09:52:19    3   ordinary skill would understand and bring to bear when using

09:52:22    4   defendants' ANDA products as indicated.         We've talked about,

09:52:26    5   correct?

09:52:27    6    A      Correct.

09:52:27    7                       MS. KEANE:   Okay.   So if we go to page 11, if we

09:52:40    8   take a look at the paragraph at the top of the page.

09:52:40    9   BY MS. KEANE:

09:52:45   10    Q      And the medical review states that very high TG, greater

09:52:51   11   than or equal to 500 milligrams per deciliter, has a strong

09:52:55   12   genetic component.       Do you see that?

09:52:57   13    A      Yes, I do.

09:52:58   14    Q      And that's a statement from FDA.

09:53:04   15    A      Correct.

09:53:05   16    Q      And then it goes on to -- that passage goes on to state

09:53:10   17   that,

09:53:10   18                      "The most frequently reported genetic defects

09:53:13   19           for persons with very high triglycerides are in the

09:53:17   20           enzyme lipoprotein lipase, LPL, or in apo C-2, a

09:53:23   21           protein that activates LPL."

09:53:26   22    A      Yes, I see that.

09:53:27   23    Q      And, again, that's a statement by the FDA.

09:53:30   24    A      Yes, it is.

09:53:32   25    Q      And that passage goes on to then state that,
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09:53:34    1                   "The genetic defects result in an inability

09:53:37    2        to break down fatty acids, impaired catabolism of

09:53:45    3        triglyceride-rich lipoproteins" --

09:53:45    4                    THE COURT REPORTER:    Slow down.

09:53:45    5                    MS. KEANE:   I apologize.   "Impaired" -- let me

09:53:49    6   just -- I'll start from the beginning.

09:53:49    7   BY MS. KEANE:

09:53:51    8    Q   The passage goes on to state,

09:53:54    9                   "These genetic defects result in the

09:53:56   10        inability to break down fatty acids, impair

09:54:00   11        catabolism of triglyceride-rich lipoproteins.         TGRLP

09:54:09   12        also is induced by overproduction of Apop C3, an

09:54:14   13        inhibitor of LPL activity."

09:54:16   14                   Do you see that?

09:54:17   15    A   Yes, I do.

09:54:18   16    Q   Again, this is a statement by FDA.

09:54:20   17    A   Yes, it is.

09:54:21   18                    MS. KEANE:   And if we could turn to the efficacy

09:54:25   19   summary on page 41.

09:54:25   20   BY MS. KEANE:

09:54:36   21    Q   And again in this passage FDA states,

09:54:39   22                   "Patients with very high TG have a strong

09:54:44   23        genetic component to their disease and have an

09:54:47   24        increased risk for acute pancreatitis."

09:54:49   25                    Do you see that?
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09:54:49    1    A   Yes, I see that.

09:54:50    2    Q   And FDA goes on to state at the end of that passage,

09:54:54    3                   "Often it is not possible to normalize TGs in

09:54:57    4        these patients."

09:54:58    5                   Do you see that?

09:54:59    6    A   That's what it says.

09:55:00    7    Q   And, again, as we discussed, normal levels are

09:55:04    8   150 milligrams per deciliter or below.

09:55:07    9    A   Yes.

09:55:22   10                    MS. KEANE:   If we could turn to page -- I

09:55:25   11   believe it's page 50 of the same exhibit -- 51.

09:55:25   12   BY MS. KEANE:

09:55:42   13    Q   Dr. Sheinberg, do you recall during your testimony

09:55:44   14   earlier today you testified about the chart that is shown on

09:55:51   15   page 50?

09:55:51   16    A   Yes.

09:55:52   17    Q   And so in the placebo group it notes there 21 percent of

09:55:59   18   patients.    Do you see that?

09:56:00   19    A   I do.

09:56:01   20    Q   So that means in the MARINE trial 80 percent of patients

09:56:04   21   in the placebo group could not get their triglyceride levels

09:56:08   22   below 500 milligrams per deciliter with diet and lifestyle

09:56:13   23   alone.

09:56:15   24    A   That -- I think the percentages that you're quoting may

09:56:24   25   be not -- are not accurate.      It says that in the placebo
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09:56:29    1   group, 79 percent of the people in the placebo group could not

09:56:32    2   reduce their triglycerides with diet and exercise alone.

09:56:36    3    Q   Okay.    So based on the MARINE study, you would agree that

09:56:44    4   most patients were not able to reduce their triglycerides in

09:56:48    5   the -- let me rephrase.

09:56:50    6                Most patients were not able to reduce their

09:56:53    7   triglycerides with diet and exercise in the placebo group.

09:56:56    8    A   Most patients were not, but some patients were.

09:57:00    9    Q   So one of the things that you have -- one of the things

09:57:18   10   you discussed earlier, I believe yesterday and this morning,

09:57:22   11   is that, in your opinion, you believe it would be reasonable

09:57:25   12   to stop administration of icosapent ethyl after short-term

09:57:29   13   duration, is that right?

09:57:31   14    A   On certain patient populations, yes.

09:57:34   15    Q   When patients are on icosapent ethyl therapy, you have no

09:57:42   16   way of knowing when you take a patient off that therapy

09:57:46   17   whether or not their triglyceride levels will increase again

09:57:49   18   or not.

09:57:50   19    A   Well, I would argue I do have a way of knowing, and that

09:57:53   20   is from having the patient return for an additional blood draw

09:57:58   21   at some time in the near feature.

09:58:02   22    Q   And when you say an addition blood draw, do you mean

09:58:04   23   after they have ceased icosapent ethyl therapy?

09:58:06   24    A   Correct.

09:58:06   25    Q   But at the time that you -- that you would advise the
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09:58:09    1   patient to stop taking icosapent ethyl therapy you have no way

09:58:13    2   of knowing at that point in time whether or not their

09:58:16    3   triglyceride levels will increase after that therapy is

09:58:19    4   discontinued.

09:58:20    5    A   I would disagree with that statement.

09:58:22    6                I have a good understanding of what would likely

09:58:27    7   happen based on the patient's improvement in lifestyle,

09:58:32    8   improvements in body mass, and their improvements in

09:58:36    9   potentially finger-stick glucose measurements.

09:58:40   10                So there's a bunch of clinical data that I could

09:58:43   11   rely on that would suggest to me that this individual may have

09:58:47   12   success if we stop the medication.

09:58:48   13    Q   And, again, it's "may have success."        You don't know for

09:58:52   14   sure whether or not those patient's triglyceride levels will

09:58:54   15   go back up again.

09:58:55   16    A   That's the beauty of medicine.       We don't know for sure

09:58:58   17   anything, so I would not know for sure.

09:59:06   18                    MS. KEANE:   And, Mr. Brooks, if we could take a

09:59:09   19   look in the same document at page 48.

09:59:09   20   BY MS. KEANE:

09:59:20   21    Q   And here, Dr. Sheinberg, do you see on page 48 there's a

09:59:23   22   section entitled 6.1.4, Analysis of Primary Endpoints, do you

09:59:29   23   see that?

09:59:29   24    A   Yes, I do.

09:59:30   25    Q   Okay.    So I want to continue down in that section, and if
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09:59:35    1   it's helpful for you, Dr. Sheinberg, I believe there's a copy

09:59:38    2   of this in your binder, but I then want to turn to page 55 in

09:59:41    3   this section.

09:59:47    4                    MS. KEANE:   If we take a look at page 55,

09:59:50    5   Mr. Brooks, at the top of the page, could you pull up the

09:59:52    6   reviewer comment?

09:59:52    7   BY MS. KEANE:

09:59:56    8    Q   And, Dr. Sheinberg, you understand that this is still

09:59:59    9   part of the discussion of the primary efficacy endpoint in the

10:00:02   10   medical review?

10:00:03   11    A   Yes.

10:00:04   12    Q   And the FDA states there that,

10:00:09   13                   "Although the Vascepa 2-gram dose reduced TG,

10:00:13   14        the potency of the dose was such that there were wide

10:00:16   15        fluctuations in TG levels."

10:00:18   16    A   I see that.

10:00:19   17    Q   And then FDA goes on to state that,

10:00:23   18                   "The slight improvements to TG levels

10:00:25   19        achieved with the Vascepa 2-gram dose at week 4 were

10:00:29   20        reduced back to almost the baseline TG."

10:00:33   21                    Do you see that?

10:00:33   22    A   I do.

10:00:34   23    Q   And in contrast to that, FDA states that,

10:00:37   24                   "The 4-gram dose showed none of the wide

10:00:40   25        fluctuations seen in 2 grams or placebo."
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10:00:44    1                    Do you see that?

10:00:45    2    A   Yes, I do.

10:00:46    3    Q   And so FDA -- in FDA's review of the data from the MARINE

10:00:52    4   trial, FDA's conclusion was that not even 2 grams of Vascepa

10:00:56    5   could reduce and maintain triglyceride levels in patients with

10:01:00    6   severe hypertriglyceridemia.

10:01:01    7    A   Correct.

10:01:02    8    Q   And, certainly, if the 2 grams of Vascepa -- 2 grams per

10:01:09    9   day of Vascepa could not reduce and maintain the triglyceride

10:01:13   10   levels, the placebo group was also not -- the TG levels in the

10:01:17   11   placebo group were also not reduced and maintained.

10:01:21   12    A   Well, we showed that 21 percent of that group did have a

10:01:25   13   reduction in the maintenance of triglyceride levels.

10:01:28   14    Q   And one of the things that FDA points to in its analysis

10:01:40   15   is that there were wide fluctuations in TG that were observed

10:01:44   16   in the placebo group, correct?

10:01:46   17    A   That's correct.

10:01:47   18    Q   And, in fact, FDA distinguishes the Vascepa 4 grams per

10:01:51   19   dose from the placebo group there in the last statement and

10:01:55   20   says, "the ability to eliminate the wide fluctuations seen in

10:01:59   21   the placebo group."

10:02:01   22                Do you see that?

10:02:01   23    A   If I may read the sentence in its entirety.

10:02:05   24                Are we talking about the last sentence in the second

10:02:09   25   paragraph?
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10:02:10    1    Q      Yes.

10:02:25    2    A      Yes, I see that.

10:02:53    3                     MS. KEANE:   Dr. Sheinberg -- or, Mr. Brooks, if

10:02:56    4   we could turn to DDX 4.15.

10:02:56    5   BY MS. KEANE:

10:03:04    6    Q      And, Dr. Sheinberg, DDX 4.15 is a slide that you used in

10:03:09    7   your direct testimony?

10:03:09    8    A      Yes, it is.

10:03:10    9    Q      And, again, here you relied on a passage from DX 1960?

10:03:18   10    A      That is correct.

10:03:19   11    Q      And this is a -- this is a Miller chapter in a book from

10:03:25   12   2009?

10:03:25   13    A      Yes, it is.

10:03:28   14                     MS. KEANE:   So let's if we could turn to --

10:03:30   15   actually turn to DX 1960, and, Mr. Brooks, if we could go to

10:03:38   16   the passage on page 38.

10:03:38   17   BY MS. KEANE:

10:03:44   18    Q      Okay.   And do you recall, Dr. Sheinberg, that the passage

10:03:47   19   on page 38, sections of this are what you cited in your

10:03:52   20   slides?

10:03:52   21    A      Yes, ma'am.

10:03:53   22    Q      And that the statement that you highlighted in your

10:03:56   23   discussion today is that final statement,

10:04:00   24                    "Regardless of the macronutrient intake, the

10:04:03   25           most potent manner for reducing TG is through weight
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10:04:07    1        reduction."

10:04:08    2    A   That's what -- I'm sorry, your question was is that what

10:04:11    3   is says there or -- what was the question?

10:04:12    4    Q   I'm sorry.    My question is -- and we can go back, maybe

10:04:16    5   we can put up DDX 4.15 beside it.

10:04:19    6              My question for you is simply that the statement

10:04:23    7   that you highlighted in your direct testimony is that

10:04:26    8   statement at the end of DDX 4.15, which states,

10:04:29    9                   "Regardless of the macronutrient intake, the

10:04:32   10        most potent manner for reducing TG is through weight

10:04:35   11        reduction."

10:04:36   12                   Do you see that?

10:04:37   13    A   That is correct.

10:04:39   14                    MS. KEANE:   And, now, if we could turn back to

10:04:43   15   DX 1960.   Mr. Brooks, if you could pull out a little bit so we

10:04:50   16   could see the full section.

10:04:50   17   BY MS. KEANE:

10:04:54   18    Q   So the title of this section with the statement that you

10:04:59   19   quoted is Efficacy of Dietary Treatment and Weight Reduction.

10:05:03   20   Do you see that?

10:05:03   21    A   Yes, I do.

10:05:06   22    Q   The statement that you refer to in your slides that

10:05:10   23   states -- that refers to the most potent manner for reducing

10:05:13   24   TG is through weight reduction, that's a reference to the most

10:05:16   25   potent manner of dietary treatment -- of dietary or lifestyle
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10:05:23    1   modifications, correct?

10:05:24    2    A   Yes, it is.

10:05:28    3    Q   In fact, if we go down to the discussion about dietary

10:05:38    4   and weight reduction, after the statement that you highlighted

10:05:42    5   in your direct testimony, there is additional information

10:05:45    6   provided there.

10:05:46    7                Do you see that?

10:05:46    8    A   Yes.

10:05:47    9    Q   Okay.    In the last sentence there it highlights a

10:05:51   10   meta-analysis of 70 diet studies, and those studies found that

10:05:57   11   each 2.2 pounds of weight loss was associated with a

10:06:01   12   1.3 milligram per deciliter reduction in triglycerides.

10:06:06   13                Do you see that?

10:06:07   14    A   Yes.

10:06:07   15    Q   And you didn't include that sentence in your

10:06:09   16   demonstratives.

10:06:10   17    A   I did not.

10:06:11   18    Q   One of the examples you discussed during your direct

10:06:17   19   testimony today -- or I believe it was yesterday, was an

10:06:20   20   example where a patient reduces triglyceride levels from

10:06:24   21   500 milligrams per deciliter to 300 milligrams per deciliter.

10:06:28   22   Do you recall that?

10:06:29   23    A   I do.

10:06:29   24    Q   And you would agree with me that in order for a patient

10:06:41   25   to reduce their triglyceride levels from 500 milligrams --
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10:06:46    1   from 550 milligrams per deciliter to 300 milligrams per

10:06:52    2   deciliter, based on the passage that you have cited, that

10:06:55    3   would be a significant weight reduction.

10:06:57    4    A      Yes, but not necessarily, because you're forgetting to

10:07:00    5   include increases in exercise component.

10:07:05    6    Q      Okay.   So there would be some corresponding additional

10:07:10    7   perhaps triglyceride reduction from exercise?

10:07:13    8    A      Yes, that is correct.

10:07:14    9                      MS. KEANE:   Okay.   So if we could -- Mr. Brooks,

10:07:24   10   if we could pull up PDX 3-6.

10:07:24   11   BY MS. KEANE:

10:07:36   12    Q      And, Mr. Brooks -- I'm sorry, Dr. Sheinberg, do you see

10:07:39   13   there we have listed your example of 550 milligrams per

10:07:43   14   deciliter at the first visit, and 300 milligrams per deciliter

10:07:47   15   at the second visit?      Do you see that?

10:07:49   16    A      Correct.

10:07:49   17    Q      And that would be a reduction of 250 milligrams per

10:07:54   18   deciliter.

10:07:54   19    A      Correct.

10:07:54   20    Q      Okay.   And so if we take the information from the Miller

10:07:58   21   reference, and use the ratio that's disclosed there --

10:08:02   22                      MS. KEANE:   Mr. Brooks, if you could pull up the

10:08:04   23   math.

10:08:04   24

10:08:04   25   BY MS. KEANE:
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10:08:07    1    Q   Would you generally agree with me that that's how we

10:08:10    2   would do the math to figure out how much of a weight loss you

10:08:13    3   would need to see a 250-milligram per deciliter reduction?

10:08:17    4    A   That is assuming that that is the only thing that

10:08:20    5   individual is doing.

10:08:21    6                We know that there can be -- so when we talk about

10:08:23    7   weight loss, weight loss is really not a good indicator of

10:08:28    8   body mass or body fat.     So there can be essentially no weight

10:08:32    9   loss with a conversion of fat to muscle.

10:08:36   10                So weight loss is one potential mechanism.      But if

10:08:39   11   you convert abdominal adiposity or abdominal fat to skeletal

10:08:45   12   muscle, this doesn't take into consideration that.

10:08:47   13                So I agree that weight loss at 2 point -- according

10:08:50   14   to this article a weight lost of 2.2 pounds is associated with

10:08:55   15   a 1.3 milligram per deciliter reduction, but this has no

10:09:00   16   bearing on the entire picture because nothing else is

10:09:04   17   constant.

10:09:04   18                If we remove sugars, because we know our body

10:09:08   19   handles a hundred calories of sugar --

10:09:11   20    Q   So, Dr. Sheinberg, if you could just focus on the

10:09:15   21   question.

10:09:15   22    A   Okay.

10:09:16   23    Q   So let's go back then to your slide, the slide that you

10:09:19   24   prepared for your testimony today with counsel, DDX 4.15.

10:09:28   25                The statement that you included in this slide is
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10:09:30    1   that, "Regardless of macronutrient intake" -- I'm sorry, let

10:09:35    2   me rephrase it.

10:09:36    3                   "Regardless of macronutrient intake, the most

10:09:40    4        potent manner for reducing TG is through weight

10:09:43    5        reduction."

10:09:43    6                   Do you see that?

10:09:44    7    A   Yes.

10:09:45    8    Q   And that is the statement that you included during your

10:09:47    9   direct testimony.

10:09:48   10    A   It is.

10:09:48   11    Q   So we go back to where we were with PDX 3-6.         Okay?     So

10:09:55   12   we do that calculation, the resulting weight loss is

10:09:59   13   423 pounds.

10:10:00   14               Do you see that?

10:10:00   15    A   I see that's what's on the screen.

10:10:02   16    Q   And you would agree with me that that's not a reasonable

10:10:05   17   weight loss to expect with any patient.

10:10:08   18    A   Of course not in a time frame that I have given.         But,

10:10:12   19   again, my slide takes into consideration not just weight loss.

10:10:17   20                    MS. KEANE:    Okay.   If we could take a look at --

10:10:40   21   if we could go to PDX -- I'm sorry, that's not correct.            If we

10:10:51   22   could go to PDX 4-3.

10:10:51   23   BY MS. KEANE:

10:11:00   24    Q   And, Dr. Sheinberg, these are summaries of your opinions

10:11:03   25   from earlier during your testimony today?
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10:11:06    1    A   Yes, ma'am, it is.

10:11:08    2    Q   And one of the statements included here, the second --

10:11:18    3   I'm sorry, the first bullet point says,

10:11:21    4                  "Severe hypertriglyceridemia is not

10:11:22    5        necessarily a chronic condition requiring indefinite

10:11:25    6        drug treatment."

10:11:26    7                   Do you see that?

10:11:27    8    A   Yes, I do.

10:11:27    9    Q   And so if we took that statement and edited it to say,

10:11:32   10                  "Severe hypertriglyceridemia is never a

10:11:36   11        chronic condition requiring indefinite drug

10:11:39   12        treatment," that statement would be incorrect.

10:11:43   13    A   I don't like to use never or always.        I think those are

10:11:47   14   overly generalized terms which never really apply -- or don't

10:11:52   15   apply.

10:11:53   16    Q   And so you agree with me that sometimes severe

10:11:57   17   hypertriglyceridemia is a chronic condition that requires

10:11:59   18   indefinite drug treatment.

10:12:00   19    A   Yes, I do.

10:12:01   20    Q   And, in fact, there are some patients with severe

10:12:06   21   hypertriglyceridemia whose triglyceride levels will never get

10:12:10   22   under 500.

10:12:11   23    A   That is correct.

10:12:13   24    Q   And that's despite what medications the patient takes.

10:12:17   25    A   That is correct.
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10:12:17    1    Q   And if the patient -- if a patient is not able to get

10:12:21    2   their triglyceride levels below 500, they have an underlying

10:12:25    3   chronic problem.

10:12:27    4    A   That is correct.

10:12:28    5    Q   And at least for those patients, icosapent ethyl is

10:12:32    6   prescribed long-term.

10:12:34    7    A   Yes, that is correct.

10:12:35    8    Q   And that prescription is within the indication of

10:12:42    9   defendants' labeling.

10:12:43   10    A   Yes.

10:12:43   11    Q   And, in fact, the labeling would encourage long-term

10:12:48   12   administration in those patients.

10:12:55   13    A   The label -- and if you could pull up the label, I could

10:12:59   14   cite it more particularly, but the label is really silent on

10:13:03   15   the duration of therapy.     It simply indicates the target

10:13:07   16   population for which this drug is indicated and for which it

10:13:12   17   should be used.

10:13:14   18                   MS. KEANE:   Mr. Brooks, if we could go to

10:13:22   19   PDX 3-5.

10:13:22   20   BY MS. KEANE:

10:13:31   21    Q   And, again, Dr. Sheinberg, the information shown on

10:13:37   22   PDX 3-5 is testimony from Mr. Mathers.       Do you see that?

10:13:41   23    A   Yes.

10:13:41   24    Q   And we've discussed Mr. Mathers a few times today.

10:13:45   25    A   Yes.
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10:13:46    1    Q   And Mr. Mathers, during his deposition, was asked the

10:13:51    2   question,

10:13:52    3                   "Now, a drug can be approved for long-term

10:13:55    4        use without using the term chronic or the term

10:13:59    5        long-term in the indications and usage or dosage and

10:14:03    6        administration sections, correct?"

10:14:06    7                   Do you see that?

10:14:07    8    A   Yes, I do.

10:14:07    9    Q   And then he responded,

10:14:10   10                   "I don't think those characterizations are

10:14:13   11        necessary in order for the drug to be approved for

10:14:15   12        use for an indefinite time period as long as it's

10:14:20   13        within -- as long as it's within the scope of the

10:14:23   14        intended patient population and the physician

10:14:27   15        believes that they would continue to benefit from the

10:14:30   16        drug or are continuing to benefit from it."

10:14:32   17                   Do you see that?

10:14:33   18    A   I do.

10:14:35   19    Q   And do you disagree with Mr. Matters?

10:14:39   20    A   No, I agree with Mr. Mathers that basically says it's

10:14:43   21   left up to the discretion of the physician.

10:14:45   22    Q   And Mr. Mathers purports to be an expert in FDA

10:14:49   23   regulatory issues?

10:14:50   24    A   Correct.

10:14:51   25    Q   And you are not an expert in regulatory issues?
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10:14:53    1    A   I am not.

10:14:54    2    Q   And you're not an expert in drug approval?

10:14:57    3    A   No, I am not.

10:14:58    4    Q   And you're not an expert in FDA labeling discussions?

10:15:02    5    A   I am not.

10:15:12    6                    MS. KEANE:    And, Mr. Brooks, could we go to

10:15:17    7   PDX 3-4.

10:15:17    8   BY MS. KEANE:

10:15:21    9    Q   And, Dr. Sheinberg, shown on PDX 3-4 we have testimony

10:15:27   10   from Dr. Edward Fisher.       Do you see that?

10:15:30   11    A   Yes, I do.

10:15:31   12    Q   Do you know Dr. Fisher?

10:15:33   13    A   I've had the opportunity to meet him during this trial.

10:15:35   14    Q   And you understand that Dr. Fisher is one of defendants'

10:15:39   15   experts in this case?

10:15:40   16    A   Yes, I do.

10:15:42   17    Q   And you'll see on PDX 3-4, during his deposition

10:15:48   18   Dr. Fisher was asked,

10:15:49   19                   "Vascepa's indication informs doctors that it

10:15:52   20        may sometimes be necessary to keep severely

10:15:55   21        hypertriglyceridemic patients on Vascepa in order to

10:15:59   22        reduce triglycerides below 500 milligrams per

10:16:03   23        deciliter, and maintain them below that level,

10:16:07   24        correct?"

10:16:07   25                    And then his response was yes.
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10:16:09    1                    Do you see that?

10:16:10    2    A   Yes, I do.

10:16:11    3    Q   Do you agree with Dr. Fisher?

10:16:13    4    A   Yes, it may sometimes be necessary.

10:16:24    5    Q   So we spent a little bit of time talking about patients

10:16:28    6   who would not be able to get below 500 milligrams per

10:16:31    7   deciliter.

10:16:31    8                There are also patients with severe

10:16:33    9   hypertriglyceridemia whose triglyceride levels will not ever

10:16:36   10   get below 500 milligrams per deciliter without medication; is

10:16:41   11   that correct?

10:16:42   12    A   That is correct.

10:16:42   13    Q   And for those patients as well, Vascepa -- or icosapent

10:16:46   14   ethyl would be prescribed for long-term use.

10:16:48   15    A   Yes, that is correct.

10:16:50   16    Q   And you would agree with me that there are patients with

10:16:53   17   severe hypertriglyceridemia who manage to get their

10:16:56   18   triglycerides under 500 but can't maintain that level without

10:17:00   19   medication.

10:17:02   20    A   Yes, there are patients that can do that.

10:17:05   21    Q   And for those patients -- and for those patients,

10:17:15   22   icosapent ethyl would also be prescribed long-term.

10:17:19   23    A   Yes, that is correct.

10:17:20   24    Q   And those -- and with respect to those patients, that

10:17:28   25   long-term use would fall within the indication in defendants'
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10:17:31    1   labeling.

10:17:32    2    A   Again, the defendants' labeling does not mention any

10:17:36    3   duration or specific time frame or specific patient population

10:17:44    4   outside of the individual having -- being an adult and having

10:17:48    5   triglycerides over 500.

10:17:51    6    Q   And so -- and then, in your view, my understanding is

10:17:54    7   that there are additional patients who may reduce their

10:17:58    8   triglyceride levels with icosapent ethyl and then be able to

10:18:02    9   maintain their reduced triglyceride levels with diet and

10:18:06   10   exercise.

10:18:07   11    A   That is correct.

10:18:07   12    Q   And you would agree with me that those patients who are

10:18:12   13   able to reduce their triglycerides below 500 and maintain that

10:18:17   14   reduction, that those patients do not fall within the scope of

10:18:21   15   the label.

10:18:23   16    A   I would not agree with that statement.

10:18:26   17                    MS. KEANE:   Okay.   And if we could go to

10:18:39   18   Dr. Sheinberg's report, DX 1697, go to paragraph 68.

10:18:39   19   BY MS. KEANE:

10:18:54   20    Q   Dr. Sheinberg, your expert report is sworn testimony,

10:18:57   21   correct?

10:18:57   22    A   Correct.

10:18:58   23    Q   In paragraph 68 of your expert report, the first sentence

10:19:05   24   states that,

10:19:06   25                   "Vascepa and defendants' ANDA products are
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10:19:09    1        also not indicated to reduce triglycerides in

10:19:12    2        patients who do not require drug therapy to maintain

10:19:15    3        triglyceride levels below 500 milligrams per

10:19:19    4        deciliter."

10:19:20    5                   Do you see that?

10:19:20    6    A   Correct.

10:19:21    7    Q   Is that statement correct?

10:19:22    8    A   Yes.

10:19:23    9    Q   And that's an accurate representation of your testimony.

10:19:38   10    A   That is correct.

10:20:03   11                    MS. KEANE:   Your Honor, I don't have any further

10:20:05   12   questions at this time.

10:20:05   13                           REDIRECT EXAMINATION

10:20:05   14   BY MR. REIG-PLESSIS:

10:20:36   15    Q   Dr. Sheinberg, do you recall Ms. Keane asking you about

10:20:39   16   statements in your expert report in which you relied on

10:20:42   17   Mr. Mathers' report?

10:20:43   18    A   Yes, I do.

10:20:44   19                    MR. REIG-PLESSIS:   So could we pull up DX 1697,

10:20:50   20   and could we go to paragraph 64.

10:20:50   21   BY MR. REIG-PLESSIS:

10:21:11   22    Q   Was it your understanding from the expert report of

10:21:14   23   Mr. Mathers that,

10:21:15   24                   "FDA regulations regarding the indications

10:21:18   25        and usage section of a drug label state that a drug's
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10:21:22    1        indications or uses must not be implied or suggested

10:21:26    2        in other sections of the labeling if not included in

10:21:29    3        this section"?

10:21:31    4                   And there's a cite to the federal regulations.

10:21:33    5    A   Yes, I do.

10:21:36    6                   MR. REIG-PLESSIS:    And could we now go to

10:21:38    7   paragraph 80 of DX 1697.

10:21:38    8   BY MR. REIG-PLESSIS:

10:21:55    9    Q   And was it your understanding from Mr. Mathers' report

10:21:58   10   that FDA guidance states that,

10:22:00   11                  "The clinical studies section must not

10:22:04   12        suggest or imply indications, uses, or dosing

10:22:08   13        regimens not stated in the indications and usage or

10:22:12   14        dosage and administration section"?

10:22:14   15                   And that's a quote from the FDA's clinical

10:22:17   16   studies guidance.

10:22:18   17    A   I do, and that is why, when questioned about the time

10:22:22   18   frame in the MARINE study under the study section, I don't

10:22:27   19   look at that time frame as a direct instruction or reflection

10:22:31   20   of how to use this medication.

10:22:33   21    Q   Now, do you recall Ms. Keane asking whether it's possible

10:22:39   22   that some physicians following the label might infringe?

10:22:42   23    A   Yes, I do.

10:22:43   24    Q   Just to be clear, is there any actual instruction

10:22:47   25   directed to any physicians in the label to administer
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10:22:50    1   defendants' products for at least 12 weeks?

10:22:53    2    A   There are none.

10:22:54    3    Q   And do you recall Ms. Keane asking you about the effect

10:22:58    4   that weight loss would have on triglyceride reduction?

10:23:02    5    A   Yes, I do.

10:23:03    6    Q   Is weight loss the only lifestyle modification that a

10:23:07    7   physician can use to reduce triglycerides?

10:23:09    8    A   Absolutely not.

10:23:10    9    Q   What are some other lifestyle modifications that could be

10:23:15   10   used to reach that goal?

10:23:16   11    A   Discontinuation of sugared beverages, discontinuation of

10:23:22   12   alcohol, discontinuation of tobacco products, and the

10:23:26   13   development and successful engagement into an exercise regimen

10:23:32   14   consisting mostly the aerobic exercise, but also some

10:23:38   15   anaerobic exercise to increase lean muscle mass.

10:23:41   16    Q   And could those lifestyle modifications produce

10:23:44   17   significant reductions in triglycerides?

10:23:46   18    A   Yes, they absolutely can and do very frequently.

10:23:49   19    Q   And can they be used to maintain significant triglyceride

10:23:53   20   reductions?

10:23:53   21    A   Yes, they can.

10:23:55   22    Q   And do you recall Ms. Keane asking you about the supply

10:23:58   23   of Vascepa that's provided by your prescriptions to patients?

10:24:03   24    A   Yes, I do.

10:24:04   25    Q   Is the reason that you prescribe three months with three
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10:24:07    1   refills in order to reduce or maintain triglycerides below

10:24:08    2   500?

10:24:13    3    A     I'm sorry --

10:24:14    4    Q     Sure.    Is the reason that you prescribe three months with

10:24:18    5   three refills of Vascepa in order to reduce or maintain

10:24:22    6   triglycerides below 500 or is it for other reasons?

10:24:25    7    A     It is not, it's for other reasons.

10:24:27    8    Q     Do you ever discontinue Vascepa before a patient's

10:24:32    9   three-month prescription is complete?

10:24:35   10    A     Yes, I do.

10:24:36   11    Q     Can patients stop taking Vascepa even if they still have

10:24:40   12   pills left in their prescription?

10:24:42   13    A     They frequently do.

10:24:44   14    Q     Now, apart from your standard prescriptions, is there any

10:24:45   15   other way in which you provide Vascepa to patients?

10:24:46   16    A     Yes.    We can give the patients samples which are provided

10:24:50   17   by the manufacturer.

10:24:51   18    Q     And how many pills are in a sample?

10:24:54   19    A     Currently the samples or the samples I have used contain

10:24:59   20   a small pill bottle with two days worth of samples, so eight

10:25:04   21   pills per bottle.

10:25:05   22                  And when I prescribe this type of medication, I will

10:25:08   23   typically give an individual eight to 15 bottles if I have

10:25:16   24   them available.

10:25:17   25    Q     So if you give a patient samples of Vascepa, would that
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10:25:21    1   be a 12-week supply?

10:25:22    2    A   It would not.

10:25:38    3                    MR. REIG-PLESSIS:   So, Mr. Gross, staying on

10:25:40    4   DX 1697, Dr. Sheinberg's report, could we go back up to

10:25:44    5   paragraph 68 which is -- I apologize, I don't have the page

10:25:51    6   number of the exhibit.     But -- there it is.

10:25:51    7   BY MR. REIG-PLESSIS:

10:26:01    8    Q   And, Dr. Sheinberg, by this paragraph what did you mean?

10:26:06    9    A   So the paragraph basically states that once a patient's

10:26:11   10   triglycerides fall below 500, and the use of Vascepa is no

10:26:16   11   longer needed to maintain triglyceride levels, the patient's

10:26:22   12   continued treatment with Vascepa or the ANDA product would

10:26:26   13   fall to an off-label use that is not within the approved

10:26:30   14   indication.

10:26:31   15    Q   So by that statement were you implying in any way that

10:26:35   16   the indicated use for Vascepa or defendants' ANDA products is

10:26:39   17   limited to treating patients who require chronic therapy for

10:26:44   18   triglyceride reduction?

10:26:45   19    A   I am not.    The indication in my practice to use this

10:26:48   20   medicine -- or the reason I use this medicine long-term is

10:26:54   21   very minimally to reduce triglycerides or maintain

10:26:57   22   triglycerides less than 500.

10:26:59   23              As I testified earlier, I use this medication for

10:27:02   24   the beneficial impact it has across the board of advanced

10:27:06   25   lipid panel biomarkers.
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10:27:08    1               I use this medication routinely to reduce

10:27:12    2   intravascular inflammation which is simply inflammation of the

10:27:16    3   blood vessels which is a precursor of a heart attack, and I've

10:27:21    4   been very successful in using this medication to do so.

10:27:24    5    Q     And if a patient's underlying lifestyle cause of high

10:27:28    6   triglycerides is removed, does a patient require Vascepa

10:27:30    7   anymore for the indicated purpose of the MARINE indication?

10:27:33    8    A     They do not.   The -- like I said, they do not require it

10:27:38    9   for this indicated purpose.      That does not mean they still

10:27:41   10   don't have benefit in these other areas which I described, but

10:27:45   11   very rarely is it to maintain triglycerides below 500 in my

10:27:50   12   practice.

10:27:50   13    Q     So once the underlying cause of this hypertriglyceridemia

10:27:57   14   caused by lifestyle issues is removed, would the continued use

10:28:00   15   of Vascepa to reduce triglycerides at that point become an

10:28:05   16   off-label use from defendants' ANDA products?

10:28:09   17    A     Yes, it would.

10:28:10   18                   MR. REIG-PLESSIS:    No further questions, thank

10:28:11   19   you.

10:28:17   20                   THE COURT:   Ms. Keane?

10:28:19   21                   MS. KEANE:   No, Your Honor.     I don't have any

10:28:21   22   further questions.

10:28:22   23                   THE COURT:   All right.    Thank you.

10:28:23   24                   Dr. Sheinberg is excused, and I think this is a

10:28:27   25   good time for us to take our morning break.
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10:28:27    1                           (The witness was excused.)
10:28:27
10:28:27    2                           (A recess was taken.)
10:39:34
10:39:34    3                           THE COURT:    Please be seated.
10:48:11
10:48:15    4                           Who is the defendants' next witness?

10:48:17    5                   MS. HEYDORN:    Your Honor, before we proceed with

10:48:19    6   our next witness, this is Alison Heydorn for defendants.

10:48:22    7                   THE COURT:   Would you pull -- either speak up or

10:48:25    8   pull the microphone closer to you.

10:48:28    9                   MS. HEYDORN:    At this time, defendants would

10:48:29   10   like to offer deposition testimony into the record.

10:48:32   11                   As plaintiff's explained earlier this week, we

10:48:35   12   plan to give you a list of the designated testimony now, and

10:48:39   13   then the parties will provide joint highlighted copies of the

10:48:43   14   transcripts at the conclusion of trial.

10:48:45   15                   Defendants' also move to admit the exhibits that

10:48:50   16   are referenced in the deposition testimony at this time.

10:48:54   17                   May I list the exhibit numbers?

10:48:56   18                   THE COURT:   Yes.

10:48:58   19                   MS. HEYDORN:    DX 1543 --

10:49:00   20                   THE COURT:   Give me one moment.

10:49:12   21                   All right.   Now I'm ready.     Thank you.

10:49:17   22                   MS. HEYDORN:    DX 1543, DX 1730, DX 1731,

10:49:23   23   DX 1732, DX 1733, DX 1734, DX 1735, DX 1736, DX 1737, DX 1738,

10:49:43   24   DX 1739, DX 1740, DX 1741, DX 1742, DX 1743, DX 1745, DX 1747,

10:50:04   25   DX 1750, DX 1793, DX 1797, DX 1853, DX 1854, DX 1855, DX 1856,
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10:50:24    1   DX 1857, DX 1858, DX 1859, DX 1860, DX 1861, DX 1862, DX 1881,

10:50:46    2   DX 1882, DX 1883, DX 1884, DX 1885, DX 1886, DX 1887, DX 1888,

10:51:05    3   DX 1889, and DX 1890.

10:51:18    4                   THE COURT:   Any objection to those exhibits?

10:51:22    5                   MS. KEANE:   No, Your Honor.

10:51:23    6                   THE COURT:   All right.    Thank you.

10:51:24    7                   The exhibits are admitted, and then I will

10:51:26    8   accept the deposition testimony as I did with the plaintiff's

10:51:31    9   proffer.   Thank you.

10:51:34   10                   MS. HEYDORN:    Thank you.    May I approach with a

10:51:36   11   flash drive?

10:51:37   12                   THE COURT:   Yes.   Thank you.

10:51:39   13                          (Defendants' Exhibits 1543, 1730 through
10:49:20                                1743, 1745, 1747, 1750, 1793, 1797, 1853
10:50:16   14                           through 1862, and 1881 through 1890
10:51:40                                received in evidence.)
10:51:44   15                   MR. REIG-PLESSIS: Yes, Your Honor. Eimeric

10:51:59   16   Reig for the defendants.

10:52:00   17                   In light of the testimony that's already been

10:52:01   18   elicited in today's and yesterday's testimony, defendants'

10:52:06   19   will not be calling their FDA regulatory expert Mr. Mathers,

10:52:11   20   and we will be proceeding with the obviousness portion of our

10:52:15   21   case.

10:52:16   22                   THE COURT:   All right.    Give me one moment to

10:52:18   23   make that note.

10:52:44   24                   Thank you.   Let's proceed.

10:52:45   25                   MR. REIG-PLESSIS:    As their next witness,
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10:52:46    1   defendants call Dr. Jay Heinecke.

10:52:53    2                    THE CLERK:   Please come forward.
10:52:53
10:52:53    3                        JAY WALTER HEINECKE, M.D.,
10:52:53                  called as a witness on behalf of the Defendant,
10:52:59    4                   was sworn and testified as follows:

10:52:59    5                    THE CLERK:   Please be seated.

10:53:11    6                    Please state for the record your full name and

10:53:15    7   spell your last name.

10:53:17    8                    THE WITNESS:   My full name is Jay Walter

10:53:22    9   Heinecke.    J-a-y.    H-e-i-n-e-c-k-e.

10:53:29   10                    THE COURT:   Please proceed.

10:53:30   11                            DIRECT EXAMINATION

10:53:30   12   BY MR. REIG-PLESSIS:

10:53:30   13    Q      Good afternoon, Dr. Heinecke.

10:53:33   14                Where are you currently employed?

10:53:36   15    A      I'm currently employed as a Professor of Medicine at the

10:53:40   16   University of Washington in Seattle.

10:53:43   17    Q      Did defendants retain you to testify as an expert in this

10:53:46   18   case?

10:53:47   19    A      Yes, they did.

10:53:48   20    Q      And apart from this case, do you have any affiliation

10:53:51   21   with the defendants outside of this case?

10:53:53   22    A      No, I don't.

10:53:54   23    Q      What is your area of expertise?

10:53:57   24    A      Lipoprotein metabolism and the pathogenesis of

10:54:03   25   atherosclerosis, otherwise known as hardening of the arteries.
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10:54:06    1    Q   So if we could turn to DDX 6.1.       There's a snapshot on

10:54:11    2   the screen of DX 2222, page 1, which is in your binder.            Could

10:54:17    3   you identify this document, please.

10:54:18    4    A   Yes.     This is a copy of my Curriculum Vitae that was

10:54:23    5   submitted to counsel when I was retained in the fall of 2018.

10:54:27    6                    MR. REIG-PLESSIS:   And defendants move the

10:54:28    7   admission of DX 2222.

10:54:30    8                    MR. SIPES:   No objection, Your Honor.

10:54:31    9                    THE COURT:   DX 2222 is admitted.

10:54:31   10                           (Defendants' Exhibit 2222 received in
10:54:35                                 evidence.)
10:54:35   11   BY MR. REIG-PLESSIS:

10:54:35   12    Q   Does your CV accurately list your publications and honors

10:54:40   13   over the course of your career at the time it was created?

10:54:42   14    A   I believe there's been about 10 subsequent publications,

10:54:46   15   but otherwise it's accurate.

10:54:47   16    Q   So turning to DDX 6.2, there's another snapshot of

10:54:52   17   DX 2222, could you briefly summarize your educational

10:54:58   18   background.

10:54:58   19    A   Yes.     I went to the Medical School at Washington

10:55:01   20   University School of Medicine in St. Louis.        I did my training

10:55:06   21   in internal medicine and a post-doctoral fellowship at the

10:55:10   22   University of Washington.

10:55:12   23               This sometimes confuses people because Washington

10:55:12   24   University is in St. Louis and the University of Washington is

10:55:16   25   in Seattle.
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10:55:17    1               I'd like to emphasize that I did a post-doctoral

10:55:20    2   fellowship in the Division of Metabolism, Endocrinology, and

10:55:26    3   Nutrition with a special emphasis on disorders of lipid

10:55:29    4   metabolism.    I also worked in the lipid clinic there, as well

10:55:32    5   as subsequently when I was a junior faculty.

10:55:33    6               The lipid clinic at the University of Washington had

10:55:37    7   a special interest in disorders of triglyceride, metabolism,

10:55:41    8   and diabetes.

10:55:45    9    Q   Turning to DDX 6.3, have you taught courses relating to

10:55:51   10   lipid disorders?

10:55:52   11    A   Yes.     I've taught continuing medical education courses to

10:55:56   12   physicians on hyperlipidemia, diabetes, and atherogenesis.

10:56:01   13   And, as I mentioned before, atherogenesis is trying to

10:56:08   14   understand the causes of hardening of the artery.

10:56:12   15               I've also taught the endocrine core course both at

10:56:16   16   the University of Washington and at Washington University,

10:56:19   17   focused on diabetes and disorders of lipoprotein metabolism.

10:56:25   18               I also give lectures on lipoprotein metabolism and

10:56:27   19   atherogenesis to the Fellows in the Department of Medicine at

10:56:30   20   the University of Washington.

10:56:32   21    Q   Have you treated patients with lipid disorders?

10:56:37   22    A   I have.    In addition to my post-doctoral training, where

10:56:41   23   I was in lipid clinic at the University of Washington, which

10:56:45   24   was from 1984 to 1991, I also was a attending and lipid clinic

10:56:52   25   at Washington University of School of Medicine from 1992 to
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10:56:57    1   2002.

10:56:58    2                  And when I returned to the University of Washington

10:57:01    3   as a full professor in 2002, I became an attending in lipid

10:57:06    4   clinic, where I served from 2003 until 2008 or 2009 when I

10:57:11    5   stopped seeing patients.

10:57:13    6    Q      And specifically, have you treated patients with

10:57:17    7   triglycerides above 500?

10:57:19    8    A      Yes, I have.

10:57:20    9    Q      Have you administered Omega-3 fatty acids, such as EPA

10:57:26   10   and DHA, to treat patient with elevated triglycerides?

10:57:27   11    A      Yes, I have.

10:57:28   12    Q      Have you also published on the topic of lipoproteins and

10:57:34   13   atherosclerosis?

10:57:34   14    A      Yes.   I have more than 200 publications on lipoproteins

10:57:40   15   and heart disease.

10:57:41   16                      MR. REIG-PLESSIS:     Defendants' tender --

10:57:48   17                      THE COURT:   Dr. Heinecke, would you move closer

10:57:49   18   to the microphone --

10:57:49   19                      THE WITNESS:   Yes.   Sorry about that.

10:57:50   20                      THE COURT:   -- or raise your voice.   Thank you.

10:57:50   21                      THE WITNESS:   Just to answer the last question,

10:57:51   22   I have more than 200 publications on lipoproteins and heart

10:57:55   23   disease.

10:57:56   24                      Is that better, Your Honor?

10:57:57   25                      THE COURT:   Yes.   Thank you.
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10:57:58    1                    MR. REIG-PLESSIS:   Defendants' tender

10:58:00    2   Dr. Heinecke as an expert in the fields of lipoprotein

10:58:03    3   metabolism and lipid disorders.

10:58:06    4                    MR. SIPES:   No objection, Your Honor.

10:58:06    5                    THE COURT:   That request is granted.     The Court

10:58:10    6   will certify Dr. Heinecke as an expert in lipoprotein and

10:58:14    7   lipo -- what was the disorder?

10:58:16    8                    MR. REIG-PLESSIS:   Lipoprotein metabolism and

10:58:19    9   lipid disorders, Your Honor.

10:58:20   10                    THE COURT:   So granted.

10:58:21   11                    MR. REIG-PLESSIS:   Thank you.

10:58:22   12                    THE WITNESS:   It's a mouthful.

10:58:24   13   BY MR. REIG-PLESSIS:

10:58:25   14    Q   Dr. Heinecke, do you have slides to assist the Court with

10:58:28   15   your testimony today?

10:58:29   16    A   I do.

10:58:32   17    Q   So turning to DDX 6.4, could you please summarize the

10:58:40   18   opinions you intend to present today.

10:58:44   19    A   Yes.    So, in my opinion, all of the asserted claims would

10:58:50   20   have been obvious to a person of ordinary skill in the art as

10:58:54   21   of March 2008.

10:58:56   22                This specifically recites to the claims recited by

10:58:59   23   Amarin as a method purportedly invented of treating a patient

10:59:04   24   with purified EPA comprising a patient population with a

10:59:09   25   triglyceride level of greater than 500 milligrams per
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10:59:12    1   deciliter.

10:59:13    2                And let me say this.   A lot of the time you see

10:59:15    3   greater than or 499, I tend to just round off there.         So

10:59:19    4   greater than or equal to 500 milligrams per deciliter.

10:59:23    5                A duration of therapy of at least 12 weeks.

10:59:26    6                A dosage of the administered medication of 4 grams

10:59:29    7   per day, and a purity of at least 96 percent EPA.

10:59:34    8                And, in my opinion, every element of this method was

10:59:37    9   known in the prior art.

10:59:39   10    Q   And turning to DDX 6.5, do you have opinions on whether

10:59:43   11   the prior art would have motivated a person of skill in the

10:59:47   12   art to practice the claimed method of treatment?

10:59:50   13    A   I do.     I think it would have been obvious because the

10:59:51   14   prior art as of March 2008 taught that Lovaza, a prescription

10:59:59   15   preparation of purified Omega-3 fatty acids, was effective in

11:00:06   16   treating patients with triglycerides greater than 500

11:00:08   17   milligrams per deciliter, but that it had the undesirable side

11:00:10   18   effect of increasing LDL cholesterol, the bad form of

11:00:14   19   cholesterol.

11:00:15   20                It was well established at that time that Lovaza was

11:00:17   21   predominantly composed of EPA and DHA, two Omega-3 fatty

11:00:24   22   acids.   It was also known at that time that, unlike DH, 4

11:00:29   23   grams a day of 96 percent pure EPA did not increase LDL

11:00:33   24   cholesterol.

11:00:34   25                So I think it would have been obvious to a person of
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11:00:36    1   skill in the art to have tried to use 4 grams a day of at

11:00:39    2   least 96 percent pure EPA to treat patients with triglycerides

11:00:44    3   above 500 milligrams per deciliter to avoid increasing the bad

11:00:48    4   form of cholesterol.

11:00:50    5    Q   And turning to DDX 6.6, do you also have opinions on

11:00:55    6   whether the clinical effects recited in certain claims would

11:00:59    7   also have been obvious?

11:01:00    8    A   I do.    For example, some of the asserted claims

11:01:03    9   specifically require no increase in LDL cholesterol, and my

11:01:08   10   understanding of that is no clinically significant increase in

11:01:11   11   LDL cholesterol;

11:01:13   12                A reduction this triglycerides of at least

11:01:15   13   20 percent;

11:01:15   14                A reduction in apo B, and apo B is the major protein

11:01:21   15   of LDL;

11:01:22   16                No concurrent lipid-altering therapy;

11:01:24   17                And no fatty acid impurity in the EPA preparation of

11:01:29   18   more than 0.6 percent.

11:01:31   19                And, in my opinion, the prior art disclosed all of

11:01:33   20   these requirements providing a reasonable expectation of

11:01:37   21   success.

11:01:38   22    Q   Now, which claims did you analyze for your obviousness

11:01:41   23   opinions?

11:01:42   24    A   These are listed in the slide shown here.        The '929

11:01:47   25   patent, claims 1 and 5, the '728 patent, claims 1 and 16, the
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11:01:54    1   '715 patent, claim 14, the '677 patent, claims 1 and 8, the

11:02:02    2   '652 patent, claim 1; and the '560 patent, claims 4 and 17.

11:02:07    3    Q   And for the record, since you mentioned the slide, it's

11:02:10    4   DDX 6.7.

11:02:12    5              Turning to DDX 6.8, on the screen are snapshots of

11:02:17    6   the Court's Claim Construction Order, and the parties'

11:02:19    7   stipulation on agreed upon constructions in this case.

11:02:23    8              Did you apply the constructions in these documents

11:02:27    9   in forming your opinions?

11:02:28   10    A   To the best of my ability, I did.

11:02:30   11    Q   What factors did you consider in forming your opinions on

11:02:36   12   obviousness in this case?

11:02:38   13    A   There would be four factors:

11:02:41   14              The level of ordinary skill in the art;

11:02:44   15              The scope and content of the prior art, which I

11:02:47   16   would refer to as the medical literature;

11:02:50   17              The differences between the prior art and the

11:02:53   18   claims; and then

11:02:55   19              Secondary considerations.

11:02:57   20    Q   So turning to DDX 6.10, and the first factor of your

11:03:01   21   analysis, how did you define the level of ordinary skill in

11:03:06   22   the art for purposes of the asserted patents?

11:03:09   23    A   My definition of an ordinary skill in the art was, first

11:03:14   24   of all, a medical degree or an advanced degree in

11:03:18   25   biochemistry;
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11:03:19    1                Secondly, several years of experience developing or

11:03:24    2   using fatty acids to treat lipid disorders, including EPA and

11:03:29    3   DHA, and just to emphasize again that EPA and DHA are specific

11:03:35    4   kinds of fatty acids, called Omega-3 fatty acids.

11:03:35    5                And, finally, access to a team, including a medical

11:03:42    6   doctor, an analytical chemist, or a pharmaceutical chemist.

11:03:48    7    Q   So turning now to DDX 6.11, do you understand that Amarin

11:03:53    8   has also proposed a definition for the level of ordinary skill

11:03:56    9   in the art?

11:03:57   10    A   I do.

11:03:59   11    Q   Do any differences between your definition and Amarin's

11:04:03   12   definition on DDX 6.11 affect your opinions in this case?

11:04:08   13    A   I do not believe so.

11:04:11   14    Q   Were you a person of skill in the art as of March of 2008

11:04:15   15   under either side's definition?

11:04:17   16    A   Yes.

11:04:18   17    Q   Do you also have slides analyzing the scope and content

11:04:23   18   of the prior art before March of 2008?

11:04:26   19    A   I do.

11:04:27   20    Q   Turning to DDX 6.13, what is the prior art that you

11:04:38   21   primarily rely on for your obviousness opinions in this case?

11:04:41   22    A   There are four key publications that I rely on.         The

11:04:46   23   first is the Lovaza PDR, which we've heard about extensively

11:04:51   24   in prior testimony;

11:04:52   25                The second is Mori, et al., which we've also heard
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11:04:57    1   referred to;

11:04:58    2                  The third is Hayashi; and

11:05:00    3                  The fourth is Kurabayashi.

11:05:04    4    Q     Now, do you also rely on other prior art to provide

11:05:07    5   context for how a person of skill would read these references?

11:05:10    6    A     I do.    There's an extensive previous literature

11:05:16    7   supporting our contentions, and I would like to cite some of

11:05:19    8   this literature now.

11:05:20    9    Q     Do you have a timeline to walk through the relevant prior

11:05:24   10   art?

11:05:24   11    A     I do.

11:05:25   12    Q     So turning to DDX 6.14, there is a snapshot on the screen

11:05:30   13   of DX 1527, which is on the parties' admitted exhibit list.

11:05:36   14   Could you identify this document, please.

11:05:38   15    A     Yes.    This is a publication from Mochida Pharmaceutical

11:05:43   16   Company describing their Epadel preparation.        This is a

11:05:47   17   preparation of highly purified EPA.

11:05:50   18                  Let me mention that there are many different

11:05:53   19   nomenclatures used for EPA, for example, here, they call it

11:05:57   20   ethyl icosapentate.      I will just refer to this throughout my

11:06:02   21   presentation as EPA to simplify the understanding.

11:06:06   22                  This describes a preparation of highly purified EPA.

11:06:09   23   And one of the indications at this time, back in 1991, 1992,

11:06:13   24   was already an indication to decrease serum lipids.         And they

11:06:20   25   specifically refer here to both triglycerides and cholesterol.
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                                                                                        720



11:06:25    1    Q   So turning to DDX 6.15, there is a snapshot of DX 1550,

11:06:32    2   which is also on the parties' admitted list.

11:06:34    3               Could you identify this document, please.

11:06:36    4    A   This would be the Takaku publication in 1991.         A Study on

11:06:43    5   the Efficacy and Safety of EPA in the Treatment of

11:06:47    6   Hyperlipidemia Based on Long-Term Administration Test.             So

11:06:51    7   already, in 1991, there was an interest in testing Epadel for

11:06:56    8   treating lipid disorders.

11:06:59    9    Q   And we heard some testimony about it earlier in the week,

11:07:02   10   but does hyperlipidemia include hypertriglyceridemia?

11:07:07   11    A   Hyperlipidemia is a broad term.       It would include both

11:07:13   12   hypercholesterolemia and hypertriglyceridemia, as well as

11:07:13   13   mixed forms of those disorders, as well as other disorders.

11:07:17   14    Q   So now on the screen is DDX 6.16.       There is a snapshot of

11:07:23   15   the same exhibit DX 1550, now at page 4.

11:07:28   16               Could you describe the objective of the Takaku 1991

11:07:33   17   study.

11:07:33   18    A   Yes.   As stated here in the publication itself, they're

11:07:38   19   examining the ability Epadel, a high-purity EPA preparation,

11:07:42   20   to examine its potential safety and usefulness to the

11:07:46   21   treatment of hyperlipidemia.

11:07:52   22    Q   And turning to DDX 6.17, which is another snapshot of

11:07:57   23   DX 1550, from pages 12 and 32 of the document, did any of the

11:08:02   24   patients in Takaku have triglycerides above 500?

11:08:07   25    A   They did.    As shown in Figure 3 on the patient
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11:08:12    1   background, in the highlighted column -- excuse me, the

11:08:16    2   highlighted row, there were four subjects that had

11:08:19    3   triglyceride values in the 400 to 1225 range.

11:08:24    4                So clearly, there was at least one subject in the

11:08:27    5   study with a triglyceride value of over 1000 milligrams per

11:08:31    6   deciliter.

11:08:32    7                They give further information on the specifics of

11:08:34    8   this study in Table 11 where they're talking about the shift

11:08:38    9   in serum triglycerides where they note that three of the

11:08:41   10   patients had preadministration values of triglycerides of 650,

11:08:46   11   700, and 1225, in other words, severe hypertriglyceridemia.

11:08:54   12                Note that they also report the effect of the EPA at

11:08:57   13   the end of the treatment interval, which was greater than

11:09:01   14   52 weeks, and in every single subject, except for the subject

11:09:05   15   who had a value of 650 milligrams per deciliter, there was a

11:09:10   16   marked decline in the level of triglycerides.

11:09:12   17                And I'll also point out that at the 40-week point,

11:09:16   18   the one patient who had an initial value of 650 milligrams per

11:09:21   19   deciliter, had a value of 472 milligrams per deciliter on

11:09:26   20   therapy at that time, suggesting that Epadel was significantly

11:09:29   21   lowering triglycerides in this patient population and

11:09:32   22   specifically in patients that had triglycerides above

11:09:36   23   500 milligrams per deciliter.

11:09:38   24    Q   So turning now to DDX 6.18, there's another snapshot,

11:09:44   25   again from the same exhibit, DX 1550, now on page 21.
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11:09:48    1                 Did purified EPA increase LDL cholesterol in the

11:09:53    2   Takaku study?

11:09:54    3    A     The authors state that there was no significant

11:09:57    4   fluctuation in the values of serum LDL cholesterol.

11:10:04    5    Q     So turning now to DDX 6.19, there is a snapshot on the

11:10:08    6   screen of DX 1551, which is also on the parties' admitted

11:10:13    7   exhibit list.     Could you identify this document, please.

11:10:16    8    A     Yes.   This would be the 1991 Wojenski publication

11:10:22    9   entitled "EPA as an Antithrombotic Agent: Comparison to an

11:10:27   10   Extract of Fish Oil."     So already people are considering the

11:10:31   11   comparison of purified EPA to fish oil.

11:10:35   12    Q     Turning to DDX 6.20, with a snapshot of DX 1551 from

11:10:43   13   pages 2 and 4, what dosage of purified EPA did Wojenski 1991

11:10:49   14   use?

11:10:50   15    A     They were using EPA at a dose of 4 grams per day, and

11:10:55   16   they note that this was greater than 90 percent pure, and they

11:10:59   17   also note that this led to a decrease in serum triglyceride

11:11:03   18   levels of 33 percent; highly statistically significant.

11:11:07   19    Q     So according to Wojenski, did 4 grams per day of purified

11:11:12   20   EPA reduce triglycerides?

11:11:14   21    A     Yes.

11:11:15   22    Q     Now on the screen is DDX 6.21.     There's a snapshot of

11:11:21   23   DX 1537 which is also on the parties' admitted exhibit list.

11:11:25   24   Could you identify this document, please.

11:11:27   25    A     Yes.   This is the 1991 publication of Matsuzawa -- I'm
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11:11:34    1   not sure I pronounced that right -- Effect of Long-Term

11:11:37    2   Administration of EPA in Hyperlipidemic Patients.

11:11:42    3    Q   So turning to DDX 6.22, with a snapshot of DX 1537, from

11:11:49    4   pages 1 and 4, what was the product administered in the

11:11:55    5   Matsuzawa 1991 study?

11:11:58    6    A   This would be the Epadel preparation of a highly-refined

11:12:01    7   EPA preparation.    I would call it highly purified.       And the

11:12:05    8   drug was administered for at least 24 weeks, the object being

11:12:09    9   to do so for 52 weeks.

11:12:12   10    Q   So did Matsuzawa 1991 teach the administration of

11:12:16   11   purified EPA for at least 12 weeks?

11:12:19   12    A   It did.

11:12:20   13    Q   Turning now to DDX6.23, there's another snapshot from

11:12:28   14   DX 1537, this time from page 23.

11:12:32   15               Were there any patients in Matsuzawa having a

11:12:35   16   baseline triglyceride level of at least 500?

11:12:38   17    A   Yes.   As highlighted again in the table, there was at

11:12:42   18   least one patient with a value of above 1000, and given the

11:12:47   19   row above that, where they indicate there was 400 to less than

11:12:51   20   1000 with three patients, it's very likely there were

11:12:54   21   additional patients above 500 milligrams per deciliter.

11:12:58   22    Q   Now on the screen is DDX 6.24, with a snapshot of

11:13:10   23   DX 1541, page 3, and DX 1541 is another exhibit on the

11:13:19   24   parties' admitted exhibit list.

11:13:20   25               Could you identify this document, please.
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11:13:22    1    A   Yes.   This would be the 1992 publication in Nozaki,

11:13:24    2   entitled "Effects of Purified EPA on Plasma Lipoproteins in

11:13:29    3   Primary Hypercholesterolemia."

11:13:31    4    Q   So turning to DDX 6.25, with a snapshot again from

11:13:36    5   DX 1541, now pages 3 and 6, did the Nozaki 1992 reference

11:13:44    6   provide any background information on EPA?

11:13:47    7    A   Yes.   They noted, as I previously stated, that fish oil

11:13:52    8   contains a mixture of Omega-3 fatty acids and other fatty

11:13:58    9   acids, including EPA and DHA.

11:14:03   10               They also note that the -- here they call them the

11:14:06   11   n-3 fatty acids, and I would say that that's an alternative

11:14:07   12   nomenclature for Omega-3 fatty acids -- that the n-3 fatty

11:14:13   13   acids consistently reduced serum triglyceride levels.

11:14:16   14               And, "Furthermore," they note, it has been

11:14:19   15   "suggested that EPA and DHA have different properties against

11:14:23   16   lipoprotein metabolism," the obvious possibilities being

11:14:26   17   differences in their effects on triglycerides and LDL and HDL

11:14:29   18   cholesterol.

11:14:31   19    Q   Turning now to DDX 6.26, with another snapshot from

11:14:36   20   DX 1541, spanning from pages 3 to 4, what was the objective of

11:14:42   21   the Nozaki 1992 study?

11:14:46   22    A   I'll quote from their abstract, "We investigated the

11:14:50   23   effects of purified EPA."

11:14:52   24               So, they were specifically examining highly-purified

11:14:55   25   EPA, and they were interested in triacylglycerols, or
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11:14:59    1   triglycerides, and low density lipoprotein cholesterol levels.

11:15:13    2                  And they note specifically that triglycerides and

11:15:17    3   LDL cholesterol levels were significantly reduced.

11:15:21    4                  They also noted that the apolipoprotein B level was

11:15:26    5   significantly reduced, and this is the major protein content

11:15:29    6   of LDL.

11:15:31    7    Q      So did Nozaki 1992 teach that purified EPA could reduce

11:15:37    8   apo B levels without increasing LDL cholesterol?

11:15:41    9    A      In my opinion, yes.

11:15:43   10    Q      Turning now to DDX 6.27, there's snapshot on the screen

11:15:50   11   of DX 1532 which is also on the parties' admitted exhibit

11:15:55   12   list.

11:15:56   13                  Could you identify this document, please.

11:15:59   14    A      Yes.   This is the 1995 publication of Hayashi, Decreases

11:16:05   15   in Plasma Lipid Content and Thrombotic Activity By EPA

11:16:10   16   Purified From Fish Oils.

11:16:12   17    Q      So did the Hayashi 1995 reference relate to purified EPA?

11:16:18   18    A      Yes, it did.

11:16:21   19    Q      Turning now to DDX 6.28, there's a snapshot on the screen

11:16:26   20   of DX 1532, from page 5.

11:16:30   21                  What effect did purified EPA have on lipid levels

11:16:34   22   according to the Hayashi 1995 reference?

11:16:38   23    A      They noted a significant reduction in triglycerides of

11:16:43   24   41 percent with no significant -- in their statement, no

11:16:48   25   statistically significant effect on LDL cholesterol levels.
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11:16:52    1                And in the table shown here, they document those

11:16:55    2   effects.    I'll point out that at baseline, week zero, the

11:17:00    3   triglyceride levels were 300 plus or minus 233.

11:17:05    4                There is a reduction at week 8 to 177 milligrams

11:17:11    5   plus or minus 113, a mean change of 41 percent.

11:17:16    6                I'd also like to point out that there is some

11:17:19    7   ambiguity in this paper about what the meaning is of the plus

11:17:23    8   minus 233.    It's not specifically indicated in the paper, but

11:17:28    9   overwhelmingly, in the medical literature, that would be a

11:17:33   10   standard deviation.

11:17:34   11                And that would indicate, just for those of you that

11:17:37   12   are not familiar with the standard deviation definition, a

11:17:41   13   standard deviation is the range of the values it encompasses,

11:17:44   14   the two-thirds middle range of values.

11:17:48   15                So that indicates two things.     Because there's a

11:17:50   16   value of plus or minus 233, there was at least one patient in

11:17:56   17   that study who had a value of greater than 300, and because

11:18:00   18   that's only encompassing two-thirds of the data, one-sixth of

11:18:07   19   the patients would likely have been above 533.

11:18:10   20                Now, there is an alternative interpretation that

11:18:12   21   that's the range of the data, although this would be very

11:18:15   22   unusual, and, in that case, there would be at least one

11:18:18   23   patient in the study that had a value of 533.

11:18:22   24                The authors also note that there was no significant

11:18:26   25   change in the LDL cholesterol levels, but the LDL-C definitely
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11:18:33    1   did not go up.

11:18:34    2    Q    Now, you mentioned that there's two possible

11:18:37    3   interpretations of the 300 plus or minus 233.         Under either

11:18:42    4   interpretation, was there at least one patient in Hayashi with

11:18:46    5   triglycerides above 500?

11:18:48    6    A    Yes.

11:18:52    7    Q    Turning now to DDX 6.29, there's a snapshot of the screen

11:18:59    8   of DX 1530.

11:19:01    9                Could you identify this document.

11:19:04   10                And, for the record, DX 1530 is also on the parties'

11:19:07   11   admitted exhibit list.

11:19:09   12    A    This would be the 1997 publication of Grimsgaard,

11:19:14   13   entitled "Highly Purified EPA and DHA in Humans Have Similar

11:19:20   14   Triacylglycerol-Lowering Effects But Divergent Effects on

11:19:24   15   Serum Fatty Acids.

11:19:26   16    Q    Now, the title of Grimsgaard 1997 refers to

11:19:31   17   triacylglycerols, is that another term for triglycerides?

11:19:36   18    A    Yes, it is.

11:19:39   19    Q    So turning to DDX 6.30, which has a snapshot of DX 1530

11:19:46   20   again, now on page 1, what was the objective of the Grimsgaard

11:19:51   21   1997 study?

11:19:53   22    A    The objective of this study was to test the possibility

11:19:58   23   that a highly-purified EPA preparation, and a highly-purified

11:20:04   24   preparation of DHA, had differential effects on serum lipids

11:20:11   25   and apolipoproteins.
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11:20:13    1                And I would like to highlight the design of this

11:20:15    2   study.   This is a double-blind, placebo-controlled, parallel

11:20:19    3   design intervention study.      And what that means in simpler

11:20:23    4   terms is they compared three groups of subjects.         One group of

11:20:27    5   subjects had had a placebo, so no intervention.         One group of

11:20:31    6   subjects that received highly-purified EPA, and one group of

11:20:35    7   subjects that received a highly-purified DHA preparation.

11:20:39    8                The study was carried out with a highly purified

11:20:42    9   form of EPA at 3.8 grams a day, which is very similar to the 4

11:20:48   10   grams a day in the specifications.

11:20:50   11    Q    Is 3.8 grams a day about 4 grams per day?

11:20:55   12    A    Yes.

11:20:56   13    Q    So turning to DDX 6.31, there is a snapshot again from

11:21:03   14   DX 1530, blown-up from page 5 of the document.

11:21:08   15                What effects did about 4 grams per day of purified

11:21:12   16   EPA have on lipid levels in the Grimsgaard 1997 study?

11:21:17   17    A    The highly-purified EPA led to a significant decrease in

11:21:21   18   triglycerides.    It led to a significant decrease in apo B, and

11:21:28   19   although not significant, a decrease in LDL cholesterol.

11:21:33   20                And let me point out that this table may be

11:21:35   21   confusing because the numbers look different from what we've

11:21:38   22   seen in the past.     This is because they're using what are

11:21:41   23   called SI units, which are the units used in Europe and Japan,

11:21:46   24   which have different absolute values from the triglyceride

11:21:49   25   values as they're expressed in the United States.
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11:21:51    1    Q    And, for the record, what is that unit of measurement

11:21:55    2   that they use in this paper?

11:21:56    3    A    That would be the millimoles per liter, which is a

11:22:01    4   concentration measurement.

11:22:03    5    Q    Now, in the Grimsgaard 1997 paper, did about 4 grams per

11:22:07    6   day of purified EPA have a significant effect on apo B levels?

11:22:13    7    A    It did.    It had a 3 percent significant reduction.

11:22:18    8    Q    And how do you know that?

11:22:19    9    A    They indicate that in the table.       There's little 5

11:22:23   10   superscript next to the apo B under the column where they had

11:22:28   11   the EPA treated patients.

11:22:29   12    Q    And what does that superscript refer to?

11:22:32   13    A    It refers to the P less than .05 at the bottom of the

11:22:38   14   table that's highlighted.

11:22:39   15    Q    Does that indicate statistical significance for the

11:22:43   16   result?

11:22:43   17    A    It does.

11:22:43   18    Q    What was the change in the apo B levels?

11:22:46   19    A    About minus 3 percent.

11:22:48   20    Q    So what would Grimsgaard 1997 have taught a person of

11:22:52   21   skill in the art about purified EPA?

11:22:55   22    A    That purified EPA would lower triglycerides

11:22:59   23   significantly;

11:23:00   24               That purified EPA would not increase LDL

11:23:03   25   cholesterol, and may, in fact, decreased it, although that
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11:23:06    1   change was not significant;

11:23:07    2                And that it could induce a significant 3 percent

11:23:11    3   reduction in apo B levels.

11:23:15    4    Q    And what was the number of patients in the Grimsgaard

11:23:17    5   1997 study?

11:23:18    6    A    There was approximately 70 to 75 subjects in each group.

11:23:23    7   So this was a very large study.

11:23:25    8    Q    And we heard about the MARINE study in earlier testimony

11:23:29    9   over the past couple of days.       Is this a similar number of

11:23:33   10   patients as Amarin's MARINE study?

11:23:36   11    A    It is.   I believe this were approximately 75 subjects in

11:23:39   12   each limb of that study as well.

11:23:42   13    Q    So turning now to DDX 6.32, there is a snapshot on the

11:23:47   14   screen of DX 1531 -- which is also on the parties' admitted

11:23:52   15   exhibit list -- could you identify this document, please.

11:23:54   16    A    Yes.    This is the 1997 publication of Harris, entitled

11:24:00   17   "Safety and Efficacy of Omacor in Severe

11:24:04   18   Hypertriglyceridemia."

11:24:04   19                Omacor is another tradename for Lovaza, which is the

11:24:09   20   prescription drug preparation of highly-purified Omega-3 fatty

11:24:15   21   acids, predominantly DHA and EPA.

11:24:18   22    Q    Was Omacor later renamed to Lovaza then?

11:24:22   23    A    I'm not aware of that, but they are describing the same

11:24:25   24   product.

11:24:26   25    Q    So turning to DDX 6.33, there is another snapshot from DX
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11:24:34    1   1531 at page 1.

11:24:36    2               Did the Harris 1997 paper describe the contents of

11:24:41    3   Lovaza or Omacor?

11:24:43    4    A    It did.    It mentioned that it's containing a high

11:24:46    5   concentration of EPA, approximately 48 percent; and DHA,

11:24:52    6   approximately 38 percent.      They also note that it's under

11:24:56    7   investigation.

11:24:57    8               They use this drug to investigate the triglyceride

11:25:01    9   concentrations in patients with levels between 5.65 and 22.60.

11:25:08   10   These are the different units that I mentioned earlier that

11:25:11   11   are used in Europe and Japan.       That would correspond to 500

11:25:15   12   and 2000 milligrams per deciliter.       So all of these subjects

11:25:19   13   had triglycerides of greater than 500.

11:25:22   14               The drug was used at a dose of 4 grams a day for

11:25:25   15   four months.    So it taught the use of this dose in treating

11:25:29   16   patients.

11:25:34   17    Q    Now --

11:25:36   18    A    And I guess I can continue here.

11:25:38   19               So Omacor significantly reduced the plasma

11:25:41   20   triglyceride concentrations by 45 percent.        It also increased

11:25:46   21   the low density lipoprotein cholesterol by 31 percent, and

11:25:51   22   this, again, is the undesirable effect that we see with a

11:25:55   23   mixture of Omega-3 fatty acids when treating triglycerides

11:25:59   24   greater than 500.

11:26:00   25               So, this is another example of another study that
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11:26:03    1   shows the side effect of this intervention.

11:26:05    2    Q    So, did Harris 1997 show a particular effect of the

11:26:09    3   combination of EPA and DHA on LDL-C levels?

11:26:13    4    A    It did.    It showed the that the combination lowered

11:26:16    5   triglycerides very significantly, but increased low density

11:26:20    6   lipoprotein very significantly.

11:26:21    7    Q    And would that increase in LDL cholesterol have been

11:26:24    8   desirable?

11:26:25    9    A    No.

11:26:28   10    Q    So turning to DDX 6.34, there's a snapshot on the screen

11:26:33   11   of DX 1546.     Could you identify this document.

11:26:37   12    A    This is the 1998 publication of Saito, entitled "Results

11:26:43   13   of Clinical Use of an Improved Formulation of Epadel With

11:26:47   14   Respect to Hyperlipidemia."      Again, Epadel would be

11:26:57   15   highly-purified EPA.

11:27:00   16                    MR. REIG-PLESSIS:    Defendants move the admission

11:27:01   17   of DX 1546.

11:27:04   18                    MR. SIPES:   No objection, Your Honor.

11:27:05   19                    THE COURT:   1546 is admitted.

11:27:05   20                           (Defendants' Exhibit 1546 received in
11:27:09                                 evidence.)
11:27:09   21   BY MR. REIG-PLESSIS:

11:27:12   22    Q    So now on the screen is DDX 6.35, with another snapshot

11:27:17   23   of DX 1546 from pages 1, 4, and 14.

11:27:23   24                Was the EPA administered in Saito purified?

11:27:27   25    A    Yes.    They state that it was of high-purity EPA.
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11:27:31    1    Q    And according to the Saito 1998 reference, did any

11:27:35    2   patients who took purified EPA have baseline triglycerides

11:27:39    3   above 500?

11:27:40    4    A    Yes.   According to this study, there was one patient who

11:27:44    5   had a triglyceride value between 500 and 513.

11:27:51    6    Q    So turning to DDX 6.36, there is a snapshot of DX 1539,

11:27:58    7   which is on the parties' admitted exhibit list, could you

11:28:02    8   identify this document?

11:28:03    9    A    Yes.   This is the 1999 publication of Nakamura, et al.,

11:28:08   10   entitled, "Joint Effects of HMG-CoA Reductase Inhibitors and

11:28:08   11   EPA on Serum Lipid Profiles."

11:28:17   12                HMG-CoA reductase inhibitors are the chemical name

11:28:22   13   for the statin family.      These are the drugs that are widely

11:28:25   14   used to lower LDL cholesterol.

11:28:28   15    Q    So turning to DDX 6.37, with a snapshot, again, of

11:28:34   16   DX 1539 from page 2, was the EPA administered in the Nakamura

11:28:40   17   study purified?

11:28:42   18    A    The authors state it was highly-purified EPA.

11:28:46   19    Q    And was it administered to patients with hyperlipidemia?

11:28:49   20    A    They note in Table 1 that there was a patient with a

11:28:53   21   triglyceride level of 6.31.      This is in the international

11:28:57   22   units of millimole per liter.       And if we convert that into

11:29:03   23   milligrams per deciliter, that would be approximately

11:29:04   24   560 milligrams per deciliter.

11:29:06   25    Q    So is Nakamura 1999 another reference that taught the
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                                                                                    734



11:29:11    1   administration of purified EPA to patients with baseline

11:29:15    2   triglycerides above 500?

11:29:16    3    A      Yes.

11:29:17    4    Q      Turning now to DDX 6.38, there is a snapshot of DX 1534.

11:29:26    5   Could you identify this document.

11:29:27    6                  And, for the record, DX 1534 is also on the parties'

11:29:32    7   admitted exhibit list.

11:29:34    8    A      This would be the 2000 publication of Kurabayashi,

11:29:38    9   entitled, "EPA Effect on Hyperlipidemia in Menopausal Japanese

11:29:44   10   Women."

11:29:45   11    Q      So now on the screen is DDX 6.39, with another snapshot

11:29:51   12   of DX 1534, from pages 1 and 2.

11:29:55   13                  What was the design of the Kurabayashi 2000

11:29:59   14   reference?

11:30:00   15    A      This was a 48-week study.    It was carried out in

11:30:05   16   hyperlipidemic menopausal women.       They randomly assigned 141

11:30:11   17   women to treatment, and the treatment groups were estriol or,

11:30:17   18   excuse me, E3, or EPA.

11:30:22   19                  And -- excuse me.   Let me start over again with

11:30:25   20   that.

11:30:25   21                  So there were two groups.   One group of the women

11:30:27   22   was treated with estriol, that's an estrogen.

11:30:31   23                  The other group was treated with the estrogen plus

11:30:34   24   EPA, and the drug administered in the study was the

11:30:40   25   highly-purified EPA preparation Epadel which at that time was
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                                                                                    735



11:30:44    1   over 96.5 percent pure.

11:30:49    2    Q    So turning to DDX 6.40, there's another snapshot of

11:30:55    3   DX 1534, this time at page 3.

11:30:57    4               What did the combination of estriol in purified EPA

11:31:02    5   have on triglycerides in Kurabayashi?

11:31:04    6    A    The triglycerides were decreased significantly by

11:31:09    7   27 percent in the EPA treated group.        But they increased

11:31:13    8   slightly in the control group that received estriol alone.

11:31:18    9               And I should, perhaps, point out several things

11:31:21   10   about this study.     First of all, estriol is used in menopausal

11:31:25   11   women to relieve the symptoms of menopause, but it's also

11:31:29   12   known to elevate triglyceride levels.

11:31:32   13               So what we're seeing here in this study is that

11:31:35   14   under these conditions where the patients are actually getting

11:31:39   15   a drug that increased estrogen levels, the EPA is

11:31:44   16   significantly reducing that increase.

11:31:46   17               They also note that the LDL cholesterol levels, the

11:31:50   18   bad form of cholesterol, decreased significantly in both

11:31:54   19   groups.   So there was no increase in LDL cholesterol in this

11:31:58   20   study in the EPA treated group.

11:32:00   21    Q    Do these results suggest any interaction or synergy

11:32:04   22   between estriol and EPA?

11:32:06   23    A    Actually not.    Synergy is usually seen between drugs that

11:32:11   24   have similar effects.

11:32:13   25               For example, if you combine two drugs that reduce
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11:32:16    1   blood pressure together, you typically get a better blood

11:32:19    2   pressure reduction.

11:32:20    3                 But as I just alluded to, estrogen or estriol

11:32:24    4   typically increases estrogen levels, and so the fact that

11:32:28    5   we're seeing this effect argues against the hypothesis that

11:32:32    6   synergy is occurring.

11:32:33    7                 Now, of course, one can never exclude the

11:32:35    8   possibility there might be some unknown synergy.         But that

11:32:37    9   would not be very likely under these circumstances.

11:32:40   10    Q    And just so the record is clear, I think you said estriol

11:32:43   11   increases estrogen levels?

11:32:46   12    A    Excuse me.    It mimics an increase in estrogen levels.       So

11:32:50   13   what you're trying to do here is to replace the estrogen

11:32:54   14   that's been lost as the women go through menopause.

11:32:57   15    Q    Were the results in Kurabayashi seen in patients with

11:33:02   16   hypertriglyceridemia?

11:33:03   17    A    Yes.

11:33:04   18    Q    How do you know that?

11:33:05   19    A    Wait.    Restate the question here again, please?

11:33:10   20    Q    Sure.

11:33:11   21                 Were the results in Kurabayashi seen in patients who

11:33:14   22   had triglyceride levels that were above normal?

11:33:18   23    A    Yes.    It states here that the patients have an increase

11:33:25   24   from 192 milligrams per deciliter, so that would be greater

11:33:30   25   than 150 milligrams per deciliter.
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                                                                                    737



11:33:34    1    Q      So turning to DDX 6.41, there is a snapshot again of

11:33:39    2   DX 1534, now pages 3 and 5.

11:33:43    3                Did Kurabayashi report any changes in apo B levels

11:33:47    4   in patients taking purified EPA?

11:33:49    5    A      They did.   They state that the apolipoprotein B level in

11:33:54    6   the EPA group was significantly lower at week 48.         They have

11:33:58    7   those results shown in the table.

11:34:01    8                What we're looking at here is the percent change in

11:34:04    9   apo B at week 48, and what is found is that there is a

11:34:08   10   nonsignificant change in the control group of minus

11:34:11   11   1.5 percent, and a highly significant change, a decrease, in

11:34:16   12   the EPA group of 6.9 percent.       The P value there is less than

11:34:22   13   .001.    That's very significant.

11:34:24   14                And this was -- the analysis in this study was

11:34:27   15   carried out by the one way repeated analysis of variance.

11:34:31   16                So I might mention one of the advantages of this

11:34:35   17   study is that they had multiple determinations of the apo B

11:34:39   18   levels over the course of the study, and so they were able to

11:34:42   19   use all of those in concert to determine the change in the

11:34:45   20   apo B levels.

11:34:47   21                And this is a more powerful approach than simply

11:34:50   22   measuring the values at the beginning and the end of the

11:34:53   23   study.

11:34:53   24    Q      Now, based on these data, would a person of skill in the

11:34:57   25   art have attributed the reduction in apo B to the estriol or
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11:35:02    1   to the EPA in Kurabayashi?

11:35:03    2    A    The EPA therapy.

11:35:05    3    Q    And why is that?

11:35:06    4    A    Because a control group had a nonsignificant decrease in

11:35:13    5   apo B, and the addition of EPA led to a significant decrease

11:35:18    6   in apo B levels.

11:35:21    7                So in this study design that would indicate that the

11:35:24    8   effect was due to the EPA treatment.

11:35:26    9    Q    And turning to DDX 6.42, which has snapshots from DX 1541

11:35:33   10   and DX 1530, was the reduction in apo B observed in

11:35:39   11   Kurabayashi consistent with earlier studies on EPA that we've

11:35:43   12   discussed?

11:35:43   13    A    It was.   It was consistent with Nozaki, et al., 1992,

11:35:47   14   where there was a significant reduction in apo B, and in

11:35:52   15   Grimsgaard 1997, where there was likewise a 3 percent

11:35:55   16   significant reduction in apo B levels in the EPA treated

11:36:00   17   groups.

11:36:00   18    Q    Was estriol administered to patients in these studies?

11:36:06   19    A    It was not.

11:36:09   20    Q    Would a person of skill in the art in March of 2008 have

11:36:10   21   been aware of Nozaki and Grimsgaard when interpreting the

11:36:12   22   results of Kurabayashi?

11:36:13   23    A    Taken together, I believe that these three studies

11:36:16   24   provide very strong evidence that apo B levels can in fact be

11:36:21   25   lowered by EPA therapy.
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11:36:24    1    Q    So turning to DDX 6.43, there's a snapshot of DX 1538,

11:36:31    2   which is also on the parties' admitted exhibit list.

11:36:34    3                Could you identify this document for the record.

11:36:37    4    A    Yes.   This is the 2000 publication of Mori, entitled

11:36:43    5   "Purified EPA and DHA Have Differential Effects on Serum

11:36:47    6   Lipids and Lipoproteins."

11:36:51    7    Q    Now, turning to DDX 6.44, there is another snapshot of

11:36:56    8   the Mori study, which is DX 1538, from pages 1 to 2.

11:37:01    9                What was the objective of the Mori 2000 study?

11:37:05   10    A    The objective was to determine whether EPA -- and they

11:37:09   11   say "and," but I would say "or DHA" -- have differential

11:37:13   12   effects on serum lipids and lipoproteins.

11:37:17   13                It was a double-blind, placebo-controlled trial.

11:37:20   14   That means that the investigators were not aware of the

11:37:23   15   intervention, that they used two interventions, and they

11:37:27   16   compared the effects of those interventions with a group that

11:37:30   17   received no therapy, a placebo group.

11:37:33   18                The treatment was 4 grams of purified EPA a day, or

11:37:36   19   purified DHA.    And I'll note that none of the subjects were

11:37:40   20   regularly taking lipid-lowering drugs, or other drugs known to

11:37:43   21   a lipid -- known to affect lipid metabolism.

11:37:47   22    Q    So were any of the patients in Mori 2000 taking

11:37:51   23   concurrent lipid-altering therapy?

11:37:53   24    A    No, they were not, and that would include the estriol or

11:37:58   25   other estrogenic drugs.
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                                                                                    740



11:38:00    1    Q    So turning to DDX 6.45, with another snapshot of DX 1538,

11:38:06    2   this time from pages 2 to 3, what was the purity of EPA used

11:38:11    3   in the Mori 2000 study?

11:38:14    4    A    They note that it was approximately 96 percent pure, and,

11:38:17    5   again, it was given at a dose of 4 grams a day.

11:38:20    6    Q    And according to Mori, what were the effects of 4 grams a

11:38:26    7   day of purified EPA and purified DHA on lipid levels?

11:38:31    8    A    Again, they observed a significant reduction in -- here

11:38:35    9   they call them triacylglycerols, but that's triglycerides --

11:38:40   10   of 18.4 percent with EPA and 20 percent with DHA.

11:38:44   11               In my opinion, the difference between 18 percent and

11:38:49   12   20 percent reduction is indistinguishable and of no clinical

11:38:49   13   significance.

11:38:53   14               They also note that LDL cholesterol increased

11:38:57   15   significantly with DHA, by 8 percent, but not with EPA,

11:39:02   16   strongly suggesting that these two Omega-3 fatty acids could

11:39:06   17   have distinct effects on LDL cholesterol levels.

11:39:09   18    Q    Now, does the 3.5 percent higher value for EPA indicate

11:39:14   19   that there was an increase in LDL-C levels for the EPA group?

11:39:18   20    A    No, it does not, and I think this comes back to trying to

11:39:22   21   understand what the significance of changes is in terms of

11:39:25   22   statistical testing.

11:39:27   23               If one repeatedly measures a variable over and over

11:39:30   24   again, there will always been variation, and so by chance

11:39:34   25   alone you can have a small increase or decrease.
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11:39:37    1                The way one assesses a significance of a change is

11:39:41    2   by making the assumption that it is different from chance.

11:39:45    3                And so this is a key concept.     I think it's very

11:39:49    4   important to realize that small variations around the mean do

11:39:53    5   not mean that those are necessarily significantly different.

11:39:58    6    Q    So turning now to DDX 6.46, there's a snapshot of DX 1526

11:40:04    7   which is also on the parties' admitted exhibit list.

11:40:07    8                Could you identify this document, please.

11:40:09    9    A    Yes.   This is the 2001 ATP III expert guidelines.        We've

11:40:15   10   heard about this repeatedly over the last several days.

11:40:18   11                This is a treatment panel recommendation for how to

11:40:21   12   focus detection and treatment of high blood cholesterol in

11:40:25   13   adults, and I plan to summarize something here from the

11:40:28   14   executive summary.

11:40:31   15    Q    Turning to DDX 6.47, with a snapshot of page 11 from

11:40:37   16   DX 1526, what was the main treatment goal identified by

11:40:41   17   ATP III?

11:40:43   18    A    The main treatment goal identified in ATP III was LDL

11:40:50   19   cholesterol, and this has been a longstanding recommendation,

11:40:53   20   and ATP III was one of the first publications that put the

11:40:57   21   emphasis here.

11:40:58   22                This reflects the fact that elevated LDL cholesterol

11:41:02   23   was a major cause of coronary heart disease, and I might

11:41:06   24   mention many, many different lines of evidence support this.

11:41:09   25                For example, in familial hypercholesterolemia, which
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11:41:14    1   is a disorder of the LDL receptor, a protein that breaks down

11:41:17    2   LDL, patients who lack both copies of this gene can have heart

11:41:21    3   attacks before the age of 10.       They have enormously elevated

11:41:26    4   levels of LDL cholesterol and they suffer from very strong

11:41:29    5   premature coronary artery disease.

11:41:31    6                Moreover, there are now many -- and at that time

11:41:34    7   there were many, many trials showing that lowering LDL

11:41:38    8   cholesterol produced cardiovascular benefit.

11:41:41    9                And ATP III really just formalizes this data into

11:41:45   10   one treatment panel recommendation.       They also take into

11:41:48   11   consideration a number of other factors, and relate those to

11:41:52   12   the significance of LDL cholesterol.

11:41:54   13    Q    So now on the screen is DDX 6.48.       It's a snapshot of

11:42:01   14   DX 1552, which is also on the parties' admitted exhibit list.

11:42:06   15   Could you identify this document.

11:42:08   16    A    Yes.    This is the 2003 publication of Yokoyama, et al.,

11:42:14   17   entitled "Effects of EPA on Cardiovascular Events in Japanese

11:42:18   18   Patients:    Rationale, Design, and Baseline Characteristics of

11:42:22   19   the Japan EPA Lipid intervention Study."

11:42:26   20                This is the JELIS trial that we've heard about

11:42:29   21   previously.

11:42:32   22                This is not a description of the study results

11:42:36   23   itself.   This is a prespecified outline of what the analyses

11:42:40   24   for that trial will be and how it will be carried out, and

11:42:43   25   this is very, very important because it indicates specifically
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11:42:46    1   how the study will be carried out and how the data will be

11:42:49    2   analyzed.

11:42:50    3               And this circumvents issues related to things like

11:42:54    4   data dredging where people try to change the way they do the

11:42:58    5   analysis to interpret the significance of the results.

11:43:00    6               I'll also point out that this is in 2003.

11:43:05    7   Investigators were already interested in the idea that EPA

11:43:09    8   might reduce cardiovascular risk.

11:43:13    9    Q     So turning to DDX 6.49, there is another snapshot from

11:43:19   10   DX 1552, now from pages 3 to 4.

11:43:23   11               What was the specific product used in the JELIS

11:43:26   12   trial?

11:43:27   13    A     This, again, would be the Epadel capsules containing

11:43:30   14   highly-purified EPA.

11:43:32   15               Note that now it's greater than 98 percent pure, and

11:43:35   16   this indicates that Mochida was continuously trying to improve

11:43:41   17   the purity of their product and to yield something that was

11:43:44   18   even more highly purified than in the initial Mochida

11:43:47   19   description that I described back in 1991.

11:43:50   20               The Epadel capsules were launched in 1990, as I just

11:43:54   21   mentioned, and this is an even more highly-purified form of

11:43:58   22   EPA.

11:43:59   23    Q     By 2003, was the Epadel product indicated to treat

11:44:04   24   hyperlipidemia?

11:44:05   25    A     It was.
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11:44:06    1    Q      And does hyperlipidemia include an excess of

11:44:11    2   triglycerides?

11:44:12    3    A      It does.

11:44:12    4    Q      So turning now to DDX 6.50, there is a snapshot from

11:44:21    5   DX 1536, also on the parties' admitted exhibit list.

11:44:25    6                  Could you identify this document, please.

11:44:27    7    A      Yes.   This is the 2005 Maki publication, entitled "Lipid

11:44:33    8   Responses to Dietary DHA."      So this is the other major

11:44:37    9   component of fish oil, DHA.

11:44:43   10    Q      So now on the screen is DDX 6.51 with another snapshot

11:44:48   11   from DX 1536 from pages 1 and 9.

11:44:52   12                  What effect did DHA have on LDL cholesterol in Maki

11:44:57   13   2005?

11:44:58   14    A      They found that it raised LDL cholesterol levels, and

11:45:02   15   they noted in the discussion of this paper that most previous

11:45:06   16   studies of DHA supplementation had shown increases in LDL

11:45:10   17   cholesterol.

11:45:11   18                  And one of the things I like about this paper is

11:45:13   19   they note that there's always a range of responses.          So they

11:45:16   20   specifically say that there is was a range of decrease of 3

11:45:21   21   percent to an increase of 16 percent in LDL cholesterol

11:45:25   22   levels, but that the median was 7.2 percent.

11:45:28   23                  And so what they're addressing here is all clinical

11:45:31   24   studies have somewhat different results, and they're trying to

11:45:34   25   give a feel for the range in the variation in those results.
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11:45:38    1                So, in my opinion, this provides very strong

11:45:40    2   evidence that DHA, one of the two components of Lovaza, or

11:45:45    3   highly-purified fish oil, is very likely responsible for the

11:45:49    4   increase in LDL cholesterol levels.

11:45:51    5    Q    And is that in contrast with the EPA component of fish

11:45:55    6   oil or Lovaza?

11:45:56    7    A    Yes.   In my opinion, when I take the data as a whole, it

11:46:00    8   strongly suggests that EPA is lipid neutral with respect to

11:46:05    9   LDL cholesterol, or perhaps can even lower LDL cholesterol.

11:46:09   10    Q    So turning to DDX 6.52, there's a snapshot now of

11:46:15   11   DX 1535, also on the parties' admitted exhibit list.

11:46:19   12                Could you identify this document?

11:46:20   13    A    Yes.   This is the -- excuse me here.

11:46:28   14                This is the Lovaza PDR insert 2007.      The PDR is the

11:46:35   15   Physicians' Desk Reference.      This is a publication that

11:46:37   16   summarizes the treatment and recommendations for drugs that

11:46:40   17   have been approved by the FDA for treating various disorders.

11:46:44   18    Q    And do you understand that although this label is from

11:46:49   19   2007, in the 2008 edition of the PDR, that Lovaza was first

11:46:54   20   commercially launched in 2004?

11:46:56   21    A    Yes, I'm aware of that.

11:46:59   22    Q    So turning to DDX 6.53, with another snapshot of DX 1535,

11:47:06   23   now from pages 2 to 3.

11:47:08   24                Is Lovaza the same as Omacor that was discussed in

11:47:14   25   the Harris 1997 paper we reviewed earlier?
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11:47:17    1    A    Yes, it is.

11:47:18    2                And I might mention that Lovaza is here described as

11:47:23    3   a mixture of EPA and DHA, as I previously emphasized, and that

11:47:27    4   it's indicated as an adjunct to reduce triglyceride levels in

11:47:31    5   adult patients with very high triglyceride levels, here

11:47:35    6   defined as greater than or equal to 500 milligrams per

11:47:39    7   deciliter.

11:47:39    8    Q    Is that the same indication that we've heard testimony

11:47:42    9   about earlier with respect to Vascepa?

11:47:45   10    A    Yes, it is.

11:47:46   11    Q    So turning now to DDX 6.54, there's another snapshot from

11:47:54   12   DX 1535, page 2.     What was the indicated dosage for Lovaza?

11:48:00   13    A    The indicated dosage was 4 grams per-day administered by

11:48:04   14   mouth, or here it's "oral administration."

11:48:07   15    Q    Did the Lovaza PDR discuss any clinical studies on

11:48:13   16   Lovaza?

11:48:13   17    A    They specifically site a study of 16 weeks duration at 4

11:48:18   18   grams per day of Lovaza.      So this would be greater than

11:48:21   19   12 weeks.

11:48:22   20    Q    Turning now to DDX 6.55, with another snapshot from

11:48:29   21   DX 1535, now page 3, what effect did Lovaza have on LDL

11:48:35   22   cholesterol according to the Lovaza PDR from 2007?

11:48:43   23    A    Well, we've seen this slide several times before, but

11:48:46   24   just to reiterate, what they observed was a very significant

11:48:46   25   increase in the LDL cholesterol in the Lovaza treated group of
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11:48:50    1   about 49 percent compared with placebo-controlled.

11:48:54    2    Q      Would a person of skill in the art have been motivated to

11:48:58    3   avoid that increase in LDL-C?

11:49:01    4    A      Yes.

11:49:04    5    Q      So turning now to DDX 6.56, there is a snapshot on the

11:49:09    6   screen of DX 1528, also on the parties' admitted exhibit

11:49:14    7   list.

11:49:14    8                  Could you identify this document, please.

11:49:16    9    A      Yes.   This would be another publication from Mochida

11:49:21   10   Pharmaceutical, the company that originally developed Epadel

11:49:24   11   in the early '90s, and they're now describing a new

11:49:27   12   formulation of that that became available in 19 -- excuse me,

11:49:32   13   in 2007.

11:49:35   14    Q      So is this an updated version of the Epadel labeling from

11:49:40   15   1991 that we looked at earlier?

11:49:43   16    A      Yes, it is.

11:49:43   17    Q      Turning to DDX 6.57, there's another snapshot from

11:49:48   18   DX 1528, now at page 2.

11:49:50   19                  As of 2007, was Epadel indicated to reduce

11:49:57   20   triglycerides?

11:49:57   21    A      It is.   And I'll note that this is in contrast to the

11:50:00   22   original description in '91 which simply specified

11:50:04   23   hyperlipidemia.       They're now specifically referring to an

11:50:08   24   excess of triglycerides.

11:50:08   25    Q      Was there any upper limit to the excess of triglycerides
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11:50:11    1   that Epadel was indicated to treat?

11:50:14    2    A    Nothing specific is indicated here.

11:50:16    3    Q    So did the indication for Epadel in 2007 include patients

11:50:21    4   with triglycerides above 500?

11:50:22    5    A    Yes, it did.

11:50:23    6    Q    Was there any warning on the Epadel label about increases

11:50:29    7   in LDL-C similar to the warning we saw in the Lovaza label?

11:50:32    8    A    No, there is not.

11:50:34    9    Q    So turning now to DDX 6.58, there is a snapshot from

11:50:41   10   DX 1553, also on the parties' admitted exhibit list.

11:50:45   11                Could you identify this document.

11:50:46   12    A    Yes.   This is actually reporting the results of that

11:50:51   13   earlier publication from Yokoyama, et al., and it's entitled

11:50:55   14   "The Effects of EPA on Major Coronary Events and

11:51:00   15   Hypercholesterolemic Patients, A Randomized Open-Label,

11:51:04   16   Blinded Endpoint Analysis."

11:51:06   17                This is also known as the JELIS study published in

11:51:09   18   The Lancet in 2007.

11:51:12   19                The Lancet, along with The New England Journal of

11:51:16   20   Medicine, are considered two of the most prestigious journals

11:51:19   21   in clinical medicine.

11:51:21   22    Q    So what's the difference between the Yokoyama 2007 paper

11:51:24   23   we have on the screen and the Yokoyama 2003 paper we discussed

11:51:28   24   earlier?

11:51:28   25    A    The earlier paper described the study design, and, even
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11:51:33    1   more importantly, exactly how the data would be analyzed.

11:51:36    2   This study is reporting the results of that.

11:51:39    3    Q    So turning to DDX 6.59, with another snapshot from

11:51:46    4   DX 1553, page 1, what were the results of the JELIS study as

11:51:50    5   reported in Yokoyama 2007?

11:51:53    6    A    The primary endpoint of the study was any major coronary

11:51:59    7   event, including sudden cardiac death, fatal and non-fatal MI,

11:52:03    8   MI is myocardial infarction or heart attack, and non-fatal

11:52:09    9   events including unstable angio pectoris, that would be chest

11:52:09   10   pain --

11:52:09   11                   COURT REPORTER:     Slow down.

11:52:09   12                   THE WITNESS:    I'll start over again.      Excuse me.

11:52:17   13                   The primary endpoint was any major coronary

11:52:21   14   event, including sudden cardiac death, fatal and non-fatal

11:52:27   15   myocardial infarction, in other words, a heart attack, or

11:52:30   16   other nonfatal events, including unstable angina pectoris,

11:52:37   17   this is where you have occlusion of the blood flow and chest

11:52:41   18   pain, stenting, which is a treatment for an occluded artery,

11:52:45   19   or coronary artery bypass grafting, another treatment for an

11:52:48   20   occluded artery supplying blood to the heart.

11:52:51   21                   And the really, the remarkable findings of this

11:52:54   22   study -- and let me make one other very important point.            All

11:52:57   23   of these patients were on statin therapy.        So all of these

11:53:00   24   patients were receiving the best known therapy for preventing

11:53:04   25   heart disease at this time.
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11:53:06    1                    There was a remarkable 19 percent relative

11:53:10    2   reduction in major coronary events in this study.

11:53:14    3                    And in the author's note in the discussion,

11:53:17    4                   "EPA is a promising treatment for the

11:53:19    5         prevention of major coronary events."

11:53:25    6    Q    So turning to DDX 6.60, on the screen is a snapshot of

11:53:30    7   DX 1524.     Could you identify this document.

11:53:34    8    A    Yes.    This is another document from Mochida, an

11:53:38    9   international patent application that was published in 2007,

11:53:42   10   and it's referred to as WO '118.

11:53:46   11                    MR. REIG-PLESSIS:    Defendants' move the

11:53:47   12   admission of DX 1524 into evidence.

11:53:50   13                    MR. SIPES:   No objection, Your Honor.

11:53:51   14                    THE COURT:   1524 is admitted.

11:53:51   15                           (Defendants' Exhibit 1524 received in
11:53:54                                 evidence.)
11:53:54   16   BY MR. REIG-PLESSIS:

11:54:05   17    Q    So turning now to DDX 6.61, with another snapshot from

11:54:10   18   DX 1524 from pages 25 and 35, according to WO '118, was Epadel

11:54:18   19   commercially available in 2007?

11:54:21   20    A    Yes, it was.    They describe it as a capsule containing

11:54:25   21   high-purity EPA.     They note that it's commercially available,

11:54:29   22   that it is a safe therapeutic agent for hyperlipidemia, and

11:54:35   23   that the proportion of EPA in the preparation is at least

11:54:40   24   96.5 percent weight.

11:54:41   25                They also specifically note that the daily dose of
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11:54:44    1   EPA is typically 0.3 to 6 grams a day, but preferably 0.9 to

11:54:53    2   3.6 grams a day.

11:54:54    3                And, again, I'll point out that 3.6 grams a day is,

11:54:57    4   in my opinion, indistinguishable from 4 grams a day.

11:55:03    5    Q    So turning to DDX 6.62, there is a snapshot of DX 1525.

11:55:09    6   Could you identify this document.

11:55:10    7    A    Yes.   This is another publication for an international

11:55:15    8   patent WO '900, and here referred to as WO '900 for the

11:55:23    9   production of ultrapure EPA.

11:55:28   10    Q    And I'll just note for the record DX 1525 is also on the

11:55:32   11   parties' admitted exhibit list.

11:55:34   12                So turning to DDX 6.63, there's another snapshot of

11:55:39   13   the same exhibit, DX 1525, from pages 6 and 17.

11:55:45   14                What level of purity of EPA could be achieved with

11:55:49   15   the purification method disclosed in WO '900?

11:55:52   16    A    They state the composition comprises between 99.6 and

11:55:59   17   99.9 percent EPA.     In other words, there was less than

11:56:08   18   0.4 percent impurity in this preparation, and they

11:56:12   19   specifically note that there was less than 0.1 percent of DHA

11:56:16   20   in this preparation, and that would be the other major

11:56:19   21   component of purified Lovaza.

11:56:22   22    Q    Now, is there additional prior art that Amarin has relied

11:56:27   23   on in this case besides the prior art in your timeline?

11:56:30   24    A    There is.

11:56:31   25    Q    And do you have slides later in your presentation
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11:56:34    1   addressing some of those references?

11:56:36    2    A    I do.

11:56:36    3    Q    Now, do you understand that the examiner who issued

11:56:41    4   Amarin's patents had access to the key prior art in your

11:56:44    5   timeline?

11:56:45    6    A    I do.

11:56:45    7    Q    Have you reviewed the prosecution history of the asserted

11:56:49    8   patents?

11:56:50    9    A    I have.

11:56:51   10    Q    So turning now to DDX 6.64, there's snapshot of DX 1595,

11:57:04   11   which has been admitted into evidence, from pages 8 and 9.

11:57:09   12                 In deciding to issue the patents in this case, was

11:57:12   13   there a limitation of the claims that the examiner believed

11:57:16   14   was not described in the prior art?

11:57:18   15    A    There was.    This is the Notice of Allowance, September 6,

11:57:25   16   2012, and the examiner notes,

11:57:27   17                    "The prior art does not teach the

11:57:29   18         administration of EPA to patients having triglyceride

11:57:33   19         levels between 500 and 1500 milligrams per

11:57:38   20         deciliter," and notes, "as such, there is no

11:57:40   21         anticipation."

11:57:46   22    Q    Now, turning to DDX 6.66, do you agree with the

11:57:51   23   examiner's finding about the prior art in the Notice of

11:57:55   24   Allowance?

11:57:55   25    A    I do not.    I've cited multiple publications that indicate
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11:57:59    1   that this had been tried previously, including the Hayashi

11:58:04    2   publication in 1995 where there was clearly at least one

11:58:07    3   patient with a triglyceride value of greater than 500, and if

11:58:12    4   that is, in fact, a standard deviation, there were many more

11:58:16    5   than that, perhaps as many as four or five.

11:58:19    6                There's the Saito publication of 1998 where there is

11:58:23    7   one patient with a value above 500.

11:58:26    8                There's the Takaku patient paper in 1991 where there

11:58:30    9   were three patients with triglycerides greater than 500,

11:58:34   10   specifically 650, 700 and 1225.

11:58:39   11                The Matsuzawa paper in 1991 with one patient with a

11:58:44   12   value of 1510.

11:58:47   13                And the Nakamura paper, 1999, with one patient who

11:58:51   14   had a triglyceride level of approximately 560 milligrams per

11:58:55   15   deciliter.

11:58:58   16    Q    And turning now to DDX 6.67, do you recognize DX 1588 as

11:59:06   17   the examiner's nonfinal rejection from March 2, 2012?

11:59:11   18    A    Yes.

11:59:13   19                    MR. REIG-PLESSIS:    Defendants' move the

11:59:14   20   admission to DX 1588.

11:59:18   21                    MR. SIPES:   No objection, Your Honor.

11:59:19   22                    THE COURT:   1588 is admitted.

11:59:19   23                           (Defendants' Exhibit 1588 received in
11:59:23                                 evidence.)
11:59:23   24   BY MR. REIG-PLESSIS:

11:59:23   25    Q    Now, prior to the Notice of Allowance that just reviewed,
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11:59:26    1   did the examiner originally have a different view of the prior

11:59:29    2   art?

11:59:29    3    A     They did.   Specifically, they say that,

11:59:32    4                    "Hayashi teaches that the administration of

11:59:34    5          EPA to individuals with serum triglyceride levels of

11:59:37    6          300, plus or minus 233 milligrams per deciliter,

11:59:42    7          i.e., between 67 and 533 milligrams per deciliter,

11:59:46    8          for eight weeks caused a decrease in serum

11:59:50    9          triglycerides of about 41 percent."

11:59:52   10    Q     So did the examiner originally believe that Hayashi

11:59:56   11   disclosed the administration of EPA to patients with

11:59:59   12   triglycerides above 500?

12:00:01   13    A     Based on this statement, yes.

12:00:02   14    Q     Now, turning to DDX 6.68, do you recognize this as -- I'm

12:00:12   15   sorry.    There is a snapshot from DX 1598 -- 1589, excuse me,

12:00:19   16   page 2.

12:00:19   17                 Do you recognize this as Amarin's response to the

12:00:24   18   nonfinal rejection that we just reviewed?

12:00:27   19    A     Yes.   This was the declaration of Philip Lavin, a

12:00:32   20   statistician who was asked to evaluate the significance of the

12:00:35   21   values in the Hayashi paper.

12:00:38   22                 And he states,

12:00:40   23                    "Given this interpretation, the one-sided

12:00:43   24          99.9 percent upper confidence bound in the Hayashi

12:00:47   25          population is 450 milligrams per deciliter."
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12:00:51    1                   And then goes on to state, "This means that

12:00:54    2         not even one patient in the study would be expected

12:00:57    3         to have a triglyceride level of 450 milligrams per

12:01:02    4         deciliter or higher."

12:01:05    5                   MR. REIG-PLESSIS:     And defendants move the

12:01:05    6   admission of DX 1589 into evidence.

12:01:09    7                   MR. SIPES:    No objection, Your Honor.

12:01:10    8                   THE COURT:    1589 is admitted.

12:01:10    9                           (Defendants' Exhibit 1589 received in
12:01:13                                 evidence.)
12:01:13   10   BY MR. REIG-PLESSIS:

12:01:14   11    Q    So turning to DDX 6.69, since that declaration we just

12:01:18   12   reviewed, has Dr. Lavin acknowledged that he made a mistake

12:01:23   13   about the Hayashi paper?

12:01:25   14    A    Yes.   Dr. Lavin was deposed specifically with regard

12:01:29   15   regards to this statement, and he said -- he says in, his own

12:01:33   16   words,

12:01:34   17                  "It is likely that you have at least one or

12:01:36   18         two observations above 533.      It isn't zero.    Let's go

12:01:42   19         on record there, it is not zero....you know that

12:01:46   20         there must be at least one subject."

12:01:50   21                   And the examiner then asked, "So given that,

12:01:53   22         would you rewrite paragraph 12?"

12:01:55   23                   And he answers, "I would."

12:01:57   24    Q    And is paragraph 12 the paragraph of Dr. Lavin's

12:02:01   25   declaration that we reviewed on the previous slide, DDX 6.68?
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12:02:05    1    A    Yes.

12:02:06    2                    MR. REIG-PLESSIS:    For the record, at DDX 6.69,

12:02:09    3   the snapshot is from Dr. Lavin's deposition at page 103, from

12:02:15    4   lines 11 to 21.

12:02:15    5   BY MR. REIG-PLESSIS:

12:02:20    6    Q    Now, turning to DDX 6.70, regardless of whether Dr. Lavin

12:02:25    7   was right about Hayashi, did the examiner overlook other prior

12:02:30    8   art in which purified EPA was given to patients with

12:02:33    9   triglycerides above 500?

12:02:34   10    A    Yes.   In my opinion, they overlooked four other relevant

12:02:39   11   publications as I previously mentioned:        Saito '98, Takaku

12:02:46   12   '91, Matsuzawa '91, Nakamura '99, and, again, I'd like to

12:02:51   13   highlight the Takaku paper which had three patients with

12:02:55   14   values greater than 500 milligrams per deciliter.

12:03:00   15    Q    Now, turning to DDX 6.71 --

12:03:04   16                    MR. REIG-PLESSIS:    And I'll just note, Your

12:03:05   17   Honor, this is a different section if we're considering taking

12:03:10   18   a lunch break.    We could also go on further.       But, this is a

12:03:14   19   different section that will probably be fairly long.

12:03:23   20                    THE COURT:   I'm going to try to space the breaks

12:03:25   21   so the afternoon is not too long.       My preference is we proceed

12:03:29   22   for another 30 minutes or so.

12:03:31   23                    MR. REIG-PLESSIS:    That's perfectly fine, Your

12:03:32   24   Honor.   I just wanted to let you know that this one will

12:03:34   25   probably be a little long.
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12:03:36    1                       THE COURT:   Thirty minutes long?

12:03:39    2                       MR. REIG-PLESSIS:   Likely longer than that.

12:03:41    3                       THE COURT:   Let's proceed.

12:03:43    4                       THE WITNESS:   I can try and go quickly if that

12:03:45    5   would be --

12:03:45    6                       THE COURT:   No, that would not be a solution at

12:03:47    7   all.

12:03:47    8                       MR. REIG-PLESSIS:   I don't think the court

12:03:48    9   reporter would like that.

12:03:49   10                       THE COURT:   We all need to be able to follow --

12:03:52   11                       THE WITNESS:   We're all eager to get out of

12:03:55   12   here.

12:03:55   13   BY MR. REIG-PLESSIS:

12:03:55   14    Q      Dr. Heinecke, do you have also have slides analyzing the

12:03:58   15   differences between the prior art that we reviewed and the

12:04:01   16   asserted claims?

12:04:02   17    A      I do.

12:04:03   18    Q      Now, what is the legal standard that you applied in

12:04:09   19   analyzing the differences between the prior art and the

12:04:12   20   claims?

12:04:13   21    A      First of all, I want to emphasize I'm not a lawyer, so

12:04:16   22   I'm trying apply my understanding as best I can.         I'm not

12:04:20   23   rendering a legal judgment here.

12:04:22   24                   But my understanding is the difference between the

12:04:24   25   prior art and a patent claim are obvious when the prior art
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12:04:29    1   discloses each element of the claim, when there's a motivation

12:04:33    2   to combine the disclosed elements to arrive at the claimed

12:04:36    3   invention, and, there's a reasonable expectation of success.

12:04:41    4    Q    Now, turning to DDX 6.73, did the key prior art that you

12:04:47    5   rely on disclose the elements that appear in all of the

12:04:50    6   asserted claims?

12:04:52    7    A    In my opinion, yes.

12:04:54    8                The first key element is for the patient to have a

12:04:58    9   triglyceride value of greater than or equal to 500 milligrams

12:05:02   10   per deciliter, and I believe the Lovaza and Hayashi

12:05:06   11   publications support this.

12:05:08   12                The duration of therapy had to be at least 12 weeks,

12:05:11   13   and, again, the Lovaza and the Kurabayashi publications would

12:05:14   14   support this.

12:05:15   15                The dosage needs to be about 4 grams a day, and,

12:05:19   16   again, Lovaza and Mori.

12:05:22   17                And, finally, the purity of the preparation of the

12:05:24   18   EPA should be about 96 percent, and Mori and Kurabayashi both

12:05:30   19   use EPA preparations of this purity.

12:05:32   20    Q    And turning to DDX 6.74, did the key prior art that you

12:05:37   21   rely on disclose the remaining elements that appear in only

12:05:41   22   some of the asserted claims?

12:05:42   23    A    Yes.   So some of the claims require no increase in LDL

12:05:47   24   cholesterol, and this would be addressed by Mori, Hayashi, and

12:05:52   25   Kurabayashi.
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12:05:53    1               There was another requirement for a triglyceride

12:05:56    2   reduction of at least 20 percent, and Hayashi addresses this

12:06:01    3   issue.

12:06:01    4               There was a requirement for an apo B reduction, and

12:06:04    5   Kurabayashi indicates this.

12:06:05    6               No other concomitant lipid-altering therapy, which

12:06:10    7   was addressed in Mori, et al., and no impurity greater than

12:06:15    8   0.6 percent, which would be the woo -- the WO international

12:06:20    9   Patent '900.

12:06:20   10    Q    Now, turning to DDX 6.75, could you summarize how a

12:06:25   11   person of skill in the art would have combined the elements in

12:06:28   12   the prior art?

12:06:29   13    A    I really think this is pretty simple.       The prior art

12:06:36   14   taught that Lovaza, 4 grams a day, would be used to treat

12:06:41   15   patients with triglyceride levels of greater than

12:06:45   16   500 milligrams per deciliter, but that it increased LDL-C.          It

12:06:49   17   increased the bad form of cholesterol.        We know the two major

12:06:53   18   components of Lovaza are EPA and DHA.

12:06:58   19               Moreover, Mori, et al., demonstrated that unlike

12:07:03   20   DHA, purified EPA, 4 grams a day, reduced triglycerides

12:07:08   21   without increasing LDL cholesterol levels.

12:07:14   22               And it's -- it's obvious to me a clinician

12:07:19   23   interested in this situation would have considered using 4

12:07:23   24   grams of purified EPA to treat patients with triglycerides

12:07:27   25   greater than 500 with the desirable goal of not increasing LDL
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12:07:32    1   cholesterol level.

12:07:33    2    Q    Now, did you also analyze whether using purified EPA to

12:07:38    3   treat patients with triglycerides above 500 was at least

12:07:40    4   obvious to try?

12:07:42    5    A    Yes.

12:07:44    6    Q    And what legal standard did you apply for that analysis?

12:07:48    7    A    My understanding is that there is a design need or market

12:07:52    8   pressure to solve a problem, and so that would be the

12:07:55    9   undesirable increase in LDL cholesterol, and, that there be a

12:07:59   10   finite number of identified predictable solutions to that

12:08:03   11   problem.

12:08:04   12                 Given that Lovaza had two major components, DHA and

12:08:08   13   EPA, there were two very strong possibilities for what one

12:08:12   14   might want to test to see if one or the other or both were the

12:08:16   15   problem at hand.

12:08:18   16    Q    So to a person of skill in the art who was investigating

12:08:21   17   which component of Lovaza was responsible for increasing

12:08:25   18   LDL-C, what were the possible choices?

12:08:27   19    A    Okay.    I'll say it again.    There was a need to reduce

12:08:32   20   triglycerides in patients with elevated high triglycerides

12:08:35   21   greater than 500 milligrams per deciliter, and we know that

12:08:38   22   Lovaza was indicated for that and was very effective at

12:08:42   23   lowering triglycerides, but that it led to an undesirable

12:08:45   24   increase in LDL cholesterol.

12:08:47   25                 So, the identified and predictable solutions for
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12:08:51    1   reducing triglycerides would include using a 4 gram per day

12:08:56    2   dose of a purified EPA, and so the obvious possibilities were

12:09:01    3   it could be EPA that was a problem, it could be DHA that was a

12:09:06    4   problem, it could be both that were a problem, and so that was

12:09:10    5   very obvious to test, in my opinion.

12:09:14    6    Q    Let's turn to your analysis of the individual asserted

12:09:18    7   claims.   Which claims are you analyzing first?

12:09:21    8    A    That would be the '929 patent, claims 1 and 5.

12:09:25    9    Q    Turning to DDX 6.79, on the screen is claim 1 of the '929

12:09:34   10   patent.   What is the first limitation you analyzed in this

12:09:39   11   claim?

12:09:39   12    A    I'm not seeing anything on my screen.

12:09:42   13    Q    Oh, My apologies.

12:09:43   14    A    This would be the '929 patent, claim 1, the broadest

12:09:47   15   claim,

12:09:47   16                  "A method of reducing triglycerides in a

12:09:49   17         subject having fasting triglycerides of at least

12:09:52   18         500 milligrams per deciliter."

12:09:54   19                   And it's my belief that the Lovaza PDR taught

12:09:57   20   this, the Lovaza PDR 2007, where they specifically say to use

12:10:01   21   Lovaza to reduce triglycerides in an adult patient with very

12:10:05   22   high triglyceride levels defined here as greater as 500.

12:10:13   23    Q    So turning to DDX 6.80, what is the next limitation you

12:10:18   24   analyzed in claim 1 of the '929 patent?

12:10:21   25    A    There would be a requirement for oral administration for
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12:10:25    1   at least 12 weeks of a pharmaceutical composition.

12:10:29    2                And, again, the Lovaza PDR 2007 teaches this.          It

12:10:34    3   specifically states, "oral administration."         In one of the

12:10:37    4   studies they cite it was for 16 weeks, so, greater than

12:10:41    5   12 weeks.

12:10:41    6    Q    Turning to DDX 6.81, is there any difference between the

12:10:48    7   method disclosed in the Lovaza PDR and the method recited in

12:10:52    8   claim 1 of the '929 patent?

12:10:55    9    A    Yes.   Lovaza is a mixture of EPA and DHA, and the

12:10:59   10   difference is now they're claiming purified EPA containing no

12:11:03   11   more, or about, 4 percent DHA.

12:11:07   12    Q    Was that the only difference between the Lovaza PDR and

12:11:10   13   the claimed method of treatment?

12:11:12   14    A    Yes.

12:11:13   15    Q    So turning to DDX 6.82, was the limitation requiring 4

12:11:20   16   grams of 96 percent pure EPA taught in any other prior art

12:11:24   17   that you rely on?

12:11:25   18    A    It was.   Mori 2000 administered 4 grams a day of highly

12:11:30   19   purified EPA, specifically stated to be approximately

12:11:35   20   96 percent pure.

12:11:37   21    Q    Were all of the elements in claim 1 of the '929 patent

12:11:41   22   taught by the combination of the Lovaza PDR and Mori?

12:11:44   23    A    Yes.

12:11:45   24    Q    So turning to DDX 6.83, did the Lovaza PDR identify a

12:11:54   25   problem with the Lovaza treatment that it describes?
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12:11:56    1    A    Yes.   There was clearly a motivation to combine these.

12:12:00    2                So as we repeatedly stated, Lovaza elevates LDL

12:12:05    3   cholesterols, and they note in the Lovaza PDR that patients

12:12:08    4   should be monitored to ensure that the LDL level does not

12:12:12    5   increase excessively.

12:12:16    6                Mori showed that LDL cholesterol increased

12:12:18    7   significantly with DHA, but not with EPA.

12:12:25    8    Q    So did Mori identify a solution to the problem described

12:12:29    9   in the Lovaza PDR?

12:12:30   10    A    Yes, EPA.

12:12:31   11    Q    And would a person of skill in the art have been

12:12:34   12   motivated to combine the Lovaza PDR in Mori?

12:12:39   13    A    Yes.

12:12:39   14    Q    Now, turning to DDX 6.84, would a person of skill in the

12:12:44   15   art have had a reasonable expectation of success in practicing

12:12:48   16   the method in claim 1 of the '929 patent?

12:12:51   17    A    Yes.   So claim 1 of the '929 patent was a method of

12:12:55   18   reducing triglycerides, and Mori specifically found an

12:12:59   19   18.4 percent reduction with EPA, almost identical to that

12:13:04   20   induced by DHA which was 20 percent.

12:13:07   21    Q    Now, turning to DDX 6.85, do other prior art references

12:13:13   22   in your key prior art support your analysis of claim 1 of the

12:13:18   23   '929 patent?

12:13:19   24    A    Yes.   Two other publications, Hayashi '95, 1995, they

12:13:25   25   note that they were treating patients with EPA with a very
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12:13:29    1   significant reduction in triglycerides of 41 percent.

12:13:33    2                And I'll note that this is a study which included at

12:13:36    3   least one, and probably several patients, that had

12:13:39    4   triglyceride levels of greater than 500.

12:13:42    5                Similarly, Kurabayashi 2000 showed a 27 percent

12:13:46    6   reduction in EPA that was highly significant, and that there

12:13:50    7   was no evidence for an increase in LDL cholesterol level in

12:13:54    8   that study with EPA treatment.

12:13:56    9    Q    And in the Hayashi study, was there any significant

12:14:00   10   effect on LDL cholesterol?

12:14:03   11    A    They state no statistically significant effect on LDL-C.

12:14:07   12    Q    So, in your opinion, would the differences between the

12:14:10   13   prior art in claim 1 of the '929 patent have been obvious to a

12:14:14   14   person of skill in the art in March of 2008?

12:14:17   15    A    Yes.

12:14:18   16    Q    Let's turn to asserted claim 5 of the '929 patent

12:14:22   17   depicted on DDX 6.86.

12:14:26   18                What is the difference between this claim and claim

12:14:29   19   1 of the '929 patent that we just reviewed?

12:14:32   20    A    It also requires that it be effective to reduce

12:14:35   21   apolipoprotein B, or apo B.

12:14:40   22    Q    So turning to DDX 6.87, did the prior art disclose that

12:14:44   23   purified EPA reduces apo B?

12:14:48   24    A    It did.   Kurabayashi 2000 specifically states the

12:14:52   25   apolipoprotein B level in the EPA group was significantly
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12:14:57    1   lower at week 48 compared with baseline, and they had these

12:15:01    2   results in a table.

12:15:02    3                We can see that in the control group there was a

12:15:05    4   nonsignificant 1.5 percent decrease in apo B, and a highly

12:15:10    5   significant 6.9 percent reduction in the EPA group with a P

12:15:15    6   value of less than .001; very significant.

12:15:19    7    Q    So, in your opinion, would the differences between the

12:15:22    8   prior art in claim 5 of the '929 patent have been obvious to a

12:15:27    9   person of skill in the art in March 2008?

12:15:30   10    A    Yes.

12:15:30   11    Q    Which asserted claims did you analyze next?

12:15:35   12    A    This would be the '728 Patent, claims 1 and 16.

12:15:41   13    Q    Let's turn first to claim 1 of the '728 Patent, which is

12:15:45   14   depicted on DDX 6.89.

12:15:49   15                What is the first limitation you analyzed in this

12:15:52   16   claim?

12:15:52   17    A    This would be,

12:15:53   18                   "A method of reducing triglycerides in a

12:15:56   19         subject having a fasting baseline triglyceride level

12:15:58   20         of 500 milligrams per deciliter to about

12:16:02   21         1500 milligrams per deciliter."

12:16:03   22    Q    And turning to DDX 6.90, with a snapshot from DX 1535,

12:16:10   23   page 3, was that limitation taught by the prior art?

12:16:13   24    A    Yes.   In the Lovaza PDR insert they specifically state

12:16:18   25   patients with very high triglyceride levels, greater than 500.
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12:16:22    1    Q    And turning to DDX 6.91, what is the next limitation in

12:16:27    2   claim 1 of the '728 Patent that you analyzed?

12:16:30    3    A    It would be the oral administration of about 4 grams per

12:16:34    4   day of a pharmaceutical composition for a period of 12 weeks.

12:16:39    5    Q    And turning to DDX 6.92, with a snapshot of DX 1535,

12:16:45    6   pages 2 and 3, was that limitation taught by the prior art?

12:16:49    7    A    Yes.   Again, in the Lovaza PDR 2007, they note oral

12:16:55    8   administration, daily dose of Lovaza, 4 grams per day, and the

12:17:01    9   study that supports that suggestion was of 16 weeks duration.

12:17:06   10    Q    Turning to DDX 6.93, what is the next limitation in claim

12:17:12   11   1 of the'728 Patent that you analyzed?

12:17:14   12    A    This would require a pharmaceutical composition of at

12:17:20   13   least 96 percent EPA, here expressed as the weight of all

12:17:25   14   fatty acids present.

12:17:28   15    Q    I think you mentioned this earlier, but is this a

12:17:30   16   difference between the claim method of treatment and the

12:17:32   17   Lovaza PDR method?

12:17:32   18    A    Yes.   So this would be the improvement, the way they're

12:17:36   19   trying to address the problem of the LDL cholesterol increase.

12:17:41   20    Q    And turning to DDX 6.94, with a snapshot of DX 1538,

12:17:47   21   page 2, what prior art do you rely on for the limitation

12:17:50   22   requiring 4 grams daily of 96 percent EPA?

12:17:56   23    A    This would be the Mori publication 2000, where EPA was

12:18:01   24   administered at a dose of 4 point -- excuse me, 4 grams a day

12:18:04   25   daily and orally, and they note specifically that it was
           Case 2:16-cv-02525-MMD-NJK Document 367 Filed 02/05/20 Page 141 of 341
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12:18:07    1   a highly-purified preparation of EPA that was approximately

12:18:12    2   96 percent pure.

12:18:12    3    Q    And turning to DDX 6.95, was there a motivation to

12:18:18    4   combine the Lovaza PDR and the Mori 2000 reference?

12:18:22    5    A    Yes.   With the Lovaza preparation, there could be a

12:18:26    6   dangerous increase in LDL cholesterol levels.         There was a

12:18:30    7   desire to avoid that.     Mori indicated that LDL cholesterol

12:18:35    8   levels significantly increased with DHA, but not with EPA.

12:18:39    9                So, in other words, EPA did not have the deleterious

12:18:43   10   effect on LDL cholesterol levels.

12:18:46   11    Q    Now, turning to DDX 6.96, are there any other limitations

12:18:51   12   in claim 1 of the'728 Patent?

12:18:53   13    A    It would be in a subject who is not receiving concomitant

12:18:57   14   lipid-altering therapy, and also to effect a reduction in

12:19:02   15   triglycerides without substantially increasing LDL-C.

12:19:05   16    Q    And turning to DDX 6.97, with a snapshot of Mori again,

12:19:10   17   DX 1538, pages 2 and 3, would a person of skill in the art

12:19:16   18   have had a reasonable expectation of success in achieving that

12:19:21   19   claimed result?

12:19:21   20    A    Yes.   For example, in Mori, none of the subjects were

12:19:24   21   regularly taking any drugs known to lipid-alter metabolism.

12:19:30   22                And, furthermore, this study demonstrated a highly

12:19:30   23   significant decrease in triacylglycerols, another name for

12:19:35   24   triglycerides, of 18.4 percent with EPA.

12:19:37   25                And, again, they noted that in the DHA treated
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12:19:42    1   group, but not in the EPA treated group, there was a

12:19:46    2   significant increase in LDL cholesterol.

12:19:50    3    Q    And turning to DDX 6.98, apart from Mori, does other

12:19:55    4   prior art support your opinion on the reasonable expectation

12:19:58    5   of success for claim 1 of the'728 Patent?

12:20:01    6    A    Yes.   The Hayashi '95 paper; the Kurabayashi 2000 paper.

12:20:06    7                Again, Hayashi demonstrated a very significant

12:20:09    8   decrease in triglycerides, with no significant increase in LDL

12:20:14    9   cholesterol, and there were certainly at least one patient in

12:20:17   10   the study with a triglyceride of greater than 500.

12:20:19   11                Kurabayashi showed a 27 percent reduction in

12:20:23   12   triglycerides in the EPA treated group, and in that particular

12:20:29   13   study, there was no -- excuse me -- there was a decrease in

12:20:34   14   LDL cholesterol levels in both of the groups in this

12:20:37   15   particular study.     Certainly, no increase in LDL cholesterol.

12:20:41   16    Q    So turning to DDX 6.99, is there any other language in

12:20:46   17   claim 1 of the '728 Patent that we have not yet discussed?

12:20:50   18    A    Yes.   So there was a specific requirement for a

12:20:53   19   comparison to a second subject having a fasting baseline

12:20:57   20   triglyceride level of 500 to 1500 milligrams per deciliter,

12:21:03   21   who had not received the pharmaceutical composition and

12:21:07   22   concomitant lipid-altering therapy.

12:21:10   23    Q    Now, does the Court's construction, in your understanding

12:21:15   24   of the term "compared to," require an actual comparison to a

12:21:19   25   second subject?
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12:21:20    1    A    No.    My understanding is that the claim construction was

12:21:23    2   interpreted in sort of a common sense manner where one might,

12:21:27    3   for example, be able to compare to the patients themselves

12:21:30    4   before they were on the therapy, so, in other words, if that

12:21:34    5   there was a reasonable expectation of success, rather than

12:21:37    6   having to compare the treatment with a placebo-controlled

12:21:40    7   group.

12:21:40    8    Q    And, regardless, was Mori a placebo-controlled study that

12:21:44    9   showed the effects of EPA compared to patients who were not

12:21:48   10   taking it?

12:21:48   11    A    Yes.

12:21:49   12    Q    Would a person of skill in the art have expected purified

12:21:52   13   EPA to have the effects required by claim 1 of the '728

12:21:57   14   Patent, compared to patients who did not receive the drug?

12:21:59   15    A    Yes.

12:22:00   16    Q    So, in your opinion, would the differences between the

12:22:02   17   prior art in claim 1 of the '728 patent have been obvious to a

12:22:07   18   person of skill in the art in March 2008?

12:22:10   19    A    Yes.

12:22:10   20    Q    Let's turn to claim 16 of the '728 patent depicted here

12:22:18   21   on DDX 6.101.

12:22:20   22                What is the difference between this claim and claim

12:22:23   23   1 of the '728 patent that we just reviewed?

12:22:26   24    A    This is a requirement for a highly-purified EPA

12:22:30   25   preparation where the other components of the preparation
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12:22:34    1   comprised no more than about 0.6 percent by weight of all

12:22:39    2   fatty acids combined.

12:22:40    3    Q    Was that level of purity taught in the prior art?

12:22:44    4    A    Yes.   That would be in the WO '900 patent application

12:22:49    5   where they state the composition comprises between 99.6 and

12:22:52    6   99.9 percent EPA.

12:22:53    7                99.6 percent purity means there's less than

12:23:00    8   0.4 percent contamination.      That's clearly less than the

12:23:04    9   0.6 percent prescribed above.

12:23:06   10    Q    And would a person of skill in the art have been

12:23:09   11   motivated to reach the highest purity that they could?

12:23:12   12    A    Yes, of course.

12:23:14   13                And also I might note that the WO '900 patent also

12:23:18   14   specified specifically that there was less than 0.1 percent of

12:23:22   15   the DHA that had been previously demonstrated to increase LDL

12:23:27   16   cholesterol.

12:23:28   17    Q    So, in your opinion, would the differences between the

12:23:30   18   prior art in claim 16 of the '728 patent have been obvious to

12:23:36   19   a person of skill in the art as of March 2008?

12:23:39   20    A    Yes.

12:23:40   21    Q    Which asserted claim did you analyze next?

12:23:42   22    A    The '715 patent claims -- excuse me, claim 14.

12:23:48   23    Q    So turning to DDX 6.103, does claim 14 of the '715 patent

12:23:54   24   depend from any other claims of the '715 patent?

12:23:58   25    A    Yes, claim 13.
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12:24:02    1    Q    And what is the difference between claim 13 of the '715

12:24:06    2   patent and claim 1 of the '728 patent that you analyzed

12:24:10    3   earlier?

12:24:10    4    A    To effect a statistically significant reduction in

12:24:13    5   triglycerides without effecting a statistically significant

12:24:17    6   increase in LDL cholesterol or apolipoprotein B.

12:24:22    7    Q    Now, what is the difference between asserted claim 14 of

12:24:25    8   the '715 patent and claim 13 that it depends from?

12:24:32    9    A    It states here,

12:24:37   10                  "To effect a statistically significant

12:24:38   11         reduction in triglycerides in apo B without

12:24:43   12         effecting" -- excuse me here.      I think I'm getting

12:24:45   13         this backwards here.

12:24:47   14                     "To effect a statistically significant

12:24:49   15         reduction in triglycerides in apo B without effecting

12:24:53   16         a statistically significant increase in LDL-C in the

12:24:59   17         subject."

12:24:59   18    Q    And turning to DDX 6.106, with snapshots DX 1534, pages 3

12:25:06   19   and 5, did the prior art teach the additional limitations of

12:25:10   20   claim 14 of the '715 patent?

12:25:12   21    A    Yes.   The Kurabayashi 2000, as I've cited several times

12:25:18   22   before, there was a significant decrease in the triglycerides.

12:25:21   23   There was no increase in LDL cholesterol, and there was a

12:25:25   24   significant reduction in apo B in the EPA-treated group of 7

12:25:31   25   percent.
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12:25:31    1    Q    So does Kurabayashi teach all of the effect limitations

12:25:35    2   in claim 14 of the '715 patent?

12:25:38    3    A    Yes.

12:25:38    4    Q    And would the differences between the prior art and claim

12:25:42    5   14 of the '715 patent have been obvious to a person of skill

12:25:45    6   in the art as of March 2008?

12:25:47    7    A    In my opinion, yes.

12:25:51    8    Q    Which asserted claims did analyze next?

12:25:53    9    A    The '677 patent, claims 1 and 8.

12:25:58   10    Q    Let's turn first to claim 1 of the '677 patent on

12:26:03   11   DDX 6.108.

12:26:05   12                What material difference, if any, is there between

12:26:08   13   this claim and claim 1 of the '728 patent that you analyzed in

12:26:13   14   depth earlier?

12:26:14   15    A    There's no limitation on whether the patient is taking

12:26:17   16   concurrent lipid-alter therapy.

12:26:20   17    Q    Does that difference affect your opinions on obviousness?

12:26:23   18    A    No.

12:26:23   19    Q    Do all of your opinions as to claim 1 of the '728 patent

12:26:28   20   apply equally to claim 1 of the '677 patent?

12:26:31   21    A    Yes.

12:26:32   22    Q    In your opinion, would the differences between the prior

12:26:35   23   art in claim 1 of the '677 patent have been obvious to a

12:26:40   24   person of skill in the art as of March 2008?

12:26:43   25    A    Yes.
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12:26:46    1    Q    Let's turn, now, to claim 8 of the '677 patent depicted

12:26:51    2   on DDX 6.109.

12:26:53    3                What is the difference between this claim and claim

12:26:57    4   1 of the '677 patent that we just reviewed?

12:27:02    5    A    It would be to effect a reduction in apo B, and

12:27:05    6   Kurabayashi 2000 demonstrated this.       There was a 7 percent

12:27:09    7   reduction in the EPA treated group -- I'll start over again.

12:27:25    8                The claim 8 of the '677 patent was to effect a

12:27:30    9   reduction in apo B, and Kurabayashi 2000 demonstrated that

12:27:36   10   effect.

12:27:37   11                Specifically, there was a 6.9 percent statistically

12:27:43   12   significant reduction in apo B in the EPA group with no

12:27:48   13   significant change in the control group.

12:27:50   14    Q    So, in your opinion, would the differences between the

12:27:53   15   prior art and claim 8 of the '677 patent have been obvious to

12:27:57   16   a person of skill in the art as of March 2008?

12:28:01   17    A    Yes.

12:28:02   18    Q    Which asserted claim did you analyze next?

12:28:07   19    A    The '652 patent, claim 1.

12:28:11   20    Q    So let's turn to '652 patent, claim 1, depicted here on

12:28:16   21   DDX 6.111.

12:28:19   22                What material difference, if any, is there between

12:28:22   23   claim 1 of the'652 Patent, and claim 1 of the '728 patent that

12:28:27   24   you analyzed earlier?

12:28:28   25    A    There's no limitation on whether a patient is taking
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12:28:31    1   concurrent lipid-altering therapy.

12:28:34    2    Q    And, again, does that difference affect your obviousness

12:28:37    3   opinions?

12:28:37    4    A    No.

12:28:38    5    Q    So, in your opinion, would the differences between the

12:28:41    6   prior art and claim 1 of the '652 patent have been obvious to

12:28:46    7   a person of skill in the art in March of 2008?

12:28:49    8    A    Yes.

12:28:53    9    Q    Which asserted claims did you analyze next?

12:28:55   10    A    The '560 patent, claims 4 and 7.

12:29:01   11    Q    So let's turn first to claim 4 of the '560 patent, which

12:29:05   12   is on the screen on DDX 6.113.

12:29:09   13                Does this claim depend from any other claims of the

12:29:13   14   '560 patent?

12:29:14   15    A    The method of claim 1.

12:29:17   16    Q    And what material difference, if any, is there between

12:29:21   17   claim 1 of the '560 patent and claim 1 of the '728 patent that

12:29:26   18   you analyzed in depth earlier?

12:29:28   19    A    There is no limitation on whether the patient is taking

12:29:32   20   concurrent lipid-altering therapy, and there's no limitation

12:29:35   21   on whether LDL-C increases.

12:29:38   22    Q    Do those differences affect your obviousness opinions?

12:29:41   23    A    No.

12:29:41   24    Q    Do all your opinions as to claim 1 of the '728 patent

12:29:45   25   apply equally to claim 1 of the '560 patent?
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12:29:49    1    A      Yes.

12:29:50    2    Q      So turning now to DDX 6.115, what is the difference

12:29:56    3   between claim 4 of the '560 patent and claim 1 that it depends

12:30:01    4   from?

12:30:01    5    A      It effects a reduction in fasting triglycerides of at

12:30:05    6   least 10 percent without increasing LDL-C by more than 5

12:30:10    7   percent.

12:30:10    8    Q      Were those limitations taught by the prior art that you

12:30:14    9   rely on?

12:30:15   10    A      Mori, et al., in 2000 again, triglycerides decrease

12:30:19   11   significantly by 18 percent.      In contrast, LDL cholesterol

12:30:24   12   increased significantly with DHA, but not with EPA.

12:30:28   13    Q      So, in your opinion, would the differences between the

12:30:31   14   prior art in claim 4 of the '560 patent have been obvious to a

12:30:35   15   person of skill in the art as of March of 2008?

12:30:38   16    A      Yes.

12:30:39   17    Q      On the screen now is claim 17 of the '560 patent on

12:30:46   18   DDX 6.116.

12:30:47   19                  Does claim 17 depend from any other claims of the

12:30:47   20   '560 patent?

12:30:52   21    A      It depends on the method of claim 11.

12:30:55   22    Q      And is there any material difference between claim 11 of

12:30:58   23   the '560 patent and claim 1 of the '560 patent --

12:31:03   24    A      No.

12:31:03   25    Q      -- that you analyzed earlier?
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12:31:04    1    A      No, there is not.

12:31:07    2    Q      What is the difference between claim 17 of the '560

12:31:11    3   patent and claim 11 that it depends from?

12:31:13    4    A      It effects a reduction in fasting triglycerides of at

12:31:16    5   least 20 percent without increasing LDL-C.

12:31:20    6    Q      And you said at least 20 percent.     Did you mean at least

12:31:23    7   about 20 percent?

12:31:25    8    A      At least about 20 percent.

12:31:28    9    Q      And, in your opinion, was that limitation taught by the

12:31:33   10   prior art?

12:31:33   11    A      It was.   In Mori, we showed at least about 18.4 percent

12:31:38   12   decrease in the triglyceride levels.        It decreased

12:31:42   13   significantly by 18.4 percent.

12:31:44   14    Q      And would a reduction in triglycerides of at least about

12:31:48   15   20 percent include a reduction of 18.4 percent in your

12:31:51   16   opinion?

12:31:51   17    A      Yes.   They also note -- I guess I should say -- never

12:31:58   18   mind.

12:32:00   19    Q      Turning to DDX 6.118 --

12:32:03   20    A      Yes.

12:32:03   21    Q      -- did other prior art also teach the limitations in

12:32:07   22   claim 17 of the '560 patent?

12:32:09   23    A      Yes.   So there was a -- the claim of -- the method of

12:32:14   24   claim 11 and claim 17 effects a reduction in fasting

12:32:18   25   triglycerides of at least about 20 percent without increasing
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12:32:22    1   LDL-C.

12:32:25    2                And in the Hayashi publication there was a

12:32:28    3   41 percent reduction in triglycerides with EPA, but no

12:32:32    4   significant effect on the LDL-C.

12:32:35    5    Q    So, in your opinion, would the differences between the

12:32:37    6   prior art in claim 17 of the '560 patent have been obvious to

12:32:42    7   a person of skill in the art as of March 2008?

12:32:44    8    A    Yes.

12:32:50    9                    MR. REIG-PLESSIS:    I'll just note, Your Honor,

12:32:51   10   this is another transition point.

12:32:54   11                    THE COURT:   Yes.   So you just finished that

12:32:55   12   portion in about 30 minutes.

12:32:57   13                    We'll take our lunch recess at this time then.

12:33:00   14   Thank you.

12:33:00   15                    MR. REIG-PLESSIS:    Thank you.

12:33:00   16                           (The noon recess was taken.)

10:36:03   17                                  --o0o--

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10:36:03    1         RENO, NEVADA, WEDNESDAY, JANUARY 15, 2020, 1:23 P.M.

10:36:03    2                                  ---o0o---

01:23:22    3

01:23:22    4                   THE COURT:    Please be seated.

01:23:23    5                   I'm sorry, Miss Clerk, are we ready?

01:23:33    6                   THE CLERK:    Yes, we are.

01:23:34    7                   THE COURT:    Mr. Reig, please resume.

01:23:35    8                   MR. REIG-PLESSIS:     Thank you, Your Honor.

01:23:36    9                       DIRECT EXAMINATION RESUMED

01:23:36   10   BY MR. REIG-PLESSIS:

01:23:37   11    Q    Good afternoon, Dr. Heinecke.

01:23:39   12               Now, did you consider potential counterarguments to

01:23:44   13   your opinions that Amarin has raised in this case?

01:23:49   14    A    I did.   I considered a number of potential

01:23:52   15   counterarguments, and the first one that I considered was

01:23:58   16   studies that found that DHA did not increase LDL cholesterol.

01:23:59   17               I would just like to mention the fact that simply

01:24:02   18   because DHA did not increase LDL cholesterol doesn't obviate

01:24:08   19   the potential advantage of using EPA alone to lower

01:24:08   20   triglycerides without elevating LDL cholesterol.

01:24:13   21    Q    So turning to DDX 6.120, there's a snapshot on the screen

01:24:19   22   of DX 1933, pages 4 and 6, which is an exhibit that is on the

01:24:27   23   parties' admitted exhibit list.

01:24:29   24               Is this an article that Amarin has relied on as

01:24:33   25   evidence that DHA did not increase LDL-C?
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01:24:36    1    A    Yes, it is.

01:24:38    2    Q    And could you identify this document.

01:24:40    3    A    This would be Agren 1996 entitled "Fish Diet, Fish Oil

01:24:48    4   and DHA Rich Oil Lower Fasting and Postprandial Plasma Lipid

01:24:48    5   Levels."

01:24:57    6               And this study was a fairly complex design, four

01:25:00    7   different groups.     It included a control group, a fish diet

01:25:05    8   group, a fish oil group, and a DHA oil group.

01:25:05    9               And I might mention that the DHA oil was not

01:25:11   10   particularly high purity.      I believe, for example, that it had

01:25:15   11   20 percent myristic acid in the preparation so this was not a

01:25:15   12   highly-purified DHA preparation.

01:25:22   13               And the authors concluded that the only definite

01:25:25   14   conclusion which can be made on the basis of this study is

01:25:28   15   that DHA is effective in lowering fasting plasma triglyceride

01:25:34   16   levels.

01:25:34   17    Q    Did the authors of Agren draw any definite conclusion

01:25:39   18   about whether DHA increases LDL-C?

01:25:42   19    A    No, they did not.

01:25:43   20    Q    Did Agren test purified EPA?

01:25:50   21    A    No, they did not.

01:25:50   22    Q    And was this study, the Agren 1996 study, before or after

01:25:54   23   the Mori 2000 study that directly compared the effects of EPA

01:25:59   24   and DHA on LDL-C?

01:26:04   25    A    It was prior to that study.
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01:26:06    1    Q      So would a person of skill in the art in March of 2008

01:26:11    2   have relied on Agren 1996 to compare the effects of EPA and

01:26:14    3   DHA on LDL-C?

01:26:16    4    A      Not in my opinion.

01:26:23    5    Q      Turning now to DDX 6.121.    There's snapshot of DDX 14 --

01:26:35    6   excuse me, DX 1949, which is on the parties' admitted exhibit

01:26:35    7   list.

01:26:37    8                  Do you recognize this as another article that Amarin

01:26:38    9   has relied on for the effects of DHA on LDL-C?

01:26:42   10    A      Yes.   This would be the Conquer publication 1996 where

01:26:47   11   they investigated the effect of dietary supplementation with

01:26:53   12   an algae source of DHA devoid of any EPA.

01:26:56   13    Q      And, again, did Conquer test purified EPA or compare it

01:27:00   14   to DHA?

01:27:01   15    A      No, they simply stated that they were using a preparation

01:27:03   16   of DHA that was devoid of EPA.

01:27:06   17    Q      And was this study before or after the Mori 2000 study

01:27:11   18   that directly compared EPA and DHA's effects on LDL-C?

01:27:16   19    A      It was prior to that study.

01:27:18   20    Q      So would a person of skill in the art in March of 2008

01:27:21   21   have relied on Conquer to compare EPA and DHA?

01:27:26   22    A      Not in my opinion.

01:27:28   23    Q      Turning now to DDX 6.122, there's a snapshot of DX 1961

01:27:38   24   with a call-out from page 3.      This document is also on the

01:27:43   25   admitted exhibits list.
           Case 2:16-cv-02525-MMD-NJK Document 367 Filed 02/05/20 Page 155 of 341
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01:27:45    1                Do you recognize this as another article that Amarin

01:27:48    2   has relied on as evidence that DHA did not increase LDL-C?

01:27:53    3    A    Yes.   This would be Rambjør 1996 entitled "EPA is

01:27:59    4   Primarily Responsible For Hypotriglyceridemic Effect of Fish

01:28:04    5   Oil in Humans."

01:28:05    6    Q    And what finding in particular has Amarin relied on from

01:28:09    7   Rambjør?

01:28:10    8    A    Well, first I note that the title emphasizes that it's

01:28:13    9   EPA that's primarily responsible for the hypotriglyceridemic

01:28:20   10   effect of fish oil.

01:28:20   11                But the deleterious thing that they reported was an

01:28:22   12   increase in LDL cholesterol levels, and, in contrast, they did

01:28:26   13   not see any evidence that DHA supplementation affected LDL

01:28:30   14   levels, and so this would be in contrast to the studies that I

01:28:33   15   reported earlier.

01:28:35   16    Q    Did Rambjør show that DHA affected triglyceride levels?

01:28:40   17    A    It states specifically there that it did not affect

01:28:44   18   triglyceride levels.

01:28:45   19    Q    Is that consistent with the other literature on DHA?

01:28:49   20    A    No.

01:28:50   21    Q    Does the fact that some studies showed an increase in

01:28:56   22   LDL-C and some showed a decrease in LDL-C consistent with the

01:29:02   23   conclusion that EPA is actually LDL neutral?

01:29:02   24    A    In my opinion, yes, that would indicate, for example, if

01:29:07   25   there was one-third of the studies showing an increase,
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01:29:09    1   one-third of the study showing a decrease, and one third of

01:29:12    2   the study showing no effect, that would be very strong

01:29:15    3   evidence that there was no overall effect of the intervention.

01:29:18    4    Q    So turning to DDX 6.123, there's no snapshot from

01:29:24    5   DX 1961, pages 4 and 6.

01:29:28    6                Did the authors of the Rambjør 1996 study express

01:29:32    7   any doubts about their findings?

01:29:36    8    A    Well, I'll state the conclusions they made first and then

01:29:39    9   offer some reasons why they state that.

01:29:41   10                They explicitly say that further studies are needed

01:29:45   11   to clearly define the individual effects of the EPA and DHA on

01:29:49   12   human lipid metabolism, and I believe this paper has a number

01:29:54   13   of serious defects, but one of them was the overall study

01:29:58   14   design.

01:29:58   15                So you'll notice, as highlighted in the first

01:30:01   16   sentence at the top the paragraph, the DHA group was

01:30:05   17   relatively small.     There were only nine subjects in that

01:30:09   18   group, versus 25 in the EPA group and 35 in the control fish

01:30:15   19   oil group.

01:30:16   20                So thus it's severely underpowered, and, in fact,

01:30:20   21   it's very unusual to try and compare studies that have very

01:30:24   22   large numbers of subjects in one group and a very small number

01:30:27   23   of subjects in another group.       So I think that's a study

01:30:30   24   design flaw.

01:30:30   25                And they themselves conclude we cannot be sure that
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01:30:33    1   it would have had an effect in a larger group.

01:30:36    2               And they also note consistent with this observation

01:30:39    3   the percent change in LDL-C was identical for both EPA and

01:30:46    4   DHA, and I think this again points to the issue of random

01:30:51    5   variation with small numbers of subjects where one might by

01:30:52    6   chance observe an increase or a decrease that was simply that

01:30:55    7   chance.

01:30:56    8               So -- and they, themselves, conclude the smaller

01:30:56    9   number of subjects in the later group prevented the difference

01:30:56   10   from being significant.

01:30:56   11               So, in other words, both groups had an increase in

01:30:56   12   LDL-C, but because of the small number in the DHA group, it

01:31:12   13   was not significantly significant.

01:31:12   14    Q    Now, turning to DDX 6.124, you mention the need for

01:31:18   15   further studies expressed in Rambjør 1996.        Was Mori 2000 a

01:31:24   16   further study after Rambjør that clarified the different

01:31:28   17   effects of EPA and DHA?

01:31:31   18    A    It was.   It showed that LDL cholesterol significantly

01:31:35   19   increased in the DHA group but not in the EPA group.

01:31:38   20               I'll note that this study had about 20 to 25

01:31:42   21   subjects per group so obviously it was better powered to

01:31:45   22   answer the question.

01:31:46   23               Moreover, Maki in 2005 note that most previous

01:31:52   24   studies of DHA supplementation have shown increases in LDL

01:31:56   25   concentration, and note again how they're very careful to cite
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01:32:02    1   a range of studies but that the range is minus three percent

01:32:06    2   to plus 16 percent with a median of eight percent, and this

01:32:08    3   would be very consistent with the idea that there's a

01:32:10    4   significant increase overall when one considers all of the

01:32:15    5   available evidence.

01:32:17    6    Q    Now, turning to DDX 6.125, there's a snapshot of DX 1538

01:32:23    7   from pages 5 and 9.

01:32:26    8               Did the Mori 2000 reference itself address Rambjør?

01:32:32    9    A    They did.    They specifically mentioned it.

01:32:33   10               And they pointed out another limitation of this

01:32:36   11   study so -- I didn't go into the study design, but this is a

01:32:39   12   complicated crossover study design where they would use one

01:32:44   13   intervention, and then use a washout period, and then have a

01:32:48   14   second intervention.

01:32:48   15               And they noted that the washout period between the

01:32:51   16   two interventions was very short, only two weeks, and that

01:32:54   17   there could have been confounding effects of the previous

01:32:58   18   treatment on the subsequent treatment.

01:32:59   19               And they specifically mention this as a limitation,

01:33:03   20   along with the short duration of treatment in a small number

01:33:06   21   of subjects of the Rambjør paper.

01:33:08   22    Q    And do you agree with Mori's assessment of the Rambjør

01:33:12   23   paper?

01:33:13   24    A    I think that's a very reasonable assessment.

01:33:15   25    Q    In your opinion, would a person of skill in the art as of
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01:33:18    1   March of 2008 have relied on the Rambjør study from 1996?

01:33:23    2    A      No.

01:33:27    3    Q      So now on the screen is DDX 6.126 it's a snapshot from

01:33:33    4   DX 1605.

01:33:36    5                 Is this another reference that Amarin has relied on

01:33:40    6   in this case?

01:33:40    7    A      Yes, von Schacky 2006 is a reference that they relied

01:33:44    8   upon.

01:33:47    9                 So let me state this is a review as mentioned in the

01:33:52   10   article.      There is no primary data in this paper.     So this is

01:33:55   11   summary of this author's interpretation of what the literature

01:33:59   12   shows.

01:34:02   13                     MR. REIG-PLESSIS:   Your Honor, we would move in

01:34:04   14   DX 1605 into evidence.

01:34:07   15                     MR. SIPES:   No objection.

01:34:07   16                     THE COURT:   1605 is admitted.

01:34:07   17                            (Defendants' Exhibit 1605 received in
01:34:11                                  evidence.)
01:34:11   18   BY MR. REIG-PLESSIS:

01:34:13   19    Q      So did von Schacky provide any new clinical data beyond

01:34:16   20   what was already reported in the literature?

01:34:18   21    A      Well, as stated in the title, it's a review.      There's no

01:34:21   22   primary data in this publication.

01:34:26   23    Q      Now, turning to DDX 6.127, do you understand that Amarin

01:34:29   24   has relied on table 1 of von Schacky as evidence that EPA and

01:34:35   25   DHA were believed to have the same effect on LDL-C?
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01:34:40    1    A    Yes.

01:34:40    2    Q    Do you agree with Amarin's view?

01:34:44    3    A    Well, as the authors themselves state -- this is kind of

01:34:49    4   a curious figure actually.

01:34:50    5                So we have these arrows, and, of course, I would

01:34:53    6   agree that an arrow pointing up or an arrow pointing down or

01:34:57    7   sideways, would tend to point towards an increase or no change

01:35:01    8   or a decrease.

01:35:02    9                But as they, themselves, note it's semiquantitative.

01:35:06   10   And really the significance of these arrows is totally

01:35:10   11   unclear.     There's nothing attached to one arrow, two arrows,

01:35:13   12   is it one percent, is it ten percent?

01:35:16   13                I find -- I find this a very difficult figure to

01:35:23   14   interpret.

01:35:23   15                And I'll point out another issue here.      They cite

01:28:35   16   Rambjør in support of their interpretations, and then they

01:35:29   17   also cite Mori which did not provide conclusions that were

01:35:34   18   much stronger than Rambjør that would contradict their

01:35:37   19   assessments on the LDL cholesterol changes.

01:35:41   20                So I think this is a very difficult table to

01:35:45   21   interpret, and I also think it suggests that the author is not

01:35:49   22   properly interpreting the available literature.

01:35:52   23    Q    In your opinion, did it make sense for von Schacky to

01:35:56   24   cite Rambjør as a relative study in 2006?

01:36:00   25    A    If I were the author of the paper, I wouldn't have done
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01:36:04    1   that.

01:36:04    2    Q      And does von Schacky change your opinion on how a person

01:36:07    3   of skill in the art would have interpreted the actual clinical

01:36:10    4   data in Mori?

01:36:11    5    A      No.

01:36:12    6    Q      Now, since von Schacky was published, has Amarin itself

01:36:17    7   relied on the Mori 2000 paper?

01:36:18    8    A      Yes, it has.

01:36:21    9    Q      So turning to DDX 6.128 on the screen is DX 1741, pages 7

01:36:30   10   and 9.

01:36:31   11                  Could you identify this document, please.

01:36:33   12    A      Yes.   This would be the Bays 2011 paper that we've heard

01:36:40   13   so much about, the Amarin MARINE study, which was a very high

01:36:43   14   quality study of the impact of their compound, the

01:36:46   15   highly-purified EPA on triglyceride and LDL cholesterol levels

01:36:51   16   in patients with elevated triglycerides, the MARINE study.

01:36:55   17                       MR. REIG-PLESSIS:   Defendants move in the

01:36:57   18   admission of DX 1741.

01:36:59   19                       MR. SIPES:   No objection, Your Honor.

01:37:01   20                       THE COURT:   1741 admitted.

01:37:01   21                              (Defendants' Exhibit 1741 received in
01:37:03                                    evidence.)
01:37:03   22   BY MR. REIG-PLESSIS:

01:37:04   23    Q      Did Amarin cite Mori 2000 in the Bays MARINE publication?

01:37:08   24    A      They did.    They state in several small previous studies,

01:37:12   25   and note that the references are circled there, 14 through 16,
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01:37:15    1   and one of those references is Mori, reference 15.

01:37:21    2    Q     And for what proposition did Amarin cite Mori in the Bays

01:37:27    3   MARINE publication?

01:37:27    4    A     They're specifically discussing the influences of DHA

01:37:33    5   treatment and EPA treatment on LDL cholesterol levels.          So, in

01:37:38    6   other words, they're summarizing what their interpretation of

01:37:40    7   the previous literature is.

01:37:42    8                 And they concur that although DHA treatment

01:37:45    9   generally increased LDL cholesterol levels, EPA therapy did

01:37:50   10   not.   This is the MARINE study from Amarin.

01:37:53   11    Q     Now, did Amarin cite von Schacky or would not in the Bays

01:38:00   12   MARINE publication?

01:38:01   13    A     No, they did not.

01:38:02   14    Q     Turning to DDX 6.129, with snapshots of pages 7 and 9

01:38:09   15   from the same exhibit, DX 1741.

01:38:12   16                 Did Amarin also cite other prior art that you rely

01:38:16   17   on?

01:38:16   18    A     Yes.   They specifically commented on LDL cholesterol

01:38:21   19   levels, and what they mentioned was that smaller trials of

01:38:24   20   patients with normal to moderately elevated triglyceride

01:38:28   21   levels suggested that purified EPA might reduce triglyceride

01:38:31   22   levels without increasing LDL cholesterol levels, and they

01:38:35   23   specifically cite the Kurabayashi reference that I've cited

01:38:39   24   repeatedly.

01:38:39   25    Q     And based on smaller trials that suggested that purified
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01:38:44    1   EPA might reduce triglyceride levels without increasing LDL in

01:38:48    2   patients with normal to moderately elevated triglyceride

01:38:52    3   levels, was there a reasonable expectation that that same

01:38:56    4   result would occur in patients with very high triglycerides?

01:39:00    5    A    Yes, in my opinion.

01:39:03    6    Q    And why is that?

01:39:04    7    A    Well, typically, if one observes effect on a value at a

01:39:04    8   lower level, one anticipates seeing a similar effect at higher

01:39:04    9   levels of that value.

01:39:12   10               And, again, I would use the example of blood

01:39:15   11   pressure medications where blood pressure medications lower

01:39:18   12   blood pressure in people with low blood -- you know, moderate

01:39:21   13   elevations of blood pressure and high levels of blood

01:39:25   14   pressure -- I know.

01:39:26   15                   THE COURT:    Slow down.

01:39:30   16                   THE WITNESS:    I know.    I better cut down on the

01:39:32   17   coffee here.

01:39:33   18                   Let me start over again, excuse me.

01:39:34   19                   So, in general, with most medications, one sees

01:39:38   20   a similar effect at lower elevations and higher elevations,

01:39:43   21   and, of course, medicine being medicine, nothing is universal.

01:39:47   22   But in general, that is a consistent theme.

01:39:50   23                   So it would be very reasonable to expect that an

01:39:53   24   intervention that lowers triglyceride levels, for example, at

01:39:57   25   lower triglyceride levels would also lower them at higher
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01:40:01    1   triglyceride levels.

01:40:02    2                    Now, lipoproteins are complicated, and things

01:40:05    3   are not always that simple, but in general that's what one

01:40:09    4   would anticipate.

01:40:10    5   BY MR. REIG-PLESSIS:

01:40:10    6    Q    Is Amarin's reliance on the Mori and Kurabayashi papers

01:40:14    7   in the Amarin MARINE publication consistent with your own

01:40:17    8   opinions about those references?

01:40:19    9    A    Yes, it is.

01:40:21   10    Q    Did you also consider the argument that DHA may have

01:40:27   11   certain advantages over EPA?

01:40:29   12    A    Yes, I did.

01:40:30   13    Q    So turning to DDX 6.131, there's a snapshot of DX 1538,

01:40:40   14   the Mori study we reviewed earlier, pages 3 and 5.

01:40:44   15               Do you understand Amarin has argued that Mori

01:40:48   16   suggested that DHA was more effective than EPA for reducing

01:40:52   17   triglycerides?

01:40:53   18    A    Yes, I do.    And I'll just point out that the Mori study

01:40:56   19   did show a significant decrease in triglycerides by EPA, and

01:41:01   20   that it reduced triglycerides to a similar extent as DHA.           So

01:41:06   21   EPA and DHA are approximately equally effective at reducing

01:41:11   22   triglycerides.

01:41:12   23    Q    And did the authors of Mori agree with your

01:41:17   24   interpretation of the data?

01:41:17   25    A    Yes, and no.    They certainly acknowledge that they both
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01:41:21    1   reduced triglycerides to the same extent but they also had

01:41:25    2   other conclusions.

01:41:27    3    Q    So turning to DDX 6.132, there's another snapshot from

01:41:33    4   Mori DX 1538, page 8.

01:41:37    5                Has Amarin argued that Mori disclosed any other

01:41:40    6   advantages of DHA?

01:41:42    7    A    They have, and I want to emphasize this is the author's

01:41:46    8   interpretation of the data here.       Okay?

01:41:49    9                So -- and I might mention one other thing.       One

01:41:52   10   generally doesn't get your publications into a good journal by

01:41:56   11   emphasizing the negative findings in your work, and so there's

01:42:01   12   always a natural tendency for writers of scientific papers to

01:42:05   13   try and point out the most positive aspects of their work.

01:42:09   14                So what Mori here is doing is highlighted what they

01:42:13   15   thought was interesting or positive about DHA and they

01:42:17   16   specifically mention increased HDL cholesterol, a change in

01:42:23   17   LDL particle size which increased, and increased fasting blood

01:42:28   18   glucose concentrations that were induced by EPA but not DHA

01:42:33   19   which would relate potentially to insulin sensitivity and the

01:42:35   20   risk of diabetes.

01:42:37   21    Q    And were these parameters seen by some people as

01:42:42   22   potential advantages of certain therapies?

01:42:44   23    A    Yes.   There's always been intense interest in biomarkers

01:42:48   24   for cardiovascular risk, and many, many investigators focus on

01:42:52   25   these.
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01:42:53    1               The number of these risk factors it's actually

01:42:56    2   turned out to be clinically significant is rather small.            I

01:43:00    3   might cite my own area of research which is HDL cholesterol

01:43:05    4   which everyone thought good cholesterol.

01:43:08    5               But then and now there's no randomized clinical

01:43:11    6   trial evidence that elevating HDL cholesterol is beneficial in

01:43:16    7   reducing cardiovascular risk.

01:43:18    8    Q    So, in your opinion, would a person of skill in the art

01:43:20    9   in March of 2008 have focused on HDL cholesterol, LDL particle

01:43:27   10   size, or fasting glucose as being more important than LDL

01:43:32   11   cholesterol levels?

01:43:33   12    A    Not in my opinion, and certainly not if they based it on

01:43:36   13   randomized clinical trial data.

01:43:40   14    Q    So turning to DDX 6.133, this demonstrative has snapshots

01:43:48   15   from DX 1876, the ATP III publication we reviewed earlier from

01:43:56   16   pages 27, 39 through 40 and 42.

01:44:01   17               Did ATP III address the factors that Amarin relies

01:44:05   18   on as advantages of DHA over EPA?

01:44:09   19    A    It did.   And let me point out that ATP III was the

01:44:13   20   guidelines that said that the major emphasis for treatment

01:44:15   21   should be LDL cholesterol.

01:44:18   22               The advantage potentially of using EPA which avoids

01:44:22   23   an increase in LDL cholesterol, it was identified as the major

01:44:26   24   determinant for cardiovascular risk to focus on.

01:44:31   25               They also did address HDL cholesterol, LDL particle
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01:44:31    1   size, and fasting glucose.

01:44:35    2                As noted for HDL cholesterol, and it has turned out

01:44:39    3   to be depressingly true, raising of HDL cholesterol levels

01:44:43    4   will not reduce CHD risk as much as might be predicted from

01:44:47    5   prospective epidemiological studies, and this illustrates a

01:44:51    6   major limitation of epidemiology which is very few of the

01:44:54    7   observations that are made in epidemiology are confirmed in

01:44:58    8   randomized clinical trials.

01:45:01    9                And I might mention vitamin D, for example, we've

01:45:04   10   heard so much about for the last decade.        A whole series of

01:45:11   11   randomized chemical trials are coming out now -- that's

01:45:11   12   hindsight, excuse me.     I withdraw that statement.

01:45:15   13                Excuse me.   Strike that.   Is that right thing to

01:45:17   14   say.

01:45:17   15                    THE COURT:   I don't know if you get to strike

01:45:20   16   testimony.

01:45:21   17                    THE WITNESS:   That's hindsight.     I will admit

01:45:21   18   that that's hindsight.

01:45:24   19                    LDL particle size, ATP III does not recommend

01:45:28   20   measurement of small LDL particles in routine practice, and

01:45:33   21   there certainly has been intense interest in small LDL

01:45:36   22   particles, very abundant literature on this.

01:45:40   23                    I might mention that small LDL is about

01:45:45   24   .2 nanometers, smaller than regular LDL which is

01:45:51   25   22 nanometers, so a one percent difference.         And, in my
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01:45:55    1   opinion, most clinicians now and then would not regard that as

01:46:00    2   being significantly different in terms of cardiovascular risk.

01:46:04    3                    At the time of ATP III, fasting blood glucoses

01:46:10    4   were not strongly considered to be cardiovascular risk, and it

01:46:14    5   says at the bottom there,

01:46:15    6                    "Neither does it count as a risk factor to

01:46:18    7          modify LDL cholesterol goal."

01:46:21    8                     So I think, again, these are possible benefits,

01:46:23    9   but I believe that most clinicians would have focused on the

01:46:27   10   LDL cholesterol changes.

01:46:29   11   BY MR. REIG-PLESSIS:

01:46:29   12    Q     So turning to DDX 6.134, based on the guidance in

01:46:36   13   ATP III, what actual data in Mori 2000 would a person of skill

01:46:40   14   in the art in March of 2008 have been focused on?

01:46:43   15    A     As emphasized by APT III, I think that most clinicians

01:46:48   16   would have focused on LDL cholesterol which increased

01:46:51   17   significantly with DHA but not with EPA.

01:46:54   18    Q     Turning to DDX 6.135, which has another snapshot from the

01:47:01   19   von Schacky reference we reviewed earlier, DX 1605, page 9,

01:47:07   20   has Amarin cited other advantages that DHA might have over

01:47:12   21   EPA?

01:47:12   22    A     It has.   I've already referred to the HDL cholesterol.

01:47:18   23   There's also been interest in platelet aggregation.          That

01:47:21   24   relates to the ability for platelets to form clots which

01:47:24   25   triggers a heart attack.
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01:47:26    1               There's been interest in heart rate modulation, and

01:47:29    2   something else called endothelial function which has to do

01:47:33    3   with how well your blood vessels relax.

01:47:36    4               All of these have been proposed to be very

01:47:38    5   significant cardiovascular risk factors.

01:47:42    6               Again, in my opinion there's no randomized clinical

01:47:45    7   trial evidence that any of these are clinically significant.

01:47:49    8    Q    Would a person of skill in the art in March of 2008 have

01:47:52    9   viewed these parameters as taking precedence over LDL-C

01:47:58   10   levels?

01:47:58   11    A    Not in my opinion, no.

01:48:00   12    Q    Now, even assuming that the prior art taught a preference

01:48:05   13   for DHA, would that have made the use of purified EPA any less

01:48:11   14   obvious in your opinion?

01:48:12   15    A    In my opinion, no.

01:48:16   16    Q    Is there a legal standard you've been informed about that

01:48:21   17   supports your opinion?

01:48:21   18    A    Yes, my understanding is a prior art reference does not

01:48:25   19   teach a way if it merely expresses a general preference for an

01:48:29   20   alternative invention.

01:48:31   21               So clearly these authors are offering a preference

01:48:35   22   for an alternative approach, but that does not negate the

01:48:39   23   advantage of not raising LDL cholesterol.

01:48:41   24    Q    Is it possible that both purified EPA and purified DHA

01:48:46   25   were obvious?
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01:48:47    1    A    Well, yes.    It's -- yes.

01:48:54    2    Q    Now, do you understand that Amarin has criticized your

01:48:57    3   reliance on studies in patients with triglycerides below 500?

01:49:03    4    A    I do.

01:49:03    5    Q    Is there any material difference between, for example,

01:49:06    6   triglycerides of 400 and 500?

01:49:11    7    A    Well, as we've already heard, one the hallmarks of it is

01:49:16    8   that they vary widely over time, and so a patient could very

01:49:21    9   easily have a triglyceride value of 400 or 450 one day and

01:49:26   10   have a triglyceride value of 550 or 600 the next day.          And in

01:49:31   11   fact we see the same thing with LDL cholesterol which varies

01:49:36   12   much less.

01:49:36   13                 If you follow the same patient over time for LDL

01:49:39   14   cholesterol, it can vary over a 20 percent range.         So this is

01:49:42   15   why it's very important to have multiple lipid measurements

01:49:48   16   before making treatment decisions.

01:49:49   17                 And, moreover, I do not believe that there's kind of

01:49:49   18   magical mechanistic difference between 500 milligrams per

01:49:57   19   deciliter and 600 milligrams per deciliter and 400 milligrams

01:49:58   20   per deciliter.

01:49:59   21                 The concern with pancreatitis is when one actually

01:50:02   22   gets up above the 1000-milligram per deciliter, and this was

01:50:06   23   something that was not well understood back in 2008.          We knew

01:50:11   24   that somewhere above 500 milligrams per deciliter the system

01:50:15   25   for clearing triglycerides jams up.       But no one knew what that
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01:50:19    1   level was, but, we knew it was above 500 milligrams per

01:50:25    2   deciliter.

01:50:25    3                So the idea here was to be well below the level

01:50:29    4   where one worries about the triglyceride clearance system

01:50:32    5   jamming up, and then, under those circumstances, the

01:50:34    6   triglycerides would go sky high.

01:50:37    7                Let me just use an analogy here.     The idea would be,

01:50:40    8   for example, if you had a tub with a hole in it and the water

01:50:43    9   would be pouring out of the bottom.       That would be the

01:50:46   10   clearance of triglycerides.

01:50:48   11                If you jam up that plug, you're going to fill up the

01:50:51   12   tub very rapidly and greatly increase the level of the water

01:50:55   13   in the tub.    That happens somewhere up above 500 milligrams

01:50:59   14   per deciliter, and we still don't know exactly where that is,

01:51:03   15   but it's probably in the 1000-milligram per deciliter range.

01:51:07   16    Q    In general, do the qualitative effects of medications

01:51:11   17   depend on baseline triglycerides that patients have?

01:51:15   18    A    Qualitatively, they tend to be the same.

01:51:20   19    Q    Now, turning to DDX 6.138, there is a snapshot on the

01:51:26   20   screen of DX 1500, the '728 patent which is already in

01:51:31   21   evidence, from page 14.

01:51:35   22                As far as you can tell from reviewing the patents,

01:51:38   23   did the inventors of the asserted patents in this case

01:51:41   24   themselves place any significance on the 500-milligram per

01:51:45   25   deciliter threshold?
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01:51:47    1    A    I can't comment on whether they placed significance on

01:51:50    2   it, but what I can comment on is the facts which are that they

01:51:55    3   cite a level of at least or about 300 milligrams per

01:52:00    4   deciliter, at least or about 400 milligrams per deciliter, at

01:52:04    5   least or about 500 milligrams per deciliter, at least or about

01:52:08    6   600 milligrams per deciliter, at least or about 700 milligrams

01:52:13    7   per deciliter.

01:52:13    8               Do I need to keep going?     They go all the way up to

01:52:18    9   1500 milligrams per deciliter there.

01:52:20   10               So I don't know what they were thinking, but this

01:52:24   11   doesn't accord very well with the idea that 500 milligrams per

01:52:28   12   deciliter is a critical threshold.

01:52:31   13    Q    Now, turning to DDX 6.139, there is a snapshot from

01:52:36   14   DX 1526, page 28, the executive summary of ATP III that we

01:52:43   15   reviewed earlier.

01:52:44   16               Is it surprising that most references in the prior

01:52:48   17   art did not focus on patients with triglycerides above 500?

01:52:52   18    A    In my opinion, no.     I mean, as I think we've already

01:52:56   19   heard, triglyceride elevations in this range are fairly rare,

01:53:01   20   greater than 500 milligrams per deciliter, so this makes it

01:53:05   21   very difficult to carry out clinical studies with large

01:53:10   22   numbers of subjects.

01:53:11   23    Q    And turning to DDX 6.140, regardless, did you rely on

01:53:19   24   prior art that disclosed the administration of purified EPA to

01:53:19   25   patients with triglycerides above 500?
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01:53:22    1    A    Yes.   So I just wanted to emphasize, and I've already

01:53:26    2   shown this slide several times, the point of these five slides

01:53:33    3   is to indicate that there have been patients treated with EPA

01:53:38    4   that had triglyceride levels that are higher than 500, and

01:53:42    5   I've cited this repeatedly so I won't go through this again.

01:53:46    6                I do want to make one point here.      I'm not arguing

01:53:50    7   that we know that EPA lowers LD -- lowers triglycerides

01:53:55    8   without lowering -- let me start over again.

01:53:59    9                I'm not arguing here that we know what the impact is

01:54:03   10   of EPA on LDL cholesterol levels above 500 milligrams per

01:54:08   11   deciliter.

01:54:09   12                We can't conclude that from these studies because,

01:54:12   13   first of all, we don't really know what the values are of the

01:54:15   14   individual patients in these studies, and, second of all,

01:54:18   15   there's a limitation of the method used to quantify LDL

01:54:22   16   cholesterol.

01:54:23   17                So LDL cholesterol -- let me take a step back.         So

01:54:28   18   cholesterol is carried in both VLDL and LDL particles, and

01:54:33   19   what is done in most clinical studies for cost-effectiveness

01:54:36   20   is to measure the total cholesterol and the HDL cholesterol

01:54:41   21   and then to estimate the LDL cholesterol using an equation

01:54:45   22   called the Friedewald equation.

01:54:47   23                And what the equation does is use the triglycerides

01:54:50   24   to estimate the VLDL contribution to the LDL cholesterol, and

01:54:55   25   that equation is not accurate for triglycerides above
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01:54:59    1   400 milligrams per deciliter.

01:55:01    2                And so I don't think there's any evidence in the

01:55:04    3   prior literature about what the impact of EPA would be on LDL

01:55:09    4   cholesterol in patients with triglycerides above

01:55:13    5   500 milligrams per deciliter.

01:55:15    6                But what I do think there is strong evidence of is

01:55:17    7   that EPA will lower triglycerides in these subjects.

01:55:22    8    Q    Now, based on these studies, was there a reasonable

01:55:30    9   expectation that EPA would not have LDL-C effects in patients

01:55:35   10   above 500 in terms of triglycerides?

01:55:37   11    A    In my opinion, yes.

01:55:39   12    Q    And why is that?

01:55:41   13    A    Because there were multiple studies showing that it would

01:55:43   14   lower triglycerides, and it would do so either without

01:55:48   15   elevating LDL cholesterol, in some cases with lowering LDL

01:55:53   16   cholesterol, and I'd also mention that in some cases there's

01:55:56   17   been a reduction in apo B that was significant, and that's

01:56:00   18   also another marker for LDL.

01:56:02   19    Q    And would a person of skill in the art have expected a

01:56:05   20   different result in patients above 500?

01:56:08   21    A    In my opinion, no.

01:56:09   22    Q    Now, do you understand Amarin is arguing that

01:56:13   23   triglyceride-lowering drugs have different effects on LDL-C

01:56:17   24   depending on whether a patient's triglycerides are above or

01:56:20   25   below 500?
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01:56:21    1    A    Yes, I do.

01:56:22    2    Q    And do you understand Amarin has relied on clinical data

01:56:26    3   with fibrates --

01:56:27    4    A    Yes.

01:56:28    5    Q    -- to support its theory?

01:56:30    6                What are fibrates?

01:56:32    7    A    Fibrates are a class of drugs that lower triglycerides by

01:56:37    8   an unknown mechanism.     They're typically, in the preEPA days,

01:56:43    9   were oftentimes the first or second line of choice for

01:56:46   10   lowering triglycerides in patients because they're very

01:56:49   11   effective at lowering triglycerides.

01:56:51   12    Q    Are fibrates omega-3 fatty acids?

01:56:56   13    A    They're completely unrelated.      There's no structural

01:56:59   14   similarities between fibrates and omega-3 fatty acids, and, in

01:57:04   15   my opinion, there's no evidence that they share similar

01:57:06   16   mechanisms of action.

01:57:08   17                In fact, I don't believe that we know how EPA is

01:57:12   18   working, although I have a few ideas on that, and there's some

01:57:16   19   evidence from animal studies that fibric acid derivatives work

01:57:19   20   through PPAR receptors -- I won't go into the basic science.

01:57:22   21                That data is based almost exclusively on animal

01:57:26   22   data, not human data, and, in my opinion, we don't really know

01:57:30   23   how fibric acids are working in humans either.

01:57:34   24    Q    Is fibric acids another word for fibrates?

01:57:37   25    A    Yes, fibrates, or Fenofibrate, clofibrate, there's a
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01:57:38    1   whole family of the fibric acid derivatives.

01:57:44    2    Q    Are fibrates found in fish oil?

01:57:46    3    A    No.

01:57:48    4    Q    And would a person of skill in the art in March of 2008

01:57:52    5   have assumed that EPA had the same mechanism of action as

01:57:57    6   fibrates?

01:57:57    7    A    Not in my opinion.

01:58:00    8    Q    Now, did Amarin raise its argument about fibrates during

01:58:03    9   the prosecution of these patents?

01:58:05   10    A    Yes, it did.

01:58:06   11    Q    So turning to DDX 6.141, there's a snapshot of DX 1587,

01:58:16   12   page 19.

01:58:17   13               Do you recognize DX 1587 as a rejection by the

01:58:22   14   examiner dated August 18th, 2011?

01:58:26   15    A    Yes, I do.

01:58:29   16               And the examiner specifically states here,

01:58:33   17                  "Triplex (fenofibric acid)," it's a fibric

01:58:37   18         acid, "is structurally and biologically very

01:58:41   19         different from EPA-E (an omega-3 fatty acid).

01:58:46   20         Triplix is structurally a fibrate," and this family

01:58:50   21         "are known to reduce cholesterol by interacting with

01:58:50   22         the PPAR-alpha receptor."

01:58:56   23                   I would say that we know that's one potential

01:58:59   24   mechanism in mice based on studies using mice that are

01:59:03   25   deficient in the PPAR-alpha receptor.        Whether those studies
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01:59:08    1   are relevant to humans I think remains an open question.

01:59:11    2                    On the other hand, EPA is an omega-3 fatty acid

01:59:17    3   to lower triglycerides, although the mechanism is not known,

01:59:20    4   and the examiner concludes,

01:59:22    5                  "So one cannot extrapolate the results

01:59:24    6         observed with a fibrate to omega-3 fatty acids like

01:59:30    7         EPA-E," and I would concur with that.

01:59:32    8                    MR. REIG-PLESSIS:    And, Your Honor, we would

01:59:33    9   move the admission of DX 1587.

01:59:36   10                    MR. SIPES:   No objection.

01:59:36   11                    THE COURT:   1587 is admitted.

01:59:36   12                           (Defendants' Exhibit 1587 received in
01:59:41                                 evidence.)
01:59:41   13   BY MR. REIG-PLESSIS:

01:59:42   14    Q    Now, turning to DDX 6.142, there's a snapshot of DX 1591,

01:59:49   15   the Notice of Allowance we reviewed earlier at page 9.

01:59:53   16               Earlier you testified that the examiner ultimately

01:59:57   17   made a mistake in the Notice of Allowance.        Despite that

02:00:01   18   mistake, did the examiner agree with you that the differences

02:00:05   19   between the claims and the prior art were obvious?

02:00:08   20    A    Initially they did, and so, as stated here, based on

02:00:16   21   these references, it was concluded that it would be obvious to

02:00:19   22   treat patients having triglycerides above 500 milligrams per

02:00:23   23   deciliter with 96 percent pure EPA.

02:00:28   24    Q    And was that statement in the notice of allowance for

02:00:32   25   these patents?
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02:00:32    1    A    Yes, the Notice of Allowance September 6, 2012.

02:00:36    2    Q    Now, turning to DDX 6.143 with a snapshot of the same

02:00:45    3   exhibit, DX 1587, from pages 10 to 12.

02:00:49    4               If the examiner found that the differences between

02:00:52    5   the prior art and the claims were obvious, why did the

02:00:55    6   examiner allow the claims to issue?

02:00:57    7    A    There were two reasons offered for the rejection of

02:01:02    8   obviousness.    The first was unexpected results.

02:01:06    9               And specifically they referred to a significant

02:01:09   10   reduction of apo-B levels, here quoted as 8.5 percent from the

02:01:16   11   MARINE study.

02:01:17   12               And then they secondly noted a long felt, unmet

02:01:21   13   need, and this would refer to "not only reduces the levels of

02:01:26   14   triglycerides, but also does not increase LDL-C."

02:01:30   15    Q    And do you understand that unexpected results and long

02:01:34   16   felt unmet need are secondary considerations in the

02:01:38   17   obviousness analysis?

02:01:39   18    A    Yes, I do.

02:01:40   19    Q    Did you analyze the secondary considerations that the

02:01:46   20   examiner relied on to allow the claims?

02:01:48   21    A    I did.

02:01:49   22    Q    And did you also analyze additional secondary

02:01:52   23   considerations that Amarin has raised in this case?

02:01:55   24    A    Yes, specifically, the REDUCE-IT results.

02:02:03   25    Q    What legal standards did you apply in your understanding
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02:02:06    1   to analyze secondary considerations?

02:02:09    2    A    My understanding is that evidence of secondary

02:02:13    3   considerations must be commensurate in scope with the claims

02:02:17    4   for which the evidence is offered to support, and that there

02:02:21    5   must be a nexus between the evidence of secondary

02:02:25    6   considerations and the merits of the claimed invention.

02:02:29    7    Q    And did you apply any legal standards specific to

02:02:32    8   unexpected results and long felt, unmet need?

02:02:36    9    A    Yes.   So additionally the unexpected results must be

02:02:41   10   different in kind and not merely in degree from the results of

02:02:44   11   the prior art.    In other words, there would be a qualitative

02:02:48   12   and not a quantitative difference.       And there is no long felt

02:02:52   13   unmet need if others have previously solved the need.

02:02:57   14    Q    So turning to DDX 6.147, with snapshots from DX 1591 and

02:03:05   15   DX 1534, let's focus first on the reduction in apo-B.

02:03:12   16                Do you agree were Amarin's argument that an

02:03:16   17   8.5 percent reduction in apo-B was unexpected in March 2008?

02:03:21   18    A    I don't.    Kurabayashi 2000 showed that the apo-B levels

02:03:28   19   in the EPA group were significantly lower at week 48 compared

02:03:33   20   with the baseline level, and this was by a Nova analysis, and

02:03:37   21   they cite the specific data.

02:03:39   22                You can see that the percent change in the control

02:03:44   23   group at 48 weeks was negative 1.5 percent, which was not

02:03:48   24   significant.     In the EPA group, there was a 6.9 percent

02:03:53   25   reduction that was highly significant at the P less than .001
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02:03:58    1   level, and, in my opinion 7 percent and 8.5 percent are not

02:04:04    2   significantly different.      That's just a difference in extent,

02:04:10    3   not in kind.

02:04:10    4    Q      So turning to DDX 6.148, does other prior art support

02:04:16    5   your opinion that the reduction in apo-B was expected?

02:04:20    6    A      Yes, the Grimsgaard 1997 publication.     I'll note this was

02:04:24    7   a placebo-control study so this was a different way of

02:04:27    8   analyzing the data.     So we're seeing it both in terms of a

02:04:31    9   Nova of changes in an individual group, and in comparison to a

02:04:34   10   placebo group here.

02:04:36   11                 And what we're looking at is specifically at the

02:04:38   12   bottom of the chart, an apo-B level that went down by 3

02:04:44   13   percent, and the P value was significant at less than .05.

02:04:48   14                 I also note that this was a relatively large study

02:04:51   15   with about 75 patients in the group, actually similar to the

02:04:55   16   MARINE study.

02:04:57   17    Q      Is the difference between a 3 percent reduction and an

02:05:01   18   8.5 percent reduction in apo-B a difference in kind or one in

02:05:06   19   degree?

02:05:07   20    A      In my opinion, it would be a matter of degree.

02:05:10   21    Q      So, in your opinion, is a reduction in apo-B an

02:05:13   22   unexpected result that weighs against obviousness in this

02:05:17   23   case?

02:05:17   24    A      No.

02:05:23   25    Q      Now, turning to DDX 6.149, there's snapshot from DX 1694,
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02:05:30    1   page 239, and this is an exhibit that's already admitted into

02:05:34    2   evidence.    We've heard some testimony about it today.

02:05:38    3               Is apo-B reduced in all patients who take purified

02:05:45    4   EPA?

02:05:46    5    A     No, it's not, and I think that we all know in clinical

02:05:49    6   medicine that there's never a uniform response to any

02:05:52    7   intervention.

02:05:53    8               They actually quantified this in the MARINE study

02:05:56    9   using a method that was described yesterday where they present

02:06:00   10   both a percent change from baseline as a median, but also what

02:06:03   11   are called the Q1 and Q3 intervals.

02:06:07   12               So the usually reported value is the median value so

02:06:11   13   that would be the median value for the whole group, and in the

02:06:14   14   MARINE study, the apo-B levels went down by 4 percent, highly

02:06:21   15   statistically significant.

02:06:23   16               But what they noticed in the Q3 group, and just to

02:06:25   17   remind people what this is, Q1 is the median value of the

02:06:31   18   lower half of the data, and Q3 is the median value of the

02:06:36   19   upper half the data.

02:06:37   20               So this represents the value of the upper

02:06:40   21   50 percentile, about 3 point -- the median value for that was

02:06:44   22   around 3.8, which means, in turn, that about 25 percent of the

02:06:49   23   patients actually had an increase in apo-B levels that was

02:06:52   24   greater than 3.8 percent.

02:06:57   25    Q     Now, turning to DDX 6.150, are there asserted claims in
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02:07:02    1   this case that are broad enough to cover the treatment of

02:07:05    2   patients whose apo-B is not reduced?

02:07:07    3    A    Yes, there are.    That would include the '728 claims 1 and

02:07:12    4   16, the '677 claim 1, the '652, claim 1, the '560 claims 4 and

02:07:19    5   17, and the '929 claim 1.

02:07:22    6    Q    And turning to DDX 6.151, for the asserted claims you

02:07:30    7   just identified, is the reduction in apo-B that Amarin relies

02:07:34    8   on as a secondary consideration commensurate in scope with

02:07:38    9   those claims?

02:07:39   10    A    No, because that would only represent a subset of the

02:07:43   11   total population, and yet they're claiming the benefit for the

02:07:47   12   entire population.

02:07:48   13    Q    Did you also analyze the lack of increase in LDL-C in the

02:07:54   14   context of secondary considerations?

02:07:56   15    A    Yes, I did.

02:07:57   16    Q    So turning to DDX 6.153, do you agree that there was an

02:08:06   17   unmet need in March of 2008 for a treatment that not only

02:08:10   18   reduces triglycerides but also does not increase LDL-C?

02:08:15   19    A    I do not.

02:08:17   20               And, first of all, I would like to mention that Mori

02:08:21   21   showed that there could be a significant decrease in

02:08:25   22   triglycerides without an increase in LDL cholesterol with EPA.

02:08:30   23               And I would also like to emphasize that statins were

02:08:34   24   available at this time and could be used to lower LDL

02:08:37   25   cholesterol in patients who had an increase in LDL cholesterol
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02:08:43    1   levels.

02:08:43    2    Q    Now, in light of Mori, had others previously met any need

02:08:47    3   for reducing triglyceride without increasing LDL-C?

02:08:51    4    A    Yes.

02:08:51    5    Q    Was there a failure of others to reduce triglycerides

02:08:55    6   without increasing LDL-C?

02:08:57    7    A    In my opinion, no.

02:09:00    8    Q    Was it unexpected in March of 2008 that purified EPA

02:09:04    9   would reduce triglycerides without increasing LDL-C?

02:09:08   10    A    Not in my opinion.

02:09:09   11    Q    Was there any relevant scepticism that purified EPA would

02:09:14   12   reduce triglycerides without increasing LDL-C?

02:09:18   13    A    No.

02:09:18   14    Q    So, in your opinion, does the lack of increase in LDL-C

02:09:23   15   support any secondary considerations that weigh against

02:09:26   16   obviousness?

02:09:27   17    A    No.

02:09:31   18    Q    Now, turning to DDX 6.154, there are snapshots from

02:09:37   19   DX 1591 at page 10 and DX 1953, page 18, both of which are in

02:09:43   20   evidence.

02:09:44   21                You testified a little bit to this, but was it also

02:09:48   22   possible to counteract the LDL-C increases that were seen with

02:09:52   23   Lovaza using statins?

02:09:53   24    A    Yes, of course.    Statins are effective at all levels of

02:09:58   25   triglycerides in lowering LDL cholesterol, and this is
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02:10:02    1   actually in Amarin's validity contention from another set of

02:10:08    2   communications.

02:10:10    3                They specifically cite -- they specifically state,

02:10:14    4                   "The rise in LDL-C was often offset by

02:10:19    5         concurrent treatment with statins.       The safety and

02:10:22    6         efficacy of using prescription omega-3s in

02:10:26    7         combination with a statin has been well established."

02:10:29    8    Q    And was that -- were those statements in Amarin's

02:10:33    9   validity contentions in this case?

02:10:36   10    A    Yes, it was.

02:10:37   11    Q    In general, how well do patients tolerate statins?

02:10:41   12    A    In my experience, they're extremely well tolerated.           In

02:10:43   13   fact, I'd argue that they're one of the best tolerated

02:10:47   14   medications in medicine we have today.

02:10:50   15    Q    Turning to DDX 6.155, there's a snapshot on the screen of

02:10:56   16   DX 1581 at page 2.     Could you identify this document.

02:11:01   17    A    Yes.   This is a publication from Medscape which is kind

02:11:05   18   of a magazine that assesses medical findings for the general

02:11:10   19   population as well as for physicians.        It's entitled "MARINE:

02:11:16   20   Ethyl-EPA Reduces Triglyceride Levels Without Raising LDL

02:11:21   21   Cholesterol."

02:11:24   22                So specifically here they're quoting Dr. Roger

02:11:27   23   Blumenthal from Johns Hopkins University who I believe is a

02:11:31   24   colleague of Dr. Toth's, and he said, I quote,

02:11:35   25                   "That while LDL increases can occur with
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02:11:38    1         prescription fish oil or fibrates, the increase is

02:11:42    2         'modest' and 'not that big a deal'."

02:11:47    3                   I could -- I could offer an interpretation of

02:11:50    4   why he's saying that, but that would probably be regarded as

02:11:53    5   being speculation so I won't do that.

02:11:58    6                   Am I allowed to do that?

02:12:00    7                   THE COURT:    Well, no, you're not.     What's the

02:12:02    8   question, would you redirect?

02:12:05    9                   MR. REIG-PLESSIS:     I'll ask a question, Your

02:12:06   10   Honor.

02:12:06   11   BY MR. REIG-PLESSIS:

02:12:07   12    Q    Does the O'Riordan article support your opinion on the

02:12:13   13   use of statins with Lovaza?

02:12:14   14    A    Yes, just to reiterate, he says it's no big deal, the

02:12:18   15   increase is modest.     He also mentions that,

02:12:20   16                  "The available prescription omega-3 fatty

02:12:23   17         acid is effective in reducing triglycerides, is well

02:12:27   18         tolerated, and, importantly here, works well with

02:12:30   19         statin therapy."

02:12:31   20                   In other words, one could readily use a statin

02:12:34   21   to lower LDL cholesterol in this patient population.          And he

02:12:39   22   even emphasizes that most patients with high triglycerides

02:12:43   23   have mixed dyslipidemia and would likely be treated with

02:12:49   24   background statin therapy.

02:12:51   25    Q    Do you agree with those statements?
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02:12:53    1    A    Yes, in my experience, that's correct.

02:12:56    2                     MR. REIG-PLESSIS:   Your Honor, we'd move the

02:12:57    3   admission of DX 1581.

02:12:59    4                     MR. SIPES:   No objection, Your Honor.

02:13:00    5                     THE COURT:   1581 is admitted.

02:13:00    6                            (Defendants' Exhibit 1581 received in
02:13:03                                  evidence.)
02:13:03    7   BY MR. REIG-PLESSIS:

02:13:03    8    Q    So turning to DDX .156, there's another snapshot of DX

02:13:09    9   1581 page 2.

02:13:10   10               Do you understand Amarin has relied on statements in

02:13:13   11   the O'Riordan article as evidence for praise for Vascepa's

02:13:18   12   ability to avoid LDL-C increases?

02:13:22   13    A    Yes, I do, and they were specifically quoting Dr. Steven

02:13:25   14   Nissen in this particular article where he states,

02:13:29   15                    "'It gives you all of the benefit without the

02:13:32   16         downside,' said Nissen.     'It's an interesting

02:13:35   17         wrinkle.    There's still room for small companies to

02:13:38   18         do innovative things in this field.'"

02:13:41   19                     But even Dr. Nissen had concerns.     Specifically

02:13:44   20   he stated that he had concerns about caveats, about the trial

02:13:49   21   size and duration, and that he would like to eventually see a

02:13:53   22   head-to-head comparison between Lovaza -- and this is the

02:13:57   23   prescription omega-3 fatty acid preparation, and AMR 101,

02:14:02   24   which is the EPA preparation that Amarin produces.

02:14:05   25    Q    Are you aware of any head-to-head comparison between
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02:14:09    1   Lovaza and Vascepa?

02:14:10    2    A    I am not.

02:14:13    3    Q    In your opinion, does the O'Riordan article support any

02:14:18    4   praise or scepticism with respect to the asserted claims?

02:14:22    5    A    I don't believe it does, not in balance.

02:14:30    6    Q    So turning to DDX 6.157 with a snapshot of DX 1526, pages

02:14:38    7   15 and 32, which is already in evidence.

02:14:41    8               Even though LDL-C could be reduced with statins, was

02:14:45    9   there still a motivation to improve Lovaza to avoid increases

02:14:50   10   in LDL-C?

02:14:51   11    A    Yes, there is.    Obviously, patient compliance is a major

02:14:57   12   issue in clinical medicine.      For example, most patients

02:15:01   13   prescribed statins don't take them after six months.

02:15:05   14               The more pills you have to take, the more difficult

02:15:08   15   compliance is and the less likely the patients are to use the

02:15:13   16   suggested intervention.

02:15:14   17               It's clearly easier to take one pill, for example,

02:15:19   18   of pure EPA to treat a condition than to combine two pills

02:15:23   19   such as Lovaza with a statin.

02:15:25   20               And this has been long known and widely emphasized.

02:15:29   21   For example, the ATP III guidelines which really center on

02:15:34   22   adherence to LDL-lowering therapy, noticed that it's key to

02:15:38   23   improve adherence by simplifying medication regimens, and

02:15:42   24   that, moreover, they note, drug therapy is a major expense of

02:15:48   25   LDL-lowering therapy, and, in general, it's going to be more
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02:15:52    1   cost-effective to have only one medical intervention as

02:15:56    2   opposed to two.

02:15:59    3    Q    Now, turning to DDX 6.158, there's another snapshot from

02:16:04    4   DX 1694, which is in evidence, page 268.        It's the clinical

02:16:12    5   study report for MARINE that we reviewed earlier.

02:16:17    6               According to MARINE, do all patients taking purified

02:16:20    7   EPA experience the benefit of avoiding increases in LDL-C?

02:16:24    8    A    No, they do not.    This is a similar kind of analysis as

02:16:31    9   what was reported earlier for the apo-B when they report the

02:16:35   10   medians and the Q1 and Q3.

02:16:37   11               So the median decrease in LDL cholesterol in MARINE

02:16:42   12   was about 5 percent, but Q3 indicated that the median value

02:16:49   13   for the top half of the group was a 17 percent increase in LDL

02:16:54   14   cholesterol.

02:16:55   15               So, in other words, approximately one-quarter of the

02:16:58   16   patients had a greater than 17 percent increase in LDL

02:17:02   17   cholesterol by this analysis.

02:17:04   18    Q    And turning to DDX 6.159, are there asserted claims in

02:17:09   19   this case that are broad enough to cover the treatment of

02:17:13   20   patients who's LDL-C increases?

02:17:15   21    A    Yes, there are.    The '929 patent, claim 1, and the '929

02:17:21   22   patent, claim five.

02:17:21   23    Q    Is the avoidance of increased LDL-C that Amarin relies on

02:17:26   24   commensurate in scope with these claims?

02:17:29   25    A    Not in my opinion.
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02:17:30    1    Q    Now, do you understand that Amarin is also asserting

02:17:35    2   secondary considerations based on the REDUCE-IT study?

02:17:39    3    A    Yes, I do.

02:17:40    4    Q    So now on the screen is DDX 6.161 with a snapshot

02:17:50    5   DX 1641, page 9.     Could you identify this document.

02:17:53    6    A    Yes.   This is the Bhatt publication from 2019, the

02:17:58    7   REDUCE-IT study that was published in The New England Journal

02:18:03    8   of Medicine, one of the two most prestigious journals in

02:18:07    9   clinical medicine.

02:18:08   10                And it describes the results of the REDUCE-IT trial

02:18:10   11   which was a trial of the Amarin EPA preparation in the

02:18:13   12   prevention of coronary artery disease, death, nonfatal MI,

02:18:20   13   that would be a heart attack, nonfatal stroke, coronary

02:18:24   14   revascularization, this is where you put a new vessel in, or

02:18:28   15   you open up a vessel to provide blood flow to the heart, or

02:18:28   16   unstable angina which is chest pain due to ischemia of the

02:18:28   17   heart, i.e., not adequate blood flow.

02:18:37   18                And this study revealed a very significant reduction

02:18:41   19   in cardiovascular risk as defined of 25 percent in patients

02:18:47   20   who received 4 grams of EPA a day.

02:18:50   21                    MR. REIG-PLESSIS:    And, Your Honor, we move the

02:18:51   22   admission of DX 1641.

02:18:54   23                    MR. SIPES:   No objection, Your Honor.

02:18:57   24                    THE COURT:   I thought I saw this article

02:18:59   25   already, but the exhibit is admitted.
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02:19:02    1                    MR. SIPES:   Your Honor, I think the PX version

02:19:04    2   is in.   So you'll get two versions.

02:19:06    3                    THE COURT:   Thank you.

02:19:07    4                    MR. REIG-PLESSIS:    That's our understanding as

02:19:08    5   well, thank you.

02:19:08    6                           (Defendants' Exhibit 1641 received in
02:19:10                                 evidence.)
02:19:10    7   BY MR. REIG-PLESSIS:

02:19:12    8    Q    Now, did you analyze whether there is a nexus between

02:19:15    9   REDUCE-IT and the asserted claims?

02:19:18   10    A    I did.

02:19:18   11    Q    An what standard did you apply in that analysis?

02:19:22   12    A    Well, my understanding is that where the offered

02:19:26   13   secondary consideration actually results from something other

02:19:30   14   than what is both claimed and novel in the claim, there is no

02:19:33   15   nexus to the merit of the claimed invention.

02:19:37   16                In other words, there has to be a connection between

02:19:38   17   the claims and the benefit.

02:19:40   18    Q    So did you analyze whether the cardiovascular risk

02:19:45   19   reduction in REDUCE-IT actually results from practicing the

02:19:49   20   asserting the claims?

02:19:50   21    A    Yes.

02:19:52   22    Q    Turning to DDX 6.163, what is the first limitation of the

02:19:58   23   asserted claims that you analyzed with respect to nexus?

02:20:01   24    A    The requirement for a method of reducing triglycerides.

02:20:06   25    Q    Does the cardiovascular risk reduction in REDUCE-IT
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02:20:10    1   result from a method of reducing triglycerides?

02:20:13    2    A      No, it does not, and this is one of the most fascinating

02:20:18    3   observations of this particular paper.        The benefit appeared

02:20:22    4   to occur irrespective of the attained triglyceride level at

02:20:27    5   one year.

02:20:28    6                 I might mention that JELIS also made this

02:20:31    7   observation which suggests that the cardiovascular risk

02:20:35    8   reduction was not associated with the attainment of a more

02:20:40    9   normal triglyceride level.

02:20:44   10    Q      Do any of the asserted claims in this case recite a

02:20:47   11   method of reducing cardiovascular risk?

02:20:50   12    A      No.

02:20:50   13    Q      Has Amarin obtained patents on reducing cardiovascular

02:20:56   14   risk?

02:20:56   15    A      It's my understanding that they have, or at least they're

02:21:00   16   attempting to.

02:21:01   17    Q      So turning to DDX 6.164, there's a snapshot on the screen

02:21:06   18   of DX 2001.     Could you identify this document.

02:21:11   19    A      Yes, this would be U.S. patent 10,278,936 entitled

02:21:19   20   "Methods of Reducing the Risk of Cardiovascular Event in a

02:21:23   21   Subject on Statin Therapy."

02:21:25   22                 Let me add that in the REDUCE-IT study all of the

02:21:29   23   subjects were on statins.

02:21:30   24    Q      Do you understand this is one of Amarin's patents on

02:21:34   25   methods of reducing cardiovascular risk?
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02:21:36    1    A    Yes, it specifically states a method of reducing risk of

02:21:40    2   cardiovascular event in a subject on statin therapy.

02:21:44    3    Q    Now, is this patent DX 2001, or any other patents on

02:21:49    4   reducing cardiovascular risk, asserted in this case?

02:21:52    5    A    No.

02:21:53    6                   MR. REIG-PLESSIS:     And Your Honor, we move the

02:21:55    7   admission of DX 2001.

02:21:57    8                   MR. SIPES:    No objection, Your Honor.

02:21:58    9                   THE COURT:    2001 is admitted.

02:21:58   10                           (Defendants' Exhibit 2001 received in
02:22:02                                 evidence.)
02:22:02   11   BY MR. REIG-PLESSIS:

02:22:02   12    Q    Turning now to DDX 6.165, what is the next limitation of

02:22:08   13   the asserted claims that you analyzed with respect to nexus?

02:22:12   14    A    It would be for a subject having fasting triglycerides of

02:22:15   15   at least 500 milligrams per deciliter.

02:22:19   16    Q    And, in general, did the REDUCE-IT findings result from

02:22:23   17   treating subjects with triglycerides of at least 500?

02:22:26   18    A    In the Bhatt study, eligible patients on a screening exam

02:22:30   19   had to have a fasting triglyceride level of 150 to

02:22:34   20   499 milligrams per deciliter.       This is less than

02:22:39   21   500 milligrams per deciliter.

02:22:41   22    Q    Now, does the objective of reducing triglycerides below

02:22:45   23   500 have anything to do with reducing cardiovascular risk?

02:22:50   24    A    No.

02:22:50   25    Q    Do you view severe hypertriglyceridemia as a
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02:22:53    1   cardiovascular disease?

02:22:55    2    A    I review -- I view severe hypertriglyceridemia as being a

02:22:59    3   risk factor for pancreatitis.

02:23:03    4    Q    Now, do you understand that some patients in REDUCE-IT at

02:23:06    5   some point developed triglycerides above 500?

02:23:09    6    A    Yes, and this reflects the fact that triglyceride levels

02:23:13    7   vary over a wide range biologically, and one would expect that

02:23:17    8   if you only had a single determination for a triglyceride

02:23:20    9   value, that one might have a considerably different value on a

02:23:24   10   subsequent determination.

02:23:25   11               And so if one had a triglyceride value, for example,

02:23:29   12   of 475 initially, one could very easily have a triglyceride

02:23:34   13   level of 525 or 550 on a subsequent determination.

02:23:39   14    Q    And apart from those patients, was REDUCE-IT specifically

02:23:43   15   designed to evaluate patients were triglycerides above 500?

02:23:47   16    A    No, it was not.

02:23:48   17    Q    So turning to DDX 6.166, there is a snapshot from

02:23:58   18   DX 1641, the Bhatt paper on REDUCE-IT, at page 5.

02:24:02   19               What is the next limitation you analyzed with

02:24:04   20   respect to nexus?

02:24:06   21    A    There was a requirement for a 12-week response.

02:24:11   22    Q    Is there any evidence that the cardiovascular risk

02:24:15   23   reduction in REDUCE-IT occurs within 12 weeks?

02:24:18   24    A    No, there is not.     As shown in, again, the Bhatt

02:24:23   25   REDUCE-IT paper published in The New England Journal of
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02:24:28    1   Medicine, they're reporting the cumulative incidence of

02:24:31    2   cardiovascular events.

02:24:32    3                So what we're seeing on the vertical axis, the Y

02:24:36    4   axis, is the hazard ratio -- excuse me, the event rate over

02:24:40    5   time.    So the time is indicated on the bottom.       The event rate

02:24:44    6   is indicated on the vertical scale.       And they're plotting the

02:24:48    7   control group in red, placebo, and the EPA treated group in

02:24:53    8   blue.

02:24:54    9                And what you can see is that there's no divergence

02:24:57   10   between the two groups in terms of cardiovascular risk until

02:25:02   11   year one, and that difference did not become statically

02:25:07   12   significant until year two.

02:25:09   13    Q      So now turning to DDX 6.167, there's another snapshot

02:25:15   14   from DX 1641, this time at page 7.

02:25:19   15                What is the next claim limitation you analyzed with

02:25:22   16   respect to nexus?

02:25:23   17    A      There was a specific requirement for without

02:25:26   18   substantially increasing LDL-C.

02:25:29   19    Q      And did the cardiovascular risk reduction in REDUCE-IT

02:25:33   20   result from the fact that purified EPA does not increase

02:25:36   21   LDL-C?

02:25:37   22    A      This is another remarkable finding of this study.       There

02:25:41   23   was no relationship to the change in LDL cholesterol levels to

02:25:45   24   the benefit in terms of cardiovascular risk reduction.

02:25:49   25                And, again, this mirrors what was found in the
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02:25:52    1   earlier JELIS study that was published in 2007.

02:25:57    2    Q    And turning to DDX 6.168, with another snapshot from

02:26:04    3   DX 1641, page 2.

02:26:05    4               What is the next claim limitation you analyzed with

02:26:09    5   respect to nexus?

02:26:10    6    A    Who does not receive concurrent lipid-altering therapy.

02:26:17    7    Q    Did the REDUCE-IT findings result from treating patients

02:26:19    8   who are not on concurrent lipid-altering therapy?

02:26:20    9    A    No.   One of the requirements for entry was that they had

02:26:24   10   been receiving a stable dose of statin for at least four weeks

02:26:29   11   prior to entering the trial.

02:26:31   12    Q    So, in your opinion, did the cardiovascular risk

02:26:34   13   reduction in REDUCE-IT actually result from what is claimed in

02:26:38   14   the asserted claims?

02:26:39   15    A    No, it does not.

02:26:41   16    Q    Is there any nexus between the REDUCE-IT results and the

02:26:44   17   asserted claims?

02:26:45   18    A    In my opinion, no.

02:26:47   19    Q    Is there any secondary considerations concerning

02:26:51   20   REDUCE-IT relevant to whether the asserted claims are obvious?

02:26:53   21    A    I don't believe so.

02:26:55   22    Q    Now, regardless of nexus, did the prior art disclose that

02:26:59   23   purified EPA reduces cardiovascular risk?

02:27:02   24    A    It did.

02:27:03   25    Q    So turning to DDX 6.169, theirs is a snapshot from
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02:27:09    1   DX 1553 at page 1.

02:27:13    2               What prior art reference reported the risk reduction

02:27:16    3   provided by EPA?

02:27:18    4    A    This would be the Yokoyama paper 2007 published in The

02:27:24    5   Lancet, the so-called JELIS study.

02:27:27    6               This is also the same first author that described

02:27:30    7   this study in 2003, and this article reports the results of

02:27:38    8   that, the effects of EPA on major coronary events in JELIS.

02:27:42    9               And here, specifically they note that patients were

02:27:45   10   randomly assigned to receive either 1.8 grams of EPA daily

02:27:50   11   with a statin, the EPA group, or statin only, the control

02:27:55   12   group.

02:27:55   13               And the major finding -- and this was the primary

02:27:59   14   endpoint, was a decrease in cardiovascular risk as they

02:28:04   15   defined it, which was very similar to that in REDUCE-IT, of a

02:28:09   16   19 percent relative reduction in major coronary events, very

02:28:14   17   similar to the 25 percent reduction reported in REDUCE-IT.

02:28:18   18               And their conclusion and the discussion is that EPA

02:28:22   19   is a promising treatment for the prevention of major coronary

02:28:26   20   events.

02:28:27   21    Q    Was the difference between the 19 percent risk reduction

02:28:32   22   in JELIS and the 25 percent risk reduction in REDUCE-IT a

02:28:35   23   difference in degree or difference in kind?

02:28:37   24    A    A difference in degree.     And, in fact, I think from a

02:28:41   25   clinical perspective those are indistinguishable.
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02:28:45    1    Q    So turning now to DDX 6.170, there's a snapshot of

02:28:51    2   DX 1641, the Bhatt publication we saw earlier, page 2.

02:28:56    3                Did the REDUCE-IT investigators acknowledge the

02:28:59    4   findings of JELIS?

02:29:01    5    A    They did.    In their own paper they state that JELIS,

02:29:04    6                   "The risk of major coronary events was

02:29:07    7         significantly lower, by 19 percent, in the group that

02:29:10    8         received EPA."

02:29:13    9                     And they further acknowledge that,

02:29:15   10                   "These considerations led to the design of

02:29:17   11         the REDUCE-IT study."

02:29:19   12    Q    So, in your opinion, was REDUCE-IT a confirmatory study?

02:29:24   13    A    Yes.   Don't get me wrong, a very nice confirmatory study,

02:29:29   14   but it was a confirmatory study.

02:29:31   15    Q    Turning now to DDX 6.171, there's snapshot on the screen

02:29:36   16   of DX 1836, page 71, and this exhibit is already in evidence.

02:29:42   17                Could you identify this document.

02:29:44   18    A    Yes, this was a letter from Amarin to the Food and Drug

02:29:47   19   Administration.

02:29:49   20    Q    And in this letter did Amarin make representations to FDA

02:29:54   21   about JELIS?

02:29:55   22    A    Yes.   They state,

02:29:58   23                   "JELIS was a very large, well-designed study

02:30:01   24         with blinded endpoint evaluation that demonstrated a

02:30:06   25         statistically significant reduction in CV risk due to
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02:30:10    1         statin add-on therapy," in other words, on top of

02:30:12    2         statins.

02:30:13    3                     "Amarin believes its results should not be

02:30:16    4         dismissed lightly."

02:30:18    5                     And they go on to state, "These points

02:30:21    6         strongly support the consideration of the JELIS study

02:30:24    7         in evaluating the potential CV benefits of Vascepa

02:30:29    8         therapy."

02:30:30    9    Q    Are Amarin's statements to FDA consistent with how a

02:30:36   10   person of skill in the art as of March 2008 would have

02:30:37   11   interpreted JELIS?

02:30:38   12    A    Yes.

02:30:39   13    Q    So turning to DDX 6.172, in light of JELIS, was there an

02:30:46   14   unmet need in March of 2008 for a triglyceride-lowering drug

02:30:51   15   that reduced cardiovascular risk?

02:30:53   16    A    In my opinion, no.

02:30:54   17    Q    Was there a failure of others to reduce cardiovascular

02:30:58   18   risk with a triglyceride-lowering drug?

02:31:00   19    A    No.

02:31:01   20    Q    Was it unexpected that purified EPA would reduce

02:31:05   21   cardiovascular risk?

02:31:06   22    A    No.

02:31:07   23    Q    Was there any relevant scepticism that purified EPA would

02:31:12   24   reduce cardiovascular risk?

02:31:14   25    A    In my opinion, no, and that would be based again on the
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02:31:18    1   Yokoyama study published in Lancet in 2007 which demonstrated

02:31:23    2   a 19 percent relative reduction in major coronary events, and,

02:31:28    3   as the authors themselves conclude,

02:31:31    4                   "EPA is a promising treatment for the

02:31:33    5         prevention of major coronary events."

02:31:36    6    Q    And as of March of 2008, did persons of skill believe

02:31:39    7   that fish oil could have cardiovascular benefits?

02:31:42    8    A    Yes.   I, myself, did.

02:31:45    9    Q    In your opinion, is JELIS the closest prior art to

02:31:55   10   REDUCE-IT?

02:31:56   11    A    Yes.

02:31:57   12    Q    In your opinion, does REDUCE-IT support any secondary

02:32:02   13   considerations that weigh against obviousness?

02:32:05   14    A    No.

02:32:06   15    Q    So turning to DDX 6.173, there are snapshots from

02:32:14   16   DX 1741, the Bays reference, and DX 1641, the Bhatt reference,

02:32:20   17   which are both in evidence.

02:32:23   18                Do you understand that Amarin has alleged that the

02:32:26   19   secondary considerations you just analyzed are particularly

02:32:29   20   significant for diabetic patients?

02:32:33   21    A    Yes.

02:32:33   22    Q    In the clinical studies that Amarin relies on for

02:32:36   23   secondary considerations, did all of the patients have

02:32:37   24   diabetes?

02:32:38   25    A    No.    In the MARINE study, about 28 percent of the
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02:32:42    1   subjects had diabetes, and in the Bhatt study, it was about

02:32:47    2   60 percent of the patients that had diabetes.         So 40 percent

02:32:50    3   of the patients did not.

02:32:51    4                And I think this is something that hasn't come up

02:32:54    5   adequately in discussions so far, but diabetes is a major

02:32:57    6   factor in terms of risk for elevated triglycerides.

02:33:02    7    Q    But are there patients with severe hypertriglyceridemia

02:33:05    8   who are not diabetic?

02:33:07    9    A    Yes.

02:33:07   10    Q    Are any of the asserted claims in this case limited to

02:33:11   11   treating diabetic patients?

02:33:14   12    A    Not that I'm aware of.

02:33:16   13    Q    So are any alleged secondary considerations that are

02:33:20   14   specific to diabetic patients, commensurate in scope with the

02:33:25   15   assert claims?

02:33:26   16    A    Not in my opinion, no.

02:33:28   17    Q    Based on all of the factors that you analyzed, including

02:33:31   18   secondary considerations, what is your ultimate opinion as to

02:33:35   19   whether the asserted claims would have been obvious to a

02:33:39   20   person of skill in the art in March 2008?

02:33:42   21    A    I think it would have been obvious to examine EPA and DHA

02:33:47   22   individually for their effects on triglyceride levels and LDL

02:33:51   23   cholesterol levels as well apo-B levels.

02:33:55   24                I think there was abundant evidence that they were

02:33:58   25   appropriate for treating patients with triglyceride levels
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02:34:01    1   above 500.

02:34:02    2                 I think that there was very strong evidence from the

02:34:04    3   JELIS trial that EPA therapy would have cardiovascular

02:34:08    4   benefit, and, moreover, I think JELIS provided very strong

02:34:14    5   evidence that the cardiovascular benefit observed with EPA was

02:34:19    6   independent of effects on triglyceride lowering or LDL

02:34:25    7   cholesterol lowering.

02:34:26    8    Q      Would you opinions with respect to obviousness change in

02:34:29    9   you were analyzing the obviousness as of February 2009?

02:34:32   10    A      No.

02:34:34   11                     MR. REIG-PLESSIS:   No further questions at this

02:34:36   12   time.

02:34:43   13                     THE COURT:   I wonder if we should continue or

02:34:46   14   take our break.     Why don't we take a recess now before -- so

02:34:52   15   you can set up your cross-examination unless you prefer to

02:34:56   16   start.

02:34:57   17                     MR. SIPES:   Your Honor, happy to do whichever

02:34:59   18   you prefer.

02:35:00   19                     THE COURT:   Why don't take our brief recess now,

02:35:02   20   thank you.

02:35:03   21                     MR. SIPES:   Thank you, Your Honor.

02:35:03   22                            (A recess was taken.)
02:42:13
02:42:13   23                            THE COURT:   Please be seated.
02:54:56
02:55:01   24                            MR. SIPES:   Your Honor, if I may proceed?

02:55:02   25                     THE COURT:   Yes.
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02:55:03    1                             CROSS-EXAMINATION

02:55:03    2   BY MR. SIPES:

02:55:04    3    Q    Dr. Heinecke, I'm Christopher Sipes on behalf Amarin.

02:55:07    4   You may recall we met at your deposition.

02:55:10    5    A    I recall very well.

02:55:11    6    Q    Good afternoon.    It's good to be here again.

02:55:13    7                Let me try to -- we've gone through a lot of

02:55:16    8   literature today so let's try to look at the key prior art

02:55:21    9   again.

02:55:21   10                    MR. SIPES:   Mr. Brooks, if you could turn on

02:55:23   11   slide DDX 6.13.

02:55:23   12   BY MR. SIPES:

02:55:26   13    Q    Do you recall this slide, Dr. Heinecke?        This is the

02:55:29   14   slide I think you identified as the key prior art slide.

02:55:32   15    A    Yes.

02:55:33   16    Q    And, in fact, this is four references, it's the Lovaza

02:55:36   17   PDR, Mori, Hayashi, and Kurabayashi, correct?

02:55:41   18    A    Yes.

02:55:42   19    Q    Not only is it the key prior art, these are the four

02:55:44   20   references that you used in your combinations to argue

02:55:47   21   obviousness, correct?

02:55:48   22    A    Correct.

02:55:49   23    Q    And just to clarify the motivation here, the motivation

02:55:55   24   as you've argued it is for a person of ordinary skill in the

02:56:01   25   art to modify Lovaza in light of Mori and optionally Hayashi
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02:56:07    1   and Kurabayashi, so as to treat very high triglyceride

02:56:10    2   patients using pure EPA, correct?

02:56:11    3    A    I'd phrase that slightly differently.       I could say that

02:56:15    4   Lovaza was effective at lowering triglycerides but had an

02:56:19    5   undesirable side effect.

02:56:21    6                 It had two major components, both of which were

02:56:26    7   known to lower triglycerides, so, in my mind, it would have

02:56:29    8   been obvious to examine each individually to see if they add

02:56:35    9   beneficial as well as deleterious effects.

02:56:35   10    Q    But the prior art that you're using for teaching about

02:56:37   11   purified EPA are Mori, Hayashi, and Kurabayashi, correct?

02:56:41   12    A    Along with the Lovaza PDR.

02:56:42   13    Q    Correct.    Well, the Lovaza PDR, to be clear, describes a

02:56:46   14   mixture of omega-3 fatty acids, correct?

02:56:50   15    A    Correct.

02:56:50   16    Q    The Lovaza PDR does not describe the effects of any

02:56:53   17   particular omega-3 fatty acid.

02:56:53   18    A    That's correct.

02:56:54   19    Q    Okay.    And the undesirable side effect that you mentioned

02:56:58   20   about Lovaza that was the motivating factor here was the rise

02:57:01   21   in LDL-C in patients with severe hypertriglyceridemia?

02:57:06   22    A    Yes.

02:57:07   23                     MR. SIPES:   And then, Mr. Brooks, if we could

02:57:10   24   turn to DDX 6.73.

02:57:10   25
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02:57:10    1   BY MR. SIPES:

02:57:17    2    Q    And DDX 6.73, you set forth the elements that you think

02:57:21    3   are taught in each of these pieces of key prior art, correct?

02:57:25    4    A    Yes.

02:57:25    5    Q    And in terms of a teaching of administration patients

02:57:30    6   with triglycerides of 500 or above, the two pieces of prior

02:57:35    7   art are Lovaza and Hayashi correct?

02:57:39    8    A    Yes.

02:57:40    9    Q    While you've mentioned Kurabayashi, Kurabayashi was not

02:57:42   10   looking at severely hypertriglyceridemia patients, correct?

02:57:46   11    A    Correct.

02:57:47   12    Q    The Kurabayashi patients were hypercholesterolemic

02:57:52   13   patients, correct?

02:57:53   14    A    Yes, mildly hypercholesterolemic.

02:57:55   15    Q    Similarly, the Mori reference was not patients with

02:57:59   16   severely high hypertriglyceridemia correct?

02:58:02   17    A    Yes.

02:58:02   18    Q    In fact, in Mori, the patients had only elevated

02:58:06   19   triglycerides, not even high triglycerides, correct?

02:58:08   20    A    I don't recall the specific values, but I'll accept what

02:58:13   21   you said as correct.

02:58:14   22    Q    In fact, in Mori they had both elevated triglycerides and

02:58:18   23   elevated cholesterol, correct?

02:58:18   24    A    Yes.

02:58:20   25    Q    Those are patients that are referred to as mixed
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02:58:24    1   dyslipidemic patients, correct?

02:58:25    2    A    There's always some issues with nomenclature in the

02:58:31    3   lipoprotein field, but that's oftentimes used.

02:58:33    4    Q    And if you'll look at your reply report, DX 1597,

02:58:47    5   paragraph 60, which is on page 22 of the report.         I don't have

02:58:54    6   the exhibit number page unfortunately, but it's paragraph 60.

02:58:59    7                You recognize this, Dr. Heinecke, as your reply

02:59:03    8   report, correct?

02:59:09    9    A    Yes.

02:59:10   10    Q    This was your sworn testimony as of June of 2019,

02:59:14   11   correct?

02:59:15   12    A    Yes.

02:59:15   13    Q    And you state in paragraph 60 --

02:59:19   14                    MR. SIPES:   The second paragraph, Mr. Brooks --

02:59:21   15   the second sentence that "begins by contrast."

02:59:21   16   BY MR. SIPES:

02:59:24   17    Q    You stated,

02:59:25   18                   "By contrast, a POSA would have understood

02:59:28   19         that the second patient population discussed in the

02:59:31   20         Tricor label -- patients with hypertriglyceridemia --

02:59:35   21         are entirely different from patients with

02:59:40   22         hypercholesterolemia and mixed dyslipidemia."

02:59:44   23                    Correct?   Did I read your testimony from June of

02:59:47   24   2019, correctly?

02:59:47   25    A    Yes.   What I'm referring here to --
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03:00:04    1    Q    Dr. Heinecke --

03:00:04    2    A    -- specifically is underlying pathogenic mechanisms.

03:00:05    3    Q    Dr. Heinecke, you said that the underlying pathogenic

03:00:10    4   mechanisms were different.

03:00:10    5    A    That's what I was contending here, yes.

03:00:14    6    Q    So in terms -- coming back to it, coming back now to your

03:00:21    7   slides, if we could look at DDX 6.73, again, in terms of

03:00:32    8   patients over 500, patients with severe hypertriglyceridemia,

03:00:36    9   we're looking at Lovaza and Hayashi, and, as we've discussed,

03:00:40   10   Lovaza reports a rise in LDL-C from the mixture.

03:00:43   11                And, I think as you testified, Hayashi, because of

03:00:47   12   the limitations in the study, didn't describe the effects on

03:00:51   13   LDL-C of any patients over 400, correct?

03:00:54   14    A    Yes.

03:00:55   15    Q    So in terms of the key prior art, there's no description

03:01:01   16   of the effect of pure EPA on patients with severe

03:01:07   17   hypertriglyceridemia.

03:01:08   18    A    I think there is evidence that EPA would lower

03:01:14   19   triglycerides in patients with high triglycerides above 500,

03:01:17   20   but there was no direct evidence on LDL cholesterol.

03:01:20   21    Q    All right.    So it seems to me an issue that's worth

03:01:23   22   discussing this afternoon is what would have been expected

03:01:26   23   about the effects of lowering triglycerides on LDL-C in

03:01:31   24   patients with severe hypertriglyceridemia.

03:01:34   25                But I think maybe before we get there, let's go back
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03:01:39    1   a little bit over your background.       It's correct, is it not,

03:01:42    2   Dr. Heinecke, that you stopped seeing patients in 2008?

03:01:45    3    A      Around 2008 or 2009.

03:01:48    4    Q      So -- and in deposition you told me that you can't be

03:01:55    5   sure that you have seen and treated patients with very high

03:01:58    6   triglycerides since 2004, correct?

03:02:00    7    A      I said I did not remember treating a specific patient, I

03:02:03    8   believe, at the deposition.      I will remind you that was over a

03:02:08    9   decade ago.

03:02:09   10    Q      So you say you don't recall now treating severe

03:02:12   11   hypertriglyceridemia since 2004.

03:02:14   12    A      I don't recall treating a specific patient, but I was

03:02:18   13   working in a lipid clinic that had a very high percentage of

03:02:22   14   diabetic and hypertriglyceride patients, and I'm quite sure

03:02:27   15   that I did treat some patients with high triglycerides.

03:02:31   16                I'm not as convinced that I treated someone who was

03:02:33   17   undiagnosed chylomicronemia syndrome.

03:02:35   18    Q      And similarly --

03:02:35   19                    THE COURT:    Counsel, I'm going to ask you to

03:02:37   20   pause for a moment.     I keep hearing this odd scratchy noise.

03:02:45   21   Miss Clerk is going to find out what's going on.

03:02:47   22                    THE WITNESS:   Oh, I'm sorry, that's me.      I

03:02:48   23   apologize, Your Honor.      I'm getting a little agitated over

03:02:50   24   here.

03:02:51   25                    THE COURT:    All right.
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03:02:51    1                   MR. SIPES:    I'm doing my best, Your Honor.        I

03:02:53    2   don't mean to agitate any one.

03:02:55    3                   THE COURT:    Perhaps you should take a deep

03:02:58    4   breath between each sentence.       That would also help the court

03:03:02    5   reporter.

03:03:02    6                   All right.    Let's resume.

03:03:05    7   BY MR. SIPES:

03:03:05    8    Q    And, similarly, you testified at deposition, did you not,

03:03:08    9   that it was not your practice to use Lovaza?

03:03:10   10    A    That's correct.    In the lipid clinic at the University of

03:03:14   11   Washington we regarded Lovaza as being a very high-priced

03:03:18   12   pharmaceutical drug that could be substituted with generic

03:03:21   13   fish oil which was documented to be equally effective at

03:03:25   14   lowering triglycerides.

03:03:26   15    Q    In fact, at deposition you told me had no recollection of

03:03:30   16   prescribing Lovaza.

03:03:31   17    A    That's correct.

03:03:32   18    Q    And, similarly, you told me you don't recall ever

03:03:35   19   prescribing Vascepa.

03:03:36   20    A    Well, this is prior to 2008?

03:03:39   21    Q    (Nodding head affirmatively.)

03:03:40   22    A    Yeah, no, I have no recollection.

03:03:42   23    Q    And just to go through all the omega-3 products, you have

03:03:45   24   no recollection of prescribing Epanova, correct?

03:03:59   25    A    No, I do not.
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03:04:00    1    Q    The question was, and you have no recollection of

03:04:04    2   prescribing Epanova.

03:04:06    3    A    I do not.

03:04:07    4    Q    And you have no recollection of prescribing Omtric.

03:04:07    5    A    I do not.

03:04:07    6    Q    Which means you have no recollection of prescribing any

03:04:11    7   of the omega-3 fatty acid products that are currently approved

03:04:17    8   by FDA for lowering triglycerides in persons with severe

03:04:21    9   hypertriglyceridemia.

03:04:21   10    A    As I mentioned before, it was my clinical practice, as

03:04:25   11   well as that of my colleagues at the University of Washington,

03:04:28   12   to use generic fish oil because, in our opinion, it was

03:04:32   13   equally effective at lowering triglycerides as the

03:04:36   14   prescription drugs and it was much less expensive for the

03:04:39   15   patients.    So that's correct.

03:04:41   16    Q    And you do not have a board certification in cardiology.

03:04:45   17    A    I'm board certified in endocrinology and metabolism, and

03:04:45   18   I hold the Karasinski Chair in metabolic research at the

03:04:45   19   University of Washington.

03:04:55   20    Q    Again, my question was you do not have a board

03:04:57   21   certification in cardiology.

03:04:58   22    A    I do not.

03:04:59   23    Q    And you do not hold yourself out to patients as a

03:05:01   24   cardiologist.

03:05:02   25    A    I hold myself out to be expert in lipoprotein metabolism,
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03:05:09    1   physiology, and pathogenesis of atherosclerosis.

03:05:09    2    Q    So that would be no, you don't hold yourself out to

03:05:12    3   patients as a cardiologist.

03:05:13    4    A    Correct.

03:05:13    5    Q    Okay.   And you do not consider yourself an expert in

03:05:16    6   cardiology.

03:05:16    7    A    I consider myself an expert in preventive cardiology from

03:05:20    8   the perspective of lipoproteins and lipid metabolism.

03:05:25    9    Q    But you do not --

03:05:27   10    A    Let me just elaborate on that.      There's obviously

03:05:29   11   overlaps between the two fields, so I think that you're

03:05:32   12   focusing on the cardiology designation to the exclusion of the

03:05:36   13   fact that what we're focusing on here is lipoproteins and

03:05:40   14   lipoprotein metabolism which is the relevant comparison, not

03:05:43   15   plumbing on somebody who is having acute coronary syndrome.

03:05:48   16                    MR. SIPES:   Mr. Brooks, if you could play the

03:05:54   17   transcript, just 12 to 14.

03:05:54   18                           (Deposition video recording played.)

03:05:57   19                    THE WITNESS:   Thank you.    I'm not expert in

03:05:59   20   cardiology excepting from the perspective of preventive

03:06:02   21   cardiology.

03:06:03   22   BY MR. SIPES:

03:06:03   23    Q    You referred to generic fish oil.       Did you mean -- in

03:06:10   24   terms of prescribing habits.      Did you mean generic Lovaza?

03:06:11   25    A    No.   I actually meant -- fish oil was and is commercially
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03:06:15    1   available.

03:06:16    2                Our practice at the University of Washington was to

03:06:19    3   ask patients to -- excuse me, select a single provider of fish

03:06:25    4   oil that was commercially available without a prescription,

03:06:29    5   and to use that to treat their high triglyceride levels.

03:06:32    6    Q    So when you were referring to generic fish oil, you mean

03:06:32    7   fish oil dietary supplements.

03:06:37    8    A    Correct.

03:06:38    9    Q    You referred in your testimony to the ATP III, correct?

03:06:43   10    A    Yes.

03:06:43   11    Q    And if you'll look at DX 1876 --

03:06:48   12                    MR. SIPES:   The first page, Mr. Brooks, and just

03:06:51   13   blow up the title so at least we know what we're talking

03:06:51   14   about.

03:06:51   15   BY MR. SIPES:

03:06:54   16    Q    ATP III is the shorthand name for the third report of the

03:06:57   17   National Cholesterol Education Program Expert Panel on

03:07:01   18   Detection, Evaluation, and Treatment of High Blood Cholesterol

03:07:05   19   in Adults (Adult Treatment Panel III) Final Report, correct?

03:07:11   20    A    Yes.

03:07:12   21    Q    And it's universally referred to as ATP III in part

03:07:16   22   because otherwise the title is just a mouthful, correct?

03:07:19   23    A    I would agree with that.

03:07:20   24    Q    And the ATP III was put out in part through sponsorship

03:07:24   25   of the NIH, correct?
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03:07:26    1    A    I would assume that's correct.

03:07:28    2    Q    And it was an authoritative source for -- to people of

03:07:34    3   ordinary skill in the art in 2008 for lipid disorders

03:07:34    4   including hypertriglyceridemia and severe

03:07:41    5   hypertriglyceridemia, correct?

03:07:42    6    A    I would say it was one source of information that was

03:07:45    7   widely regarded.

03:07:46    8    Q    All right.    It was a -- it was a very highly-reputed

03:07:51    9   source, correct?

03:07:52   10    A    Yes.

03:07:52   11    Q    And if you'll turn to page 00181 of ATP III.

03:08:06   12                That's not what I want.    I want -- I'm sorry, 177.

03:08:13   13                    MR. SIPES:   In the left-hand column, if we can

03:08:15   14   blow it up, it refers to elevated triglycerides, and then a

03:08:18   15   chart with a classification, if we can blow that up,

03:08:22   16   Mr. Brooks.

03:08:22   17   BY MR. SIPES:

03:08:23   18    Q    And ATP III sets forth a classification of disorders of

03:08:27   19   elevated triglycerides, correct?

03:08:29   20    A    Yes.

03:08:30   21    Q    And it defines -- ATP III defines very high triglycerides

03:08:35   22   as 500 or above, correct?

03:08:37   23    A    Yes.

03:08:40   24    Q    And that's what's also known as severe

03:08:44   25   hypertriglyceridemia, correct?
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03:08:45    1    A    Yes.

03:08:45    2    Q    And this -- a person of ordinary skill in the art in 2008

03:08:49    3   would have recognized very high triglycerides or severe

03:08:53    4   hypertriglyceridemia as the condition as defined in ATP III as

03:08:58    5   having triglycerides of 500 or above, correct?

03:09:01    6    A    I think that that's one reasonable definition.         There are

03:09:05    7   actually other definitions available at that time, but I think

03:09:08    8   this is widely accepted as being one.

03:09:10    9    Q    And the ATP III definition was the definition that was

03:09:14   10   used at the time by FDA in terms of approving drugs for

03:09:19   11   treatment of severe hypertriglyceridemia.

03:09:21   12    A    Yes.

03:09:21   13    Q    So, for example, the ATP classification was used both for

03:09:26   14   the Lovaza approval and the Vascepa approval, correct?

03:09:30   15    A    Yes.

03:09:31   16    Q    And a person of ordinary skill in the art interested in

03:09:35   17   developing a new treatment for severe hypertriglyceridemia in

03:09:38   18   March of 2008 similarly would have recognized the ATP III

03:09:42   19   definition of severe hypertriglyceridemia as important for

03:09:45   20   purposes of developing a treatment, correct?

03:09:48   21    A    Yes.

03:09:48   22    Q    Now, if you'll turn to page 00179, table --

03:10:10   23                   MR. SIPES:    In the left-hand column, Mr. Brooks,

03:10:13   24   there's a table VII.2.2.

03:10:13   25
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03:10:13    1   BY MR. SIPES:

03:10:16    2    Q      Do you see that?   The title there is Relationship of

03:10:19    3   Elevated Triglycerides to Coronary Heart Disease and Other

03:10:24    4   Conditions?    Do you see that?

03:10:25    5    A      Yes, I do.

03:10:26    6    Q      And for -- if we can blow up very high triglycerides and

03:10:29    7   the association, it's the bottom category.

03:10:31    8    A      Yes.

03:10:32    9    Q      ATP III reports that very high triglycerides is

03:10:36   10   associated with metabolic syndrome, type 2 diabetes, and

03:10:42   11   increased risk for coronary heart disease common.         Correct?

03:10:47   12    A      Yes.

03:10:47   13    Q      And so a person with ordinary skill in the art in 2008

03:10:51   14   would have recognized severe hypertriglyceridemia as

03:10:53   15   associated with metabolic syndrome, type 2 diabetes, and an

03:10:59   16   increased risk for coronary heart disease, correct?

03:11:02   17    A      Yes.

03:11:03   18    Q      And then if we turn to page 181, which is table VII.2.4,

03:11:12   19   these are the -- at the very top it says Treatment

03:11:15   20   Considerations For Elevated Serum Triglycerides.         Do you see

03:11:19   21   that?

03:11:19   22    A      Yes, I do.

03:11:20   23    Q      And, again, there's a separate set of treatment

03:11:22   24   considerations for very high triglycerides, correct?

03:11:25   25    A      Could you go back, please?
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03:11:29    1    Q    To the top?

03:11:30    2    A    To the full table.

03:11:31    3    Q    The full table, yes.

03:11:34    4    A    What's the question again?

03:11:35    5    Q    There's category of treatment considerations for very

03:11:39    6   high triglycerides, correct?

03:11:40    7    A    Yeah.    There's several categories here, borderline high

03:11:45    8   triglycerides, high triglycerides, and very high

03:11:48    9   triglycerides.

03:11:48   10    Q    So let's look at the very high triglyceride treatment

03:11:52   11   considerations.

03:11:53   12                 There it reports that for the LDLC of therapy that

03:11:56   13   the first priority is that -- triglyceride lowering to prevent

03:11:59   14   acute pancreatitis, correct?

03:12:01   15    A    Yes.

03:12:01   16    Q    And then the second goal -- secondary -- second priority

03:12:05   17   is prevent of coronary heart disease, correct?

03:12:09   18    A    Yes.

03:12:10   19    Q    Now, it goes on to say that statins are not first-line

03:12:13   20   agents for very high triglycerides, "(statins not powerful

03:12:18   21   triglyceride-lowering drugs)."       Do you see that?

03:12:21   22    A    The ATP III guidelines were released in 2003, is that

03:12:25   23   correct?

03:12:26   24    Q    Well, I --

03:12:27   25    A    Yes.
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03:12:28    1    Q    I believe it's 2002, but --

03:12:31    2    A    Okay, 2002.    So the preparation of that document would

03:12:35    3   have been probably prior to that publication date by quite a

03:12:38    4   significant amount.

03:12:40    5                I would point out that when this report was

03:12:44    6   written -- I'm making the assumption that it took some time to

03:12:47    7   prepare the report.

03:12:48    8                Atorvastatin was not yet on the market, and that was

03:12:53    9   the first drug released that was very high potency that

03:12:55   10   subsequently was shown to very effectively reduce triglyceride

03:12:58   11   levels as monotherapy.

03:12:59   12    Q    My question was what ATP III says, and it says that

03:13:04   13   statins are not first-line therapy.       It is correct, is it not,

03:13:06   14   Dr. Heinecke, that statins are not approved to treat very high

03:13:09   15   triglycerides?

03:13:10   16    A    It's correct that it's not approved, but it's not correct

03:13:13   17   that it's not an effective therapy for lowering very high

03:13:17   18   triglycerides.

03:13:21   19    Q    And then if you'll go down to the last bullet under

03:13:25   20   treatment considerations for very high triglycerides, it says,

03:13:28   21   "triglyceride lowering to prevent coronary heart disease."

03:13:32   22                Do you see that?

03:13:33   23    A    Yes.

03:13:33   24    Q    And,

03:13:33   25                   "Efficacy of drug therapy to prevent coronary
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03:13:38    1         heart disease in persons with very high triglycerides

03:13:40    2         not demonstrated by clinical trials," correct?

03:13:51    3    A    I'm having a little trouble interpreting exactly what

03:13:55    4   that means.    Could you give me what you think the

03:13:57    5   interpretation is?

03:13:58    6    Q    Actually, I'm trying to ask you questions, Dr. Heinecke.

03:14:01    7                The statement is,

03:14:01    8                   "Efficacy of drug therapy to prevent coronary

03:14:01    9         heart disease in persons with very high triglycerides

03:14:06   10         not demonstrated by clinical trials."

03:14:08   11                    Correct?

03:14:08   12    A    Yes.    Okay.   I would agree with that.

03:14:09   13                So I think what they're saying is that there's no

03:14:12   14   evidence that treating very high triglycerides lowers

03:14:15   15   cardiovascular risk.

03:14:16   16    Q    Right.   In fact, that was true even in 2008, correct?

03:14:21   17    A    Yes.

03:14:22   18    Q    But it's not true today.

03:14:29   19    A    I'm not sure I would agree with that statement.

03:14:32   20    Q    Would you agree that the efficacy of Vascepa to reduce

03:14:37   21   cardiovascular risk in persons with severe

03:14:40   22   hypertriglyceridemia was finally demonstrated in the REDUCE-IT

03:14:44   23   trial?

03:14:44   24    A    I would have to go back and look at that data.         There was

03:14:47   25   a very small number of people that were in the triglyceride
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03:14:50    1   greater than 500 level.         So I can't comment on that

03:14:56    2   specifically.

03:14:57    3                  There was --

03:14:58    4    Q     Let's see if I can help you, Dr. Heinecke.

03:15:00    5    A     Yes.

03:15:01    6                      MR. SIPES:    Let's pull up PX 207.   This is

03:15:04    7   defendants' labeling from before REDUCE-IT.

03:15:08    8                      And, Mr. Brooks, could you pull up the

03:15:10    9   limitation of use under highlights of the indications and

03:15:13   10   usage section.      You'll see there's two bullets there, and if

03:15:16   11   you could highlight the second bullet under limitations of

03:15:20   12   use.

03:15:20   13   BY MR. SIPES:

03:15:21   14    Q     So you see this is the defendants' labeling for the

03:15:23   15   treatment of severe hypertriglyceridemia as of January 2017.

03:15:26   16   Do you see that, Dr. Heinecke?

03:15:27   17    A     Could you go back just a step?       So whose -- whose label

03:15:32   18   is this?

03:15:33   19    Q     Dr. Reddy's Laboratories labeling.       They're all

03:15:37   20   substantively identical, but we need to use one of them.

03:15:41   21    A     Okay.    I'll accept that this is Dr. Reddy's labeling.

03:15:45   22    Q     And you recognize --

03:15:45   23                      THE COURT:    Dr. Heinecke, would it help you to

03:15:47   24   have a physical copy of --

03:15:50   25                      MR. SIPES:    I think there is one --
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03:15:51    1                    THE WITNESS:   No, I can read it.

03:15:51    2                           (Simultaneous indecipherable
03:15:53                                 conversation.)
03:15:53    3                    MR. SIPES: If it would easier one, there's in

03:15:55    4   your binder in front of you.

03:15:57    5                    THE WITNESS:   I can read it.    It's just kind of

03:15:59    6   blurry there.

03:16:00    7   BY MR. SIPES:

03:16:00    8    Q    Okay.   And do you recognize --

03:16:02    9                    MR. SIPES:   Mr. Brooks, if you could -- go back

03:16:04   10   to the full -- just blow up icosapent ethyl.

03:16:04   11   BY MR. SIPES:

03:16:10   12    Q    You recognize icosapent ethyl as the generic name for

03:16:12   13   Vascepa, correct?

03:16:13   14    A    Yes.    I prefer to call it EPA, but, yes.

03:16:15   15    Q    I prefer EPA, too.

03:16:19   16                    THE COURT:   I prefer EPA as well.

03:16:19   17                    THE WITNESS:   We all prefer EPA, we all agree on

03:16:22   18   one thing here.

03:16:23   19                    MR. SIPES:   And then if you'll look under

03:16:24   20   limitations of use, and, Mr. Brooks, you can pull up --

03:16:24   21   BY MR. SIPES:

03:16:26   22    Q    And just to be clear, this is seeking treatment just for

03:16:29   23   severely hypertriglyceridemia patients, correct?

03:16:32   24    A    That's what the document states.

03:16:34   25    Q    Yeah.   And if you look at the second limitation of use --
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03:16:37    1   and, again, you'll see this is January 2017.         This is before

03:16:40    2   REDUCE-IT.    The date is in the lower right-hand column.

03:16:45    3    A    Okay.

03:16:46    4    Q    There's a limitation of use that reads,

03:16:49    5                    "The effect of icosapent ethyl capsules on

03:16:52    6         cardiovascular" risk -- "cardiovascular mortality and

03:16:55    7         morbidity in patients with severe

03:16:58    8         hypertriglyceridemia has not been determined."

03:17:01    9                     Do you see that?

03:17:01   10    A    I agree.    That's what it states.

03:17:03   11                     MR. SIPES:   Okay.   And then, Mr. Brooks, if

03:17:06   12   you'll turn to page 2.

03:17:07   13                    The limitation of use under indication of usage,

03:17:11   14   there's that very same indication for use, correct?

03:17:17   15    A    Yes.

03:17:18   16                     MR. SIPES:   And then if we go to the clinical

03:17:21   17   study section, section 14, Mr. Brooks.        The next page,

03:17:28   18   Mr. Brooks.    The -- right at the bottom.      Right there.

03:17:28   19   BY MR. SIPES:

03:17:32   20    Q    You'll see it says once again in the clinical study

03:17:34   21   section,

03:17:35   22                    "The effect of icosapent ethyl on

03:17:36   23         cardiovascular mortality and morbidity in patients

03:17:40   24         with severe hypertriglyceridemia has not been

03:17:42   25         determined."
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03:17:42    1                   Do you see that?

03:17:43    2    A    Yes, I do.

03:17:44    3    Q    So three times in the labeling it cautions that the

03:17:49    4   effect of icosapent ethyl, which is EPA, on cardiovascular

03:17:53    5   mortality and morbidity in patients with severe

03:17:58    6   hypertriglyceridemia has not been determined, correct?

03:17:59    7    A    That's what this document states.

03:18:04    8                   MR. SIPES:    Your Honor, I move PX 207 into

03:18:07    9   evidence.

03:18:08   10                   MR. REIG-PLESSIS:     No objection, your Honor.

03:18:10   11                   MR. SIPES:    Now let's take --

03:18:10   12                   THE COURT:    207 is admitted.

03:18:10   13                          (Plaintiffs' Exhibit 207 received in
03:18:10                                evidence.)
03:18:13   14                   MR. SIPES: Now let's take a look at Dr. Reddy's

03:18:15   15   Laboratories' labeling post REDUCE-IT.        Mr. Brooks, if you

03:18:20   16   could pull up PX 1209.      If you'll just --

03:18:20   17   BY MR. SIPES:

03:18:27   18    Q    You'll see this is the labeling for icosapent ethyl

03:18:31   19   capsules as of January 2020, do you see that?

03:18:33   20    A    Yes.

03:18:34   21    Q    And, again, the sole indication here is for the treatment

03:18:40   22   of severe hypertriglyceridemia, correct?

03:18:43   23    A    I don't -- I can't see it.      You're going to have to help

03:18:48   24   me.   Could you outline it for me, please.

03:18:49   25                   MR. SIPES:    Mr. Brooks, if we can outline --
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03:18:51    1   above there, right under indications and usage.         There we go.

03:18:51    2   BY MR. SIPES:

03:18:59    3    Q    You see indications and usage in the left-hand corner?

03:19:03    4    A    Yes, I do.

03:19:04    5    Q    And it's as an adjunct to diet to reduce TG levels in

03:19:09    6   adult patients with severe hypertriglyceridemia, correct?

03:19:12    7    A    Yes, I see that.

03:19:14    8    Q    That's the sole indication there, correct?

03:19:15    9    A    Yes.   I'll point out that the indication for treating

03:19:18   10   severe hypertriglyceridemia is to avoid the risk of

03:19:22   11   pancreatitis, not to lower the risk for cardiovascular

03:19:25   12   disease.

03:19:25   13    Q    Now, interestingly, there's a limitation of use that the

03:19:28   14   effect of icosapent ethyl capsules on the risk for

03:19:31   15   pancreatitis in patients with severe hypertriglyceridemia has

03:19:34   16   not been determined, correct?

03:19:39   17    A    Yes, that's what it states.

03:19:42   18    Q    But what's gone now is the limitation of use that the

03:19:45   19   effect on a cardiovascular risk has not been determined.

03:19:51   20    A    State that again, please?

03:19:53   21    Q    The limitation of use that we saw in the pre-REDUCE-IT

03:19:57   22   labeling, that the effect of icosapent ethyl on cardiovascular

03:20:00   23   risk in severe hypertriglyceridemia patients has not been

03:20:06   24   determined, that limitation of use has been removed.

03:20:08   25    A    Yes.
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03:20:09    1    Q      And if we go to the next page for indications and usage,

03:20:15    2   it's gone from there as well, correct?

03:20:24    3    A      Yes.

03:20:25    4    Q      And if we go to the clinical studies section, next

03:20:33    5   page --

03:20:34    6    A      I'll take your word for it.

03:20:36    7    Q      It's gone from there.

03:20:37    8                   So FDA has found based on REDUCE-IT that EPA reduces

03:20:44    9   cardiovascular risk in patients with severe

03:20:47   10   hypertriglyceridemia, correct?

03:20:49   11                       MR. REIG-PLESSIS:    Objection, Your Honor, calls

03:20:50   12   for speculation, lack of foundation.

03:20:53   13                       MR. SIPES:    Your Honor, he has been talking

03:20:54   14   about the teachings of an enormous amount of literature and

03:20:59   15   reading labels and opining on labels in his report, and now

03:21:03   16   they're saying he can't say what's going on with the labeling

03:21:06   17   here?

03:21:06   18                       THE COURT:    I agree with Mr. Sipes.   The

03:21:08   19   objection is overruled.          Would you ask him the question again.

03:21:12   20   BY MR. SIPES:

03:21:12   21    Q      So FDA has determined, based on REDUCE-IT, that the

03:21:16   22   effect of EPA on cardiovascular risk in patients with severe

03:21:20   23   hypertriglyceridemia has been determined.

03:21:22   24    A      I'll accept that as being correct.

03:21:24   25    Q      Okay.
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03:21:27    1    A      But I would like to mention again that the goal of

03:21:31    2   treating triglycerides above 500 milligrams per deciliter is

03:21:37    3   to prevent pancreatitis.

03:21:38    4                 The goal of preventing coronary artery disease is a

03:21:42    5   secondary consideration.      The treatment of high triglycerides

03:21:45    6   above 500 is an acute event.      It typically can be carried out

03:21:50    7   over a relatively quick period of time, whereas the reduction

03:21:54    8   of cardiovascular risk as demonstrated in JELIS and in

03:21:57    9   REDUCE-IT requires several years of therapy.

03:22:00   10                 So, in my opinion, I'm -- I don't think this is a

03:22:04   11   major issue.     You're not going to be using EPA to lower

03:22:07   12   triglycerides above 500 in order to reduce cardiovascular

03:22:12   13   risk.    That's not what any clinician would do.

03:22:15   14    Q      Would you view the reduction of heart attacks and strokes

03:22:18   15   in severely hypertriglyceridemic patients as an additional

03:22:22   16   beyond reducing triglycerides as desirable?

03:22:25   17    A      I think, again, it's in a different context.

03:22:28   18                 One is an acute setting where one needs to reduce

03:22:32   19   triglycerides rapidly.      The other is a long-term treatment

03:22:35   20   protocol where many different approaches could be used.

03:22:39   21                 Yes, ideally, of course, that would be necessary,

03:22:41   22   but I think you're confounding things here.

03:22:44   23    Q      No.

03:22:45   24    A      I think you're confounding cardiovascular risk reduction

03:22:48   25   over many years of treatment with acute reduction in risk of
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03:22:52    1   pancreatitis.

03:22:53    2    Q    Some patients with very high triglycerides have a chronic

03:22:58    3   condition that will require being on TG lowering indefinitely,

03:23:01    4   potentially for their whole lives, correct?

03:23:04    5    A    Correct.

03:23:05    6    Q    Okay.    And those patients certainly now have an

03:23:09    7   additional benefit, correct?

03:23:12    8    A    Well, I think it depends on the context of the situation.

03:23:15    9                 For example, the classic example of very high

03:23:17   10   triglycerides is LPL deficiency where patients have very, very

03:23:22   11   high triglycerides, and, in this clinical setting, EPA and

03:23:26   12   omega-3 fatty acids are ineffectual.

03:23:28   13                 So I think you're making broad generalizations that

03:23:32   14   are not justified by the clinical data.

03:23:35   15    Q    The drugs approved by FDA to treat very high

03:23:41   16   triglycerides are fibrates, niacin, Lovaza, Epanova, Omtric,

03:23:47   17   and Vascepa, correct?

03:23:48   18    A    Yes.

03:23:49   19    Q    The only one of those drugs to show a cardiovascular

03:23:54   20   benefit on top of a statin is Vascepa.

03:23:57   21    A    Yes.

03:23:58   22    Q    The only one of those drugs that has been shown that it

03:24:02   23   can be administered to very high triglycerides patients to

03:24:05   24   reduce triglycerides without raising LDL-C is Vascepa,

03:24:09   25   correct?
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03:24:09    1    A      Correct.

03:24:13    2                  But I would actually argue, in my opinion, if I saw

03:24:17    3   a patient with very high triglycerides, I would -- I would use

03:24:22    4   fish oil or Lovaza or EPA to reduce the triglycerides to a

03:24:26    5   level where they were not at risk of pancreatitis.         At that

03:24:29    6   point my management would change to consider cardiovascular

03:24:33    7   risk.

03:24:34    8                  So, again, I think you're confounding reducing the

03:24:36    9   acute risk for pancreatitis with long-term cardio prevention.

03:24:42   10    Q      Did I understand your testimony on direct to be that it

03:24:45   11   takes some time to be administered EPA before the reduction in

03:24:50   12   cardiovascular risk occurs?

03:24:52   13    A      Yes.

03:24:53   14    Q      Is it better to start sooner or later?

03:24:56   15    A      Well, first of all, you understand that cardiovascular

03:25:01   16   disease is a long-term process.       There is no divergence in the

03:25:06   17   JELIS trial -- excuse me, in the REDUCE-IT trial until after

03:25:10   18   two years of therapy.

03:25:11   19                  The notion that one month or two months difference

03:25:14   20   in treatment for cardiovascular risk is going have any

03:25:18   21   clinical significance in my mind is not a fair interpretation

03:25:23   22   of what's going on here clinically.

03:25:25   23    Q      Lovaza, in severely hypertriglyceridemia patients,

03:25:30   24   produced a median placebo adjusted LDL-C increase of almost

03:25:36   25   50 percent, correct?
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03:25:37    1    A    Yes.

03:25:37    2    Q    Tricor -- which is Fenofibrate, correct?

03:25:43    3    A    Yes.

03:25:43    4    Q    Tricor produced an increase in LDL-C in severely

03:25:51    5   hypertriglyceridemia patients compared to placebo of, again,

03:25:55    6   almost 50 percent, correct?

03:25:56    7    A    Yes, but I'll point out that high potency statins can

03:26:00    8   lower both triglycerides and LDL cholesterol in the same

03:26:04    9   setting.     They're not approved by the FDA, but they will do

03:26:07   10   the same thing, and they're widely used for that clinically.

03:26:10   11    Q    But looking here at the TG lowering medications that are

03:26:13   12   approved for the treatment of very high triglycerides, both

03:26:16   13   Tricor, which is Fenofibrate, and Lovaza increase LDL-C by

03:26:21   14   about 50 percent, correct?

03:26:22   15    A    Yes.

03:26:23   16    Q    Now, let me ask you to take look at the Carlson paper

03:26:27   17   which is PX 1026.

03:26:32   18                The Carlson paper is a paper entitled "On the Rise

03:26:35   19   in Low Density and High Density Lipoproteins In Response to

03:26:39   20   the Treatment of Hypertriglyceridemia in Type IV and Type V

03:26:44   21   Hypolipoproteinemias" in the Journal of Atherosclerosis from

03:26:49   22   1977, correct?

03:26:50   23    A    Yes, it is.

03:26:50   24    Q    The Carlson 1997 paper is part of the prior art, correct?

03:26:54   25    A    Yes, it is.
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03:26:55    1                     MR. SIPES:   I would move PX 1026 into evidence.

03:26:58    2                     MR. REIG-PLESSIS:   No objection.

03:27:00    3                     THE COURT:   1026 is admitted.

03:27:00    4                            (Plaintiffs' Exhibit 1026 received in
03:27:05                                  evidence.)
03:27:05    5   BY MR. SIPES:

03:27:05    6    Q    And Carlson examined the effects of niacin in persons

03:27:08    7   with very high triglycerides, correct?

03:27:10    8    A    That's what the title states.

03:27:13    9                     MR. SIPES:   And, in fact, if we look,

03:27:14   10   Mr. Brooks, at PX 1026-0003, it says at the top, if you look

03:27:31   11   at under Results, Mr. Brooks?

03:27:31   12   BY MR. SIPES:

03:27:31   13    Q    It says,

03:27:37   14                    "The data from our first report on the

03:27:40   15         striking increases in both LDL and HDL cholesterol

03:27:40   16         and phospholipids when the raised levels of VLDL (and

03:27:50   17         chylomicrones) are reduced in Type V HLP as shown in

03:27:54   18         Figure 2."

03:27:54   19                    Do you see that?

03:27:59   20    A    Yes, I see that.

03:28:00   21    Q    And then the next paragraph repeats again,

03:28:04   22                    "...the rise in LDL and HDL cholesterol is a

03:28:07   23         general phenomenon when Type V HLP is treated is

03:28:12   24         apparent from the results of nine patients with Type

03:28:16   25         V HLP who were treated with diet alone or with
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03:28:19    1         nicotinic acid.    All four patients treated with diet

03:28:19    2         and all five treated with nicotinic acid had

03:28:19    3         pronounced increases in LDL cholesterol when VLDL

03:28:33    4         fell towards normal values and all but two had

03:28:33    5         increases in HDL cholesterol."

03:28:35    6                   Correct?    That's what they cite?

03:28:36    7    A    That's what they state.

03:28:37    8    Q    And I have trouble saying the word, but Type V

03:28:41    9   hyperlipoproteinemias that's being referred to with Carlson,

03:28:44   10   that's very high triglycerides, correct?

03:28:46   11    A    That reflects the accumulation of both VLDL and

03:28:51   12   chylomicron particles in the blood, yes.

03:28:53   13    Q    So those are patients with severe hypertriglyceridemia,

03:28:58   14   correct?

03:28:58   15    A    Yes.

03:28:59   16    Q    And Carlson refers to the rise in LDL in reducing

03:29:03   17   triglycerides as a general phenomenon, correct?

03:29:07   18    A    When was this paper published?

03:29:09   19    Q    Dr. Heinecke, if you could answer my question.

03:29:13   20    A    That's what they refer to it as.

03:29:16   21    Q    And the observation that it is a general phenomenon comes

03:29:19   22   from their observation that LDL goes up in severely

03:29:23   23   hypertriglyceridemic patients when you reduce triglycerides

03:29:26   24   either with niacin or with diet.

03:29:28   25    A    I think you're taking this out of context.        They're
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03:29:33    1   making very broad statements based on -- what was it?          Four

03:29:36    2   patients?

03:29:37    3               And, actually, I remember looking at this paper, and

03:29:39    4   I couldn't find a report of what the triglyceride levels were

03:29:43    5   in the patients actually.

03:29:45    6               They claim that they're Type V hyperlipidemic

03:29:50    7   patients, but I didn't see actual documentation of that in the

03:29:53    8   paper.

03:29:54    9               And I also believe this paper was published quite

03:29:56   10   some time ago, and, moreover, I would argue that this reflects

03:29:59   11   a very naive understanding of lipoprotein metabolism and

03:30:03   12   what's going on under these conditions.

03:30:05   13    Q    But to be clear, just trying to understand what the paper

03:30:08   14   is saying, I understand you've got your criticisms of this

03:30:11   15   paper, they viewed the rise in LDL-C from reducing

03:30:15   16   triglycerides in severely hypertriglyceridemic patients as a

03:30:19   17   general phenomenon because it occurred, not just from the drug

03:30:23   18   niacin, but also from diet alone, correct?

03:30:28   19               I'm asking what they were reporting, Doctor?

03:30:30   20    A    That may be what they reported.       I don't agree with their

03:30:34   21   assessment.

03:30:35   22                   MR. SIPES:    Okay.   Well, let's look at a later

03:30:40   23   analysis.    Mr. Brooks, if you could pull up PX 754, and just

03:30:49   24   the top of it first.

03:30:49   25
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03:30:49    1   BY MR. SIPES:

03:30:50    2    Q    So these are the reports of an expert panel that Amarin

03:30:54    3   convened in December 2008, and one of the experts was Michael

03:31:00    4   Criqui.   Are you familiar with Michael Criqui?

03:31:03    5    A    I am not.

03:31:04    6    Q    And if we go to the next page.      Well, first it says he's

03:31:07    7   professor of preventive medicine at the University California.

03:31:11    8   Are you familiar with the University of California?

03:31:12    9    A    I am.

03:31:14   10                     MR. SIPES:   Now, if we go to the next page, if

03:31:16   11   you could blow up --

03:31:16   12   BY MR. SIPES:

03:31:17   13    Q    See the main comments from experts?       Do you see that at

03:31:21   14   the top the page?

03:31:24   15    A    Yes.

03:31:25   16                     MR. SIPES:   And then if you could blow up

03:31:27   17   just -- "the LDL-C is likely to go up."

03:31:27   18   BY MR. SIPES:

03:31:32   19    Q    So the main comments from experts was,

03:31:34   20                   "LDL-C is likely to go up as it does with

03:31:37   21         virtually all TG lowering therapies in this group of

03:31:42   22         patience.    Note that even a low calorie diet will

03:31:44   23         raise LDL-C in these types of patients."

03:31:47   24                     Do you see that?

03:31:48   25    A    I see that.
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03:31:49    1    Q    And this is in December of 2008, correct?

03:31:51    2    A    I don't know.    I did not note the date on that document.

03:31:55    3    Q    We can go back look at that.      You would agree that 2008

03:31:58    4   is a relevant time period for this case.

03:32:01    5    A    I'll also note this is an Amarin expert panel.         I'm not

03:32:04    6   aware of what this physician's expertise is in terms of

03:32:09    7   preventive medicine.     You've made a big deal out of me not

03:32:12    8   being a cardiologist.     I don't know what his expertise is.

03:32:16    9               I think making these very broad generalizations and

03:32:20   10   these kinds of summary statements really represents their

03:32:23   11   opinion.    This doesn't represent what the general consensus of

03:32:29   12   the field is or people who have an understanding of lipid

03:32:33   13   metabolism necessarily.

03:32:35   14               It certainly doesn't represent my understanding of

03:32:44   15   lipoprotein metabolism.

03:32:44   16    Q    But is it your understanding that LDL-C can go up in

03:32:49   17   lowering triglycerides because of the enhanced clearance of

03:32:53   18   VLDL and IDL to LDL?

03:32:58   19    A    I think there's actually multiple mechanisms that can

03:33:03   20   happen, and it depends on what the specific pathways that are

03:33:06   21   involved are and what the treatment is.

03:33:07   22               So, for example, one could imagine -- and you

03:33:10   23   remember the cascade of lipoprotein secretion where one

03:33:14   24   initial secretes a VLDL particle, and that's converted to an

03:33:20   25   IDL particles, and that's converted to an LDL particle.
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03:33:23    1                So one could imagine, for example, that, yes, when

03:33:26    2   you convert VLDL to IDL and IDL to LDL you get an increase in

03:33:33    3   LDL cholesterol, yes, absolutely.

03:33:35    4                But I can also imagine if one inhibited the

03:33:38    5   synthesis of apo-B and triglyceride synthesis by the liver

03:33:41    6   that all of those lipoproteins would go down, and, in fact, I

03:33:45    7   would speculate that's the mechanism of action of EPA.

03:33:49    8    Q    Let's see.    But it is certainly possible that this idea

03:33:51    9   that the lipid -- the TG lowering agents including omega-3

03:33:58   10   were enhancing clearance of VLDL to LDL would explain the

03:34:06   11   general phenomenon of an increase in LDL-C in those patients,

03:34:07   12   correct?

03:34:07   13    A    I would disagree with the conclusion that it's a general

03:34:11   14   mechanism.

03:34:12   15                You're taking a specific example of a drug that

03:34:15   16   elevates LDL cholesterol by the conversion of VLDL and IDL to

03:34:21   17   LDL, and, yes, I would accept that that's likely to be part of

03:34:25   18   the mechanism there.

03:34:26   19                But I believe there are other ways to lower

03:34:29   20   triglycerides that would not have that effect, and the point I

03:34:31   21   just made is, for example, if one were to inhibit the

03:34:38   22   secretion of VLDL by the liver, one would decrease VLDL and

03:34:39   23   its triglycerides, IDL and its triglycerides and cholesterol,

03:34:43   24   and IDL and its cholesterol.      And, as I've just speculated,

03:34:47   25   that would be consistent with the mechanism of action of EPA.
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03:34:51    1                So you're trying take one specific example of a

03:34:53    2   potential mechanism and saying that that's the only mechanism

03:34:57    3   that can result in triglyceride lowering, and I do not believe

03:35:00    4   that is correct.

03:35:02    5                     MR. SIPES:   Mr. Brooks, could we pull up PX 289.

03:35:07    6                     THE WITNESS:   I'm going to take a deep breath.

03:35:09    7   BY MR. SIPES:

03:35:09    8    Q    You recognize PX 289 as the medical review, the

03:35:13    9   publically available medical review of Vascepa?

03:35:16   10    A    I do not.

03:35:17   11    Q    You reviewed this in your reports and cited to many

03:35:21   12   reports.     Maybe in looking at it, it will refresh your

03:35:24   13   recollection.     I'll tell that this is the medical review for

03:35:27   14   Vascepa.

03:35:27   15    A    I'll accept that.     I reviewed many, many documents for my

03:35:31   16   report.

03:35:32   17                     MR. SIPES:   Understandable.

03:35:33   18                     And, in fact, Mr. Brooks, if you go to PX

03:35:36   19   289-0002.

03:35:36   20   BY MR. SIPES:

03:35:41   21    Q    You'll see clinical review at the top.

03:35:43   22    A    Yes.

03:35:44   23    Q    And then the established name, icosapent ethyl, proposed

03:35:48   24   tradename Vascepa.

03:35:50   25    A    Yes, I see that.
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03:35:52    1    Q     And it's -- the submit date for the NDA was

03:35:57    2   September 23rd, 2011.      Do you see that?

03:35:59    3    A     I do.

03:36:00    4    Q     Okay.    So --

03:36:02    5    A     I'm not sure why this is relevant.      I thought all the

03:36:05    6   evidence for this had to be before the filing of the patent.

03:36:09    7    Q     That's an excellent point, and it's interesting that you

03:36:11    8   relied on Bays 2011 in your review of the prior art.

03:36:16    9                  I'm trying to look at other contemporaneous things

03:36:16   10   to see what they're saying, but I agree with you,

03:36:21   11   Dr. Heinecke, it's very important here to focus on the prior

03:36:24   12   art.

03:36:24   13                  Let's take look at page 0014, you'll see under 2.4,

03:36:31   14   Important Safety Issues With Consideration to Related Drugs.

03:36:35   15   Do you see that?

03:36:35   16    A     Yes, I do.

03:36:36   17    Q     And they're talking about drugs related to Vascepa, of

03:36:40   18   course, right?

03:36:41   19    A     I have to read this one moment.

03:36:45   20    Q     I'll direct your attention to the first paragraph that

03:36:48   21   begins,

03:36:48   22                     "With regard to the only other FDA approved

03:36:52   23          omega-3 fatty acid product (Lovaza), there have been

03:36:57   24          four areas of potential safety concern:       Increases in

03:37:00   25          LDL-C, liver enzymes, blood glucose, and a possible
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03:37:04    1         increase in bleeding risk."

03:37:05    2                    Correct?

03:37:06    3    A    Yes, that's what it states.

03:37:07    4    Q    And they're talking about the related omega-3 product

03:37:11    5   which contains both EPA and DHA, Lovaza, correct?

03:37:16    6    A    I'm sorry, point that out to me?

03:37:18    7    Q    Lovaza.   You see in the very first line says Lovaza?

03:37:18    8    A    Yes.

03:37:21    9    Q    That was the only previously FDA approved omega-3 fatty

03:37:25   10   acid product before Vascepa, correct?

03:37:25   11    A    Yes.

03:37:26   12                    MR. SIPES:     And then they go on to say, the next

03:37:29   13   paragraph, if you can highlight that, Mr. Brooks?         Maybe blow

03:37:33   14   it up so it's easier to read?

03:37:33   15   BY MR. SIPES:

03:37:36   16    Q               "The increase in LDL-C is thought to be

03:37:40   17          due to the increased activity of LPL activity."

03:37:44   18                Do you see that?

03:37:44   19    A    Yes.

03:37:45   20    Q    And LPL activity, of course, refers to lipoprotein

03:37:50   21   lipase, correct?

03:37:51   22    A    Yes.

03:37:51   23    Q    So it says,

03:37:52   24                   "The increase in LDL-C is thought to be due

03:37:56   25         to the increased activity of lipoprotein lipase
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03:37:56    1         activity."

03:37:56    2                           (Discussion held off the record.)

03:37:56    3                    MR. SIPES:   So,

03:38:08    4                   "The increase in LDL-C is thought to be due

03:38:09    5         to the increased activity of LPL activity.        This

03:38:13    6         increased activity enhances the conversion of very

03:38:18    7         low density lipoprotein (VLDL) and intermediate

03:38:31    8         lipoproteins (IDL) to LDL-C."

03:38:31    9                    Do you see that?

03:38:32   10    A    I do.    I note they're referring specifically to Lovaza

03:38:35   11   which is a mixture of omega-3 fatty acids, and they also state

03:38:40   12   "it is thought to be due," which in my mind is implying that

03:38:43   13   there's some evidence that might be the case, but it's not

03:38:47   14   definitively established.

03:38:48   15    Q    Now --

03:38:48   16    A    So they're referring to a specific mixture of omega-3

03:38:53   17   fatty acids here and a specific mechanism that might be

03:38:56   18   relevant to particular intervention.

03:38:58   19                    THE COURT:   Dr. Heinecke, will you wait for a

03:39:00   20   question before you give your answer?

03:39:01   21                    THE WITNESS:   I'm sorry, yes.

03:39:03   22   BY MR. SIPES:

03:39:03   23    Q    So FDA, in 2011, continued to believe that the mechanism

03:39:07   24   for Lovaza, the mixture of omegas-3s of EPA and DHA, was this

03:39:12   25   enhanced clearance of VLDL through IDL to LDL, correct?
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03:39:18    1    A     Yes.

03:39:18    2    Q     Now, you may recall at your deposition I asked you

03:39:21    3   whether you were aware of any particular mechanism that a

03:39:25    4   person of ordinary skill in the art in 2008 would have

03:39:28    5   attributed to EPA but not DHA.       Do you recall that?

03:39:33    6    A     Not specifically, but I have a feeling I'm about to find

03:39:37    7   out.

03:39:37    8    Q     And you testified that you were not aware of any such

03:39:40    9   mechanism that a person of ordinary skill in the art in 2008

03:39:44   10   would have attributed to EPA but not DHA.        Does that refresh

03:39:49   11   your recollection?

03:39:49   12    A     What I recall is that we were -- I was deposed for eight

03:39:56   13   hours, that there was a tremendous number of different

03:39:59   14   discussions that went on, that we talked about many different

03:40:03   15   things, and that you may be taking things out of context here.

03:40:03   16                   MR.

03:40:07   17                   SIPES:   Well, we can see.     Mr. Brooks, if you

03:40:09   18   would play transcript 105 from 2 to 7.

03:40:15   19                            (Deposition video recording played.)

03:40:36   20                   MR. SIPES:    All right, Mr. Brooks.

03:40:36   21   BY MR. SIPES:

03:40:38   22    Q     Do you recall giving that answer?

03:40:39   23    A     Can we go back to exactly what I said, please?

03:40:44   24                   MR. SIPES:    Mr. Brooks, could you play it again?

03:40:45   25                   THE WITNESS:    No, no, just give me the -- can
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03:40:47    1   you give me the print instead of a video?

03:41:02    2                    MR. SIPES:   May I approach?

03:41:03    3                    THE COURT:   Yes.

03:41:06    4                    THE WITNESS:   How do I find it?

03:41:10    5                    MR. SIPES:   It's at page 105.

03:41:19    6                    THE COURT:   It's also on the monitor for you,

03:41:21    7   Doctor.

03:41:22    8                    THE WITNESS:   Okay.   That's better.    That's

03:41:24    9   fine.    Thank you.

03:41:33   10                    I guess I said what I said.

03:41:35   11                   "Is there a particular mechanism that a

03:41:38   12           person of ordinary skill in the art in 2008 would

03:41:42   13           have attributed to EPA, but not DHA?"

03:41:46   14                    Since we don't know what the mechanism is for

03:41:49   15   either drug, in my opinion, I would say that that's a fair

03:41:54   16   statement, and --

03:42:00   17                    MR. SIPES:   All right.    Let me --

03:42:02   18                    THE WITNESS:   In my opinion, we don't know how

03:42:04   19   EPA or DHA are working.

03:42:07   20                    I don't think that trying to describe specific

03:42:10   21   mechanisms when we don't know what the mechanism is, is

03:42:14   22   obviously difficult.

03:42:15   23                    And, moreover, I would also state that they may

03:42:18   24   share mechanisms, and they may have distinct mechanisms.            And,

03:42:23   25   in fact, from the differential effects of the two drugs on LDL
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03:42:28    1   cholesterol, I would suspect very strongly they have different

03:42:31    2   mechanisms of action.

03:42:32    3                   And I also believe that earlier in the

03:42:35    4   discussion we did talk about potential mechanisms, and one of

03:42:38    5   the things that I alluded to is the fact that people have

03:42:42    6   speculated or proposed that, for example, EPA and DHA are

03:42:47    7   substrates for a family of enzymes that converts them into

03:42:54    8   bioactive mediators, and there's been some thought that EPA

03:42:56    9   and DHA yield, by that pathway, molecules that are derived

03:43:01   10   from them but have this very different biological effects.

03:43:05   11                   MR. SIPES:    So I think you mentioned that you

03:43:06   12   were concerned about the medical review, that it was even

03:43:10   13   after 2008, and they were taking this view.

03:43:12   14                   Let's take a look at PX 923.

03:43:20   15                   PX 923 -- and if you go -- it's easier to see if

03:43:25   16   you go to the next page.      Mr. Brooks, the third page.      I

03:43:29   17   apologize.

03:43:29   18   BY MR. SIPES:

03:43:31   19    Q    It's an article in the American Journal of the Health

03:43:35   20   System Pharmacy entitled "Prescription Omega-3 Fatty Acids For

03:43:41   21   the Treatment of Hypertriglyceridemia," by James McKenney and

03:43:43   22   Dominic Sica.    Do you see that?

03:43:45   23    A    Yes, I do.

03:43:45   24    Q    And you would you agree that Plaintiffs' Exhibit 923

03:43:49   25   is -- is literature that was published before 2008, correct?
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03:43:53    1    A    Yes.

03:43:55    2                     MR. SIPES:   Your Honor, I'd move PX 923 into

03:43:57    3   evidence.

03:43:58    4                     MR. REIG-PLESSIS:   No objection.

03:43:58    5                     THE COURT:   923 is admitted.

03:43:58    6                            (Plaintiffs' Exhibit 923 received in
03:43:58                                  evidence.)
03:44:02    7                     MR. SIPES: Mr. Brooks, if you'll turn to

03:44:04    8   page 0005, and blow up the right-hand column beginning with

03:44:16    9   "importantly."

03:44:16   10   BY MR. SIPES:

03:44:18   11    Q    So here, too, the authors are suggesting how

03:44:24   12   prescription omega-3 fatty acids work, correct?

03:44:28   13    A    I need a moment to read this.

03:44:30   14    Q    Well, if you -- let me read it to you.

03:44:32   15    A    All right.

03:44:33   16    Q    It says,

03:44:33   17                    "Importantly, the conversion of VLDL to LDL

03:44:37   18         particles increased 93 percent on the influence of

03:44:41   19         prescription omega-3 fatty acids.       These results

03:44:45   20         illustrate that the enhanced catabolism of

03:44:49   21         triglycerides produced by prescription omega-3 fatty

03:44:52   22         acids results in less secretion and more rapid

03:44:54   23         removal of VLDL particles.      The results also show

03:44:58   24         that VLDL particles are rapidly converted to LDL

03:45:03   25         particles, thus explaining why LDL cholesterol levels
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03:45:07    1         may rise in patients with very high triglycerides

03:45:09    2         when given prescription omega-3 fatty acid therapy."

03:45:16    3                   Did I read that correctly, Dr. Heinecke?

03:45:18    4    A    Yes, you did.

03:45:19    5    Q    It's fair to say we've now looked all the way in 2007

03:45:23    6   back in '77, in 2011.

03:45:25    7               There was a consistent theme here that people with

03:45:28    8   severe hypertriglyceridemia are particularly subject to rises

03:45:30    9   in LDL-C when their triglycerides are lowered because of the

03:45:35   10   conversion of VLDL through IDL to LDL, correct?

03:45:42   11    A    My interpretation of what you're saying is that you're

03:45:46   12   picking out articles that support your point of view and

03:45:49   13   citing them.

03:45:50   14               I don't know whether or not, for example, this is

03:45:52   15   true, that VLDL is converted to LDL particles by 93 percent

03:45:57   16   under the influence of fish oil.

03:45:59   17               So I think -- again, you're making very broad

03:46:02   18   conclusions without -- I mean, I haven't read the particular

03:46:07   19   literature they're citing here so I can't comment on it, but I

03:46:11   20   feel like you're making very broad generalizations from very

03:46:15   21   specific examples where you're allowed to pick out the

03:46:18   22   specific references you want without any context of what the

03:46:21   23   overall literature is or what other people might be thinking

03:46:25   24   about the mechanisms are.

03:46:27   25    Q    Dr. Heinecke, are you seriously -- having gone through a
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03:46:31    1   selection of the prior art in the last couple hours --

03:46:33    2   complaining that there's additional art that doesn't support

03:46:36    3   your opinion?

03:46:37    4    A    I'm sorry, state that again?

03:46:40    5    Q    That's all right.     I'll withdraw the question.

03:46:41    6               Let me ask you, I think you've distinguished the

03:46:45    7   omega-3s from Tricor by suggesting that fibrates are PPAR

03:46:51    8   inhibitors?

03:46:53    9    A    I said there was evidence from animal studies that they

03:46:56   10   might act via the PPAR activators, but I also stated, I

03:47:02   11   believe, that the evidence that that's relevant to human

03:47:06   12   biology is not very convincing and that many other mechanisms

03:47:10   13   have been proposed as well.

03:47:11   14                    MR. SIPES:   Mr. Brooks, if you can pull up --

03:47:13   15                    THE WITNESS:   And I have --

03:47:14   16                    MR. SIPES:   Blow up the bottom of the middle

03:47:16   17   paragraph in the McKenney article that begins "second omega

03:47:22   18   fatty acids."    It's at the bottom of the middle column.           Blow

03:47:26   19   up the second -- right there.       If you could blow it up, it's

03:47:29   20   hard to read the way it is.

03:47:29   21   BY MR. SIPES:

03:47:34   22    Q    McKenney reports,

03:47:35   23                   "Second, omega-3 fatty acids appear to induce

03:47:41   24         peroxisomal B-oxidation in the liver.       Hepatic

03:47:41   25         nuclear receptors, such as peroxisome proliferator-
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03:47:50    1         activated receptors (PPARs), are thought to mediate

03:47:53    2         the hypolipidemic effect of polyunsaturated fatty

03:47:58    3         acids."

03:47:58    4                     Do you see that?

03:47:59    5    A    I do.

03:48:00    6    Q    There's a suggestion that omega-3 fatty acids are also

03:48:05    7   PPAR inhibitors, correct?

03:48:05    8    A    There's a suggestion, that's correct.       That's one

03:48:08    9   proposed mechanism.

03:48:10   10                 As I alluded to earlier, that's based on studies, in

03:48:13   11   my opinion, using knock-out mice where they have a specific

03:48:18   12   deficiency in this receptor, and then they can implicate

03:48:22   13   directly changes in biological effects to the presence or

03:48:26   14   absence of the receptor.

03:48:28   15                 The relevance of those studies to humans is

03:48:32   16   completely unknown.     Mice and humans have completely different

03:48:35   17   lipid metabolism.     For example, mice have extremely high

03:48:40   18   levels of HDL cholesterol and very low levels of NDL

03:48:42   19   cholesterol in marked distinction to what humans have.          They

03:48:45   20   lack enzymes that play critical roles in lipoprotein

03:48:45   21   metabolism in humans.

03:48:48   22                 So I think making these kinds of studies --

03:48:51   23   conclusions on these kinds of studies is not relevant to human

03:48:55   24   biology.

03:48:56   25    Q    It's extremely difficult, is it not, to predict the
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03:48:59    1   clinical effects of a drug without testing it in humans.

03:49:03    2    A    I would agree with that fully.

03:49:05    3                    MR. SIPES:   Mr. Brooks, if you would pull up the

03:49:07    4   bottom of the left-hand column through the middle of the top

03:49:12    5   paragraph of the middle column.

03:49:15    6                    So the very bottom of the (unintelligible)

03:49:18    7   beginning "the triglycerides reducing effects."         If you could

03:49:20    8   pull that up, and then in the middle column -- no the middle

03:49:24    9   column on that same page.

03:49:28   10                    All right.   I don't know if it's -- I'm hoping

03:49:30   11   it's readable.    I'm trying to make it readable.       Maybe --

03:49:32   12   there we go.    If you could pull it down so we can see it from

03:49:36   13   the top.

03:49:37   14                    Okay.   I'll try to read it to you.

03:49:40   15                    The article also says,

03:49:42   16                  "The triglyceride-reducing effects of EPA and

03:49:45   17         DHA have been detailed in numerous studies among a

03:49:49   18         wide range of patient types.      A dose response

03:49:51   19         relationship between EPA or DHA and triglyceride

03:49:55   20         lowering has been demonstrated with doses between 2

03:49:58   21         and 4 grams per day lowering serum triglycerides by

03:50:01   22         approximately 20 and 50 percent.       As with fibric acid

03:50:09   23         derivatives (fibrates) and nicotinic acid (niacin),

03:50:09   24         reductions in triglycerides and

03:50:12   25         very-low-density-lipoprotein (VLDL) cholesterol are
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03:50:18    1         generally greater in patients with higher baseline

03:50:19    2         triglyceride levels.     An increase in

03:50:22    3         low-density-lipoprotein (LDL) and

03:50:25    4         high-density-lipoprotein (HDL) cholesterol can

03:50:25    5         accompany a reduction in triglycerides; the higher

03:50:30    6         the baseline triglyceride level, the greater these

03:50:31    7         lipids may be increased."

03:50:31    8   BY MR. SIPES:

03:50:32    9    Q    Did I read that correctly, Dr. Heinecke?

03:50:34   10    A    Yes, it says "can accompany a reduction in

03:50:34   11   triglycerides."

03:50:37   12    Q    And it's fair to say that in the McKenney article, the

03:50:40   13   omega-3 fatty acids, EPA, VHA, niacin, and fibrates, are all

03:50:45   14   lumped together as lowering triglycerides and raising LDL,

03:50:50   15   correct?

03:50:50   16    A    Again, I think you're way -- I think you're over

03:50:53   17   generalizing here.     You're ignoring the fact that statins, for

03:50:57   18   example, will very potently lower triglycerides and LDL

03:51:01   19   cholesterol in patients as well, and this is clearly not

03:51:03   20   consistent with your idea that these are all acting by the

03:51:07   21   same mechanism and have the same deleterious effects.

03:51:12   22               So I think you're just making very broad conclusions

03:51:15   23   based on selective citation of the literature.

03:51:18   24               I don't -- and I'll just also add you're throwing an

03:51:23   25   awful lot of information at me here and asking me to digest
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03:51:27    1   it.   I don't have a chance to look at the specific references.

03:51:29    2   I don't know where these studies were carried out.         So I think

03:51:33    3   is very difficult for me to evaluate on the front of it.

03:51:36    4               But if you're asking me do all drugs that lower

03:51:39    5   triglycerides raise LDL, no, I don't agree with that, and I

03:51:43    6   think the example of statins is a perfectly congruent one.

03:51:47    7    Q    Of course, a classic example now, in this case, is

03:51:51    8   Vascepa.

03:51:52    9    A    I'm sorry, restate the question again.        Was there a

03:51:55   10   question?

03:51:56   11    Q    You said -- you asked me a question is there an example

03:51:58   12   of a drug that lowers triglycerides without raising LDL-C in

03:52:02   13   very high triglyceride patients.       An example of that is

03:52:07   14   Vascepa, correct?

03:52:07   15    A    That would argue against what you're saying, I think.

03:52:10   16               I mean, you can't have it both ways.       You can't say

03:52:12   17   that all drugs that lower triglycerides elevate LDL except for

03:52:18   18   Vascepa when there's another example which is statins.          It

03:52:21   19   seems to me you're arguing against your own conclusion.

03:52:25   20                   MR. SIPES:    Mr. Brooks, let's go back and look

03:52:27   21   at the concern here.     Let's go back to Carlson's 1977 PX 1026.

03:52:36   22   If we go to page 0007.      Blow up the middle paragraph.

03:52:36   23   BY MR. SIPES:

03:52:49   24    Q    The authors conclude in their report -- you recall this

03:52:52   25   is the report on the rise in LDL-C in treating very high
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03:52:56    1   triglycerides with niacin.

03:52:58    2                   "The finding of major clinical concern," and

03:53:00    3           that's emphasized, "in this report is the sometimes

03:53:03    4           quite substantial rise in LDL cholesterol.      This may

03:53:06    5           be quite atherogenic and theoretically the benefit of

03:53:10    6           lowering VLDL in these patients may be overridden by

03:53:14    7           the potential danger due to the rise in LDL."

03:53:18    8                    Did I read that correctly, Dr. Heinecke?

03:53:20    9    A      You're reading the authors' conclusion, not mine.

03:53:22   10    Q      The authors are expressing a major clinical concern about

03:53:26   11   the rise in LDL-C in patients with severe

03:53:33   12   hypertriglyceridemia, correct?

03:53:33   13    A      As we noted before, this was study in four patients, and,

03:53:37   14   as I also alluded to earlier, I couldn't actually find what

03:53:41   15   the levels of triglycerides were in this study.

03:53:43   16    Q      Dr. Heineke, your counsel will have an opportunity to

03:53:45   17   draw out additional testimony on redirect.        I would appreciate

03:53:49   18   it if you could answer my questions, or we will be here for

03:53:51   19   days.

03:53:52   20    A      I agree this is what the authors are stating.       That

03:53:54   21   doesn't necessarily mean that I agree with the conclusion.

03:53:57   22    Q      Let's take a look, if you will, at Tricor to see what

03:54:04   23   Tricor does.    Let's look at PX 388.

03:54:17   24                PX PX388, do you recognize this as the 2004 approved

03:54:23   25   labeling for Tricor?     And I can guide you through that if it
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03:54:26    1   would help you.

03:54:27    2    A    I don't recognize it, but I accept that that's correct.

03:54:30    3                    MR. SIPES:   If you go to the second page,

03:54:32    4   Mr. Brooks.

03:54:33    5   BY MR. SIPES:

03:54:33    6    Q    You'll see that on the top it says Tricor?

03:54:36    7    A    Yes.

03:54:37    8    Q    Fenofibrate tablets.

03:54:40    9                And if we go to the last page --

03:54:41   10    A    Can we just remain there for a moment?

03:54:43   11                I'll just point out that the chemical structure of

03:54:46   12   Tricor is shown there, and it bears no structural resemblance

03:54:49   13   to omega-3 fatty acids.

03:54:49   14    Q    Dr. Heinecke, you will have opportunity with your

03:54:52   15   counsel.     We need to move through this, or it will go on

03:54:55   16   forever.

03:54:56   17    A    I'm with you on this.     Let's get it done.

03:54:59   18    Q    So if we go to PX388 at 0018.      The date of approval here

03:55:13   19   is shown as November 5, 2004, correct?

03:55:17   20    A    Yes.

03:55:18   21                    MR. SIPES:   So, Your Honor, I would move PX388

03:55:22   22   into evidence.

03:55:22   23                    MR. REIG-PLESSIS:    No objection.

03:55:23   24                    THE COURT:   388 is admitted.

03:55:23   25
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03:55:23    1                          (Plaintiffs' Exhibit 388 received in
03:55:23                                evidence.)
03:55:30    2                   MR. SIPES: First, if we look at, Mr. Brooks, PX

03:55:33    3   PX388 on page 0006.

03:55:33    4   BY MR. SIPES:

03:55:43    5    Q    In the Pooled Cohort, that's the top box there,

03:55:48    6   Dr. Heinecke, you'll see that the patients with a mean TG

03:55:52    7   level of 191 milligrams per deciliter, correct?

03:55:57    8    A    I'm sorry.    Can you state that again?

03:56:00    9    Q    Yes, the study reported in Table 1 under Pooled Cohort --

03:56:05   10    A    Yes.

03:56:06   11    Q    -- shows patients with triglyceride levels, mean baseline

03:56:11   12   triglycerides levels, of 191 milligrams per deciliter.

03:56:15   13    A    Yes.

03:56:16   14    Q    And those patients were administered Fenofibrate,

03:56:21   15   correct?

03:56:21   16    A    Yes.

03:56:22   17    Q    And their LDL-C went down 20.6 percent, correct?

03:56:28   18    A    Yes.

03:56:29   19    Q    And that was a statistically significant result, correct?

03:56:33   20    A    I assume that's what the star means, so yes.

03:56:38   21    Q    Yes.   And then the subgroup, whose triglycerides were

03:56:42   22   231.9 milligrams per deciliter, do you see that?

03:56:46   23    A    Yes.

03:56:46   24    Q    Their LDL-C went down with Fenofibrate 20.1 percent.

03:56:56   25    A    Yes.
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03:56:56    1    Q    So these -- this is an example of a TG lowering agent

03:56:59    2   that reduced triglycerides in patients with elevated but not

03:57:03    3   very high triglycerides in which -- it reduced triglycerides

03:57:08    4   and reduced LDL-C, correct?

03:57:10    5    A    Yes.

03:57:10    6    Q    But, of course, if we look at Table 2, Study 2 reports

03:57:22    7   study on patients with a baseline TG between 500 and

03:57:27    8   1500 milligrams per deciliter, correct?

03:57:29    9    A    I'm sorry.    I can't see that.    Could you point that ought

03:57:32   10   for me, please?

03:57:33   11    Q    You see Table 2, there's Study 1 and Study 2?

03:57:36   12    A    Yes.

03:57:37   13    Q    Study 1 is a baseline TG between 350 and 499.

03:57:44   14    A    Yes.

03:57:45   15    Q    And Study 2 is a baseline triglyceride level between 500

03:57:49   16   and 1500, correct?

03:57:50   17    A    Yes.

03:57:51   18    Q    So Study 1 is what we call high triglycerides, correct?

03:57:56   19    A    Correct.

03:57:57   20    Q    Study 2 is very high triglycerides, correct?

03:58:00   21    A    Correct.

03:58:00   22    Q    Let's first look at the very high triglyceride patients.

03:58:04   23   Their LDL cholesterol went up a placebo adjusted 49.2 percent,

03:58:11   24   correct?

03:58:12   25    A    Could you highlight that for me, please?
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03:58:14    1                   MR. SIPES:    That would be -- Mr. Brooks, it's

03:58:17    2   the bottom study, LDL cholesterol, all the way across.

03:58:17    3   BY MR. SIPES:

03:58:23    4    Q    Do you see that?

03:58:24    5    A    Yes, I see that.

03:58:25    6    Q    So for very high triglyceride patients receiving

03:58:28    7   Fenofibrate to reduce triglycerides, their LDL-C went up

03:58:33    8   49.2 percent.

03:58:34    9    A    Patients in this particular study treated with this

03:58:41   10   particular agent, that's correct.

03:58:43   11    Q    And that was, of course, statistically significant,

03:58:48   12   correct?

03:58:48   13    A    I would assume so, yes.

03:58:50   14    Q    It's got the asterisk which you'll see means P value

03:58:54   15   below .05.    Do you see that, Dr. Heinecke?

03:58:58   16    A    Yeah, I accept that it's correct.

03:59:00   17                   MR. SIPES:    Now, let's look at the high

           18   triglyceride patients between 350 and 499 cholesterol.

           19                   Mr. Brooks, could you highlight the

           20   cholesterol -- the LDL cholesterol there.

           21   BY MR. SIPES:

           22    Q    There the LDL cholesterol went up from administering

03:59:17   23   Tricor numerically 2.5 percent relative to placebo.

03:59:21   24    A    Okay.

03:59:22   25    Q    And it was not statistically significant, correct?
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03:59:26    1    A    Correct.

03:59:27    2    Q    Which I think in the parlance you used earlier today, you

03:59:31    3   would say Fenofibrate was LDL neutral in high triglyceride

03:59:37    4   patients is the way you referred to that kind of change,

03:59:41    5   correct?

03:59:42    6    A    I don't believe I used the term LDL neutral.        But I would

03:59:46    7   agree that the LDL cholesterol did not change significantly in

03:59:50    8   this particular study.

03:59:51    9    Q    In fact, I think in referring to Mori, which went up --

03:59:55   10   EPA increased LDL cholesterol 3.5 percent, but not

04:00:00   11   statistically significant, 3.5 percent, you said that was

04:00:05   12   LDL -- or maybe you said LDL-C neutral.        Does that sound

04:00:07   13   familiar to you?

04:00:07   14    A    I said that it did not increase significantly, I believe.

04:00:12   15    Q    So, in fact -- and that was in a -- the Mori patient

04:00:18   16   population was a dyslipidemia patient with lower

04:00:22   17   triglycerides, more like Study 1 -- Table 1, in Tricor,

04:00:25   18   correct?     With even lower triglycerides than we have with

04:00:28   19   Fenofibrate.

04:00:30   20    A    I'm not understanding this line of questioning.

04:00:33   21    Q    So let me just ask this as a factual question.         In Mori,

04:00:36   22   the triglycerides were under 200, correct?

04:00:40   23    A    Yes.

04:00:40   24    Q    Okay.    So -- they were not even the high triglycerides --

04:00:47   25   they didn't even have high triglycerides, correct?
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04:00:48    1    A    Yes.

04:00:48    2    Q    But what we're seeing from Tricor is that these very high

04:00:56    3   triglyceride patients are uniquely susceptible to an increase

04:01:00    4   in LDL-C in reducing triglycerides even in agents that don't

04:01:04    5   raise LDL-C in other patients, correct?

04:01:08    6    A    Again, I think you're generalizing from a very specific

04:01:12    7   example to all drugs and how they act, and, in my opinion,

04:01:17    8   that's not a correct way to think about the problem.

04:01:19    9                It's clear that fibric acids are different from

04:01:23   10   statins, are different from EPA, are different from DHA, and

04:01:28   11   trying to take one drug under one specific set of conditions

04:01:31   12   and saying that indicates what the general mechanism is that's

04:01:35   13   always going to take place, that's just -- to me is not -- not

04:01:40   14   the correct way to think about the problem.

04:01:42   15    Q    There's a great deal of unpredictability in moving it to

04:01:45   16   a new patient population, correct?

04:01:47   17    A    Well, that's a very broad statement.       I don't know what

04:01:51   18   you mean by that.

04:01:52   19                    MR. SIPES:   Okay.   Let's take a look the

04:01:54   20   clinical pharmacology section of Tricor just to understand

04:01:57   21   what we're talking about here.

04:01:58   22                    Mr. Brooks, if you'll turn first to PX 388-02.

04:01:58   23   BY MR. SIPES:

04:02:07   24    Q    If you go down, you'll see there's a section Clinical

04:02:10   25   Pharmacology.    Do you see that, Dr. Heinecke?
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04:02:11    1    A    Yes, I do.

04:02:12    2                    MR. SIPES:   Okay.   And if we turn to the next

04:02:13    3   page, and if you could blow up the paragraph that begins, "The

04:02:17    4   effects of fenofibric acid."

04:02:17    5   BY MR. SIPES:

04:02:18    6    Q    So, Dr. Heinecke, it reads,

04:02:24    7                   "The effects of fenofibric acid seen in

04:02:24    8         clinical practice have been explained in vivo in

04:02:24    9         transgenic mice and in vitro in human hepatocyte

04:02:24   10         cultures by the activation of peroxisome proliferator

04:02:24   11         activated receptor alpha (PPAR Alpha)."

04:02:32   12                   Boy, I hope I never have to read that again.

04:02:45   13                   "Through this mechanism, fenofibrate

04:02:45   14         increases lipolysis and elimination of

04:02:53   15         triglyceride-rich particles from plasma by activating

04:02:53   16         lipoprotein lipase and reducing production of

04:02:53   17         apoprotein C-III (an inhibitor of lipoprotein lipase

04:02:53   18         activity)."

04:02:53   19                   Do you see that?

04:03:05   20    A    I'll point out that they're talking about in vivo studies

04:03:09   21   in transgenic mice which, as I've already alluded to, I do not

04:03:13   22   believe is an appropriate model for human lipoprotein

04:03:13   23   metabolism.

04:03:14   24               And, moreover, they're citing tissue culture studies

04:03:21   25   of human hepatocytes which are even more dubious.         So I'm not
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04:03:22    1   clear why they're concluding that this indicates this is the

04:03:23    2   mechanism of action in humans in vivo.

04:03:27    3    Q    You understand, of course -- I just asked a simple

04:03:30    4   question.    What we're talking about here is the FDA-approved

04:03:33    5   labeling for Tricor, correct?

04:03:35    6                That's a yes or no question, Dr. Heinecke.

04:03:37    7    A    Yeah, I can't -- I can't honestly attest to that, but

04:03:41    8   I'll accept it's correct.

04:03:42    9    Q    And the mechanism for fenofibrate to lower triglycerides

04:03:46   10   that is being suggested in the FDA-approved labeling in 2004

04:03:50   11   is the enhanced clearance of VLDL to LDL-C, correct?

04:03:56   12    A    I think this is what the FDA is stating here, but I'm

04:03:59   13   clearly indicating that I think that's an incorrect

04:04:02   14   conclusion, and I would never agree with this assessment.

04:04:05   15                And there's nothing magical about the FDA and their

04:04:09   16   reasoning.    They can make mistakes.     This is clearly -- I

04:04:13   17   mean, really, you're telling me that transgenic mice lacking

04:04:17   18   PPAR Alpha, which is a pleiotrophic nuclear receptor that has

04:04:23   19   innumerable effects, not just this, in both humans and in

04:04:25   20   animals, is somehow telling us what the mechanism is, and they

04:04:29   21   buttress that by studying cultured tissue cells?

04:04:31   22                No, I would not -- I just wouldn't agree with this,

04:04:33   23   I'm sorry.

04:04:34   24    Q    Dr. Heinecke, in 2000, you --

04:04:36   25    A    This might be the FDA's conclusion, but it's not my
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04:04:40    1   conclusion.

04:04:40    2                      THE COURT:   So, Dr. Heinecke --

04:04:41    3                      THE WITNESS:   Yes.

04:04:42    4                      THE COURT:   You should listen to the question

04:04:44    5   asked.    There was no question asked whether you agree with the

04:04:47    6   FDA or your opinion of the FDA.

04:04:49    7                      You should take your advice about breathing

04:04:52    8   before you answer.

04:04:52    9                      THE WITNESS:   Thank you.

04:04:53   10                      THE COURT:   So let's wait for the question.

04:04:53   11                      THE WITNESS:   Thank you.

04:04:53   12                      THE COURT:   All right?

04:04:55   13                      THE WITNESS:   Thank you.   I will try and do

04:04:56   14   that.    Thank you very much, Your Honor.

04:04:58   15   BY MR. SIPES:

04:04:59   16    Q      Dr. Heinecke, in 2000, you won the Simon Wolff Contrarian

04:04:59   17   Award, correct?

04:05:07   18    A      That's correct.

04:05:07   19    Q      Okay.

04:05:08   20    A      One of many awards I've won.

04:05:10   21    Q      You've been recognized as a contrarian.

04:05:14   22    A      Let me -- can I just --

04:05:16   23    Q      It's a yes or no question, Doctor.     You can explain with

04:05:19   24   your counsel.

04:05:19   25    A      Yes.    Yes.
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04:05:20    1    Q    Thank you.

04:05:22    2                If we could pull up PX 1027.     This is Goodman &

04:05:28    3   Gilman's The Pharmacological Basis of Therapeutics, Eleventh

04:05:33    4   Edition.     Do you see that?

04:05:33    5    A    Yes, I do.

04:05:35    6    Q    And Goodman & Gilman's is very well-known reference for

04:05:38    7   pharmacology and therapeutics, correct?

04:05:40    8    A    Yes.

04:05:41    9    Q    And the eleventh edition is from 2006, correct?

04:05:44   10    A    Yes.

04:05:45   11                    MR. SIPES:     We would move --

04:05:45   12                    THE WITNESS:    I don't know that, but I'll accept

04:05:47   13   that it's correct.

04:05:48   14                    MR. SIPES:     I can clarify it if you would like

04:05:48   15   because --

04:05:50   16                    THE WITNESS:    No, I believe you.

04:05:51   17                    MR. SIPES:     Okay.   I will move PX 1027 into the

04:05:54   18   record -- move 1027 into evidence, if I can.

04:05:59   19                    MR. REIG-PLESSIS:      No objection.

04:06:00   20                    THE COURT:     Is there objection?

04:06:01   21                    All right, 1027 is admitted.

04:06:01   22                           (Plaintiffs' Exhibit 1027 received in
04:06:01                                 evidence.)
04:06:06   23                    MR. SIPES: So, Mr. Brooks, if you will turn to

04:06:18   24   page 1027-0030.

04:06:18   25
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04:06:18    1   BY MR. SIPES:

04:06:20    2    Q      The topic refers to fibric acid derivatives.      Do you see

04:06:20    3   that?

04:06:28    4    A      I do.

04:06:28    5    Q      And that would include fenofibrate and the other

04:06:33    6   fibrates, correct?

04:06:33    7    A      Yes.

04:06:33    8    Q      And then the bottom paragraph has mechanism action.         Do

04:06:39    9   you see that?

04:06:40   10    A      Yes.

04:06:40   11    Q      And here again --

04:06:41   12                      MR. SIPES:   Mr. Brooks, if would you pull up the

04:06:42   13   sentence that begins "fibrates reduce," and go up through to

04:06:48   14   the end.       Thank you.

04:06:51   15                     "Fibrates reduce triglycerides through

04:06:54   16           PPAR-alpha-mediated stimulation of fatty acid

04:06:59   17           oxidation, increased LPL synthesis, and reduced

04:07:02   18           expression of apoC-III.    An increase in LPL would

04:07:07   19           enhance the clearance of triglyceride-rich

04:07:10   20           lipoproteins."

04:07:11   21                      Do you see that?

04:07:12   22    A      That's what's stated there.

04:07:13   23    Q      So Goodman & Gilman's as well is reporting this idea that

04:07:17   24   fibrates work by enhancing the clearance of VLDL through to

04:07:23   25   LDL, correct?
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04:07:23    1    A     Might we go back to the top of the paragraph there,

04:07:28    2   Mechanism of Action, which states,

04:07:30    3                   "Despite extensive studies in humans, the

04:07:30    4          mechanisms by which fibrates lower lipoprotein

04:07:30    5          levels, or raise HDL levels, remains unclear."

04:07:30    6    Q     What is being suggested in Goodman & Gilman's is that

04:07:30    7   fibrates work by enhancing the clearance of VLDL through IDL

04:07:46    8   to LDL, correct?

04:07:46    9    A     They're suggesting that that's one potential mechanism,

04:07:50   10   yes.

04:07:50   11                    MR. SIPES:   Now, if we go to the next page,

04:07:53   12   Mr. Brooks, and blow up the second full paragraph.

04:07:53   13   BY MR. SIPES:

04:08:01   14    Q     Here Goodman & Gilman is talking about the use of

04:08:04   15   fibrates to treat hypertriglyceridemia, correct?

04:08:06   16    A     I'll need a minute to read this.

04:08:09   17    Q     I'll read it to you.

04:08:09   18    A     Okay.

04:08:09   19    Q     Okay.

04:08:11   20                   "In patients with mild hypertriglyceridemia

04:08:14   21          (e.g., triglycerides below 400 milligrams per

04:08:18   22          deciliter), fibrate treatment increases triglyceride

04:08:21   23          levels by up to 50 percent" --

04:08:22   24                    THE COURT:   I think it says decreases.

04:08:24   25                    MR. SIPES:   Decreases, I'm sorry.
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04:08:26    1                  "...decreases triglyceride levels by up to

04:08:29    2         50 percent and increases HDL-C concentrations about

04:08:33    3         15 percent; LDL-C levels may be unchanged or

04:08:37    4         increase.    The second-generation agents such as

04:08:40    5         fenofibrate, bezafibrate, and ciprofibrate, lower

04:08:45    6         VLDL levels to a degree similar to that produced by

04:08:51    7         gemfibrozil, but they also are more likely to

04:08:52    8         decrease LDL levels by 15 percent to 20 percent.         In

04:08:56    9         patients with more marked hypertriglyceridemia, for

04:08:58   10         example 400 to 1000 milligrams per deciliter, a

04:09:02   11         similar fall in triglycerides occurs, but LDL

04:09:05   12         increases of 10 percent to 30 percent are seen

04:09:08   13         frequently."

04:09:08   14                     Did I read that correctly?

04:09:10   15    A    Yes, except for the increase-decrease part.

04:09:10   16    Q    And then it goes on to say,

04:09:17   17                  "Normohypertriglyceridemic patients with

04:09:17   18         heterozygous familial hypercholesterolemia usually

04:09:23   19         experience little change in LDL levels with

04:09:24   20         gemfibrozil; with the other fibric acid agents,

04:09:29   21         reductions as great as 20 percent may occur in some

04:09:32   22         patients."

04:09:32   23                     Did I read that correctly, Dr. Heinecke?

04:09:35   24    A    Yes.

04:09:35   25    Q    So Goodman & Gilman, too, is informing a person of
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04:09:38    1   ordinary skill in the art that patients with severe

04:09:45    2   hypertriglyceridemia may be subject to dramatic increases in

04:09:48    3   LDL-C even with agents that lower LDL-C in other patients,

04:09:53    4   correct?

04:09:53    5    A      I believe they're referring specifically to the fibric

04:09:56    6   acids here.

04:10:29    7    Q      Let's look at Hayashi.    Hayashi is the one reference

04:10:41    8   among your key prior art that you said -- Dr. Heinecke, do you

04:10:44    9   need to take a break?

04:10:46   10    A      Let's keep moving on.

04:10:48   11    Q      Okay.

04:10:48   12                    THE COURT:     If you want to take a break, we can

04:10:50   13   take a break.

04:10:51   14                    MR. SIPES:     Actually, a five-minute bio-break

04:10:54   15   actually would be appreciated.

04:10:56   16                    THE COURT:     We'll take a break.

04:10:58   17                           (A recess was taken.)
04:10:58
04:22:49   18                    THE COURT:     Please be seated.

04:22:52   19                    Are you ready to resume?

04:22:54   20                    MR. SIPES:     I'm ready to resume.

04:22:55   21                    THE COURT:     All right.

04:22:56   22                    MR. SIPES:     Thank you, Your Honor.

04:22:58   23                    THE COURT:     All right.

04:22:59   24                    MR. SIPES:     Mr. Brooks, if we could pull up DDX

04:23:02   25   6.46.
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04:23:07    1                   Dr. Heinecke, do you recognize DDX 6.46?        It's a

04:23:13    2   timeline that you put together that shows a number of the

04:23:16    3   prior art that you're relying on in this case?

04:23:18    4    A    Yes, I recognize it.

04:23:19    5    Q    And you'll see this is the timeline as 2001, correct?

04:23:25    6    A    Yes.

04:23:25    7    Q    It's got ATP III on it, it's got Mori on it, Kurabayashi,

04:23:29    8   Harris, Hayashi, Takaku, the Epadel label, correct?

04:23:38    9    A    Yes.

04:23:38   10    Q    And so that's spanning more that a decade of studies on

04:23:43   11   EPA, correct?

04:23:43   12    A    Yes.

04:23:44   13    Q    And the very next thing that happens is, in 2004, Reliant

04:23:47   14   and GSK developed Lovaza for the treatment of severe

04:23:52   15   hypertriglyceridemia, correct?

04:23:53   16    A    Yes.

04:23:53   17    Q    Neither Reliant or GSK used EPA, pure EPA, to treat

04:24:03   18   hypertriglyceridemia, correct?

04:24:04   19    A    Yes, correct.

04:24:07   20    Q    Okay.   And so, in fact, a lot of time passed between pure

04:24:13   21   EPA and Epadel in 1991, and the invention here in 2008, of

04:24:19   22   using pure EPA to treat severe hypertriglyceridemia, correct?

04:24:21   23   That's just a lot of time.

04:24:23   24    A    I believe it's true that it's been -- it's true that it

04:24:33   25   was a long time before EPA was developed as a drug to treat
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04:24:40    1   hypertriglyceridemia, that's correct.

04:24:42    2    Q      Now, one thing you don't have on your timeline is all of

04:24:45    3   the clinical studies that Amarin and its predecessor, Laxdale,

04:24:51    4   were doing during that time period, correct?         They're not on

04:24:56    5   your timeline.

04:24:56    6    A      Right.    They were after 2008.

04:24:58    7    Q      Is it your testimony that the CNS indications were after

04:25:04    8   2008?    Is that your understanding?

04:25:06    9    A      I don't have an understanding of when those studies were

04:25:10   10   carried out.

04:25:10   11    Q      Okay.    So it's possible, in fact, that the Huntington's,

04:25:13   12   the schizophrenia, the depression, all the Phase I studies on

04:25:17   13   Vascepa were done before 2008, correct?

04:25:19   14    A      Yes.

04:25:19   15    Q      But they're not on your timeline, correct?

04:25:23   16    A      Yes.

04:25:24   17    Q      And, in fact, just so you're aware of them, if we'll go

04:25:28   18   to PX 289, this is the Vascepa medical review.         So this is

04:25:32   19   reviewing the clinical studies that were submitted to support

04:25:36   20   the MARINE indication, correct?

04:25:38   21    A      I'll take your word for it.

04:25:39   22    Q      Okay.    So if we go to page 289-0072, it says "Review of

04:25:48   23   Safety."       Do you see that?

04:25:50   24    A      Yes.

04:25:51   25    Q      And it refers to the clinical studies that were submitted
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04:25:56    1   by Amarin in support of the MARINE indication, correct?

04:26:01    2    A    I'll take your word for it.

04:26:04    3    Q    Okay.    Well, I'll read it to you.

04:26:06    4                 First there's, "The healthy subjects dataset

04:26:09    5          included two clinical pharmacology studies,

04:26:12    6          LA01.01.0009 and AMR-01.01.0018?"

04:26:15    7                 Do you see that?

04:26:17    8    A    Yes, I do.

04:26:17    9    Q    Okay.    So that's a Laxdale study and an Amarin study,

04:26:21   10   correct?

04:26:22   11    A    I'll take your word for it.

04:26:24   12    Q    Okay.    And then there's the hypertriglyceridemic

04:26:28   13   placebo-controlled dataset of MARINE and ANCHOR.

04:26:31   14                 Do you see that?

04:26:31   15    A    Yes.

04:26:32   16    Q    And then there's,

04:26:32   17                    "The CNS placebo-controlled dataset included

04:26:36   18         information from the double-blind phases of the eight

04:26:39   19         trials of patients with CNS disorders.        There were

04:26:42   20         approximately 700 patients on Vascepa and 519

04:26:45   21         patients on placebo in this dataset," correct?

04:26:48   22    A    Yes.

04:26:48   23    Q    None of that is in your timeline, correct?

04:26:52   24    A    Yes.

04:26:52   25    Q    Okay.    Let's go to Hayashi.    That's DX 1532.
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04:26:59    1                So I think you were testifying -- you testified

04:27:04    2   about Hayashi and whether or not there were patients in

04:27:08    3   Hayashi that were over 500.

04:27:10    4    A    Yes.

04:27:11    5                    MR. SIPES:     And I think you pointed to the Table

04:27:15    6   1 which has the distribution of patients.

04:27:18    7                    If we could pull that up, Mr. Brooks.       That's

04:27:21    8   on -- I wish I knew what page it's on.          It's on page 26 of the

04:27:24    9   article.     This is DX 1532.

04:27:28   10                    Unfortunately, I don't know what the exhibit

04:27:30   11   page number is, but it's 26 of the article --

04:27:35   12                    COMPUTER TECHNICIAN:     Five.

04:27:35   13                    MR. SIPES:     Five?   Five.   Thank you, Mr. Brooks.

04:27:35   14   BY MR. SIPES:

04:27:37   15    Q    And you pointed there, for triglyceride levels, it was

04:27:39   16   300 plus or minus 233, correct?

04:27:42   17    A    Yes.

04:27:42   18    Q    And you speculated there could be four or five patients

04:27:46   19   over 500.

04:27:47   20    A    Yes, based on my understanding of the standard deviation

04:27:50   21   in those values.

04:27:51   22    Q    Now, of course, it's plus or minus.         There could be very

04:27:55   23   low TG patients instead to get that distribution, correct?

04:27:57   24    A    That's possible, although triglycerides are usually

04:28:01   25   skewed towards higher values.       But, that's correct.
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04:28:03    1    Q      Well, in Japan, where they consume a lot of fish, in

04:28:06    2   fact, there are many patients with quite low triglycerides,

04:28:09    3   correct?

04:28:09    4    A      I don't know the answer to that.

04:28:11    5    Q      Okay.    Well, let's look at Figure 2, shall we?

04:28:13    6                   Figure 2, and the very top one reports triglyceride

04:28:18    7   values for 25 patients in Hayashi, correct?

04:28:23    8    A      I'll take your word for it.

04:28:25    9    Q      Well, it says n equals 25 at the top, so you don't have

04:28:28   10   to --

04:28:28   11    A      I'm sorry.    Can you point out --

04:28:31   12                       MR. SIPES:   Could we blow up the very top graph?

04:28:31   13   BY MR. SIPES:

04:28:34   14    Q      You see triglycerides has an N of 25?

04:28:37   15    A      Yes.

04:28:38   16    Q      And so 25 patients are being reported there for

04:28:43   17   triglycerides, correct?

04:28:44   18    A      Yes.

04:28:45   19    Q      And all of them are 450 and below, correct?

04:28:50   20    A      Yes.

04:28:51   21    Q      And, in fact, all but one are below 400.

04:28:56   22    A      Yes.

04:28:56   23    Q      And all but two are below 350.

04:29:03   24    A      Yes.

04:29:05   25    Q      And one thing we know is 25 are below 500.
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04:29:09    1    A      Yes.

04:29:10    2    Q      And, of course, there were only 28 patients in Hayashi.

04:29:15    3    A      Yes.

04:29:16    4    Q      So if there's one thing we know -- I agree Hayashi is a

04:29:19    5   very ambiguous paper, but if there's one thing we know, there

04:29:23    6   were not four or five patients over 500.

04:29:27    7    A      I'm not sure that you can make that conclusion from this

04:29:31    8   figure.

04:29:31    9    Q      So if there are 25 out of 28 who were 450 or below, that

04:29:37   10   kind of rules out all but three mystery patients, correct?

04:29:42   11    A      That's correct.

04:29:43   12    Q      Okay.    So -- and then the question is what these patients

04:29:49   13   were.

04:29:49   14                   Now, one thing we know is they -- that the Hayashi

04:29:53   15   authors used the Friedewald equation to calculate LDL-C.

04:29:53   16    A      Yes.

04:29:59   17    Q      And the Friedewald equation is not valid for TG values

04:30:04   18   over 400.

04:30:04   19    A      Correct.

04:30:04   20    Q      So whatever they were doing, they were not measuring

04:30:07   21   LDL-C values for patients over 500, correct?

04:30:10   22    A      Yes, I would agree with that.

04:30:12   23    Q      Okay.    So Hayashi is not telling us anything about the

04:30:15   24   effect of EPA on LDL-C values in severely hypertriglyceridemic

04:30:21   25   patients, correct?
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04:30:21    1    A      Yes, that's correct.

04:30:29    2                       MR. SIPES:   Let's look at Mori, which I believe

04:30:31    3   is at DX 1538.       And, first, let's look at who the patients

04:30:42    4   were.

04:30:44    5                       So, Mr. Brooks, if you'll go to Table 2 and

04:30:47    6   kindly inform me what the exhibit page numbers, I'd appreciate

04:30:47    7   it.

04:30:53    8                       So it's page 0004 of DX 1538, Your Honor.

04:30:53    9   BY MR. SIPES:

04:30:58   10    Q      So the TG levels for the EPA group was 2.01 in millimoles

04:31:08   11   per liter, correct, Dr. Heinecke?

04:31:13   12    A      I'm sure you're correct.

04:31:15   13    Q      Okay.    And using the handy-dandy conversion of millimoles

04:31:20   14   per liter to milligrams per deciliter of 88.87, that comes out

04:31:27   15   to about 178 milligrams per deciliter in TGs for the EPA

04:31:29   16   group, correct?

04:31:29   17    A      Yes.

04:31:30   18    Q      Okay.    I'm not going claim to have done that in my head.

04:31:34   19                   And what that's telling you is these are patients

04:31:38   20   with elevated TGs, but they're not even high TGs, correct?

04:31:42   21    A      Yes.

04:31:43   22    Q      And, nonetheless, the report was that in administering 4

04:31:49   23   grams of EPA, LDL-C went up 3.5 percent nonstatistical,

04:31:56   24   correct?

04:31:56   25    A      It went up nonstatistically significantly, yes.
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04:32:00    1    Q    And, of course, the number here was small.        It was only

04:32:03    2   19 patients in the EPA group, correct?

04:32:09    3    A    I would agree it's only 19 patients.

04:32:11    4    Q    And it's harder to achieve statistical significance with

04:32:15    5   19 patients than with larger numbers, correct?

04:32:17    6    A    Depending on the magnitude of effect, correct.

04:32:20    7    Q    Now, of course, Rambjør, which reported an increase in

04:32:24    8   LDL-C from EPA, actually had a larger group of patients

04:32:29    9   administered EPA, correct?

04:32:31   10    A    I don't remember the exact number in that, but I'll

04:32:35   11   accept that that's correct.

04:32:36   12    Q    Okay.   So -- and one thing, of course, that is absolutely

04:32:40   13   clear about Mori is the patients in Mori weren't even high

04:32:44   14   triglycerides, let alone very high triglycerides, correct?

04:32:48   15    A    Yes.

04:32:49   16                   MR. SIPES:    Now, let's look at Kurabayashi.

04:32:53   17   That's DX 1534.

04:32:59   18                   Mr. Brooks, if we go to Table 2, which I think

04:33:10   19   is on page 0004.

04:33:10   20   BY MR. SIPES:

04:33:16   21    Q    And, again, if we look at the baseline for triglycerides

04:33:20   22   it's, for the EPA group, 135.6, correct?

04:33:25   23    A    Yes.

04:33:25   24    Q    So Kurabayashi is not even elevated triglycerides,

04:33:29   25   correct?
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04:33:30    1    A      By the ATP III definition, that's correct.

04:33:35    2    Q      It's -- those are normal triglyceride patients, correct?

04:33:38    3    A      Yes.

04:33:38    4    Q      Now, it's interesting, if you will turn to page 0002,

04:33:53    5   under Materials and Methods, Kurabayashi specifically capped

04:34:00    6   anyone there who was going to -- their upper triglyceride

04:34:03    7   levels, correct?

04:34:04    8                  I'll read it to you.

04:34:05    9                      MR. SIPES:    Mr. Brooks, if you could blow up,

04:34:07   10   under Materials and Methods, the first -- the line that begins

04:34:11   11   -- the paragraph -- excuse me, the sentence that begins

04:34:16   12   "hypertriglyceridemia."         It's the second sentence.   It's a

04:34:19   13   long sentence.      If you could blow it up so it's easier to

04:34:19   14   read.

04:34:19   15                      They say,

04:34:22   16                     "Hyperlipidemia was defined as a serum total

04:34:30   17           cholesterol concentration of 220 to 280 milligrams

04:34:34   18           per deciliter or a serum triglyceride concentration

04:34:37   19           of 150 to 400 milligrams per deciliter.      Women with

04:34:41   20           severe hypertriglyceridemia (serum total cholesterol

04:34:45   21           greater than 280 milligrams per deciliter or serum

04:34:48   22           triglycerides greater than 400 milligrams per

04:34:51   23           deciliter) were considered to have a high risk of

04:34:53   24           coronary heart disease if assigned to the control

04:34:56   25           group."
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04:34:56    1                    So we set an upper limit of hyperlipidemia in

04:35:00    2   this study, correct?

04:35:01    3    A    Yes, that's what it states.

04:35:02    4    Q    And this was a study in Japan, correct?

04:35:04    5    A    Yes.

04:35:04    6    Q    And so what they're saying is we're going to have

04:35:08    7   patients with hyperlipidemia, not with severe hyperlipidemia,

04:35:10    8   correct?

04:35:12    9    A    Correct.

04:35:13   10    Q    And that meant the upper limit on triglycerides was going

04:35:17   11   to be 400 milligrams per deciliter, correct?

04:35:17   12    A    In this study, yes.

04:35:25   13                    MR. SIPES:   Okay.   Let me ask Mr. Brooks to pull

04:35:27   14   up DX 1604.

04:35:27   15   BY MR. SIPES:

04:35:33   16    Q    DX 1604 is an article and invited commentary that you

04:35:39   17   published in 2007 in current atherosclerosis reports with your

04:35:46   18   co-author, John Oram, correct?

04:35:47   19    A    Yes.

04:35:47   20    Q    So this is an article you published, correct?

04:35:50   21    A    Yes.

04:35:50   22                    MR. SIPES:   And I would move DX 1604 into

04:35:54   23   evidence.

04:35:54   24                    MR. REIG-PLESSIS:    No objection.

04:35:56   25                    THE COURT:   DX 1604 is admitted.
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04:35:56    1                           (Defendants' Exhibit 1604 received in
04:35:56                                 evidence.)
04:35:56    2   BY MR. SIPES:

04:36:00    3    Q    And so you're writing this as of 2007, correct,

04:36:03    4   Dr. Heinecke?

04:36:03    5    A    Yes.

04:36:03    6    Q    And you state in the very first sentence,

04:36:08    7                   "Atherosclerotic cardiovascular disease (CVD)

04:36:10    8         remains the leading cause of morbidity and mortality

04:36:14    9         in industrialized societies," correct?

04:36:17   10    A    Yes.

04:36:18   11    Q    And that was true in 2008, correct?

04:36:20   12    A    I'm sorry?

04:36:21   13    Q    That was true in 2008?

04:36:22   14    A    Yes.

04:36:23   15    Q    And it's true today.

04:36:24   16    A    Yes, it is.

04:36:27   17    Q    And then going further down, to the last sentence in that

04:36:32   18   article,

04:36:34   19                   "Even with intensive cholesterol lowering,

04:36:37   20         however, statins reduce CVD events by only one-third.

04:36:43   21         This" larger -- excuse me -- "this large residual

04:36:46   22         disease burden has directed the attention of

04:36:49   23         biomedical investigators and the pharmaceutical

04:36:52   24         industry to other potential targets for drug

04:36:55   25         development."
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04:36:56    1                   Do you see that?

04:36:56    2    A    Yes.

04:36:57    3    Q    And let me unpack that.     Statins only reduce

04:37:00    4   cardiovascular events by about a third, correct?

04:37:03    5    A    Yes.

04:37:04    6    Q    That leaves two-thirds of cardiovascular events

04:37:08    7   unaddressed, correct?

04:37:09    8    A    Yes.

04:37:10    9    Q    And that's heart attacks and strokes and other really bad

04:37:14   10   things that happen to patients, correct?

04:37:15   11    A    Yes.

04:37:16   12    Q    And, obviously, we want to find something that can deal

04:37:20   13   with that residual cardiovascular risk, even after statin

04:37:24   14   therapy, correct?

04:37:25   15    A    Yes.

04:37:26   16    Q    And as you note in 2007, people were focused on this

04:37:31   17   problem of residual cardiovascular risk on top of the statin,

04:37:36   18   correct?

04:37:36   19    A    Yes.

04:37:37   20    Q    And you note in the very next sentence,

04:37:40   21                  "One therapeutic target that has generated

04:37:43   22         intense interest is high-density lipoprotein."

04:37:47   23                   Do you see that?

04:37:48   24    A    Yes.

04:37:48   25    Q    Okay.   And that was one subject of intense interest,
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04:37:52    1   correct?

04:37:52    2    A    Yes.

04:37:54    3    Q    And you review some evidence about HDL, and then you say,

04:37:59    4                   "These findings have led to the widely held

04:38:03    5         view that HDL is cardioprotective and that forcibly

04:38:07    6         raising HDL levels will reduce cardiovascular

04:38:11    7         disease," correct?

04:38:12    8    A    Yes.

04:38:12    9    Q    And when you say forcibly raising HDL levels, you're

04:38:16   10   talking about, for example, a medical intervention through a

04:38:19   11   drug to raise HDL, correct?

04:38:21   12    A    Yes.

04:38:22   13    Q    And, in fact, many large pharmaceutical companies try to

04:38:26   14   develop many different therapies, fibrates, niacin, other new

04:38:32   15   agents, to raise HDL and save lives, correct?

04:38:36   16    A    That's correct.

04:38:37   17    Q    And they all failed.

04:38:39   18    A    They all failed?

04:38:40   19    Q    There is not a single approved drug to raise HDL by FDA

04:38:46   20   for cardiovascular risk reduction, correct?

04:38:48   21    A    That is correct.

04:38:48   22    Q    Now, let's go back to Mori.      This is, again, DX 1538, and

04:39:10   23   let's look at the Discussion on 0004.

04:39:18   24                Under Discussion Mori says,

04:39:21   25                   "This study addressed whether purified EPA
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04:39:24    1           and DHA have different effects on serum lipids and

04:39:29    2           lipoproteins, LDL particle size, glucose, and insulin

04:39:32    3           in mildly hyperlipidemic men."

04:39:35    4                    Do you see that?

04:39:36    5    A      I do.

04:39:37    6    Q      They go on,

04:39:37    7                    "We found that DHA, but not EPA, improved

04:39:40    8           serum lipid status, in particular a small increase in

04:39:46    9           HDL cholesterol and a significant increase in the

04:39:48   10           HDL-2 cholesterol subfraction, without adverse

04:39:52   11           effects on fasting glucose concentrations."

04:39:54   12                    Do you see that?

04:39:55   13    A      Yes, I do.

04:39:56   14    Q      Now, at a time of intense interest in forcibly raising

04:40:01   15   HDL for cardiovascular reasons, that statement is going to

04:40:04   16   resonate, correct?

04:40:06   17    A      What was the year of this publication again?      Could I ask

04:40:09   18   that?

04:40:10   19    Q      This is Mori 2000, and I want to put your mind into 2008.

04:40:14   20    A      Right.

04:40:14   21    Q      In 2008, there was an intense interest in HDL, correct?

04:40:17   22   You just wrote that in your own article in 2007.

04:40:21   23    A      That's correct, but I'll also point out that there was

04:40:25   24   strong evidence from the first randomized clinical trial using

04:40:29   25   an HDL elevating drug, that it had failed.        So there was
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04:40:34    1   skepticism about HDLs being a therapeutic target.

04:40:36    2    Q    And which agent are you talking about?

04:40:37    3    A    Torcetrapib.

04:40:39    4    Q    And when did that fail?

04:40:40    5    A    I believe it was 2006.

04:40:42    6    Q    And you didn't mention that when you mentioned the

04:40:44    7   intense interest in HDL in your 2007 article?

04:40:47    8    A    I can't state that.     I would have to go back and look at

04:40:51    9   the article to be sure of that.

04:40:53   10    Q    And, in fact, other agents being developed by Merck and

04:40:56   11   other companies continued well past 2008, correct?

04:41:00   12    A    Yes.

04:41:00   13    Q    So that intense interest in HDL, and enormous financial

04:41:05   14   resources and time and patients, were poured into an HDL

04:41:10   15   raising approach to cardiovascular risk well past 2008,

04:41:14   16   correct, Dr. Heinecke?

04:41:16   17    A    Yes.   That's a fair statement.

04:41:17   18    Q    And, in fact, you have devoted a considerable portion of

04:41:21   19   you research life to investigating HDL, correct?

04:41:25   20    A    That's very correct.

04:41:27   21    Q    Now, one other observation about the difference between

04:41:30   22   DHA and EPA is that EPA appeared to raise fasting glucose, and

04:41:35   23   DHA did not, correct?

04:41:37   24    A    Yes.

04:41:37   25    Q    Now, I understand your testimony that fasting glucose
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04:41:42    1   wasn't important for cardiovascular risk.        It is important for

04:41:45    2   patients with diabetes, correct?

04:41:48    3    A    Yes.

04:41:49    4    Q    And many patients with severe hypertriglyceridemia have

04:41:52    5   diabetes, correct?

04:41:53    6    A    Yes.

04:41:53    7    Q    And you would not want to develop a treatment for severe

04:41:57    8   hypertriglyceridemia that harmed diabetic patients, correct?

04:42:01    9    A    All other things be equal, that's correct.

04:42:14   10                     MR. SIPES:   Okay.   If I could have a moment to

04:42:15   11   confer with my colleague?

04:42:17   12                     THE COURT:   Yes.

04:42:17   13                            (Discussion held off the record.)

04:42:24   14                     MR. SIPES:   They have helpfully reminded me.

04:42:24   15   BY MR. SIPES:

04:42:26   16    Q    You offered some opinions on the prosecution of the

04:42:30   17   patents here, correct?

04:42:33   18    A    Yes, I did.

04:42:34   19    Q    And you are not a patent law expert.

04:42:37   20    A    I am not.

04:42:38   21    Q    Are you familiar with the MPEP?

04:42:41   22    A    No, I am not.

04:42:42   23    Q    Okay.   So let me pull up, just to start, with DDX 6.65.

04:43:00   24   This is, I think, the slide you used in your referring to the

04:43:05   25   Notice of Allowance which we'll take a look at it.
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04:43:08    1                 Do you recall that slide?

04:43:09    2    A    Yes, I do.

04:43:10    3    Q    Now, it's interesting -- I was very struck by this slide.

04:43:12    4                 If you look at it, you've highlighted the examiner's

04:43:15    5   statement,

04:43:16    6                    "The prior art does not teach the

04:43:17    7         administration of ethyl-EPA to patients having TG

04:43:22    8         levels between 500 and 1500 milligrams per deciliter

04:43:26    9         (very high).

04:43:28   10                     But you didn't highlight the rest of the

04:43:30   11   sentence that says, "As such, there is no anticipation."

04:43:33   12                     Isn't that correct?

04:43:34   13    A    Yes.

04:43:34   14    Q    But, in fact, the examiner's conclusion in the allowance

04:43:38   15   that led to then the analysis of obviousness was that there

04:43:41   16   was no anticipation, correct?

04:43:43   17    A    I can't attest to that.

04:43:48   18    Q    You're just not a patent law expert.

04:43:50   19    A    I'm not a patent lawyer.

04:43:52   20    Q    Okay.    What is true is you have not expressed the opinion

04:43:54   21   that the patent claims here are anticipated, correct?

04:43:58   22    A    I do believe I included the "as such there is no

04:44:03   23   anticipation" in my statement.

04:44:05   24                 But I'm not a lawyer, and I'm not offering an

04:44:07   25   opinion on that, that's correct.
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04:44:09    1    Q    You are not here offering the opinion that the patent

04:44:09    2   claims --

04:44:13    3    A    Correct.

04:44:14    4    Q    -- at issue in this case are anticipated.

04:44:14    5    A    Correct.

04:44:14    6    Q    And, in fact, defendants are not asserting that the

04:44:18    7   patent claims are anticipated, correct?

04:44:20    8    A    I'm not a lawyer.     I can't answer that question.

04:44:22    9    Q    Okay.    For purposes, as far as you know, the examiner was

04:44:26   10   correct that there's no anticipation here, correct?

04:44:28   11    A    I can't answer that question.

04:44:31   12    Q    All right.    So why don't we look at the Notice of

04:44:45   13   Allowance, which I believe is -- I have PX 380.

04:44:54   14                 This is the Notice of Allowance, and if we turn to

04:45:01   15   page PX 380 at 00010 -- first, let's start with 0009, that

04:45:13   16   will get us oriented.

04:45:15   17                 It begins, "The prior art teaches," right?      And then

04:45:19   18   there's the excerpt you had which says, "as such there is no

04:45:23   19   anticipation."

04:45:24   20                 And then it goes on, "However, the prior art

04:45:28   21   teaches."

04:45:28   22                 Do you see that?

04:45:29   23    A    I do.

04:45:30   24    Q    So what happened here is exactly what you would expect.

04:45:33   25   There's no anticipation, as we've all agreed, there's no
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04:45:36    1   anticipation, and then the examiner went on to consider

04:45:39    2   obviousness, correct?

04:45:41    3    A    Since I'm not clear on what anticipation is, I don't

04:45:45    4   think I'm qualified to answer this question.

04:45:47    5    Q    Fair enough.

04:45:47    6                 Now, if we go to the next page, 0010, it states,

04:45:53    7                    "Applicant was able to overcome the above 103

04:45:57    8         obviousness rejection by showing" --

04:45:59    9                     And then it refers to some of the objective

04:46:01   10   indicia of nonobviousness, correct?

04:46:05   11    A    That's what the document states.

04:46:05   12    Q    Okay.    And it goes on to cite declarations from Bays and

04:46:09   13   Weintraub, correct?

04:46:11   14    A    I'll assume that that's correct.       This is an awful lot of

04:46:18   15   information for me to digest.

04:46:19   16    Q    But you are offering opinions on the prosecution here, on

04:46:22   17   this very document.

04:46:24   18    A    Yes.

04:46:24   19    Q    Okay.    The examiner did not cite the Lavin declaration

04:46:32   20   anywhere in the Notice of Allowance, correct?

04:46:34   21    A    I can't attest to that.     I haven't read through this

04:46:37   22   carefully enough to say.

04:46:39   23    Q    At least, in your testimony, you haven't called attention

04:46:41   24   to any discussion about objective indicia that references --

04:46:45   25   or anywhere in the Notice of Allowance that references the
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04:46:48    1   Lavin declaration, correct?

04:46:50    2    A    I'm not a lawyer.     I don't think I'm qualified to comment

04:46:53    3   on these points.

04:46:54    4    Q    And for the same reason, you're not familiar with the

04:46:56    5   Manual of Patent Examining Procedure, correct?

04:46:59    6    A    No, I'm not.

04:47:00    7    Q    So you don't know whether or not in fact, under the

04:47:04    8   Manual of Patent Examining Procedure, an examiner is supposed

04:47:07    9   to refer to the affidavits on which he or she is relying in

04:47:12   10   issuing a Notice of Allowance, correct?

04:47:15   11    A    I'm not qualified to render an opinion on that.

04:47:17   12    Q    So you wouldn't know, for example, if MPEP

04:47:21   13   Section 1302.14 IIA would indicate to examiners that they

04:47:28   14   should identify the affidavits that they're relying on,

04:47:31   15   correct?

04:47:32   16    A    That's correct.

04:47:32   17    Q    Okay.   But what -- but, of course, Lavin's declaration

04:47:36   18   doesn't go to the objective indicia of unexpected results or

04:47:40   19   long-felt, unmet need, correct?

04:47:41   20    A    I can't offer an opinion on that.       I'm not a lawyer.

04:47:48   21                   MR. SIPES:    All right, sir.

04:47:48   22                   Your Honor, with that, I have no further

04:47:50   23   questions.

04:47:50   24                   THE COURT:    All right.

04:47:50   25
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04:48:01    1                           REDIRECT EXAMINATION

04:48:01    2   BY MR. REIG-PLESSIS:

04:48:22    3    Q    Good afternoon again, Dr. Heinecke.

04:48:25    4               Do you recall Mr. Sipes asking you several questions

04:48:29    5   about whether you're a cardiologist or a cardiology expert?

04:48:33    6    A    Yes, I do.

04:48:34    7    Q    Is severe hyperlipidemia, in your view, a cardiovascular

04:48:40    8   disease?

04:48:40    9    A    No, it's a metabolic disease.

04:48:43   10    Q    You mentioned you're an endocrinologist.        What is

04:48:47   11   endocrinology.

04:48:48   12    A    Endocrinology is the study of metabolism, hormone

04:48:52   13   metabolism, lipoprotein metabolism, many different aspects of

04:48:56   14   hormone signaling, things that regulate lipid levels, and so

04:49:02   15   on and so forth.

04:49:03   16    Q    And is endocrinology a relevant field with respect to the

04:49:07   17   asserted claims in this case and the lipid parameters that

04:49:11   18   we've been discussing?

04:49:12   19    A    In my opinion, yes, since the whole case centers on

04:49:15   20   triglyceride metabolism and the generation of LDL, and these

04:49:18   21   are classically the foci of endocrinologists who study

04:49:24   22   metabolic diseases.

04:49:26   23    Q    Now, do you recall Mr. Sipes asking you about the

04:49:28   24   differences between mixed dyslipidemia and

04:49:30   25   hypertriglyceridemia?
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04:49:33    1    A    Yes.

04:49:34    2    Q    Why are mixed dyslipidemia and hypertriglyceridemia

04:49:36    3   different?

04:49:37    4    A    The underlying pathogenesis is very different in those

04:49:41    5   two disorders.    In other words, the mechanisms that lead to

04:49:46    6   the elevations of those specific lipoproteins are distinctly

04:49:50    7   different.

04:49:50    8    Q    Does the fact that the pathophysiologies of mixed

04:49:56    9   dyslipidemia and severe hypertriglyceridemia are different

04:49:57   10   mean that you would expect those two patient populations to

04:50:01   11   respond differently to lipid therapy?

04:50:03   12    A    No, it does not.

04:50:04   13    Q    And could you give an example of lipid therapies that

04:50:08   14   would actually act the same between those populations.

04:50:11   15    A    As I -- I would, for example, cite a high dose or high

04:50:16   16   potency statin therapy which reduces LDL cholesterol and

04:50:21   17   triglycerides in all patient populations as far as I'm aware.

04:50:25   18    Q    And do you recall Mr. Sipes showing you various data from

04:50:29   19   the Tricor label on fibrates?

04:50:32   20    A    Yes.

04:50:32   21    Q    In your opinion, are the effects of fibrates on LDL-C

04:50:37   22   being different in different populations the general rule for

04:50:43   23   lipid therapies, or an exception to that?

04:50:46   24    A    No.    I think it's specific for fibric acid derivatives.

04:50:50   25   It has no significance in terms of having implications for
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04:50:53    1   other mechanisms -- or, excuse me, other agents that are

04:50:56    2   completely structurally and functionally unrelated to the

04:51:00    3   fibric acid derivatives.

04:51:03    4                   MR. REIG-PLESSIS:     Mr. Gross, could you pull

04:51:06    5   PX 1026, please.     Could you blow-up just the top part of the

04:51:13    6   citation and the title there with the author.         Thank you.

04:51:13    7   BY MR. REIG-PLESSIS:

04:51:20    8    Q    Dr. Heinecke, do you recall Mr. Sipes asking you about

04:51:23    9   PX 1026, the Carlson paper?

04:51:26   10    A    I do.

04:51:27   11    Q    What was the date of the Carlson paper?

04:51:30   12    A    1977.

04:51:33   13    Q    Was the Carlson paper studying EPA?

04:51:37   14    A    No, it did not.

04:51:39   15    Q    Was it studying DHA?

04:51:41   16    A    No, it was not.

04:51:42   17    Q    Was it studying fish oil?

04:51:44   18    A    No, it was not.

04:51:46   19    Q    What was the Carlson paper studying?

04:51:48   20    A    Diet and nicotinic acid.

04:51:52   21    Q    And is nicotinic acid also known as niacin?

04:51:56   22    A    Yes, it is.

04:51:56   23    Q    Is niacin an omega-3 fatty acid?

04:52:00   24    A    No, it is not.

04:52:01   25    Q    Is it found in fish oil?
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04:52:03    1    A     No, it is not.

04:52:03    2    Q     Is there any structural similarity between niacin and

04:52:07    3   EPA?

04:52:08    4    A     None whatsoever.

04:52:10    5                   MR. REIG-PLESSIS:     Mr. Gross, if we could go to

04:52:12    6   page 3 of PX 1026, and go to the last full paragraph.          Just

04:52:20    7   blow that one up, please.

04:52:20    8   BY MR. REIG-PLESSIS:

04:52:23    9    Q     According to this paragraph, how many patients with

04:52:27   10   severe hypertriglyceridemia were in the Carlson 1977 paper?

04:52:33   11    A     There are nine patients total, and I believe only five

04:52:36   12   were treated with nicotinic acid.

04:52:38   13    Q     And would these results in Carlson 1977 on five patients

04:52:43   14   on nicotinic acid have told a person of skill in the art

04:52:48   15   anything about whether EPA would increase LDL-C in patients

04:52:52   16   with severe hypertriglyceridemia?

04:52:53   17    A     Not in my opinion.

04:52:58   18                   MR. REIG-PLESSIS:     Now, Mr. Gross, if we could

04:52:59   19   go to Dr. Heinecke's slides, DDX 6.64.

04:52:59   20   BY MR. REIG-PLESSIS:

04:53:14   21    Q     And do you recall Mr. Sipes asking you questions about

04:53:17   22   prior art that was not on your timeline on DDX 6.64?

04:53:22   23    A     Yes, I do.

04:53:23   24    Q     Was your goal in putting together this timeline to

04:53:26   25   include all prior art on fish oil between 1991 and 2008?
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04:53:32    1    A      No, it wasn't.   The goal of this slide was to present the

04:53:36    2   relevant literature over that time period.

04:53:40    3    Q      Would it have been possible for you, in the timeframe

04:53:44    4   that we had an examination today, for you to discuss all of

04:53:47    5   the studies on fish oil conducted between 1991 and 2008?

04:53:53    6    A      I don't think so, no.

04:53:55    7    Q      How many studies are there on fish oil between 1991 and

04:54:00    8   2008?

04:54:01    9    A      It would be a guess at best, but many, many, many

04:54:06   10   publications.    Fish oil was an extremely active area of

04:54:10   11   investigation beginning in the '80s.

04:54:12   12    Q      Now, do you recall Mr. Sipes specifically asking you

04:54:16   13   about whether certain studies on CNS effects of EPA were on

04:54:22   14   your timeline?

04:54:22   15    A      Yes.

04:54:23   16    Q      And what are CNS effects?

04:54:25   17    A      CNS is the central nervous system, so that would be your

04:54:30   18   brain.

04:54:31   19    Q      And do you consider studies on the CNS effects of EPA

04:54:37   20   particularly relevant to whether EPA is an effective treatment

04:54:40   21   on reducing triglycerides?

04:54:41   22    A      I'm aware of no connection whatsoever between those

04:54:45   23   things.

04:54:46   24    Q      So was there any reason, in your view, to include those

04:54:49   25   studies in a timeline of relevant prior art?
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04:54:52    1    A      I wasn't even aware of it, and I'm very familiar with the

04:54:55    2   literature, so I would have to say that I don't think that's

04:54:58    3   relevant.

04:54:59    4    Q      Now, do you recall counsel -- or Mr. Sipes asking you

04:55:14    5   questions about whether the mechanism of action for EPA was

04:55:18    6   known in 2008?

04:55:19    7    A      I do.

04:55:20    8    Q      Do you need to know the mechanism of action in order to

04:55:24    9   use a drug clinically?

04:55:26   10    A      No, you do not.    I think fish oil is a perfect example of

04:55:29   11   that.

04:55:30   12    Q      And I think you started to mention this on your

04:55:33   13   cross-examination, but is there a possible mechanism of action

04:55:36   14   for EPA that is consistent with the clinical data and the

04:55:44   15   prior art on its effects on LDL-C?

04:55:44   16    A      I have offered one potential mechanism, which would be

04:55:48   17   the reduction of the production of VLDL by the liver.

04:55:52   18                   As you may recall, lipoprotein metabolism of apo B

04:55:55   19   containing lipoproteins is relatively simple.         It begins with

04:56:00   20   THE production of VLDL.       It is then converted to IDL and

04:56:06   21   ultimately to LDL.       The LDL, in turn, is primarily cleared by

04:56:06   22   the LDL receptor.

04:56:10   23                   So actually it's possible, just from looking at the

04:56:13   24   lipid phenotype, to figure out what the underlying path of

04:56:18   25   physiology might be.
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04:56:20    1                What I'm offering is a mechanism that I believe

04:56:22    2   would account for all of the findings of EPA, which are that

04:56:26    3   it would reduce the production of VLDL, so that would lower

04:56:31    4   the triglyceride concentration in the blood.

04:56:34    5                It would lower the production of an IDL, which would

04:56:37    6   lower the concentration of triglycerides and cholesterol in

04:56:40    7   the blood, and, it would lower the concentration of LDL, the

04:56:44    8   topic of our conversation today.

04:56:46    9                And I believe all of those observations are

04:56:48   10   consistent with the idea that you're inhibiting VLDL

04:56:52   11   production by the liver.

04:56:53   12    Q    And would that mechanism produce increases in LDL

04:56:58   13   cholesterol in patients with severe hypertriglyceridemia?

04:57:01   14    A    It would be effective in any situation, regardless of the

04:57:04   15   underlying path of physiology, because you're reducing the

04:57:07   16   production of the precursor particles of all the particles in

04:57:09   17   the pathway.

04:57:10   18    Q    And would that mechanism increase LDL cholesterol while

04:57:14   19   reducing triglycerides?

04:57:14   20    A    No.    And I would also argue against the idea that you

04:57:19   21   were increasing the conversion of VLDL to IDL and LDL, so --

04:57:26   22    Q    Do you recall Mr. Sipes asking you about several

04:57:29   23   references that speculated possible mechanisms for fish oil or

04:57:35   24   omega-3 fatty acids?

04:57:36   25    A    Yes.
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04:57:37    1    Q    In general in the literature, when studies were referring

04:57:41    2   to fish oil or omega-3 fatty acids, was that a reference to

04:57:47    3   purified EPA or to the mixture of EPA and DHA?

04:57:49    4    A    Most of the references are to a mixture of DHA and EPA.

04:57:55    5                    MR. REIG-PLESSIS:    No further questions.

04:57:56    6                    Thank you, Dr. Heinecke.

04:57:59    7                    MR. SIPES:   No questions, Your Honor.

04:58:01    8                    THE COURT:   I think you may want to confer with

04:58:04    9   counsel.

04:58:05   10                    MR. SIPES:   Oh, maybe I do have a question.

04:58:05   11                           (Discussion held off the record.)

04:58:17   12                    MR. SIPES:   No questions, Your Honor.

04:58:18   13                    THE COURT:   All right.    Thank you.

04:58:19   14                    Thank you, Dr. Heinecke.     You may step down.

04:58:21   15                    THE WITNESS:   Thank you.

04:58:36   16                           (The witness was excused.)

04:58:36   17                    THE COURT:   Well, counsel, how are we doing in

04:58:39   18   terms of time?

04:58:40   19                    So I've set aside Friday, next Tuesday, and then

04:58:45   20   the week -- I think it's the last week of January.         I can't --

04:58:49   21   last week of January?

04:58:50   22                    THE CLERK:   Yes.

04:58:52   23                    THE COURT:   Do you think I can take a break, or

04:58:57   24   should I require that we go until 5:30?

04:59:00   25                    MR. SIPES:   I think we can take a break, Your
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04:59:03    1   Honor.

04:59:03    2                   MR. REIG-PLESSIS:     Yeah.   That's okay.

04:59:06    3                   MS. HUTTNER:    Yeah, that's fine.

04:59:06    4                   THE COURT:    All right.    So what should I expect

04:59:08    5   for Friday?

04:59:10    6                   MS. HUTTNER:    Well, Your Honor, we're going to

04:59:13    7   call -- I'm sorry -- our commercial success expert,

04:59:17    8   Mr. Hoffman, and Dr. Fisher on Friday.

04:59:28    9                   THE COURT:    Well, with that, given that we're on

04:59:31   10   schedule, I'll recess for the day and we'll resume again on

04:59:35   11   Friday as scheduled.

04:59:38   12                   MS. HUTTNER:    Thank you, Your Honor.

04:59:39   13                           (Court adjourned.)

           14                                    -o0o-

           15
                           I certify that the foregoing is a correct
           16              transcript from the record of proceedings
                           in the above-entitled matter.
           17
                           /s/Kathryn M. French           1/28/2020
           18                 Kathryn M. French, CCR #392, RPR
                              Official Reporter
           19

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